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                                                                             areas for future training needs, or to identify if an
                                                                             SOP needs to be changed.

                       *The Advisory Board recommends that the               *This recommendation has been accepted as
                       wording in Goal change to read: Use a                 described above.
                       progressive approach to implement a CAWP.
                       Develop and implement a CAWP to ensure the
                       well-being of animals at gathers, in facilities,
                       and on the range along with healthy ecosystems.
                       The CAWP will bring together a progression of
                       new components such as education for
                       employees, volunteers, and contractors; an
                       ongoing internal animal welfare assessment
                       program; and periodic external reviews of our
                       animal care and handling. Conduct the CAWP
                       with complete transparency.

                       *The Advisory Board recommends that                   *The recommendation has been accepted; Animal
                       Objective 5; Action 3 from Sustainable herds be       Welfare, Objective 1, Action 8.
                       copied and pasted into this section as a new
                       Action.

                       *The Advisory Board recommends that the               *The recommendation has been accepted.
                       wording in Objective 3 change to read: Provide
                       a continuing education program on animal care
                       and handling for employees, volunteers, and
                       contractors with an emphasis on natural
                       horsemanship.
       Science and There was strong support for science and                  Fertility control research was considered in the
       Research    research, particularly with regard to methods for         Strategy. This was further refined in the Strategy.
                       slowing population control growth. However,           The BLM’s Strategic Research Plan (2003)
                       many urged the BLM to be careful to ensure the        identifies fertility control research as a high
                       agents that are being tested are safe, with limited   priority. Research plans for specific drugs or
                       impacts to individual animal and herd behavior.       agents are tiered to this plan. The BLM will
                                                                             determine if scientific information from the NAS
                                                                             review indicates that policy changes are needed or
                                                                             the Strategic Research Plan should be modified.


                       *The Advisory Board recommends that the               *This recommendation has been accepted.
                       wording in Objective 1; Action 1 change to read:
                       Continue research on fertility control and other
                       topics.

                       *The Advisory Board recommends that a new             *This recommendation has been accepted; Science
                       Action be added under Objective 2: Review the         and Research, Objective 2, Action 1.
                       science behind rangeland monitoring and AML
                       development.
       Public          Many supported the goals and objectives for           Under the Strategy, the BLM will reaffirm
       Outreach        Public Outreach and commended the BLM on              throughout the agency a fundamental commitment
                       the progress made. Some cautioned that a key          to transparency in all facets of the wild horse and
                       component of this outreach must include the           burro program. This will include continued efforts
                       BLM’s legal responsibilities to balance WH&B          to improve the ability of the public to observe
                       use with the land’s capacity and other multiple       WH&B operations with public safety and minimal


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                uses. Others asked the BLM to incorporate          intrusiveness to operations in mind. The BLM will
                specific suggestions to further improve public     explore the feasibility, costs, privacy issues and
                outreach and to make all aspects of the WH&B       value-added to web-based media in certain
                Program transparent.                               locations. The BLM is also committed to doing a
                                                                   better job of proactively providing web-based
                                                                   information to all audiences and will post
                                                                   mortality information on the national WH&B
                                                                   website.

                *The Advisory Board recommends that the Goal       *This recommendation has been accepted.
                change to read: Utilize effective
                communications to build the public’s confidence
                and trust for the BLM’s management of the
                WH&B Program with increased transparency.

                *The Advisory Board recommends that the            *This recommendation has been accepted.
                BLM include a robust communication plan with
                the public on the strategy and on ongoing
                WH&B Program efforts.

                *The Advisory Board recommends that the            *This recommendation has been accepted.
                wording in Objective 2; Action 3 change to read:
                Update website information on a regular basis,
                including updated videos and photographs of all
                phases of BLM’s WH&B handling and
                management.

                *The Advisory Board recommends that the            *This recommendation is accepted to the extent
                BLM look at the possibility of having public       that existing contract language allows.
                access to long-term holding facilities.

                *The Advisory Board recommends that the            *This recommendation on internal communication
                wording in Objective 3; Action 2 to include        is rejected, but the BLM will work to improve
                communications section to include internal         internal communications.
                communications such as DOI/BLM consistency
                and coordination.




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   Other Management Approaches Proposed by the Public
   Many of the management approaches suggested by the public would result in the type of changes that
   would require the BLM to amend existing RMPs, and complete appropriate NEPA analysis before they
   could be implemented. Changes to existing Federal laws may also be needed. The other management
   approaches, which are not fully included in the new strategy, but were proposed by the public include:

          A suggestion to euthanize or sell, “without limitation,”unadopted wild horses. While humane
           euthanasia and sale without limitation of healthy horses for which there is no adoption demand is
           authorized under the ACT, Congress prohibited the use of appropriated funds for this purpose
           between FY 1988 and FY 2004, and again in FY 2010 and FY 2011. This prohibited use reflects
           the public’s values and passion for America’s wild horses and burros, and is not under
           consideration by the BLM.

          Expand public lands for WH&B use. Another suggested management approach was to return un-
           adopted wild horses to Herd Areas (HAs), or to expand the areas of the public lands designated for
           their use. Herd Areas are geographic areas of the public lands identified as habitat used by WHBs
           at the time the ACT was enacted, December 15, 1971. Decisions to return un-adopted horses to
           HAs would require the BLM to amend existing land use plans and complete appropriate NEPA
           analysis on a case-by-case basis, or on a national level. Designating lands for wild horse and burro
           use that are outside the 1971 HA boundaries would require changes to the ACT.

          Make WH&Bs a principal land use. Some suggested a management approach in which wild horses
           and burros, and wildlife would be the principal use of the public lands, and other uses would be
           reduced or eliminated. These types of actions would require the BLM to amend existing land use
           plans in accordance with the NEPA and applicable Federal regulations and could also require
           changes to Federal law. This approach is inconsistent with the Federal Land Management Policy
           Act’s multiple-use mandate.

          Use only fertility control. Others suggested a management approach that would rely on the sole
           use of fertility control to manage wild horse and burro population size (i.e., no further gathers to
           remove excess animals). The current PZP-22 fertility control vaccine is not 100 percent effective
           and has a maximum efficacy of about two years when it is applied within the four months prior to
           the time a mare foals. In order to maintain zero growth in the existing population it would be
           necessary to capture half of all wild horses every year during this four month period for the
           administration of fertility control to target mares. This is not operationally feasible. Under the new
           strategy, the BLM will conduct research into the development of longer acting fertility control
           agents and other population growth suppression methods, and use a combination of methods to
           reduce annual population growth. The goal for this research will be to develop safe, humane,
           longer lasting and more effective methods for managing population size.

          Let nature takes its course. Allowing populations to regulate themselves through starvation,
           disease or predators to control wild horse and burro population size was also suggested. The BLM
           has requested that the NAS review the WH&B Program to determine if there is credible scientific
           evidence that population “self-regulation,” and/or predation would be effective in controlling wild
           horse and burro population size before land and herd health is compromised.


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          Stop using helicopters. Another suggested management approach would suspend the use of
           helicopters to assist in the gather and removal of excess wild horses and burros. The OIG (Report
           No.: C-IS-BLM-0018-2010, December 2010) found that gathers to remove excess wild horses and
           burros were necessary and humane. Several reviews of data from gather operations indicate that
           gather-related mortality is typically limited to about one half of one percent (0.5%) or less which is
           very low compared to most capture methods and capture operations for wild animals. A 2008 GAO
           Report (GAO-09-77, October 2008) found that .47% of 24,855 horses gathered and removed from 2005 to
           2007 in six states accidently died as a result of capture. Based on the results of these reviews, the BLM
           will continue to use helicopters to assist in the removal of excess wild horses and burros when it is
           determined through gather planning that it is the safest, most effective, and most humane manner
           of doing so.

          Allocate new lands for WH&Bs. Some commenters suggested the BLM manage wild horses and
           burros in the future by implementing a reserve design. Under this approach, wild horses and burros
           would be allocated large areas of the Western landscape. Population size would be regulated
           through natural processes. This approach would require changes in existing Federal law.

          Base management on herd social dynamics. Some suggested that future management of wild
           horses and burros be based on family band structure and herd social dynamics. However, the
           makeup of individual bands is a dynamic and ever-changing aspect of herd social behavior.
           Research indicates that 9 to 30% of mares change bands (Rutberg, 1990; Singer et.al., from the
           2002 United States Geological Survey Expert Panel Report). Band structure can be made up of a
           lead stallion and secondary stallion, as well as bachelor bands that contribute to breeding.
           Research further suggests that 1/3rd of foals are sired by non-harem stallions (National Research
           Council, 1991, and Bowling and Touchberry from the 2002 USGS Expert Panel Report). Eagle
           et.al, 1993, discusses the instability of breeding males in a band. Based on the current literature,
           the usefulness of managing to maintain family bands is in question given the extent of changes
           that take place on a continual basis.

          Stop gathering until population sizes are proven. A number of commenters asked the BLM to
           temporarily halt further removals until wild horse and burro numbers in the West can be
           independently verified, or to consider the use of other technology such as drones or infrared
           satellite imagery. Current best science indicates greater accuracy when aerial counts are conducted
           by trained and experienced personnel. Additionally, a previous test of infrared imagery in Nevada
           provided mixed results. Use of drones has also been considered, but limitations such as cost,
           safety, and de-confliction with military flight zones would need to be overcome. Pending the NAS
           review of scientific information relative to this topic, the BLM will continue its plans to
           progressively implement use of the latest methods developed by the United States Geological
           Survey (USGS).

          Stop gathering until 2013. Many of the commenters suggested an immediate gather moratorium
           until the NAS study is complete. This option is not feasible at this time for several reasons. First,
           the ACT directs the BLM to immediately remove excess wild horses and burros to AML levels
           and protect land health. Second, the BLM’s management actions must conform to decisions made
           in existing RMPs; these plans require the BLM to maintain wild horse and burro population size
           within AML. Third, if the BLM stopped gathers, populations could exceed 66,500 animals by FY


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                                                                                            BLM_002073
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        2014, requiring the future removal of at least 13,300 excess animals annually just to hold
        population size steady. Allowing populations to grow to this level would not only adversely affect
        other multiple uses, but would also damage rangeland vegetation, threaten habitat for wildlife,
        including threatened, endangered and sensitive species, and ultimately threaten the quality and
        quantity of forage and water available for use by wild horses and burros. This rate of removal
        would far exceed expected adoption demand. The removal of even larger numbers of excess
        animals would be needed in the future to achieve AML in the ten Western States ─ and lead to
        placing even greater numbers of un-adopted wild horses into long-term holding, escalating
        costs for their care. As noted by GAO (2009) and the OIG (2010), such cost increases are not
        sustainable.




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                                                  The BLM’s top priority is to ensure
                                                  the health of the public lands so that
                                                  the species depending on them,
                                                  including the Nation’s wild horses
                                                  and burros can thrive.




                                                To maintain land and animal
                                                health, the BLM must remove
                                                thousands of excess wild horses
                                                and burros from the range every
                                                year.




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                                                                          BLM_002075
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  FY 2005-2010 Program Report
  Overview
  During FY 2005 through 2010, the BLM removed over 51,000 excess wild horses and burros
  from the range in an effort to attain the established AML of 26,600 wild horses and burros in the
  ten Western States. In FY 2007, the BLM came close to achieving AML reaching an estimated
  28,365 wild horses and burros on the range. However, escalating program costs primarily
  associated with the long-term care of unadopted or unsold wild horses quickly eroded the
  progress (see Figure 3 below and Tables 9 and 10, pages 55 and 56). Of the more than 51,000
  animals removed from the range, fewer than 26,000 were placed in private care through the
  BLM’s adoption program. As of February 2012, the BLM is holding about 46,000 un-adopted
  (and unsold) wild horses in contracted short-term holding and long-term pastures




                                                                         Between FYs 2005
                                                                         through 2010, Wild Horse
                                                                         and Burro Program costs
                                                                         have increased by nearly
                                                                         $25 million. Nearly $20
                                                                         million of this increase is
                                                                         associated with the
                                                                         humane long-term care of
                                                                         un-adopted or unsold wild
                                                                         horses.




  Figure 3. Total Population, Removals and Funding Levels, 2005 to 2010

  A summary of other program policy and developments during FY 2005 through FY 2010 as
  required by the 1971 Act follows.

  External Program Reviews
  Government Accountability Office
  The GAO completed a review of the WH&B Program in FY 2009 (GAO-09-77). The GAO
  found that:
      The BLM has made significant progress toward setting and meeting AML, but has not
         provided specific formal guidance to the field offices on how to set AML;
      The BLM was closer to meeting AML in FY 2007 than in any other year since AMLs
         were first reported in 1984;
      Undercounting animals can put the animals at risk and lead to increased program costs;
         and


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          The BLM has implemented multiple controls to help ensure humane treatment, including
           random checks on adopted horses and agreements with adopters and buyers to prevent
           slaughter.

  The GAO also found that the number of animals removed from the range is far greater than the
  number adopted or sold, resulting in increased need for short and long-term holding. If not
  controlled, GAO warned that off-the-range holding costs will continue to overwhelm the
  program. The GAO determined that the budget increases necessary to pay for caring for so many
  un-adopted horses were not sustainable and recommended that the BLM find effective long-term
  options. A detailed summary of the GAO’s findings and recommendations, and the BLM’s
  response is provided in Appendix 1.
  Office of Inspector General
  The OIG completed a review of the BLM’s WH&B Program in December 2010 (C-IS-BLM-
  0018-2010). The OIG found that gathers to remove excess wild horses and burros are necessary
  and humane, but recommended that the BLM:

           Focus on research and testing of improved population growth suppression methods to
            balance wild horse and burro population growth with adoption demand, thereby
            minimizing the need for additional long-term holding facilities and preserves;
          Put into practice the best science for wild horse and burro management and required new
           research, as coordinated with and confirmed by the NAS; and
          Undertake an ambitious effort to minimize and reduce the need for short and long-term
           storage facilities over the long-term.

  See Appendix 2 for a detailed summary of the OIG’s findings and recommendations, and the
  BLM’s response.
  Advisory Board
  The National Wild Horse and Burro Advisory Board continues to advise the BLM and make
  recommendations about WH&B Program guidance and procedures. The Act directs that
  membership reflect special knowledge about protection of horses and burros, management of
  wildlife, animal husbandry or natural resource management. Members are appointed and serve at
  the pleasure of the Secretaries of the Interior and Agriculture to serve three-year terms, and are
  designated as representatives or special government employees from among, but not limited to,
  the following:

          Wild horse and burro advocacy;
          Wild horse and burro research;
          Veterinary medicine;
          Natural resource management;
          Humane advocacy;
          Wildlife management;
          Livestock management;
          General public interest with special knowledge of equine behavior and management or,



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          General public interest (with special knowledge about protection of wild horses and
           burros, management of wildlife, animal husbandry, or natural resource management)

  The Advisory Board meets between one and four times per year. Their past advice has informed
  the BLM’s WH&B management program since the first meeting in 1973.

  Appropriate Management Level (AML)
  In FY 2009, the GAO found the BLM has made significant progress toward establishing the
  AML, but recommended specific formal guidance be provided to the field offices to ensure that
  the factors considered in future AML revisions are consistent across all HMAs (GAO-09-77).

  In July 2010, the BLM revised its WH&B Management Manual and finalized the WH&B
  Management Handbook. Consistent with the new policy guidance, the BLM will continue to
  revise or adjust AML in the future through a multi-tiered analysis. This analysis: (1) determines
  whether the four essential habitat components (forage, water, cover and space) are present in
  sufficient amounts to sustain healthy wild horse and burro populations and healthy rangelands
  over the long-term; (2) determines the amount of sustainable forage available for wild horse and
  burro use; and (3) determines whether or not the projected wild horse and burro herd size is
  sufficient to maintain genetically diverse populations (avoid inbreeding).

  The BLM generally sets the AML in consideration of rangeland productivity and capacity as
  stated above, and as part of the multiple-use decisions for the public lands; for example, the Act
  of 1971 requires coordination with the state fish and game management agency. The AML is
  established as a population range that allows wild horse and burro populations to grow from the
  lower limit to the upper limit over a four to five-year period without the need for interim gathers.
  The BLM also considers more than one year’s data because forage production can vary
  substantially from year-to-year based on the timing and amount of precipitation received, among
  other factors. As an example, under the same level of grazing, use pattern mapping may indicate
  light to moderate utilization during above normal precipitation years and heavy or severe
  utilization during below normal precipitation years.
  The results of the BLM’s analyses are documented and made available to the interested public
  for review and comment in NEPA documents and/or in RMPs. After careful consideration of the
  comments received, the BLM issues a final decision and adversely affected parties are provided
  the opportunity to request administrative review of the final decision.




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                                                    The amount of sustainable forage available
                                                    for wild horse and burro use is determined
                                                    based on the results of in-depth analysis of
                                                    utilization monitoring, use pattern mapping
                                                    and other rangeland monitoring data
                                                    collected over at least a three to five-year
                                                    period.




  At the present time, the BLM has set AML for all but two HMAs: Montgomery Pass (Nevada)
  and Cerbat (Arizona). The U.S. Forest Service (USFS) has the lead for establishing AML for the
  jointly managed BLM/USFS Montgomery Pass HMA. The BLM is working on establishing the
  AML for the Cerbat HMA (see Table 4).

  Table 4. AML Establishment by Year and State
            Number of     2005 -   2000 -    1995 –      1990-      1985 -      1980 -
   State     HMAs          2009     2004      1999       1994        1989        1984      Not Set
   AZ          7           3          0        1           1           1           0          1
   CA          21          6          7        3           4           0           1          0
   CO          4           4          0        0           0           0           0          0
   ID          6           0          1        3           0           2           0          0
   MT          1           1          0        0           0           0           0          0
   NM          2           1          1        0           0           0           0          0
   NV          85          29        26        17          12          0           0          1
   OR          18          5          8        0           4           1           0          0
   UT          19          13         4        0           0           0           2          0
   WY          16          3          2        5           6           0           0          0
   Total       179         65        49        29          27          4           3          2


  Gathers and Removals
  During the period from FY 2005 to FY 2010, the BLM continued to implement a management
  approach that conducts gathers to remove excess wild horses and burros (the number above
  AML), adopts as many of the excess animals as possible, and places any unadopted or unsold
  wild horses in contracted long-term grassland pastures (see Tables 5 and 6, pages 46 and 47).
  On several occasions, emergency gathers were conducted due to the occurrence of extreme
  drought or wildfires. These gathers removed horses whose lives were imperiled due to a shortage
  of forage and to allow for rangeland recovery.




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    Drought can substantially reduce the              A wild fire in the South Shoshone HMA
    amount of forage available for use by             (Nevada) in the summer of 2007 destroyed
    wildlife and wild horses and burros.              27,000 acres of habitat. The BLM determined
    Recurring drought conditions as seen in this      there was not enough forage to carry wild
    photograph, left insufficient forage in the       horses through the winter. An emergency
    Augusta Mountains HMA (Nevada) to carry           gather was held in January 2008 to remove
    wild horses through the winter in a healthy
    condition, . An emergency removal of wild
  This approach is consistent with the management strategy presented in the 2004 Report to
  Congress. Under this strategy, gathers are conducted to remove excess wild horses and burros.
  This is required to protect land and animal health and to make progress toward achieving AML
  in the ten Western States. However, because adoption rates have not kept pace with the number
  of excess animals removed to protect land and animal health, the BLM is holding 47,500 (as of
  February 2012) unadopted wild horses in short-term corrals and long-term pastures. As the
  number of unadopted wild horses has increased, the costs for their humane care have escalated –
  from about $28 million in FY 2008 to an expected $48 million in FY 2011 – an increase of
  nearly $20 million in a four year period.

        As the number of unadopted wild horses has
        increased, the costs for their care have
        escalated.




  Use of Helicopters to Assist in Wild Horse and Burro Capture
  Before the BLM had the legal authority to use a helicopter to assist in the capture of excess wild
  horses and burros, crews worked from horseback to roundup the animals. These gather
  operations were conducted without any of the controls the BLM has in place today. The riders
  would apply pressure to the wild horses to get them to move in the direction of the trap. Horses
  would often be started eight to ten miles from a trap site by one or more persons on horseback
  and herded toward the trap in order to achieve the goal of gathering the animals. To achieve the


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  goal, riders on horseback were often unable to control the animals pace, had to keep the pressure
  of movement on regardless of any daytime temperatures and needed to herd the mares in a
  manner that allowed foals to remain at their side. Riders attempted to safely move the animals
  around barbed wire fences or through gates. However, many times foals were left behind or the
  animals themselves ran through barbed wire fences. It was not infrequent to have an injury to a
  rider, due to long hours and rough conditions in the saddle.
  In 1976, Congress amended the Act to allow the use of helicopters and provide the BLM with a
  safe, humane and practical means to gather excess wild horses and burros. Helicopters also apply
  pressure to groups of horses to move them towards the trap. However, pressure can be eased up
  when needed to slow animals when care of movement is necessary, but then reapplied when
  needed to turn animals in a specific direction. Gathering by helicopter has proven much more
  effective in gathering larger numbers of animals. At the same time, injuries to riders were
  substantially reduced. Since the mid-1970s, the BLM has worked hard to identify, refine and
  improve methods and procedures to minimize stress and impacts to wild horses and burros
  during gather implementation. These Standard Operating Procedures (SOPs) are implemented to
  ensure a safe and humane gather occurs and that stress and injury to the animals is minimized to
  the greatest extent possible, while still meeting gather objectives.



                                                           Unlike the often brutal methods used by
                                                           individuals known as mustangers prior to
                                                           the passage of the Act — today the BLM
                                                           uses helicopters that allow pilots to
                                                           control the animals pace, keep foals at
                                                           their mare’s side or to mark their location
                                                           if needed, and to safely move the animals
                                                           around barriers such as barbed wire
                                                           fences.


  The BLM prohibits the use of helicopters to gather wild horses during March 1 through June 30.
  This period represents the six weeks before and the six weeks following the peak of foaling
  which occurs within a two-week period during mid-April to mid-May. In accordance with this
  policy, the BLM routinely uses helicopters to assist in the capture of wild horses, including foals,
  which by this age are generally able to keep up with other horses at the rate of speed applied,
  from July 1 through February 28. Helicopters may be used year-round in the capture of wild
  burros as they do not have a defined foaling season. Care is always taken to not leave foals
  behind by using an appropriate rate of travel, or if a foal does drop behind, care is taken to allow
  the foal’s mare to stay behind as well.




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  Transparency
  Partially in response to the GAO’s recommendation, the BLM issued policy which requires all
  field offices to report the results of gather operations, including the number of animals that died
  or were euthanized to the National Program Office. Updates on gather results, short-term and
  long-term facility reports, and sales and adoptions are posted on the BLM’s website at
  www.blm.gov. When gathers are being conducted, the BLM also posts daily reports on the
  district or field office’s website. The daily reports provide updates on the gather’s progress and
  any animal deaths.


  Public Observation
  Based on heightened public interest in observing wild horse and burro gathers over the past two
  years, the BLM has established policy for public and media observation of wild horse and burro
  gathers. In addition to policy issuance, the BLM has formed a National Wild Horse and Burro
  Communications Team to assist states and field offices to safely and effectively host visitors at
  gathers.
  The public may informally observe gathers from designated viewing points when gather
  operations occur on public land. When the BLM uses historic trap sites or holding facilities that
  are located on privately-owned land, public viewing may not be available.
  The BLM’s primary focus, while gathering wild horses and burros, is to conduct the gather in an
  efficient manner, while also assuring the safety of the animals, the safety of contractors and staff
  and the safety of the public. The BLM estimates that hosting an increasing number of interested
  public at gathers (and at short-term holding facilities) increased the BLM’s operating costs by
  nearly $1 million in FY 2010. This funding was primarily used to provide Communications and
  Law Enforcement support at gathers.

  Table 5. Wild Horse and Burro Population (est), Removals, Adoptions and Expenditures

             Estimated Wild Horse                                                           Actual
                                                                                                      2
             and Burro Population           Number              Number                   Expenditures
                          1
      Year           Size                   Removed             Adopted
      2005           31,760                  11,023               5,701                      $39,648
      2006           31,206                   9,926               5,172                      $36,782
      2007           28,563                   7,726               4,772                      $37,743
      2008           33,105                   5,275               3,706                      $39,109
      2009           36,922                   6,413               3,474                      $50,168
      2010           38,365                  10,782               3,074                      $64,682

                                             51,145              25,899                   ($ in Millions)




  1
   Wild horse and burro population size, removal and adoption data is from the BLM’s Public Land Statistics.
  2
   Funding and cost data throughout this report is from the BLM’s Financial and Business Management System
  (FBMS) and Activity Based Costing (ABC) database. Actual expenditures include funding from all sources.

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  Short-Term Corrals
  The BLM currently manages 19 short-term corrals with a combined capacity of nearly 16,000
  animals (see Table 6). Each short-term corral provides 400 to 800 square feet per animal. By
  providing adequate square footage, the BLM can assure wild horses and burros are not
  overcrowded and are able to move freely, which reduces stress and decreases the potential for
  injury. When excess wild horses and burros are removed from the range, they are transported to
  short-term corrals where they are fed, watered, vaccinated against disease and freeze marked
  with a unique number. They are then made available for adoption or sale to qualified individuals
  who can provide the animals with a good home.

  The BLM staff at short-term corrals have extensive experience in caring for and handling
  equines. Many adopt, train, and ride their adopted mustangs as they perform their daily work.
  Each facility also has a veterinarian that administers veterinary treatment and makes
  recommendations to the BLM regarding animal care. These dedicated professionals are experts
  in equine care, handling and behavior.

  Long-Term Pastures
  Long-term pastures are an alternative to provisions in the Act that require certain categories of
  unadopted wild horses to be euthanized or sold without limitation. These provisions in the Act
  have been restricted by Congress in many recent years, and are not under consideration by the
  BLM. The BLM therefore transports excess, unadopted wild horses to contracted privately-
  owned grassland pastures. Here, the animals are provided with humane, life-long care in an
  uncrowded and free-roaming setting off the public rangelands. This allows the BLM to continue
  to make progress toward achieving the goal of healthy wild horses and burros on healthy
  Western rangelands, now and into the future. The BLM presently has 22 contracts with ranchers
  for 291,976 acres of grassland pasture for a combined capacity of 34,326 animals, an average of
  8.5 acres per animal year-round.

  Table 6. Average Number of Unadopted Animals in Short-term Corrals or Long-term
  Pastures and Funding Levels
                         Average Number of Un-adopted Animals in                   Costs
                                Short-Term Corrals or Long-Term
                                                     3
         Year                               Pastures
      2005                                  22,687                                 $19.262
      2006                                  26,211                                 $17.196
      2007                                  28,359                                 $20.754
      2008                                  30,738                                 $23.854
      2009                                  29,560                                 $28.478
      2010                                  37,799                                 $36.940

                                                                              ($ in Millions)




  3
      Performance data throughout the report is from the BLM’s Performance Management Data System (PMDS).

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   Although long-term pastures represent an economic
   cost to the American taxpayer, they are more cost-
   effective than short-term corrals. In FY 2010, the
   direct long-term pasture contract cost was about
   $1.30 per animal per day, as compared to the BLM’s
   cost for short-term corrals of about $5.25  a
   savings of about $3.95 per animal, per day.


  Herd Area (HA) History
  The Wild Free Roaming Horse and Burro Act (Act) limits the presence and management of wild
  horses and burros to public lands where they existed in 1971. These areas are called Herd Areas
  (HA). BLM evaluated each HA through the land use planning process to determine if the goal of
  managing healthy wild horse and burro populations on healthy rangelands over the long term
  could be met. As a result of these evaluations and planning decisions, some HAs or portions are
  managed for horses and burros and some are not. Managed areas are called HMAs.

  Inventories after the Act was enacted, found wild horses and burros located on public lands and
  intermingled lands of other ownerships that were not controlled by the BLM. These HAs
  included 53.8 million acres of land (42.4 million acres of public land or BLM lands and 11.4
  million acres of other ownerships not controlled by BLM). Today, 31.6 million acres (26.9
  million acres of BLM lands and 4.7 million acres of other ownerships) are managed for wild
  horses and burros in 179 HMAs. There are 22.2 million acres (15.5 million acres BLM lands and
  6.7 million acres of other ownerships) that are not being managed for wild horses and burros.

  Recently Congress and the public requested an explanation as to why some public lands are no
  longer managed for wild horses and burros. The BLM reviewed LUPs along with Federal
  legislation, land exchanges and court decisions that affected decisions to not manage for wild
  horses and burros in some HAs. Appendix 3 provides a detailed summary of the reasons that
  15.5 million acres of BLM lands are not managed for wild horses and burros. Over 71% of these
  public lands are not managed for wild horses and burros today because:

          BLM did not own or control water and/or large amounts of intermingled lands which
           made management infeasible.
          Federal legislation transferred BLM lands to other federal agencies.
          Conflicts with other resource values and designations such as threatened and endangered
           species, National Conservation Areas and wilderness areas that were not resolved in
           favor of wild horses and burros.

  The BLM’s policy provides for periodic re-evaluation of HAs through the land use planning
  process. Through land use planning, the BLM reviews whether reasons for non-management of
  wild horses and burros are still valid, and makes a new determination if warranted.




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  Appendix 3 provides a detailed summary of the reasons the BLM no longer manages these areas
  for wild horse and burro use.

  Herd Management
  Herd management activities include Land Use Plan (LUP) development or revision, AML
  establishment or adjustment, HMA planning, and habitat improvement. Any herd management
  activity in an HMA is reported as one unit of accomplishment. Table 7 summarizes herd
  management units of accomplishment and funding levels for FY 2005 to FY 2010. Costs may
  differ substantially, based on the complexity of the HMA and the issues to be resolved.

  Table 7. Herd Management Accomplishments and Funding Levels


                             Units of Accomplishment (Number of
                   Year                    HMAs)                         Costs
                 2005                        22                          $365
                 2006                        8                           $313
                 2007                        6                           $136
                 2008                        4                           $114
                 2009                        10                          $142
                 2010                        6                           $233
                                                                    ($ in Thousands)


  Under the provisions of the Act and the implementing regulations (43 CFR 4710.4), the BLM is
  required to manage wild horse and burro herds at the minimum level necessary to attain the
  objectives identified in approved LUPs and HMA plans. This means that a minimum level of
  actions or activities can be used on the range to support wild horse and burro management.
  Based on this requirement, the BLM sets wild horse and burro AMLs at numbers which will
  ensure land and animal health and at the same time provide for other resource uses, even during
  the driest years.

  Consistent with the minimum feasible level of management requirement in law and regulation,
  the BLM manages wild horses and burros in a manner similar to that for wildlife (as compared to
  domestic livestock). For example, livestock may be provided with constructed fencing systems
  and water developments (reservoirs, wells, etc.): for wildlife, there is an expectation that in most
  cases the natural availability of water will meet wildlife needs.

  The BLM does not provide supplemental feed for wild horses and burros and avoids relying on
  constructed water developments such as troughs, pipelines or wells that require frequent
  maintenance. This is to prevent the animal’s death from dehydration if the water development
  should fail. Occasionally, the BLM does provide water in temporary emergency situations when
  necessary to protect land or animal health. However, water hauling is not a sustainable practice
  over the long-term because of cost. Areas where wild horses and burros are located also often
  lack road access.




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                                                   Wild horses remain at a dry trough trying to get
                                                   water in this aerial photograph of the New Pass/
                                                   Ravenswood HMA (September 2007). Extended
                                                   drought, coupled with the impacts of a wildfire
                                                   which destroyed thousands of acres of habitat, led
                                                   to the emergency removal of excess wild horses
                                                   from the HMA in November 2007.



  Healthy rangelands are comprised of diverse and productive native vegetation species composed
  of grasses, forbs, and shrubs as shown in this photograph of Razorback Spring (below left).
  Rangelands in poor ecological health exhibit a lack of native species diversity and productivity.
  In the photograph of the Red Rock National Conservation Area (below right), perennial grasses
  and forbs have been replaced with invasive species such as red brome that are less nutritious, and
  that increase the potential risk for wildfire.

  The BLM undertakes rangeland health improvement projects such as seeding, prescribed fire,
  emergency fire rehabilitation or shrub and tree removal as necessary and appropriate. These
  projects may be used to restore rangelands where natural fire regimes have been suppressed, or
  where historic grazing patterns by both livestock and wild horses have decreased the availability
  for healthy forage plants. While these projects have the potential to increase the amount of forage
  available for wild horse and burro use, they can be very expensive and ecologically challenging
  to successfully establish; particularly in many arid regions of the West which can receive less
  than five to eight inches of annual precipitation.

  It is more cost effective to manage public lands in a manner designed to preserve and maintain
  land health, than it is to try to restore damaged rangelands. If an additional forage base became
  available on a sustained basis, the land could potentially support an increased number of wild
  horses and burros.




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  Livestock Use

                                                                   Livestock use is one of the many
                                                                   multiple uses of the public lands
                                                                   authorized under federal law.
                                                                   Livestock actual use data from
                                                                   1971-2008 indicates a 29%
                                                                   reduction in livestock use.




  Livestock use is one of the many multiple uses of the public lands authorized by Congress under
  several Federal statutes. Of the 248 million acres (2010 Public Land Statistics) of public lands
  managed by the BLM, livestock grazing is authorized on 157 million acres under the provisions
  of the 1934 Taylor Grazing Act. [The Federal Land Policy and Management Act (1976) and the
  Public Rangelands Improvement Act (1978) also recognize public lands livestock grazing as a
  legitimate and valued use of public lands.] By comparison, through the Act, Congress limits the
  management of wild horses and burros to the 53.8 million acres of public, private and other non-
  BLM managed land where the animals existed in 1971.

  Protection of soil, water and plant productivity, as well as availability of forage, water and cover
  for wildlife managed by the States, is an important reason for removal of excess wild horses and
  burros. The BLM does not remove wild horses and burros in order to make the forage available
  for use by domestic livestock, but does manage wild horses and burros (including removal of
  excess horses and burros) to assure that forage that has been allocated for domestic livestock is
  available for this permitted use. The BLM’s records indicate there has been a 14 % reduction in
  authorized (permitted) livestock use from 1971 through 2008, in consideration of forage
  availability and forage allocations in LUPs. Review of actual use data indicates a 29% reduction
  in livestock use for the same time period (see Table 8) while authorized wild horse and burro use
  has increased. However, because AML has not been achieved by the BLM in the past years, the
  actual use by wild horses and burros has exceeded authorized use.




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  Table 8: Authorized and Actual Livestock vs. Wild Horse and Burro Use

           Authorized Use                      Livestock                   Wild Horses and Burros
                1971                        14.5 million AUMs                  252,000 AUMs
                2008                    12.5 million AUMs (-14 %)          301,452 AUMs (+20 %)
             Actual Use                         Livestock                   Wild Horses and Burros
       Actual Use - 1971 (AUMs)             12.1 million AUMs                  252,000 AUMs
       Actual Use - 2008 (AUMs)         8.6 million AUMs (-29 %)           420,252 AUMs (+67 %)


  The BLM typically manages domestic livestock intensively through rest or deferred rotation
  grazing systems that provide for periodic growing season rest of key forage plants. This periodic
  rest allows plants to produce strong roots, seeds, and sufficient plant growth to provide for soil
  cover which protects against soil erosion. Under these grazing systems, livestock are authorized
  to graze during part of the year -- not year-round. In the event of drought, wildfire or other
  situations such as severe grasshopper infestations, the BLM adjusts numbers of livestock and the
  seasons of use to protect land and plant health. In contrast, wild horses and burros typically graze
  on a continuous basis year-round. This year-round by wild horse and burros results in greater
  impacts to plant communities than does controlled livestock grazing use, because forage plant
  seed production and stronger plant roots and soil cover may not be achieved.

  In managing livestock grazing on public rangelands, the BLM’s overall objective is to ensure the
  long-term health and productivity of these rangelands and to create multiple environmental
  benefits such as improved wildlife habitat, stable soils and healthy upland and riparian
  vegetation, that result from healthy watersheds.

  Monitoring
  Population Estimation
  The Act requires the BLM to maintain a current inventory of wild horses and burros on given
  areas of the public lands. In the past, most BLM offices have based their population estimates on
  direct counts from either a helicopter or a fixed wing airplane. However, research reviewed by
  the National Research Council (1982) indicated that this practice can undercount the actual
  number of wild horses by 7% to 60% depending on topography, vegetation, observer experience,
  weather, type of aircraft, etc. More recently, Lubow and Ransom (2009) found an undercount
  bias as large as 32% before making any statistical corrections.

  In FY 2009, the GAO found undercounting the number of wild horses and burros can put
  animals at risk and lead to increased program costs. The GAO recommended the BLM continue
  to adopt and employ statistically based methods to estimate animal populations across HMAs,
  such as those being evaluated by animal population researchers. These methods account for the
  wild horses and burros that are not seen during the inventory.

  In FY 2010, the BLM issued policy adopting the use of one of two viable, proven techniques for
  field use as the new principle methods for estimating wild horse and burro population numbers.
  The two techniques are mark re-sight using photographs and simultaneous double count with
  sight ability bias correction. These two techniques produced the best results in the variety of

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  conditions that existed during research and testing. Selection and use of a specific technique is
  the responsibility of the individual BLM field office and is based on the HMA or HMA
  complex’s topography, size and vegetative cover.
  Due to the importance of obtaining accurate wild horse and burro population estimates, the BLM
  doubled the amount of funding dedicated to aerial inventory in FY 2010. In FY 2010, the BLM
  also issued policy requiring that population surveys should be conducted every two years
  whenever possible, and within six to 12 months prior to a proposed gather and removal.


                                                             How many horses are there?
                                                             Counting horses from a moving
                                                             aircraft several hundred feet
                                                             above the ground is not easy.
                                                             Tree cover, rugged terrain, and
                                                             poor weather, make
                                                             estimating the number of wild
                                                             free-roaming horses and
                                                             burros even more difficult, and
                                                             an exact count impossible.

  Aerial population surveys are conducted primarily by trained and experienced BLM personnel.
  Other professional agency personnel such as the USFS, U.S. Geological Survey (USGS), and
  State wildlife agencies, NPS or USFWS occasionally assist the BLM. In some areas, volunteers
  also assist the BLM by conducting ground counts; however, ground counts alone are not
  generally adequate.

  The BLM’s simultaneous double-count and mark re-sight survey methodologies require the use
  of trained and experienced observers. The best practice is to use the same observers repeatedly to
  develop an index of the observer’s ability to see wild horses and burros and facilitate statistical
  analysis of the survey data. The BLM’s aviation safety policy also limits passengers aboard any
  aircraft to “mission-critical personnel.” Mission-critical personnel are required to undergo safety
  training, and to wear and use personal protective clothing and equipment. Therefore, BLM has
  not allowed non-government affiliated observers to participate in aircraft surveys.

  For information on research on population estimation, see Research section on page 59.




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  Table 9 summarizes the number of HMAs inventoried and funding levels for population
  estimation during FYs 2005 to 2010.

  Table 9. Wild Horse and Burro Population Inventory and Funding Levels

                                                         Due to the importance of obtaining accurate
                   HMAs                  Costs
       Year      Inventoried                             wild horse and burro population estimates, the
                                         $488            BLM doubled the amount of funding dedicated
   2005              77
   2006              85                  $504            to aerial inventory in FY 2010.
   2007              75                  $347
                                                         In FY 2010, the BLM also issued policy requiring
   2008              84                  $391
                                                         that at a minimum population surveys should
   2009              63                  $377
                                         $766            be conducted every two years whenever
   2010              90
                                                         possible, and within six to 12 months prior to a
                               ($ in Thousands)          proposed gather and removal.



  Habitat Monitoring
  One of the BLM's primary missions under the Federal Land Policy and Management Act of 1976
  is to protect land health. Rangeland habitat monitoring helps the BLM assess and evaluate the
  effects of wild horse and burro, wildlife, and domestic livestock use and management on land
  health. The WH&B Management Handbook issued in July 2010 established the BLM’s policy
  for habitat monitoring within HMAs and within associations of combined HMAs (HMA
  Complex). The Handbook outlines annual and long-term monitoring objectives. The primary
  purpose of habitat monitoring is to collect the resource data necessary to:

         Make a determination of excess animals (i.e. support the need to gather and remove
          excess animals).
         Establish or adjust AML.
         Develop or revise HMA Plans.
         Evaluate conformance with Land Health Standards, LUP goals and objectives, or other
          site specific or landscape level objectives.

  To ensure the BLM has the data necessary to support these types of wild horse and burro
  management decisions, collection of habitat monitoring data is coordinated with other resource
  programs (e.g., range, watershed, wildlife) to maximize efficiency and minimize duplication.

  Monitoring and assessment of land health conditions is primarily conducted by BLM staff, but is
  also managed in coordination with other agencies, including the USFS, USFWS, Natural
  Resources Conservation Service (NRCS) and state wildlife management agencies, when
  agencies agree on monitoring protocols and have common interests in monitoring information. In
  some cases, volunteer groups or individuals also collect rangeland habitat monitoring data using
  acceptable and agreed upon monitoring protocols.




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  Table 10 summarizes the number of HMAs monitored during FYs 2005 to 2010 and the level of
  funding provided by the WH&B Program.

  Table 10. HMA Monitoring and Funding Levels

                                        Costs
                 HMAs
       Year     Monitored
   2005             124                  $718
   2006             122                  $762
   2007              95                  $762
   2008             107                  $920
   2009             123                 $1,028
   2010             135                 $1,174

                                 ($ in Thousands)


  Genetic Diversity Monitoring
  The BLM continues to work closely with Texas A&M University to establish the baseline
  genetic diversity for each herd and to periodically collect genetic material (hair or blood
  samples) to detect any change from the baseline in periodic re-testing of wild horse or burro
  DNA. When monitoring indicates that genetic diversity is a concern, BLM considers
  recommendations from Texas A&M University to improve the herd’s genetic diversity. Options
  to mitigate genetic concerns can include maximizing the number of breeding age wild horses
  (ages six to ten years) within the herd; adjusting the sex ratio to favor of males and increase the
  number of harems and effective breeding males; or introducing one to two young mares every
  generation (about every ten years), from other herds living in similar environments.

  Population Growth Suppression Methods
  Wild horse and burro populations grow in number by about 20 percent per year. In FY 2010, the
  BLM issued policy that requires the authorized officer to consider a range of alternatives to
  reduce population growth rates in wild horse herds with annual growth rates that are greater than
  or equal to five percent per year. A range of alternatives are considered during gather or HMA
  planning and may include application of fertility control, adjustment of sex ratios and
  sterilization (Section 1333(b)(1) of the Act). Prior to making a decision, the BLM conducts a
  site-specific environmental analysis to evaluate the potential environmental impacts of the
  alternatives.

  As part of the environmental analysis, the BLM uses a computer modeling technique to estimate
  the impacts to wild horse and burro population size, average population growth rate, and average
  removal number from a comparison of the various management alternatives. The Win Equus
  model was developed by Dr. Stephen Jenkins, Professor of Biology at University of Nevada at
  Reno, and was peer reviewed in April 2000. Another objective of the modeling is to identify
  whether any of the alternatives would be likely to “crash” the population based on a number of
  stochastic factors (varying environmental conditions).

  The BLM began testing techniques to reduce or suppress population growth, as early as 1992 and
  routinely applies several of these methods today. Population growth suppression is currently

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  subject to the limitations of specific fertility control vaccines, the expense of application, and the
  large number of animals that need to be treated to significantly suppress population growth rates.
  The products and techniques are described below.

  Population Growth Suppression through Fertility Control Agent PZP
  Research and development since 1992 has produced both one-year and 22-month applications of
  PZP fertility control (vaccines). The one-year vaccine is about 90% effective when applied
  annually. Early research indicated the 22-month time release (pellet) vaccine (PZP-22) was 80%
  to 90% effective if applied during November through February; however, preliminary data from
  field research studies starting in 2009 indicate it may be less effective than previously thought.

  Wild horses have an 11-month gestation period. Without treatment, 50% to 80% of mares
  produce live foals. When PZP treatment is applied, most mares are already pregnant (treatment
  does not adversely impact the fetus). This means that fertility control will not have an effect until
  one year after its application. PZP-22, if applied from November to February, is only effective
  for two years. If the drug is applied to a pregnant mare in January 2012, the mare will foal in
  May 2012 and should not have another foal until May 2015.

  With current technology, the only practical and effective way to treat large numbers of mares
  with PZP fertility control on Western ranges is to capture most of the herd through helicopter
  gathers, administer the 22-month PZP vaccine to the mares while they are in a chute, and then
  release them. The largest cost of treatment is the cost to gather a sufficient number of horses to
  allow treatment of reproductively viable females. Therefore, more animals must be gathered than
  will be treated.

  For example, of 1,000 horses gathered, only about 400 of these horses are mares within the
  suitable age range for treatment. Additionally, to maintain infertility, wild horse herds would
  need to be re-captured every two years to reapply the vaccine to maintain infertility. BLM has
  observed that wild horses become progressively more difficult to capture after being captured
  and released on previous occasions. They learn to avoid subsequent roundups by helicopter by
  hiding under trees and or refusing to be herded into a trap. There is a real concern that horses
  subject to gathers on an every other year basis, will become harder to capture for removal or for
  subsequent fertility control treatment and that these repeated capture efforts will become
  progressively harder and more tiring and stressful to the animals.

  The one-year PZP vaccine may be delivered remotely via dart gun when mares are approachable
  at close distances. This is currently being tested in a limited number of small HMAs where the
  horses are used to being approached by humans. Remote delivery of PZP-22 pellets is also
  currently being tested in a field research project. Remote delivery of either of the PZP vaccines
  may be of possible use in small HMAs where horses and burros are approachable. For the
  majority of BLM herds that roam across millions of acres of Western rangelands, horses are
  mostly unapproachable within the distances needed for darting

  From 2004 to 2010, the BLM has treated 2,837 mares in about 79 of its 179 HMAs with PZP.
  Treatments were administered during gathers that were conducted to achieve AML. These efforts
  have not appreciably slowed population growth or extended the gather cycle, largely because too
  few mares were able to be treated. An estimated 70% to 80% of a herd’s mares would need to be

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  treated to substantially reduce population growth rates. This is very difficult to achieve during
  gathers conducted to reduce the herd population size down to AML.
  Many HMAs have not been gathered until the population size is three to five times the upper
  limit of AML due to funding limitations. When this happens, the BLM is physically unable to
  capture enough horses to achieve AML and still have enough mares available to treat with
  fertility control and then release. As a result, only a small percentage of a herd’s mares have been
  treated and released in most HMAs. To substantially reduce population growth rates, HMAs
  must be gathered when herd size is at or near the AML upper limit so that most mares can be
  captured for fertility control treatment and release. With current technology, these same mares
  must be re-captured and re-treated every two years to maintain infertility to reduce the necessity
  of removals.



                                                    PZP-22 vaccine must be physically
                                                    applied to the mare. When applied
                                                    during November through February, the
                                                    vaccine is effective for approximately 22
                                                    months. To maintain infertility, mares
                                                    need to be re-captured and re-treated
                                                    every two years.

  In FY 2011, the BLM treated 1,017 mares with PZP fertility control vaccine through gathers to
  achieve AML (AML Gathers) and catch, treat and release (CTR) gathers. CTR gathers are
  principally aimed at applying fertility control vaccine to the captured mares, or adjusting herd
  sex ratios to favor males, and then most of the captured wild horses are released back to the
  range. Specific criteria and objectives for the CTR gathers conducted in FY 2011 include:

          Treat wild horse herds with population sizes that are below the upper limit of AML;
          Capture each herd, apply fertility control, and release most of the captured animals back
           to the range; and,
          Treat 70% to 80% of a herd’s mares to reduce population growth rates for two years
           following treatment.

  To maintain population growth suppression, the mares treated in the fall/winter of 2011 would
  need to be recaptured, and two years later in the fall/winter of 2013. This level of capture and
  treatment would be very costly and could result in increased impacts to individual horses and
  herd social behavior as a result of more frequent capture and handling. As a result, the BLM is
  supporting and pursuing the development of longer lasting fertility control agents (see Research).
  Ideally, if the BLM were able to achieve an AML of 26,600 across the West, the BLM would be
  able to more effectively use fertility control and other population control measures. This would
  better align removal numbers with the adoption demand. Over time, there would be fewer
  animals in short-term corrals or long-term pastures and reduced costs for their care.




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  Population Growth Suppression through Adjustments to Sex Ratios and Sterilization
  (Stallions Only)
  Adjusting sex ratios to favor males reduces the number of mares available to foal and slows herd
  growth rates. Current research indicates that wild horse populations generally have sex ratios of
  about 50% males and 50% females. However, this can vary from about 40% to 60% in favor of
  either males or females (Garrott 1991, Berger 1986, Feist and McCullough 1975, Goodloe 2000,
  Green and Green 1977, Greger and Romney 1999, Hall 1972, Nelson 1978, Roelle et al. 2010,
  Turner et al. 1992).
  In herds with about the same number of males or females, or fewer males than females, sex ratio
  adjustments to favor males may be accomplished by releasing greater numbers of stallions or
  geldings following the gather. This leaves fewer mares and reduces pregnancies on the range;
  thus reducing population growth. An increase in the proportion of male horses as geldings is
  likely to have fewer impacts on the herd’s social structure than would an increase in the
  proportion of stallions. This is because stallions are generally more competitive when forage or
  water is limited, and BLM observations are that geldings tend to form bachelor bands and lose
  their male dominant (stallion-like) behavior. The goal of adjusting sex ratios is to produce a herd
  with at least 60% male horses, usually in conjunction with applying PZP-22 to the mares of the
  herd.
  Non-reproducing herds (all animals sterilized) may be considered in some HMAs and for
  reintroduction in some herd areas. This concept would allow long-term holding of excess
  animals on public lands and at the same time reduce the number of reproductive animals that
  contribute to the national annual rate of population increase.

  Research
  Direction to conduct research is contained in the Act (16 U.S.C. § 1333(b)(2)(C)(3)), and the
  Strategic Plan for Management of Wild Horses and Burros on Public Lands (1992). Research
  priorities for the WH&B Program were determined in the 2003 Strategic Research Plan for
  WH&B Management (Research Plan). Principal input into the Research Plan came from the
  USGS and APHIS on the topics of contraception, aerial census, population modeling and
  genetics, as well as disease and animal health monitoring and surveillance. Advice and input was
  also provided by WH&B Program managers and specialists, the Wild Horse Advisory Board, the
  BLM Director’s Science and Advisory Committee, and seven topic-specific advisory panels
  convened by USGS. The Research Plan identified continuing fertility control research as the
  highest priority.




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  Table 11. Summary of BLM’s Research Funding from FY 2005 to FY 2010

                  Direct and Partner-Contributed
                         Research Funding
       Year                                               Research funding increased by nearly four times
   2005                     $524.751                      between FY 2008 and FY 2010. This reflects the
   2006                     $401.783                      BLM’s increased emphasis on fertility control use,
   2007                     $239.568                      research and development, including efforts to
   2008                     $230.189
                                                          develop a longer-lasting (three to four-year)
   2009                     $636.315
                                                          fertility control agent that is safe, effective and
   2010                     $875.356
                                                          humane.
                        ($ in Thousands)


  Fertility Control Research

             PZP: To minimize the cost and potential impacts to wild horses associated with either
              annual darting of one-year PZP or the recapture and re-treatment of mares with PZP-22
              every two years, the BLM is supporting and pursuing the development of a longer lasting
              fertility control vaccines. An effective, longer lasting fertility control agent could
              eventually reduce the number of excess wild horses that need to be removed from the
              range as required by Section 1333(b)(2) of the Act. Over time, this would result in fewer
              wild horses that need to be adopted or sold, and held or handled in short or long-term
              holding facilities, and reduced costs. As part of this important effort, the BLM is
              continuing research in partnership with the University of Toledo (Ohio) on the
              development of PZP-22 into a longer lasting three to four-year PZP vaccine.
             The BLM developed a Fertility Control Field Trial Plan designed to evaluate the
              effectiveness of PZP use in slowing herd growth rates in wild horses. Field research for
              two components of the Plan is nearly complete: (1) Individual based trials and (2)
              Population based trials. The individual animal-based studies were designed to investigate
              the behavioral implications of PZP treatments on wild horses, population dynamics,
              efficacy of the vaccine, body condition and foal health. The primary focus for population
              based studies was to determine effect on population growth rates.
             Ransom et al. (2010) found no differences in how PZP-treated and control mares
              allocated their time between feeding, resting, travel, maintenance and social behaviors in
              three populations of wild horses, which is consistent with Powell’s (1999) findings in
              another population. Likewise, body condition of PZP-treated and control mares did not
              differ between treatment groups in Ransom et al (2010) study. Turner and Kirkpatrick
              (2002) found that PZP treated mares had higher body condition than control mares in
              another population, presumably because energy expenditure was reduced by the absence
              of pregnancy and lactation.
             In two studies involving a total of four wild horse populations, both Nunez et al. (2009)
              and Ransom et al. (2010) found that PZP treated mares were involved in reproductive
              interactions with stallions more often than control mares, which is not surprising given
              the evidence that PZP-treated females of other mammal species can regularly
              demonstrate estrus behavior while contracepted (Shumake and Wilhelm 1995, Heilmann
              et al. 1998, Curtis et al. 2002). Ransom et al. (2010) found that control mares were

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           herded by stallions more frequently than PZP-treated mares, and Nunez et al. (2009)
           found that PZP-treated mares exhibited higher infidelity to their band stallion during the
           non-breeding season than control mares. Madosky et al. (in press) found this infidelity
           was also evident during the breeding season in the same population that Nunez et al.
           (2009) studied, resulting in PZP-treated mares changing bands more frequently than
           control mares.
          Aggression between stallions and mares has also been studied in three wild horse
           populations and no difference was found between the treatment groups (Ransom et al.
           2010). Data regarding level of competition and aggression between band stallions in
           relation to the presence and number of treated mares were also collected during this
           study; the results will be published upon completion of the analyses. Harem tending by
           stallions, such as urine and fecal covering of mare excretion and active defense of mares
           against other stallions, was best explained by a model of mare body condition in the
           Ransom et al. (2010) study. Stallions in this study tended higher condition mares more
           frequently than lower condition mares. Long-term implications of all of the detected
           changes in social behavior are currently unknown.
          SpayVac®: The BLM is currently working with the USGS to conduct a five-year
           research project on the use of SpayVac® as a potential longer lasting fertility control
           agent for wild horse mares, which should be completed in 2016. SpayVac®, which is also
           based on the PZP antigen, uses a novel liposome technology that may stimulate a
           stronger and longer lasting immune response and hopefully longer lasting infertility. The
           USGS will evaluate the safety and effectiveness of SpayVac® in captive wild horses. It is
           easy to handle and administer, and in one previous study a single vaccination with
           SpayVac® maintained a high level of contraception for four years in captive Nevada stray
           horses (Killian et.al. 2008).
          Ovariectomy (Spaying): The BLM is reviewing a research proposal to investigate the
           development of a safe, effective, and humane surgical method for spaying (sterilizing)
           mares (ovariectomy). While the technique has been applied to a small number of wild
           horse mares, it remains to be seen how well it will work when attempted on mares that
           may be pregnant at any stage of gestation. This is what one would encounter in the field.
           The feasibility of using these techniques on large numbers of mares in the field, the
           incidence of abortion or other complications and the likelihood that enough mares could
           be spayed to have a population level impact on herd growth rates are unknown.
          Research Studies with the Humane Society of the United States: Since 2008, the
           HSUS and the BLM have collaborated on a research project to test the ability to control
           population growth rates within two HMAs ─ the Sand Wash Basin HMA in Colorado
           and Cedar Mountain HMA in Utah. As part of this effort, the BLM conducted removal
           operations on the Sand Wash Basin HMA and Cedar Mountain HMA in October and
           December of 2008, respectively. The HSUS applied PZP by hand injection and the
           treated mares were returned to their ranges. The HSUS has been collecting foaling
           information for the two herds since 2008. During the fall and winter of 2010-2011, the
           HSUS also began attempting remote delivery of PZP by darting as many of the
           previously treated mares as possible in a continuing effort to control population growth
           rates. The HSUS treatment protocol is combining the treatment of some mares with one-
           year PZP, as well as treating some mares using a newly developed dart that is designed to
           deliver PZP remotely. This is a novel approach for control of wild horse population


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           growth since the remote delivery of the pellets that make up PZP-22 had never before
           been attempted in a wild and free-roaming setting. The project is ongoing and is currently
           scheduled to continue with funding from the Annenberg Foundation until November of
           2013. The BLM is continuing to provide project review and staff support.
          The HSUS is also currently in discussions with the USFS concerning the Jarita Mesa
           Wild Horse Territory in New Mexico. The HSUS may be furthering their efforts to refine
           techniques for the remote delivery of PZP-22 to control the population growth rate on this
           Wild Horse Territory.

  Population Estimation Research
  Aerial surveys rarely detect all the wild horses and burros within an HMA. As a result,
  population estimates must be developed using statistical correction factors to account for the
  animals not identified during the census. The BLM’s research, conducted in partnership with
  USGS and Colorado State University, has identified two improved techniques as the most
  promising methods for population estimation (simultaneous double count with sightability via
  correction and photo mark re-sight). Both methods provide for the use of such correction factors.

  Population Growth Suppression - Other Methods Considered

        Vasectomies (Stallions): The focus of the past fertility control research has been mainly
         for mares. Given the social structure of the herds, mature males have the ability to breed
         dozens of mares within or outside of their harems. Existing research shows that under
         normal circumstances at least 15% to 33% of foals are sired by non-harem stallions;
         making it unlikely that fertility control focused on males would be effective in slowing
         population growth (Asa 1999, Bowling and Touchberry 1990, Kaseda and Khalil 1996).
         Although the technique has been developed, performing vasectomies on stallions is not a
         widely practiced procedure within veterinary medicine. Post vasectomy, it is expected
         that stallions would retain their stallion-like behavior. By contrast, gelding stallions
         (castration) is a routine veterinary procedure in both domestic and wild horses. Geldings
         usually lose most of their stallion-like behavior after a few months, are less competitive
         than stallions, and have fewer impacts on herd social behavior as a result. However,
         because of the continuing public interest in vasectomies as a tool for slowing wild horse
         population growth, the BLM has asked the NAS to determine if there is credible,
         scientific evidence to indicate vasectomies would be effective in controlling herd growth
         rates or if there are other methods that the BLM should consider for managing stallions
         that would tangibly suppress population growth.
        IUDs: Pilot studies using coil-type intrauterine devices (IUD) and glass balls or marbles
         as IUDs have failed to demonstrate a long-lasting effect on conception in mares. In both
         instances, the devices fell out and the mares became pregnant soon thereafter. The
         application of IUDs is further complicated by the difficulties associated with identifying a
         time window for application when mares are not pregnant before the devices can be
         implanted.
        GonaCon™: GonaCon™ is a fertility control vaccine that is experimental for horses and is
         being developed for potential use as a management tool for deer and horses. Previous
         studies indicate it is effective in maintaining infertility in horses for about one year ─
         comparable to the one-year formulation of PZP. A GonaCon™ vaccine on wild horses


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           managed by the National Park Service is ongoing in Theodore Roosevelt National Park in
           North Dakota. The BLM will consider the potential of GonaCon™ as a contraceptive
           agent based on the results of this research.

  Sales and Adoptions
  Over the past decade, adoptions of excess wild horses and burros have declined from a high of
  just over 7,700 animals in 2002 to just over 3,000 in 2010. Changing demographics and
  economic and other factors have made many Americans less willing to accept the challenge of
  taming and caring for an untrained wild horse. As a result, sales and adoptions of untrained
  animals have declined in recent years (Table 12). Despite these challenges, the BLM remains
  committed to finding as many good homes as possible for excess wild horses and burros, and has
  been working with partners capable of training wild animals.

  Table 12. Sales, Adoptions and Funding Levels
                                                                   To offer more trained animals for
   Year         No. Sold      No. Adopted         Costs
                                                                   adoption without a Federal
   2005           1,468          5,701            $5.198
                                                                   investment in infrastructure, the
   2006            643           5,172            $5.262
   2007            436           4,772            $5.295           BLM has increased the amount of
   2008            351           3,706            $5.174           funding for partnerships with
   2009            790           3,474            $6.797           organizations like the Mustang
   2010            545           3,074            $6.795           Heritage Foundation and the
   Total                                       ($ in Millions)     National Wild Horse Association.

  Sales
  Following Congressional approval of sale authority for certain categories of animals in 2004, the
  BLM has sold over 4,200 wild horses and burros “with limitations.” A Bill of Sale is executed by
  each purchaser; the Bill of Sale dictates the humane treatment and care of the animal(s) and
  prohibits re-sale for slaughter or commercial use. Sales involving the purchase of more than four
  animals are conducted by the BLM Washington, DC office. Short-term facility managers have
  the authority to sell up to four animals per sale.

  Adoptions
  The BLM implemented a number of adoption program initiatives during FY 2005 to FY 2010 to
  maintain or increase the number of animals placed in good homes (see Table 13).




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  Table 13. Summary of Adoption Program Initiatives and Results

   Program                        Description                                            Results
   Initiative
  FY 2005:
  Fostering     Participating volunteers in Eastern States,        About 400 animals have been adopted through this
  Volunteers    California and New Mexico gentle one or more       program to date.
                wild horses a year and help find an adopter for
                these horses.
  FY 2006:
  Letter        Letters sent to over 320 wild horse advocacy       Over 450 animals purchased by six advocacy
  Campaign      groups offering $100 from the Save the             groups. Of these, one group is under investigation
                Mustang Fund for each excess wild horse            for selling horses to slaughter in Mexico. Another
                purchased.                                         group ran out of money to feed the horses and was
                                                                   placed on trial for animal abuse.

                Letters sent to over 15,250 public land ranchers   No response from public land ranchers.
                from the BLM Director and the Public Lands
                Council Executive Director asking ranchers to
                adopt or purchase excess wild horses.

                Letters sent to over 100 Sport and Recreation      Groups educated about the Program, unknown
                groups by the Division Chief.                      effect.
  Equine        Saint Mary of the Woods College and Rutgers        Each year, five to eight wild horses are trained by
  University    University are using ungentle yearling horses in   each equine program and then adopted.
  Training/     their university’s equine program. Students
  Adoption      gentle the horses and assist BLM to adopt their
  Program       gentled horses.
  FY 2009:
  Pilot         BLM implemented a pilot adoption incentive         The number of four year and older animals adopted
  Adoption      program in an effort to increase the adoption of   has remained steady. Animals were eligible to start
  Incentive     horses four years old and older. Under this        receiving titles in May 2010. There were animals
  Program       program, a $500 incentive payment is made to       adopted through the pilot adoption incentive
                the adopter after one year when the adopter        program and all were titled.
                receives title to the animal.
  Ken           The BLM contracted with Ken McNabb, a              Mr. McNabb has been effective in educating over
  McNabb        respected horse clinician and television           564,000 viewers on the adoption program.
                personality, to tell BLM’s story through his
                weekly television program on RFD TV.
  National      In 2009, the BLM partnered with HSUS, Jerry        About 500 animals were adopted in events
  Adoption      Reynoldson, the American Horse Protection          sponsored mainly by the BLM. Only a few
  Day           Association, and the Mustang Heritage              advocacy groups participated. The focus shifted to a
                Foundation to sponsor the first ever National      National Adoption Awareness campaign in 2010.
                Adoption Day.




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  Volunteers
  The partnership between the BLM and volunteers is one of the best practices in the WH&B
  Program in all states. Volunteers assist the BLM to monitor the herds and their habitat while
  fostering public awareness about the importance of maintaining land and animal health. Some
  volunteers help the BLM to apply fertility control, or are very active at adoption events or
  helping to find qualified adopters for the animals. Many volunteers serve as mentors for new
  adopters and assist the BLM with adoption compliance once the animals are adopted.




                                                          Volunteers play an important role in
                                                          the Wild Horse and Burro Program
                                                          and contributed more than 114,000
                                                          hours valued at $2.377 million in FY
                                                          2010.



  Table 14. Volunteer Hours and Their Economic Value


                Volunteer           Economic
    Year         Hours               Value
                                                          As shown Table 14, the number of
   2005          145,230             $3.028               volunteer hours contributed to the
   2006          177,701             $3.705               Wild Horse and Burro Program has
   2007          147,096             $3.067
                                                          declined from a high of nearly
   2008          125,638             $2.619
   2009          125,081             $2.608               178,000 hours in FY 2006 to about
   2010          114,017             $2.377               114,000 hours in FY 2010.
                                 ($ in Millions)

  The BLM also works closely with several volunteer groups that apply their passion for
  America’s wild horses and burros by assisting the BLM with public education and outreach, herd
  and habitat monitoring, gathers, fertility control and adoptions.

  Volunteers represent the BLM and are subject to all applicable Federal rules and regulations.
  Assigned work is completed in accordance with the BLM’s policy using approved methods,
  techniques and procedures. Volunteers are prohibited from fundraising, addressing or
  commenting on policy or taking a position on pending legislation while acting on behalf of the
  BLM. The BLM has the responsibility to orient, train and supervise volunteers, ensure their
  safety, and to evaluate each individual volunteer’s conduct and performance.




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  Compliance and Enforcement
  To ensure that adopted animals have received humane care, the BLM conducts post-adoption
  compliance inspections. Some adopter’s animals are selected randomly for inspection and other
  inspections are completed by volunteers and BLM employees on a routine basis. All complaints
  alleging improper care are investigated; all adopted animals are inspected by the BLM or a
  qualified individual prior to ownership of the animal being transferred to adopters after the
  animal becomes eligible for title one year after adoption. If an adopted animal has not been
  treated humanely and the adopter fails to correct the situation in a timely manner, the BLM will
  repossess the animal in accordance with applicable Federal regulations. Table 15 provides a
  summary of the number of compliance inspections completed and the associated costs for FYs
  2005 to 2010.

  Table 15. Adoption Compliance and Funding Levels

               Compliance              Costs
   Year        Inspections
                                       $926
                                                         The number of compliance
   2005           6,023
   2006           6,406                $825              inspections completed during FYs
   2007           4,978                $816              2005 to 2010 has decreased,
   2008           4,388                $697              commensurate with a reduction
   2009           2,882                $665              in the number of excess animals
   2010           3,061                $630
                                                         adopted.
                                 ($ in Thousands)


  Environmental Education
  The BLM continues to develop and deliver environmental education programs about WH&B
  management to America’s youth. As an example, in FY 2007, the BLM partnered with the Sierra
  Nevada Chapter of the Girl Scouts of America to develop and implement a pilot Wild Horse and
  Burro Patch Project. This innovative program includes a field trip to learn about the
  management of wild horses and burros on the range, the BLM’s Adoption Program, and the
  humane care of the animals at short and long-term holding facilities. The BLM also participates
  in the annual Boy Scouts of America National Jamboree. Many of the BLM State Offices also
  work closely with the 4-H or other partners to host events such as Kids and Mustangs Days.
  These programs all share a common purpose: to share the story of America’s wild horses and
  burros in a meaningful and personal way.

  Save the Mustangs Fund
  The Save the Mustangs Fund (Fund) was established in May 2005 by the Ford Motor Company
  in partnership with the BLM and the Take Pride in America campaign. The Fund allows all horse
  lovers, young and old, to be involved with our nation’s “Living Legends.” Its goal is to raise
  public awareness of the urgency of wild horse and burro issues and to find good, caring homes
  for them. Since 2005, $236,099.75 has been donated by members of the public to the Fund. Of
  this, $208,300 has been paid out of the Fund for incentives for 501(c) 3 (non-profit groups) to
  purchase or adopt animals, for college equine wild horse training programs, and public
  education.

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  Mustang Heritage Foundation
  The Fleishman Hillard Marketing Study (2001) recommended the BLM create a National Wild
  Horse and Burro Foundation. The Foundation was created in 2003 through a partnership between
  the BLM and the Nevada Commission for the Preservation of Wild Horses. In 2005, the name
  was changed to the Mustang Heritage Foundation (MHF). In FY 2007, the BLM issued a
  solicitation requesting proposals for the training and adoption of excess wild horses. Following
  evaluation of the proposals received, the BLM awarded a grant to the MHF in recognition that
  trained horses are much more readily adopted than untrained animals.

  The BLM’s partnership with the MHF is a unique and ground-breaking effort to work with a
  private non-profit organization on a large scale to provide training and adoption of excess wild
  horses to qualified individuals. At the heart of this partnership are the following shared goals:

            Implement a number of pilot projects and other programs and activities aimed at
             increasing the number of trained wild horses available for adoption without a Federal
             investment in infrastructure; and
            Reach new and previously untapped adoption markets.

  Since September 2007, nearly 2,700 excess wild horses have been trained and adopted through
  various MHF Programs and events. Equally important is the marketing coverage which has
  directly benefited the WH&B Adoption Program through social media and the Internet (i.e.,
  YouTube, Facebook, Twitter, Trainer Blogs, etc.).
  Extreme Mustang Makeover Events
  Crowd-pleasing Extreme Mustang Makeover (EMM) events
  capitalize on a marketing and business model from the private
  horse industry to showcase the versatility and trainability of
  American mustangs. Each participating trainer has 90-100
  days to gentle their assigned mustang. Trainers then bring
  their mustang to a competition.

  During the competition, trainers are evaluated on the body
  condition of their mustang, as well as their ability to handle
  the horse "in hand" through a series of maneuvers which
  include picking up the horse's feet, maneuvering it through
  obstacles and loading it into a trailer. Following the "in hand"
  course, trainers mount their animals and complete a "horse
  course" that includes a series of obstacles that requires the
  trainer to demonstrate the level of competency the horse has
  accomplished. Trained horses are offered to the public for
  adoption. Trainers compete for substantial prize money in
  EMM events.
  Trainer Incentive Program (TIP)
  Trainers who meet the BLM’s minimum adoption, facilities
  and trailer requirements are eligible to train up to four mustangs at a time through the MHF’s
  Trainer Incentive Program (TIP). Participating trainers are required to pick up their assigned


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  mustangs from a designated BLM facility and to humanely care for the animal throughout the
  training period. Humane care includes providing the animals with ample water, good quality hay,
  and veterinary or farrier care as necessary. The use of natural horsemanship (least resistance)
  training methods is mandatory. Once the mustang has been successfully trained, the trainer
  identifies a qualified adopter and works with the BLM to complete the adoption paperwork.


  Youth and Yearling Program
  TIP trainers, sponsored by the MHF may also work with youth and their families to adopt and
  train yearling mustangs (filly or gelding colts 18 months of age and younger). TIP trainers
  sponsor a competition designed to showcase the youth’s gentled yearling. At the time of the
  competition, the youth’s family may take their mustang home by adoption, or offer the horse for
  reassignment to a new adopter.



       Youth and yearling events allow young people
       and their families to get involved  by adopting,
       training and caring for a living symbol of our
       nation’s history. Each youth’s family must meet
       the BLM’s minimum adoption, facility and trailer
       requirements to participate.




  Youth Employment Program
  In FY 2010, the BLM partnered with the MHF to implement a youth employment program. The
  program resulted in successfully training and adopting 150 mustangs. Through the assistance
  agreement with the BLM, the MHF employed 150 young people ranging in age 15 to 24. In this
  program, youth are offered a $1,000 scholarship to attend college.

  Program requirements included writing a history research paper, current issue paper, press
  releases, presentations to both youth and adult organizations, social networking, connecting with
  horses and their trainers while developing a business plan for their own horse training business,
  as well as an active role as camp counselors.
  Three youth camps sponsored by the MHF were conducted in 2010 with 130 students in
  attendance. Held at the National Cowboy Hall of Fame, the National Cowgirl Hall of Fame, and
  the Pan Handle Plains Museums, the camps employed more than 30 youth as camp counselors.

  Adoption Success
  Through the assistance agreement, the full unit cost to the BLM for the work performed by the
  MHF averaged $1,974 per adopted animal in FY 2010. This compares to a full unit cost for BLM
  adoptions of $2,856 per animal (2010 Federal Business Management System data).
  A review of adoption data from the BLM’s Wild Horse and Burro Program System (WHBPS)
  demonstrates a solid rate of adoption success for the MHF-sponsored training and adoption


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  programs (see Table 16). Adoption success is defined as: the adopted animal was not returned to
  the BLM; was not repossessed by the BLM for noncompliance with adoption requirements; and
  was titled to the adopter of record after successfully demonstrating one year of humane care. The
  BLM expects this trend to continue as we work together to improve these programs, events and
  activities.

  Table 16. Adoption Success, WHBPS Data for 2007-2010
                                                                                  * Adoption success
  Adoption                Description             Total       No.       Success   for the TIP program’s
   Type                                            No.     Successful    Rate     trained horses has
  EMM          MHF Events                          1,118    1,032        92.3%    increased over the
  TIP          MHF TIP Program                      959      730        76.1%*    past three years as
  Training     BLM Prison and Mantle Programs      1,098     966         87.9%    the BLM and the
  Facilities   BLM Facility Adoptions              5,799    4,917        84.7%    MHF work together
  Other        Internet and Satellite Adoptions   12,701    11,259       88.6%    to make
                                                                                  improvements to the
                                                                                  program.
  Wild Horse and Burro Program System
  In FY 2010, the BLM deployed a redesigned data management program called the Wild Horse
  and Burro Program System (WHBPS). The comprehensive computerized program system is a
  series of relational databases that function as the primary records for use by WH&B Program
  personnel. Additional data needed to manage the WH&B Program is included in geographic
  (land) information system (GIS) databases. Full utility of WHBPS is dependent on timely and
  accurate entry of data into the databases by BLM field offices.

  WHBPS tracks animals from gather to titling, as a result of the animal’s adoption or sale, or
  death if the animal remains in the BLM’s care and control. The numbers of animals in long-term
  pastures is annually confirmed through counts by experienced BLM personnel.

  The numbers of animals the BLM reports are a snapshot at a given point in time. As excess
  animals are removed, adopted or sold, transported to long-term pastures, or new population
  inventory data becomes available, the numbers change.

  Animal Welfare
  During FY 2009, the GAO found that the BLM had implemented multiple controls to help
  ensure the humane treatment of wild horses and burros. Included are:

          Prior to their closure in 2007, the BLM maintained standard operating procedures and
           agreements with all three slaughterhouses in the United States to alert the BLM about any
           wild horses entering their slaughter facilities.
          A variety of controls are used at various stages in the management of wild horses and
           burros which include standard operating procedures, inspections and data collection at
           gathers and in short-term corrals and long-term pastures and random checks on adopted
           horses and agreements with adopters and buyers to prevent slaughter.




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  The GAO also found that although offices collect data on animal treatment, the BLM does not
  always compile the information in its central database or report it to the public. The GAO
  recommended the BLM track the number of animals harmed or killed during the gather process
  in a centralized database. The GAO also recommended informing the public about the treatment
  of animals following their adoption and during gathers and in short and long-term holding
  facilities. The BLM is engaging in a number of activities to address these recommendations.

  Animal Care and Welfare Assessment
  For nearly 40 years, the BLM has protected the health and welfare of wild horses and burros to
  ensure their humane treatment. In FY 2010, as part of the ongoing commitment to animal care
  and welfare, the BLM implemented three pilot projects that are expected to contribute
  information that the BLM can utilize to develop and implement a CAWP:

          The BLM has partnered with the University of California at Davis to develop a “Wild
           Horse and Burro Care and Welfare Assessment Tool” which will define specific
           standards for wild horse and burro care and handling. Once fully developed, the BLM
           will have a template for continuous internal assessment of wild horse and burro care and
           handling from on-the-range through titling.
          Through a partnership with the American Horse Protection Association (AHPA),
           independent teams comprised of credentialed university equine specialists observed and
           reported on the BLM’s animal handling and care associated with wild horse gathers and
           at short-term holding facilities. The AHPA’s report was given to the BLM in November
           2010 and confirms the humane and effective use of helicopters and the easy pace at
           which the animals are moved during gather operations.
          The BLM invited an independent and external review by the American Association of
           Equine Practitioners to evaluate gathers, short-term corral facilities and long-term
           pastures. This review was completed in August 2011 and found that BLM’s care,
           handling and management of wild horses is appropriate. Several recommendations were
           provided to strengthen existing practices and that will be utilized in the development of
           the CAWP.

  In addition, the BLM has expanded its partnership with the USDA, APHIS: a multifaceted
  Agency with a broad mission area that includes protecting and promoting U.S. agricultural
  health: regulating genetically engineered organisms; administering the Animal Welfare Act; and
  carrying out wildlife damage management activities. These efforts support the overall mission of
  the USDA, which is to protect and promote food, agriculture, natural resources and related
  issues.

  Through the BLM’s partnership agreement, APHIS provides credentialed professionals with
  doctorates in veterinary medicine to make recommendations to the BLM for animal care and
  handling. These individuals possess extensive professional experience in humanely caring for
  and handling large animals, including equines, and are engaged in horse and burro gathers,
  incident investigation teams, research teams, and as needed to review and make
  recommendations to the BLM.



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  Mortality
  The OIG (Report No.: C-IS-BLM-0018-2010, December 2010) found that the BLM’s gathers to
  remove excess wild horses and burros are necessary and humane. “Our inspection confirmed that
  wild horse and burro gathers are necessary because BLM lands cannot sustain the growing
  population of wild horses and burros. The growing population of these animals must be
  addressed to achieve and maintain a thriving natural ecological balance of the authorized uses of
  the land, thus gathers are necessary and justified actions. Further, we did not observe any
  inhumane treatment of wild horses and burros.”

  The BLM’s gather data demonstrates that gather related mortality for wild horses and burros is
  much less than that associated with gathering other wild animals. Several reviews of data from
  wild horse and burro gather operations indicate that gather-related mortality is typically limited
  to about one half of one percent (0.5%) or less which is very low compared to most capture
  methods and capture operations for wild animals. The 2008 GAO Report (GAO-09-77, October
  2008) found that .47% of 24,855 horses gathered and removed from 2005 to 2007 in six states
  accidently died as a result of capture. The data affirms that the use of helicopters is a safe, humane,
  effective and practical means to gather excess wild horses and burros from the public lands.
  GAO also reported that because of the potential for harm and to help ensure the safe and humane
  handling of all animals captured, BLM has implemented a range of standard operating
  procedures for its gather contractors. They also cited that animals may be humanely euthanized
  due to preexisting conditions and in accordance with BLM policy. The gather statistics and
  BLM’s standard operating procedures underscore that excess animals above AML are removed
  safely. BLM’s goal is to remove animals before forage and water supplies become too limiting
  for growing populations and cause greater impacts and potential death to the animals.




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  Summary
  During FY 2005 through 2010, the BLM implemented a number of management actions to
  improve the management of America’s wild horses and burros. These changes ranged from
  issuing policy guidance to establishing a consistent approach for future AML revisions;
  increasing funding for aerial population inventories and fertility control and other population
  growth suppression research; inviting independent external reviews of the BLM’s animal care
  and handling practices; and increasing management transparency by providing opportunities for
  the public to view gathers, short and long-term holding operations and posting the results of
  gather operations including any mortality on the BLM’s website.

  The BLM’s Program Strategy includes fundamental changes for future wild horse and burro
  management. This strategy includes actions to improve the range-management of the animals,
  strengthen measures to ensure the humane treatment and care of wild horses and burros, and
  provide increased opportunities for public/ private partnerships in support of the program.
  Over the next two years, the BLM expects to be able to reduce removals of excess wild horses
  and burros from the range, significantly increase the number of mares treated with fertility
  control, implement other population growth suppression methods and work to boost adoption
  demand by offering more trained animals without a Federal investment in infrastructure. The
  BLM has called on the NAS to review previous wild horse management studies and make
  recommendations on how the BLM should proceed in light of the latest scientific research. The
  NAS report is expected in mid-2013.
  Placing the WH&B Program on a sustainable track will depend on careful consideration of the
  findings from the NAS review, and may result in a need to realign WH&B Program priorities
  and resources. Their findings, together with ongoing research into the development of longer
  lasting fertility control agent(s), and the use of existing fertility control agents and other
  techniques to suppress annual population growth will be important keys for the long-term
  success of the WH&B Program and will be a critical step for developing a sustainable
  management program for America’s wild horses and burros.




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    A Brief History of the Wild Free-Roaming
    Horses and Burros Act of 1971
    During the 1950s in Nevada, Velma B. Johnston, later known as "Wild Horse Annie," became
    aware of the ruthless and indiscriminate manner in which wild horses were being gathered from
    the rangelands. Ranchers, hunters, and "mustangers" played a major role in harvesting wild
    horses for commercial purposes. Wild Horse Annie led a grassroots campaign involving mostly
    school children. The exposure of how wild horses were being treated outraged people and
    ultimately got the public fully engaged in the issue. Newspapers published articles about the
    exploitation of wild horses and burros and, as noted in a July 15, 1959, Associated Press article,
    "Seldom has an issue touched such a responsive chord."

    In January 1959, Nevada Rep. Walter Baring introduced a bill prohibiting the use of motorized
    vehicles to hunt wild horses and burros on all public lands. The House of Representatives
    unanimously passed the legislation, which became known as the "Wild Horse Annie Act." The
    bill became Public Law 86-234 on Sept. 8, 1959, but it did not include Annie's recommendation
    that Congress initiate a program to protect, manage, and control wild horses and burros. Public
    interest and concern continued to mount, and with it came the realization that Federal protection
    and management was essential.

    By 1971, the population of wild horses had declined significantly because of the encroachment
    of man and the mustangers' elimination of the animals. In response to the public outcry, members
    of the Senate and House introduced a billed in the 92nd Congress to provide for the necessary
    management, protection, and control of wild horses and burros. The Senate unanimously passed
    the bill on June 19, 1971. After making some revisions and adding a few amendments, the House
    also passed the bill by unanimous vote. Then-President Richard M. Nixon signed the bill into
    law on December 15, 1971. The new law (Public Law 92-195) was titled the Wild Free-Roaming
    Horses and Burros Act of 1971.

    The Act declares wild horses and burros to be “living symbols of the historic and pioneer spirit
    of the West.” Under the law, the BLM and U.S. Forest Service manage herds in their respective
    jurisdictions within areas where wild horses and burros were found roaming in 1971. The 1971
    Act was later amended by the Federal Land Policy and Management Act (FLPMA) of 1976, and
    the Public Rangelands Improvement Act of 1978. FLPMA (Public Law 94-579) allowed for the
    Secretaries of the Interior and Agriculture to use or contract for the use of helicopters and
    motorized vehicles for the purpose of managing wild horses and burros on public lands.

    The Public Rangelands Improvement Act (Public Law 95-514) established or reaffirmed:

   the need for inventory and identification of current public rangeland conditions (through
    monitoring);
   the management, maintenance, and improvement of public rangeland conditions to support all
    rangeland values;
   the continuance of provisions protecting wild free-roaming horses and burros from capture,
    branding, harassment, or death while facilitating the removal of excess wild horses and
    burros that pose a threat to their own habitat and other rangeland resources;


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   and the transfer of the title of ownership after one year to individuals that adopted wild horses
    and burros removed from public rangelands, so long as the animals had received humane care
    and treatment during that year.

    To help carry out its assignment, the BLM established the Wild Horse and Burro Program,
    through which the agency manages and protects wild horses and burros, both on and off the
    range, while striving to maintain rangeland health.




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  Glossary of Terms and Acronyms
  Adoption Success - Adoption of horses and burros to qualified good homes.

  AML – Appropriate Management Levels – The desired number of adult horses or burros
  (expressed as a range with an upper and lower limit) to be managed within an HMA. Forage for
  WH&B (AUMs) is allocated based on the AML upper limit.

  APHIS - Animal Plant Health Inspection Service - Animal and Plant Health Inspection
  Service is an agency of the United States Department of Agriculture (USDA) responsible for
  protecting animal health, animal welfare, and plant health www.aphis.usda.gov.

  AUM – Animal Unit Month – The amount of forage (approximately 800 pounds of air dried
  forage) necessary to sustain one adult horse or two burros for one month.

  Authorized Officer - Any employee of the BLM to whom authority has been delegated to
  perform the duties of his job description.

  BLM - Bureau of Land Management - The Bureau of Land Management is an agency within
  the United States Department of the Interior which administers America's public lands, totaling
  approximately 253 million acres. www.blm.gov

  CAWP - Comprehensive Animal Welfare Plan - A comprehensive plan to ensure humane care
  and animal wellbeing throughout the lifetime of a wild horse or burro from the range through
  capture, holding, sale or adoption and post-adoption compliance in private homes.

  CTR - Catch Treat and Release - Type of gather were the principal goal is to apply fertility
  control measures.

  Emergency Gather - An unexpected event that threatens the health and welfare of a wild horse
  and burro population and/or its habitat. Examples include fire, insect infestation, disease or other
  events of a catastrophic and unanticipated nature that results in a necessary gather.

  Excess wild horses and burros - Wild free-roaming horses and burros which have been
  removed or which must be removed in order to preserve and maintain a thriving natural
  ecological balance and multiple use relationship in an area.

  Filly - Young female horse less than three years of age.

  Foal - Young un-weaned horse or burro of either sex.

  FS – U.S. Forest Service - The United States Forest Service is an agency of the United States
  Department of Agriculture that administers the nation's 155 national forests and 20 national
  grasslands, which encompass 193 million acres.



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  FWS - U.S. Fish and Wildlife Service - The United States Fish and Wildlife Service is a federal
  government agency within the United States Department of the Interior dedicated to the
  management of fish, wildlife, and natural habitats. www.fws.gov

  GAO - Government Accountability Office – The Government Accountability Office is the
  audit, evaluation, and investigative arm of the United States Congress. It is part of the legislative
  branch of the United States government. www.gao.gov

  Gelding - Male horse or burro that has been castrated.

  Habitat – The area or type of environment in which an organism or biological population
  normally lives or occurs.

  HA – Herd Area - Geographic areas of the public lands identified as habitat and were used by
  wild horses and burros when the Wild Free-Roaming Horses and Burros Act was enacted
  (12/15/1971)

  HMA - Herd Management Area – May be established in those HAs within which WH&Bs can
  be managed for the long term. HMAs are designated through the LUP process for the
  maintenance of WH&B herds. In delineating each HMA, the authorized officer shall consider the
  appropriate management level for the herd, the habitat requirements of the animals, the
  relationships with other uses of the public and adjacent private lands, and the constraints
  contained in 43 CFR 4710.4

  Hinny - Offspring of a male horse and a female donkey

  Herd Management Area Complex –Herd management areas that are managed in close
  proximity to each other and as a unit.

  HSUS – Humane Society of the United States - The Humane Society of the United States
  (HSUS), based in Washington, D.C., is the largest animal advocacy organization in the world.
  www.humanesociety.org

  Jack - A male donkey or burro.

  Jenny - Female donkey or burro.

  LUP- Land Use Plan - Tracts or areas that provide for the use of public lands. LUPs are
  prepared in accordance with established land use planning procedures in 43 CFR 1600 and
  pursuant to FLPMA.

  Mare - Mature female horse four years or older.

  MHF – Mustang Heritage Foundation - The Mustang Heritage Foundation is a 501 (c)(3)
  public, charitable, nonprofit organization dedicated to facilitating successful adoptions for


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  America’s excess mustangs and burros. Founded in 2001, its mission is to help promote the
  Bureau of Land Management’s National Wild Horse and Burro Program and increase the
  number of successful adoptions. www.mustangheritagefoundation.org.

  Mule – The offspring of a male donkey or burro and a female horse.

  NAS – National Academy of Science - The National Academy of Sciences is a corporation in
  the United States whose members serve pro bono as "advisers to the nation on science,
  engineering, and medicine." As a national academy, new members of the organization are
  elected annually by current members, based on their distinguished and continuing achievements
  in original research. www.nasonline.org .

  NEPA – The National Environmental Policy Act - NEPA is a United States environmental law
  that established a U.S. national policy promoting the enhancement of the environment and also
  established the President's Council on Environmental Quality (CEQ).

  NPS – U. S. National Park Service - The National Park Service is the U.S. federal agency that
  manages all national parks, many national monuments, and other conservation and historical
  properties with various title designations. It was created on August 25, 1916, by Congress
  through the National Park Service Organic Act. www.nps.gov.

  NRCS – National Resources Conservation Service - The Natural Resources Conservation
  Service (NRCS), formerly known as the Soil Conservation Service (SCS), is an agency of the
  United States Department of Agriculture (USDA) that provides technical assistance to farmers
  and other private landowners and managers. www.nrcs.usda.gov.

  OIG – Office of the Inspector General - The mission of the OIG is to provide independent
  oversight and promote excellence, integrity, and accountability within the programs, operations,
  and management of the Department of the Interior. www.doioig.gov.

  Population - All of the organisms that constitute a specific group or occur in a specified habitat.

  Porcine Zona Pellucida – PZP is extracted from pig ovaries. PZP is incorporated into the PZP
  vaccine to act as an antigen against which the treated mare produces antibodies.

  Porcine Zona Pellucida vaccine – The PZP vaccine acts as a foreign protein against which the
  treated mare produces antibodies which blocks fertilization of the mare’s egg. This makes the
  PZP fertility control agent a vaccine. *In January 2012, The Humane Society of the United
  States announced that the Environmental Protection Agency has approved the liquid form of PZP
  as ZonaStat-H, the first registered contraceptive vaccine for horses.

  PZP-22 – A PZP vaccine that will deliver approximately 22 months of efficacy.

  PZP-3 to 4 year vaccine – A PZP vaccine, still under development, that will hopefully deliver 3
  to 4 years of efficacy.

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  RMP – Resource Management Plan - A RMP is a land use plan that describes broad multiple-
  use direction for managing public lands administered to by the BLM.

  Save the Mustang Fund - The Save the Mustangs Fund was established in May 2005 by the
  Ford Motor Company in collaboration with the BLM and Take Pride in America. The fund was
  created to accept donations to help raise public awareness of the urgency of wild horse and burro
  issues and to find good homes for them.

  Stallion – Un-castrated male horse 4 years or older.

  SOP – Standard Operating Procedures

  SpayVac® -- An immunocontraceptive vaccine developed using liposome technology and the
  Porcine Zona Pellucida antigen.

  Stochastic - A random probability distribution or pattern that may be analyzed statistically but
  may not be predicted precisely.

  Title - Certificate of ownership transferred to an adopter of wild horses or burros after one year
  of humane care.

  USGS – U.S. Geological Survey - The United States Geological Survey is a scientific agency of
  the United States government. The scientists of the USGS study the landscape of the United
  States, its natural resources, and the natural hazards that threaten it. The organization has four
  major science disciplines, concerning biology, geography, geology, and hydrology. The USGS is
  a fact-finding research organization with no regulatory responsibility.
  www.fort.usgs.gov/WildHorsePopulations/

  Act - Wild Free-Roaming Horses and Burros Act - Law passed in 1971 to protect and manage
  wild horses and burros. www.blm.gov/wo/st/en/prog/whbprogram/history_and_facts.html

  Wild Horse and Burro Patch Program - An environmental education programs about WH&B
  management to America’s youth. BLM partnered with the Sierra Nevada Chapter of the Girl
  Scouts of America to develop and implement a pilot Wild Horse and Burro Patch Project.

  WH&B – Wild Horses and Burros -All unbranded and unclaimed horses and burros that use
  public lands within the 10 western states as all or part of their habitat, or that have been removed
  from the public lands, or have been born of wild horses or burros in authorized BLM facilities,
  but have not lost their status under the Wild Free-Roaming Horses and Burros Act.

  WHBPS – Wild Horse and Burro Program System - WHBPS is a centrally hosted web-based
  application that is only accessible by authorized government users through the BLM intranet.
  The new system covers the full range of activities related to management of wild horses and
  burros.


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  ZonaStat-H – The name of the first registered immunocontraceptive vaccine for horses
  approved and registered by the Environmental Protection Agency (EPA), formerly commonly
  referred to as PZP. See PZP in Glossary for further information.




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  Appendices
  Appendix 1: Summary of the GAO’s Findings, Recommendations
  and the BLM’s Response
  In FY 2009, the GAO released a report which examined the BLM’s Wild Horse and Burro
  Program (GAO-09-77). A summary of the GAO’s findings, recommendations and the BLM’s
  response follows:


   The BLM’s Progress in Setting AML


   The GAO’s Findings                The GAO’s                        The BLM’s Response
                                     Recommendations


          BLM has made                  Finalize and issue the        Issued the 4700-1 Wild Horses and
           significant progress           new Wild Horse and             Burros Management Handbook (June,
           toward setting and             Burro Program                  2010).
           meeting AML but has            Handbook that                 Revised and issued Manual Sections
           not provided specific          establishes a policy for       4700-4740 (June, 2010).
           formal guidance to the         setting AML to ensure
           field offices on how to        that AML is determined
           set AML.                       based on consistent
                                          factors across HMAs into
                                          the future.

   The BLM’s Progress in Meeting AML

          BLM was closer to          Continue to adopt and            Issued Instruction Memorandum (IM)
           meeting AML (about            employ statistically-based      2010-057, Wild Horse and Burro
           27,200 animals) in 2007       methods to estimate             Population Inventory and Estimation
           than in any other year        animal populations across       (February, 2010).
           since AMLs were first         HMAs to improve the            Conducted training for use of new
           reported in 1984.             accuracy of population          statistically based population survey
          The extent to which           estimates integral to           methods (August, 2011).
           BLM has actually met          BLM’s management of
           AML depends on the            wild horses and burros on
           accuracy of BLM’s             the range and in planning
           population counts.            for capacity needed for
           Most offices use a            excess animals once they
           method that researchers       are removed from the
           say consistently              range.
           undercounts animals.
           Undercounting can put


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           animals at risk and lead
           to increased program
           costs.

   The BLM’s Management of Animals Off the Range

          The number of animals           Develop cost-effective          On October 7, 2009, Secretary Salazar
           removed from the range           alternatives to the              sent a letter to U. S. Senate Majority
           is far greater than the          process of caring for wild       Leader Harry Reid outlining his proposal
           number adopted or sold,          horses removed from the          to put the Wild Horse and Burro Program
           resulting in increased           range in long-term               on a more sustainable track.
           need for short and long-         holding facilities and          The BLM has developed a strategy for
           term holding.                    seek the legislative             wild horse and burro management which
          Compared to average              changes that may be              incorporates the components of the
           adoption rates in the            necessary to implement           Secretary’s initiative.
           1990s, 36% fewer                 those alternatives.
           animals were adopted in
           2007.
          As of June 2008, the
           BLM was holding over
           30,000 animals in
           holding facilities, up
           from nearly 10,000 in
           2001.
          If not controlled, off the
           range holding costs will
           continue to overwhelm
           the program.

   The BLM’s Controls to Ensure Humane Treatment of Animals

          The BLM has                     Track the number of             Finalized and issued IM 2009-041
           implemented multiple             animals harmed or killed         requiring field offices to report the
           controls to help ensure          during the gather process        results of gather operations, including the
           humane treatment,                in a centralized data base       number of animals that died or were
           including random                 system and determine             euthanized, to the National Program
           checks on adopted                what information on the          Office July, 2010).
           horses and agreements            treatment of gathered           Posting monthly updates on gathers,
           with adopters and                animals, short and long-         sales and adoptions at www.blm.gov
           buyers to prevent                term holding animals,
           slaughter.                       and adopted animals
          Although the BLM                 could easily be provided
           collects data on the             to the public to help
           treatment of the                 inform them about the
           animals, the information         treatment of WH&B.
           is not always compiled
           in a central data base or


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                                                                                                         BLM_002119
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           reported to the public.
          Providing additional
           information to the
           public on the treatment
           of these animals could
           help inform the public
           about their treatment
           and improve
           transparency.

   Challenges in Managing for the Long-Term Sustainability of the Program

          The BLM has limited           The Secretary of the          The Department of the Interior and the
           options for dealing with       Interior and the BLM           BLM has met with key House and Senate
           unadoptable animals.           should discuss with            members and their staff regarding the
           The Act provides that          Congress and other             Secretary’s initiative, including
           un-adopted excess              stakeholders how best to       discussion of possible amendments to the
           animals shall be               comply with the Act or         1971 Wild Free-Roaming Horses and
           humanely destroyed or,         amend it so that the BLM       Burros Act.
           under certain                  would be able to comply.      The Secretary’s initiative was presented
           circumstances, sold                                           to the National Wild Horse and Burro
           without limitation.                                           Advisory Board on December 7,
           However, the BLM only                                         2009.The draft strategy was provided to
           manages these animals                                         the Board on March 11, 2011.
           through sales with                                           Met with key stakeholders regarding the
           limitations. BLM is                                           Secretary’s initiative.
           concerned about the                                          Engaged the public and key stakeholders
           possible reaction to the                                      in strategy development.
           destruction of healthy
           animals.




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  Appendix 2: Summary of the Office of Inspector General’s
  Findings, Recommendations and the BLM’s Response
  The OIG released a report which examined the BLM’s Wild Horse and Burro Program in
  December 2010 (Report No.: C-IS-BLM-0018-2010). A summary of the OIG’s findings,
  recommendations and the BLM’s response follows:

  The OIG’s Findings                The OIG’s Recommendations              The BLM’s Response
      Gathers to remove            1.   There is urgent and aggressive     In FY 2011, the BLM increased the number
       excess wild horses and            focus on research and testing       of mares treated with PZP fertility control to
       burros are justified.             of improved population              over 1,013 mares. Adjustment of herd sex
                                         control methods to balance          ratios to favor males is also planned in some
      The BLM’s care and                wild horse and burro                HMAs as an additional population growth
       handling of the animals           population growth with              suppression method.
       is humane.                        adoption demand, thereby           The BLM is pursuing with USGS, industry
                                         minimizing the need for             and academia research studies designed to
      Growing populations               additional long-term holding        develop longer lasting fertility control
       and waning public                 facilities and preserves.           agents. They are: (1) continuing research
       interest in horse                                                     with the University of Toledo (Ohio) on the
       adoptions, and                                                        development of a three-year PZP vaccine;
       mounting costs are                                                    (2) continuing work with USGS, Oregon
       straining the BLM’s                                                   State University and Telamar Laboratories
       ability to sustain the                                                on a five-year research project to evaluate
       Wild Horse and Burro                                                  the safety and effectiveness of SpayVac®;
       Program.                                                              and (3) evaluation of a research proposal for
                                                                             the development of a safe, effective and
      Continued unchecked                                                   humane surgical method for spaying mares
       horse population                                                      (ovariectomy).
       increases will result in a                                           The BLM is consulting with the NAS to
       growing need to hold                                                  determine if there is credible scientific
       horses, and                                                           evidence to indicate vasectomies would be
       commensurate increases                                                effective in controlling herd growth rates or
       in program funding.                                                   if there are other methods for managing
                                                                             stallions that would tangibly suppress
                                                                             population growth.
                                                                            Lastly, the BLM will review earlier research
                                                                             recommendations by the Wild Horse and
                                                                             Burro Advisory Board to determine whether
                                                                             recommendations were implemented, or are
                                                                             no longer relevant or need to be pursued.
                                    2.   There is an ambitious effort to    The BLM is seeking to reduce costs by
                                         minimize and reduce over the        implementing partnership eco-sanctuaries or
                                         long-term the need for short        Farm service Agency pasture programs
                                         and long-term storage               when it is equally or more cost effective to
                                         facilities.                         do so.
                                                                            The BLM will also boost annual adoptions
                                                                             to over 4,000 animals by offering more
                                                                             trained animals through the Mustang
                                                                             Heritage Foundation.




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  Appendix 3: Principle Reasons Some Herd Area’s Acreage is not
  Managed for Wild Horses and Burros

  Table 1: Acreage Managed for WH&B use in 1971 vs. 2011. All land ownerships, 53.8 million
   acres, that made up Herd Areas (HAs) are listed. The areas within the HAs where WH&B are
  currently managed are called Herd Management Areas (HMAs).
   Item                  Acres of        Other         Break Down of lands originally
                         Public          Landownership identified under the Wild Free-
                         Lands in                      Roaming Horses and Burro Act
                         Millions                      1971 and current status.
   HA Acreage (1971)     42.4            11.4               53.8

   HMA Acreage           26.9            4.7                31.6
   (2011)
   HA Acreage Not        15.5            6.7                22.2
   Managed Today


  Table 2: Detailed Summary of Reasons that 15.5 Million Acres of BLM Lands Are No Longer
  Managed for Wild Horses and Burros. Of the 42.4 million acres of public land originally
  identified within Herd Areas when the WFRHB Act was enacted, 15.5 million acres of BLM land
  are not currently managed for Wild Horses and Burros. Below is a breakdown of the Principle
  Reasons and Other Reasons that this acreage is not managed for Wild Horses and Burros.
  Reasons WH&Bs are not being managed on 15.5 million BLM acres are as follows


                                                Principle Reasons Some Areas Are Not
     Number of Acres
                            %                    Currently Managed for Wild Horse
   (Public Lands Only)
                                                            and Burro Use


                                    Significant portion of the HA not owned or controlled by the
                                    BLM, and water not owned or controlled by BLM and/or not
   3,003,023              19.4      available within the HA


                                    Significant portion of the HA not owned or controlled by
   2,464,758              15.9      BLM.


                                    Water not owned or controlled by BLM and/or not available
   2,054,319              13.3      within the HA.



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                                                                                     BLM_002122
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                                Federal legislation-BLM land transferred to Park Service
                                (1,447,776 acres), Forest Service (437,436 acres of which
                                165,568 are currently managed for horses and burros in
   1,935,238             12.5   territories) and other agencies.


                                Conflicts with other resource values or designations (such as
                                Threatened and Endangered Species, National Conservation
                                Areas, wilderness, etc.) that were not resolved in favor of wild
   1,645,758             10.6   horses and burros.


   11,103,096            71.7% SUBTOTAL



                                           Principle Reasons Some Areas Are Not
     Number of Acres
                           %                Currently Managed for Wild Horse
   (Public Lands Only)
                                                       and Burro Use



                                Land was inappropriately designated as part of the Herd Area
                                (i.e., The animals observed when making the determination of
                                use were actually privately owned horses identified as such
   1,342,382             8.7    only after the claiming period provided for in the 1971 Act).


   860,991               5.6    Unsuitable habitat-unproductive land or inadequate forage.


                                Other reasons -- such as Department of Defense withdrawals,
   703,532               4.5    etc.


                                Areas where the long-term management of wild horses and
                                burros was not feasible (e.g., animals would not stay in the
   392,836               2.5    Herd Area, the presence of multiple fences, etc.).


                                Areas where wild horses and burros could no longer be
   310,663               2.0    managed as a result of various Federal Court decisions.




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                                  Herd Areas with herd sizes too small to allow for effective
                                  management over the long-term (i.e., less than a handful of
   266,718                1.7
                                  animals present at the time the Act passed; thus genetics
                                  concerns).


                                  Land exchanges -- BLM land transferred to private or state
   156,471                1.0
                                  ownership.


                                  Inappropriately or mistakenly designated as a Herd Area (i.e.,
   142,686                .9      areas of public land with no animals present at the time of the
                                  passage of the Act).


                                  Critical habitat component absent or not controlled -- such as
   113,185                .7
                                  winter range or summer range.


                                  Areas where habitat fragmentation has occurred as a result of
   65,595                 .4      highway corridor fencing, etc., to the extent that management
                                  of wild horses and burros is no longer possible.


                                  Areas impacted by urban expansion to the extent that effective
   39,553                 .3
                                  management of wild horses and burros no longer possible.


   4,394,612              28.3% SUBTOTAL




        Total Number of Acres of Public Land Currently
       Found within Herd Areas that are not Managed for          %
                   Wild Horses and Burros


   15,497,708                                                 100.0%     TOTAL




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                                                                                     BLM_002124
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   From:              Bolstad, Dean
   To:                Russell, Gregory; Ryan Sklar
   Cc:                Michael Mottice
   Subject:           Fwd: Draft Strategy
   Date:              Tuesday, August 29, 2017 9:58:30 AM
   Attachments:       2017 Congressional Report082817.docx


   Greg and Ryan,
   Attached is the latest version of the WHB Strategy due for delivery to Congress by Nov. 5. As we discussed last
   week, please review this version. Mary Jo Rugwell is the lead for the project asked if you complete your review by
   this Friday, September 1st. Can you make that deadline?

   Mike Mottice is the Project Manager who is in control of the document. Please send your edits to Mike using
   Word's track changes and comment boxes. The document hasn't gone to the professional editor yet so there are
   formatting things that will be remedied by the editor.

   Thanks in advance for you review and a quick turn around. Call me if you have questions.

   Dean


   Dean Bolstad
   Division Chief, Wild Horse and Burro Program
   Washington Office (WO-260)
   (202) 912-7648 Office
   (775) 750-6362 Cell

   ---------- Forwarded message ----------
   From: Mottice, Michael <mmottice@blm.gov>
   Date: Mon, Aug 28, 2017 at 8:47 PM
   Subject: Draft Strategy
   To: Mary Jo Rugwell <mrugwell@blm.gov>, Kristin Bail <kbail@blm.gov>, Steve Tryon
   <stryon@blm.gov>
   Cc: "Bolstad, Dean" <dbolstad@blm.gov>, "Holle (Hooks) Waddell" <hhooks@blm.gov>,
   Michael Reiland <mreiland@blm.gov>, Jason Lutterman <jlutterman@blm.gov>, Alan
   Shepherd <ashepher@blm.gov>


   Here is the latest version of the strategy. I made numerous changes in response to Kristin's
   comments. I also addressed the funding issue as we discussed today.

   Major changes are:

   1. Removed budget chart and addressed budget issue with language on reprogramming and
   supplemental approps on page 18/19 per group discussion.

   2. Added more comments in the public opinion section from 2012 strategic plan per Kristin
   and Dean's comments.

   3. Added how the strategy is or is not consistent with the summit notes.

   4. Added attachment 5 for Michael to note basic cost data used to build the excel spreadsheets



                                                                                                        BLM_002125
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   per Kristin's comment.

   5. I will add some more info (later this week) on the BLM's response to the IG and GAO
   reports per Kristin's comments.

   6. Dean will add a short history (later this week) on how we got to AML briefly in about 2006
   without sale and euthanasia tools and how we got in the predicament we are in now.

   7. Dean will add a short summary of other findings from the NAS report (later this week).

   Follow-up.

   Dean will provide to Solicitors for review and comment by COB this Friday. All reviewers
   should make changes or comments directly in the doc on google drive if possible. Kristin, you
   now have access on googl drive.

   Comments from internal BLM reviewers should be completed by COB Friday as well.

   Mike




                                                                                     BLM_002126
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   From:                       Russell, Gregory
   To:                         Michael Mottice; Bolstad, Dean
   Cc:                         Ryan Sklar
   Subject:                    Re: WHB Report to Congress/Strategy
   Date:                       Thursday, August 31, 2017 8:17:03 PM
   Attachments:                2017 Congressional Report082817 + RS GR edits.docx


   Mike and Dean – here are our comments on the draft strategy. Is it going to come through DTS? Our
   management would like to see the final draft version before it issues. Thanks!


   —Greg

   ________________________
   Greg Russell
   Division of Land Resources
   Office of the Solicitor
   Department of the Interior
   202.208.4327
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                                                                                                                                              sender   dissemination,
                                                                                                                                                      immediately  and




   On Thu, Aug 31, 2017 at 10:23 AM, Bolstad, Dean <dbolstad@blm.gov> wrote:
      Thank you much.

      Please send the comment to Mike Mottice with copies to me. If you and Ryan can send only one track change
      document that would be nice, but if not possible we are good with two documents.




      Dean Bolstad
      Division Chief, Wild Horse and Burro Program
      Washington Office (WO-260)
      (202) 912-7648 Office
      (775) 750-6362 Cell

      On Thu, Aug 31, 2017 at 9:28 AM, Russell, Gregory <gregory.russell@sol.doi.gov> wrote:
          Dean – I got your voicemail; we’ll transmit our comments by tomorrow.

          On Wed, Aug 30, 2017 at 4:57 PM, Sklar, Ryan <ryan.sklar@sol.doi.gov> wrote:
           Dean,

             Greg will correct me if I'm wrong, but that getting you our comments by COB on Friday
             should not be a problem.

             Ryan

             On Wed, Aug 30, 2017 at 4:55 PM, Bolstad, Dean <dbolstad@blm.gov> wrote:
                 Hello Greg and Ryan,
                 Mary Jo asked to to confirm that you will be able to review and comment by Friday COB?

                 Thanks




                                                                                                                                                     BLM_002127
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             Dean Bolstad
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        --

        Ryan Sklar
        Attorney-Advisor
        Office of the Solicitor
        U.S. Department of the Interior
        202-208-3039


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                                                                                                     BLM_002128
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   From:          Bolstad, Dean
   To:            Michael Reiland
   Subject:       Adv Brd Recommendations
   Date:          Tuesday, October 3, 2017 3:55:09 PM
   Attachments:   2016 April Meeting_WHB Adv Bred Recs 2016.September.27.docx




   Dean Bolstad
   Division Chief, Wild Horse and Burro Program
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                                                                                BLM_002129
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    BLM Response to April 13-14, 2016 Wild Horse and Burro Advisory Board Recommendations

  Recommendation #1: The National Wild Horse and Burro Advisory Board asks the BLM to
  continue to work toward full implementation of previously accepted recommendations of the
  Board and prioritize according to BLM matrix of meeting AML.

  BLM Response:
  The BLM accepts this recommendation and will conduct work within the limitations of available
  resources that contributes to the achievement of AML in the highest priority areas. Priority work
  includes continuing to conduct gathers to achieve AML in all greater sage-grouse habitat
  sagebrush focal areas by 2020; continuing research to develop more effective contraception
  methods and implementing them as they become available; reducing off-range holding costs by
  acquiring more pastures to reduce corrals numbers freeing up funds for on-range management;
  increasing the number of trained animals offered for adoption; piloting an adoption incentive
  program; increasing animal availability to adopters through new storefronts with emphasis in the
  East; developing and implementing new internet adoption capability; and procuring the services
  of a professional marketing firm.

  Recommendation #2: The National Wild Horse and Burro Advisory Board recommends BLM
  create a crisis/emergency plan in case of severe drought or natural disaster that necessitates
  removal of either over 1,000 horses or over the amount BLM can hold in short-term holding
  facilities. The situation would be triggered by a BLM determination that animals are ‘imperiled’.

  BLM Response:
  The BLM accepts this recommendation. In fiscal year 2016, $500,000 was held in reserve for
  the removal of imperiled animals. In addition, fire rehabilitation funding has been available for
  the removal of animals from wildfire areas. To date about 200 imperiled animals have or are
  being removed. Larger scale removals will begin compromising the ability to conduct priority
  removals to achieve AML in greater sage-grouse/sagebrush focal area habitat; conduct court
  ordered removals; mitigate public safety and health issues; remove from private lands outside of
  HMAs; and initiate field research.

  Recommendation #3: The National Wild Horse and Burro Advisory Board recommends BLM
  make it easier for trusted trainers or MHF or other organizations to acquire sale eligible and
  ‘riding desirable’ (based on age and adoptability) horses.

  BLM Response:
  BLM accepts this recommendation in part due to the Board’s suggestion during the development
  of the recommendation to reduce or eliminate the paperwork requirements for reliable or
  “trusted” trainers who purchase horses. The requirements for purchasing an animal involve the
  completion of an Application to Purchase and a signature on a Bill of Sale that commit the buyer
  to provide humane care. BLM doesn’t anticipate reducing these requirements but greater efforts
  will be made to increase the availability of “riding desirable” sale eligible animals for enrollment
  into BLM’s partnership with the Mustang Heritage Foundation, who utilizes reliable trainers for
  training and placement into private care.



                                                   1


                                                                                         BLM_002130
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  Recommendation #4: The National Wild Horse and Burro Advisory Board support efforts by
  BLM to engage professional marketers to identify and attract appropriate demographic segments
  in order to increase mustang adoptions.

  BLM Response:
  The BLM accepts this recommendation and recognizes the need for a comprehensive and
  consistent marketing strategy that effectively supports the placement of animals into private care
  and raises awareness of wild horse and burro on-range management. The BLM has issued a
  solicitation to procure the services of a marketing firm and plans to issue a contract by October 1,
  2016. The contractor will assist BLM to build on the existing brand; develop a marketing
  strategy; create marketing and communication products; and provide professional guidance
  based on recent market research acquired by BLM under a different contract.

  Recommendation #5: The National Wild Horse and Burro Advisory Board recommends BLM
  create and pilot a Mustang Mentoring program consisting of a two-week on-site training
  conducted by a qualified trainer at a short-term holding facility for up to 10 horses and 10
  adopters.

  BLM Response:
  The BLM accepts this recommendation and would like to develop this concept through
  additional work with the board.

  Recommendation #6: The National Wild Horse and Burro Advisory Board urges BLM to
  institute the volunteer strategy as soon as possible (September 2015 Recommendation # 10
  which states “Develop strategy to train and use more qualified volunteers to support wild horse
  and burro activities, off-range and on-range.)

  BLM Response:
  BLM accepts this recommendation. A formalized process and strategy for a volunteer program
  has been discussed and will be developed when personnel are hired to lead this initiative. In the
  interim, field offices will be encouraged to continue using and expand the use of volunteers for
  both on-range and off-range management activities. The Washington Office will consider
  offering financial incentives through a “Division Chief Challenge” to encourage and support
  field offices who initiate new programs to engage community groups and/or volunteers to
  advance on-range population management endeavors such as those recommended in the
  following Recommendation #7.




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  Recommendation #7: The National Wild Horse and Burro Advisory Board encourages state and
  local BLM offices to embrace volunteers to document wild horses with photography, work with
  local offices to create a sustainable management plan, and enable qualified volunteers to
  participate in the implementation of the sustainable plan including the use of reversible
  contraceptives.

  BLM Response:
  The BLM accepts this recommendation and will provide encouragement to BLM field offices as
  per BLM’s response to the preceding Recommendation #6. BLM retains its authority and
  responsibility for the development of herd management plans. Volunteers and other members
  of the public can contribute to the development of management plans through the NEPA
  process. Once management plans and implementation actions are determined, local offices can
  engage volunteers and community groups to assist.

  Recommendation #8: The National Wild Horse and Burro Advisory Board would encourage
  aggressive use of all tools in the tool box as addressed in the Board’s September 2015
  Recommendation #16, which reads “Prioritize use of currently available tools in the field to
  reduce population growth right now and implement promising new tools as quickly as they
  become available.”

  BLM Response:
  The BLM accepts the recommendation and recognizes the need to implement an aggressive
  fertility control program utilizing available tools and new methods as they become available.




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                                                 Courtyard Marriot
                                             Salt Lake City Downtown
                                                345 West 100 South
                                             Salt Lake City, UT 84101

                          Wild                  October 10-11, 2018
                          Horse
                           and
                          Burro
                           Program
                                                        Volume 1
 U.S. Department of the Interior
 Bureau of Land Management                    Day 1 Meeting Minutes
 NATIONAL WILD
 HORSE & BURRO                                 U. S. Department of the Interior
ADVISORY BOARD                                  Bureau of Land Management




                                                                   BLM_002133
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Wednesday, October 10, 2018
Welcome
Mr. Fred T. Woehl, Jr., Chair, Wild Horse and Burro Advisory Board
Mr. Woehl called the meeting to order at 8:00 a.m. and asked any Veterans to first stand and then asked all to stand and
join in the Pledge of Allegiance.
Mr. Woehl turned the time over to Dan Adams.

Rules of the Room
Dan Adams, Facilitator, The Langdon Group
Mr. Adams, serving as the meeting’s facilitator, introduced himself and reviewed the rules of the room. Mr. Adams
mentioned that it is our hope and intent that by everyone listening and following these rules, we’ll have a good meeting.
Mr. Adams also reviewed the emergency exit procedure in the case of an emergency and the location of restrooms. The
rules of the room were as follows:

1. Seating is available for attendees. Anyone needing or wishing to stand will stand in the designated area behind the
    seats. All attendees are to stay in the seating or standing area at all times, unless addressing the Board during the
    public comment period.
2. Speakers and other attendees will not approach the dais at any time without prior consent from the Chair of the
    meeting.
3. Media will check in at the door and will be guided to the space designated for cameras.
4. No attendees will be allowed to place microphones, cameras or other equipment in the space set aside for the Board
    meeting.
5. All attendees will show mutual respect for each other and for speakers and Board members. This includes refraining
    from using cell phones or talking while the meeting is in session.
6. If anyone disrupts the meeting they will be asked to leave or be escorted out.
7. Those wishing to address the Board will sign in at the door. Speakers will address their comments to the Board, while
    seated at the designated speaker table. Generally, speakers have about 3 minutes each and are asked to finish in the
    designated time to allow for the maximum number of individuals to express their viewpoints.
8. Attendees wishing to provide handouts to the Board will leave handouts with the BLM representative at the door.
    Handouts will not be brought to the speaker’s table and no one will be allowed to approach the Board with handouts.
9. Within the meeting room, attendees may not display signs, placards, or other items that are likely to obscure the view
    of participants or disrupt the meeting.
10. The Board will not respond to comments made during the public participation period. This should not be interpreted
    to mean the members of the board agree or disagree with anything said.
11. The Chair reserves the right to comment on any factual inaccuracies that may be shared during the public comment
    period.
12. The BLM commits to maintaining these rules for the benefit of all involved and appreciates everyone’s cooperation
    with these rules.




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Introductions
Mr. Woehl asked the board members to introduce themselves (see Table 1).

                          NATIONAL WILD HORSE & BURRO ADVISORY BOARD MEMBERS
                             Board Member                        Representing
                    Mr. Fred T. Woehl, Jr.        Public Interest (Equine Behavior)
                    Ms. Ginger Kathrens           Humane Advocacy
                    Mr. Ben Masters               Wildlife Management
                    Mr. Steven Yardley            Livestock Grazing
                    Dr. Tom Lenz                  Veterinary Medicine
                    Ms. Celeste Carlisle          Wild Horse & Burro Advocacy
                    Dr. Barry Perryman            Public Interest (NRM/Special Knowledge)
                    Mr. James French              Natural Resource Management
                    Dr. Sue M. McDonnell          Wild Horse & Burro Research
                        Table 1 - National Wild Horse and Burro Advisory Board Members

Mr. Woehl introduced Ms. Kristin Bail and turned the time over to her.

Opening Remarks
Kristin Bail, Dedicated Official for the Bild Horse & Burro Advisory Board, Director of Resources and Planning, BLM

                       Ms. Bail thanked everyone for being there and knows that many of you traveled a long ways to be
                       there. She is impressed by the passion and dedication of everyone involved in the program and the
                       people that care about the horses and range land. Ms. Bail thanked everyone for attending and
                       thanked those attending on the livestream. She also thanked the great group of folks that travel and
                       do an amazing amount of setup to bring the live stream to us, thank you for your work on that. She
                       thanked the Advisory Board members for their services, their contribution to dealing with tough,
                       complex and important issues. She mentioned that Dr. Sue McDonnell, one of the board members,
   Ms. Kristin Bail    had a previous commitment and would be unable to attend in person, but would be participating by
                       phone. Ms. Bail thanked Dr. McDonnell for taking the time to continue to participate. Ms. Bail
joined Mr. Woehl in welcoming the new members of the board. It takes a large team to put these meetings together. Ms.
Bail thanked the Washington D.C. office, Wild Horse & Burro staff, and Ms. Dorothea Boothe, the Public Affairs
Specialist for the National Wild Horse and Burro Program in Washington D.C. Ms. Bail also introduced Mr. Bruce
Rittenhouse, the Acting Division Chief, Wild Horse and Burro Program, BLM.

Ms. Bail continued, this will start two days of dialogue on a variety of issues. The healthy, constructive dialogue is for the
board members. We have the privilege of having a variety of important presentations. That is to inform all of us as we
move forward in the program to help the board provide recommendations to the Bureau of Land Management. We
continue to look for the Board’s and our presenter’s insights as we work toward having a healthy, productive, and thriving
ecological balance for our horse herds.

An Advisory Board is a special privilege because the Federal Advisory Committee Act gives boards the right to provide
group advice to an agency, something that can only happen within a chartered advisory board. The board is here to offer
advice and recommendations for the secretaries of both interior and secretary of agriculture.

Of note, formal board recommendations are done by a vote, but that vote does not require 100% consensus. We do
encourage that the board members work to achieve consensus, but these are tough issues. It is tough because we all have
strong, valid approaches to what should be done, and we don’t always reach agreement. We want to continue to have that
diverse, important, challenging dialogue, and move together to reach consensus where we can. We also want to honor the
fact that there are diverse opinions. We continue to look for ways where we have interactions and cross pollination, and
more importantly, also have a close tie to what is going on in the field. For example, the Resource Advisory Councils
(RACs) are close to what is happening on the ground in their areas and how to inform what is going on in local
conditions. Ms. Bail looks forward to the dialogue and hopes that we can build on our successes, continue to roll up our


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sleeves and deal with our challenges, and work toward the thriving ecological balance we all seek. We want to continue to
work toward thriving relationships on behalf of the land and very importantly on behalf of the wild horses and burros.
Thank you.

Ms. Bail was then asked to introduce the first presenter, Brian Steed. Ms. Bail introduced Mr. Steed as a son of Utah who
knows western issues. He cares about western issues and has been very engaged.

Approach to Manage Wild Horses and Burros
Brian Steed, Deputy Director for Policy and Programs, BLM

                  Mr. Brian Steed is the BLM’s Deputy Director for Policy and Programs. Mr. Steed said that it has been
                  a real pleasure working with the people in the BLM. This is an important issue. It is an issue that
                  inspires a lot of passion. It is important that we have a dialogue. Speaking to the Board, Mr. Steed said
                  that you have been given a difficult job. This is an issue that inspires many strong emotions and those
                  emotions are often communicated to you all. I appreciate your passion. The protection of wild horses
                  and burros is at a critical juncture. No action is not an option. Allowing the present course is contrary to
                  the BLM’s mission. We have seen negative consequences for the environment. We believe that healthy
                  horses and rangelands equals healthy communities. That’s what we are striving for on the range. Off-
range, we are working hard to find placement into good homes for horses after some of them have been removed from the
range:
    • On-range Vision – healthy horses & rangelands equals healthy communities
    • Off-range Vision – removals from the range equals placement into good homes

Those two visions work together and can’t be separated. I would also be remiss in saying this is not only the BLM vision
but the Secretary of the Interior who asked me to address this in a direct manner. There are many horses on the range;
currently we sit at multiple times of what was deemed to be the appropriate management levels. As a result, we are seeing
impacts on the range, also impacts on the bottom line of the BLM where we spend an additional portion of the yearly
appropriations budget on horses gathered off the range.

Mr. Steed continued and pointed out that these visions align well with BLM’s overall mission of multiple use and
sustained yields both for future and present generations. That means it’s critically important to achieve the vision for the
offline population as well as on range to do that. We hope to find a permanent home for all of the horses removed from
the range.

The following are some consequences of overpopulation:

    •   Overpopulation causes degradation of animals on the range and impacts to local communities. Congress in 2017
        noted the failure to address these problems will result in irreparable damage to the landscape and created the
        Consolidated Appropriations Act of 2017: “The failure to address these problems will result in irreparable damage
        to the landscape and the welfare of the animals protected by the Wild Free-Roaming Horses and Burros Act.”
    •   Overpopulation causes degradation of habitat and competition with wildlife. There are many examples of wild
        horses and burros, as water sources become scarce, keeping other wildlife at bay from water sources. Horses are
        trying to reach as much water as they can, and this will also have severe impact to the springs over time.
    •   Overpopulation causes decline in the health of wild horses and burros. As the competition for resources increases,
        we have noticed a decline in the health of horses and burros. It's important, I think, that we pay attention to the
        consequences of our choices as we are going forward.
    •   Overpopulation causes destruction of private property and creates a public safety issue. As there is increased
        competition for resources, horses will travel. Horses and burros have sought reprieve on private property. This has
        led to issues of public safety. Again, healthy range lands equal healthy communities.

Mr. Steed continued: we are faced with a number of difficult choices as an agency, and indeed are turning to the advisory
board for good ideas on what is a pressing problem every single year. Mr. Steed mentioned that there are two things that
he views as threats to the BLM: wildfire and wild horses. We are in a trend line to where horses are consuming a large
portion of our budget. We are not entirely sure how to get in front of that in the timeframe that we have.

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The BLM has a budget of $81 million per year for this program, over half of that is spent on housing horses off-range. We
have limited tools in the tool box. One of the tools we have used as aggressively as we can of late is gathers. Gathers
remains an important part of the management portfolio. This year has been particularly rough, where we have animals in
declining health, and animals that are clearly on a pathway to where they won't survive in certain areas.

The Secretary of the Interior has instructed us to look for additional means of population growth suppression. We
submitted a report to congress that details several options on pathways forward. One of the options that was presented
there included extensive use of population growth suppression, methodologies, both including temporary vaccine based as
well as spay and neuter techniques. We are pursuing both as expeditiously as we can given the constraints that we face.
Mr. Steed thinks both certainly have merit. The value of both mean that the more population growth suppression we
employ on the range, the less need we have for gathers and long term holding of the animals, which is a costly endeavor.
We look to doing more of that in the future, and we continue to do that as aggressively as we can. We are also engaged in
an active research program to improve fertility control methods through vaccine-based as well as spay and neuter
techniques.

Mr. Steed addressed off-range horse management as well. We had about 46,000 horses in holding at the beginning of this
year. Each of those horses will cost, depending on what we do with them over short-term or long-term holding, it could
cost about a billion dollars to care for the horses over their lifetimes. This year we have an additional 11,000 horses off of
the range. We have not seen the exact numbers yet on how many horses, but it's almost certainly north of 50,000 horses
off-range. That means the price tag of holding the horses long term is increasing. We are looking for aggressive means to
move the horses into good homes, looking to pursue adoptions and sales. One of the things upcoming is adoption
incentives; potentially a $1,000 dollar incentive, distributed $500 at the time of adoption, and $500 at titling of the horse.
We are seeing the animals and how they are doing so we are able to make sure we abide by the mandates of the Act in
terms of adoption. This is a novel idea. We'll be rolling out the adoption incentive this fall. We hope to increase the
number of sales to good homes as well. We have been partnering with a variety of partners to increase the number of sales
and make sure they are going to homes that treat them well.

Lastly, Mr. Steed expressed that we can't do this by ourselves. We are looking for partnerships with anyone willing to
partner with us to make sure that we can maintain a viable horse and burro population and to maintain healthy horses on
the range. We have been in discussions with many advocacy groups as well as a variety of other groups. The BLM has a
fixed appropriation on this, and so while we are as creative as we can be, we also need as much help from our partner
organizations as possible.

The BLM is moving ahead on new innovative tools and strategies to address on-range population and increasing
placement of animals into good homes. Mr. Steed is absolutely optimistic that as we go forward and educate as many
people as possible on this issue, there are real long-term solutions. We probably have to make hard decisions, but Mr.
Steed is optimistic that we can make the decisions and have a viable and long-lasting program beneficial to the range as
well as the horses. He then welcomed questions.

Mr. Woehl pointed out that the incentive program was a Board recommendation from 2015 and the Board is please to see
that coming back.

Mr. Ben Masters mentioned that it means a lot to have someone from this level of the BLM come to a board meeting and
shows that they are dedicated to tackling this issue. He hopes that the same dedication exists within congress. We’ve
wanted to have this meeting in Washington for that reason, to engage. Mr. Masters asked, is this topic being discussed in
Washington D.C.? Do people want to find a sustainable solution? Are they willing to put money into making that happen?
What is the talk on Capitol Hill regarding this topic?

Mr. Steed responded that he works for the administration and it is hard to gauge all of the talk. He has been asked about it
many times by colleagues and this shows that there is a real interest. Mr. Steed believes there is interest on Capitol Hill
and that there is increased awareness that the way things have been done in the past is probably unsustainable. It is either
going to take more money or more tools.

Mr. Steven Yardley asked about the two major concerns, wildfire and wild horses. Both have implications on the


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rangeland. There is a lot of publicity about wildfire, is there a lot of urgency or publicity regarding wild horses and
burros?

Mr. Steed said that the response is mixed. He has had a lot of opportunity to discuss it. There is an increased
understanding about what is going on and we are working on it. This is a slow-burn (in keeping with the analogy) and
there is not a lot of consensus on what to do about the problem whereas there seems to be consensus on what to do about
wildfire.

Mr. Yardley pointed out that sometimes the fire that burns the slowest, burns the most.

Dr. Barry Perryman pointed out that our challenges aren’t going to be fixed without active involvement of congress. Dr.
Perryman stated that he is not sure that congress has the political appetite to take this up. It may be because they are
uninformed. There may be other things that take priority of their time, for example. Some states don’t have the problem
that Nevada has. The fact of the matter is that we have many of our herd management areas (HMAs) that overlap with
threatened/endangered (T/E) species habitat. We are in the middle of an ecological train wreck and congress needs to
know. Dr. Perryman asked, do you think, in your opinion, it would be helpful to have a meeting with the Advisory Board
in Washington D.C.?

Mr. Steed responded that the more attention we bring to this, the better outcomes we will see. Furthermore, Mr. Steed
pointed out that this may be a question of tradeoffs, from an economic perspective. Every dollar I spend on keeping a
horse in long-term holding is a dollar the federal government doesn’t spend someplace else or doesn’t go into the deficit.
That’s a conversation worthy of having. Mr. Steed continued that tradeoffs on the range, for every additional horse on the
range, there are tradeoffs regarding vegetation, wildlife, and habitat. The more information about this topic the better.

Mr. Jim French thanked Mr. Steed for coming and pointed out that the Board may be tasked with a job that has no
solution or there is no appetite for a solution. Mr. French stated that one of the places we are dropping the ball is that after
the fire is out, we are faced with a reclamation disaster. For example, after the Martin fire, the fire took the grass out of the
ecosystem. The budget support for the reclamation that needs to occur there in the next 18 months isn’t there. We have
about 18 months in much of the Great Basin before we lose the habitats to invasive species. Mr. French asked, what is the
perspective relative to the reclamation budget? We have an ecological disaster that is going to create much bigger
problems down the road that we haven’t seen.

Mr. Steed acknowledged and stated that they are aware that reclamation is an enormous priority. We have to balance the
resources and the priorities. We report to Congress, they are our boss.

Mr. Yardley followed-up the questions from Mr. French and Dr. Perryman with a question regarding a paradigm shift. He
pointed out that although Congress is your boss, if there were an issue with wildfire, it is the responsibility of the agency
to report the issues to Congress. Could there be a paradigm shift to inform Congress of the dire economic needs to deal
with wild horses?

Mr. Steed pointed out that BLM cannot lobby Congress, but that yes, they can inform. He spends a lot of time talking
about the issues with members of Congress and the resource needs that exist.

Bureau of Land Management, Utah
Ed Roberson, State Director, BLM Utah

                 Mr. Roberson explained that BLM Utah manages nearly 23 million acres of public lands representing
                 about 42 percent of the state and 32 million subsurface acres. The economic output (FY2017) is
                 measured amongst seven industries and accounts for 25,000 jobs. There were 7.9 million visitors to
                 BLM Utah’s public lands in FY2017 and supported 5,203 jobs and contributed $577.7 million in
                 economic activity to the state of Utah. Our priorities are Energy Independence, Shared Conservative
                 Stewardship, Safe Borders, Job Creation, and Serving America. Mr. Roberson also reviewed Utah’s
                 Watershed Restoration Initiative that was established in 2006 as a partner-driven effort to conserve,
restore, and manage ecosystems. To date, 1,902 projects have been completed on 1,560,073 acres with an investment over


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$207 million throughout Utah. In FY2017, BLM contributed $10.5 million in funding.

Mr. Roberson pointed out that the partnerships is part of an all hands, all lands approach. We are providing continuity on
the ground and working as good neighbors with others to pool together our resources to focus on the highest priority
activities and projects and to reduce administrative implementation. We are improving our restoration activities, and over
the time period of the last 13 years, we have treated 1.4 million-acres, 400-miles of stream restored to proper
conservation, and healthy watersheds. Because of these efforts, Mr. Roberson said that you can see islands of juniper
converted back to range land and shrub land to host the sage-grouse as well as 300 other species as well as providing
healthier lands for wild horses, wildlife and livestock. These are all opportunities for the public and visitors to see an
intact landscape. Mr. Roberson then turned it back to the Board for any questions.

Ms. Ginger Kathrens mentioned that we had a great tour yesterday with Gus Warr and Lisa Reid (BLM) at the Onaqui
Mountain HMA and that they showed us the signage and information provided at kiosks in the HMA. Do you have plans
for that for all of the HMAs in Utah? People love to see wild horses and if the signage is there, that would be great.

Mr. Roberson referred to Mr. Gus Warr, the Utah Wild Horse and Burro Lead with the BLM, to answer that question in
his presentation

Mr. Yardley asked that with all of the activities and economic outputs from lands under the direction of the BLM, where
do you see the excessive numbers of wild horses and burros and ecological damages occurring in the long list of problems
and priorities?

Mr. Roberson again referred to Mr. Gus Warr and Mr. Mike Styler, the Executive Director of the Utah Department of
Natural Resources, to answer that question.

Bureau of Land Management, Utah Wild Horse & Burro Program
V. Gus Warr, Wild Horse & Burro Program Lead, BLM Utah

Mr. Gus Warr introduced himself and then expressed that he had a great trip yesterday and he hopes that the Board
enjoyed it as much as he did. He expressed thanks to the members of the Board and their willingness to be on the board.
Mr. Warr spent the last 28 years with the BLM in the wild horse and burro program.

Mr. Warr explained that Utah has an amazing horse and burro team. We are a small state. We have two full time horse
and burro experts (specialists) in the state of Utah. We have three others across the state that work in the horse and burro
program but also have other duties (dual hat). There are three facility workers. And we have one, wonderful, full-time
public affairs officer, Lisa, who you met yesterday. Mr. Warr explained that what makes our management team successful
is people like Ed Roberson, at the head, clear down to our field manager and district managers. They support us as a team
and are able to get things done. Mr. Warr is proud of that coordination and work.

In Utah, Mr. Warr explained that we have two off-range facilities. The Delta facility is a 300 animal facility and is inside
the city limits. And we have the Axtell facility, a burro contract and horse contract facility. There is a contract for 1,000
horses and 1,200 burros. There is also an off-range pasture in central Utah near Fountain Green.

Mr. Warr explained that there are 19 herd management areas (HMAs) in the state within 29 herd areas (HAs). 17 of the
HMAs are for wild horses and two are for wild burros. For information, between 1998 and 2006 we did extensive gathers
and identified 98 individuals positive for equine infectious anemia off of public lands that had to be euthanized. This is
very unique, something other HMAs don't deal with.

There are estimates of 2,000 plus horses on tribal land that go back and forth to the BLM. Through land use planning, we
have been able to focus on where we can manage the horses effectively. For example, you can see the original herd area of
the Onaquis is large, and unfortunately, a lot of it has no water source. There is also the issue of the military land that is
adjacent to the herd area. After consideration, we identified 200,000-acres is what we can manage on the Onaquis. Each
zone within Utah has their own management challenges and opportunities.



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Mr. Warr continued showing maps of the state with the HMAs and referred to the southeast part of the state, including the
Muddy Creek and Sinbad areas that are managed by BLM. Robert's Roost is an area that was a HMA, but there is not
effective water there (we couldn't keep a population of 25 to 30 animals there because of a lack of water). In 2008 the land
use plan went through the public process and determined that we can't effectively manage animals there. There are still
horses there. There are other populations that are self-regulating that are not in HMAs. We are active in how to better
manage the 5,100 animals in the state of Utah, down from 2017 (we were up to 5,800 roughly). We estimate there are
approximately 4800 horses and 344 burros today (plus or minus 15%). Mr. Warr explained that BLM has been active in
removing animals in 2017 and 2018. The appropriate management level (AML) for Utah is just under 2,000. Even though
we have been actively removing, trying to do the best we can, we are two and a half times where we should be.

Mr. Warr pointed out that Utah is not as bad as some states. The BLM is working hard at being, and has been, effective in
some areas, but we have a long way to go. We have had four very dry months in Utah. Mr. Warr showed the U.S Drought
Monitor dated September 18, 2018 and explained that the whole west is in a drought condition. That dictates in a big way
what BLM does and pushes us in one direction or another when it comes to long-term management. We deal with the
water issue every year on many of the HMAs. In 2016, there were so many horses without water, we had no choice but to
bring water to them or they would be compromised, and we would have to do an emergency removal.

Mr. Warr pointed out that most of the issue is the water. The BLM tries to improve the water sources so we don't have to
haul water. There are cases where the BLM has had to euthanize horses that can't walk because of lack of water. Mr. Warr
said that he will not go into an area to see a horse in that condition and not relieve that suffering.

Mr. Warr expressed that the long-term solution is keeping the numbers in check. As for signage, to Ms. Kathren’s
question, the signs are critical in future management to educate the public. We talk a lot about the herd in the Onaquis,
where people love the horses to death. But, they start petting them, feeding them and making pets out of them, that's the
concern BLM has. The kiosks, Mr. Warr, said he would love to see them across the state.

Mr. Warr talked about partnerships. He mentioned the partnership with the Mustang Heritage Foundation, a competition
between mustangs and domestic horses and have convinced many domestic horse owners into adopting mustangs because
they are blown away by what they can do. Mr. Warr pointed out many other possibilities for public awareness in the state
that the BLM uses, including displaying wild horses at the local zoo, a 4-H program and similar youth programs we do, all
of which are great partnerships.

In summary, Mr. Warr explained that Utah is two and a half times AML. There are several HMAs that are four or five
times over what they should be. The extended drought periods and water limitations create even more problems. Mr.
Warr suggested that perhaps we need to look at the AMLs. For example, if we don't have enough water to sustain the
populations, do we develop more water or do we reduce AML? There are public safety and private property issues to deal
with as well. Mr. Warr turned it over to the Board for questions.

Mr. Woehl asked Mr. Warr to explain the difference between an HMA and an HA.

Mr. Warr explained that a herd area (HA) is the original 1971 designation. After the Act was passed in 1971, there was a
period between ’73, ’74, and ’75 where each district had to identify where wild horses were found. Sometimes that was
done on the ground, by helicopter, or fixed-wing airplane. The BLM made a circle on a map and said that’s where they
were found. After that, the BLM had to identify within the HA, where can we effectively manage the horses. A herd
management area (HMA) has to fall within a herd area. HMAs are a subset of the HA.

Mr. Woehl asked Mr. Warr to explain social media posts about a gather that occurred in Utah where some of the
comments were not very flattering.

Mr. Warr thanked the chairman for bringing this up. He explained that there was a gather called the Muddy Creek gather
where they removed 150 horses. There was a situation with passionate people that love horses. Mr. Warr explained that he
loves that about this program, that people are passionate and love the animals. He went on to explain that he had been
accused on social media of making fun of the emotional people at the gather but that he had not been up where the people
were, rather he had simply asked the law enforcement team to be there to make sure everything went well. The gather


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went really well.

Mr. Masters asked if BLM Utah has synopsis or have any data of the number of horses that are outside HAs.

Mr. Warr explained that out of the 4,800 animals in Utah, there are 300 to 400 animals outside of the HA boundary.
There are a subset of 800 to 1,000 animals that are within HAs but not in HMAs. They still fall under the Act.

Mr. Masters stated that he is not familiar with any data that support the claims of mountain lion predation.

Mr. Warr would refer to Dr. Peterson, that he may be able to answer that question for the Board and that he will be at the
meeting tomorrow.

Mr. Yardley referred to his question to Mr. Roberson, that there are a lot of activities, economic activities on public land
in the state of Utah. As far as on the list of priorities and problems we are faced with, Mr. Yardley asked, where are the
ecological problems occurring?

Mr. Warr explained that it is not uncommon to get questions from the BLM director regarding the wild horse and burro
problem we are facing. It is a priority in the state of the Utah, because it impacts the livestock community, interest groups
and many more, this is a priority program.

Dr. Tom Lenz asked if all the horses, as they are removed, are tested for anemia, and to explain if the BLM goes back to
any horses remaining to test them.

Mr. Warr explained that when the BLM gathers horses, the BLM contracts with the State Veterinarian to test them onsite
and the BLM won’t ship them to a facility until they have been tested. In cases where they test positive, the BLM
institutes a quarantine onsite where the animal is in quarantine for several months on public lands. This is rare, but we
have to hold the animals and test them.

Mr. French asked that if the 1,100 or so that were gathered this year were gathered based on emergency conditions or
were they scheduled?

Mr. Warr responded that a couple of them were emergencies, however most were scheduled. There was one private land
gather where there were wild horses on private land. In one emergency gather, there was a lack of water, not on the entire
HMA. And the rest were planned.

Mr. French asked if there is a lead for the 4-H programs mentioned and that this would be a good opportunity for Nevada.

Mr. Warr explained that Idaho kicked it off and there are now multiple states doing the same program. The program is
working well and that BLM could help connect the 4-H leaders to help each other.

Dr. Perryman referred to the drought monitor and asked, how are you using the drought monitor in your decision-making
process?

Mr. Warr responded that he encourages the field specialist, when they are doing an analysis on doing a gather or not, to
use the information in the drought monitor as part of the analysis. He explained that BLM has encouraged its staff to look
at not only utilization or trends, but use the drought data. This data is predictable and provides a clear picture of where we
are right now. There is also a rain gauge we use in the field.

Dr. Perryman pointed out that the drought monitor is based on surface water availability. There are some years you can
have all kinds of feed on the ground but there’s no water, basically. There have been issues where some of the BLM
offices have been relying exclusively on the drought monitor and it can be off base what is happening on the ground.

Mr. Warr agreed that it is one piece of data in the analysis. They have to look at the local data, the local trend, monitoring
data, utilization, all of the factors.


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Ms. Celeste Carlisle pointed out that the Onaqui HMA is often referred to (or looked to) as a successful fertility program.
Ms. Carlisle mentioned that this herd has approachable horses and a team supportive of doing this, including the state
lead. That's really important. Other field offices have looked to Utah for advice and practicality and the do’s and the
don'ts. Ms. Carlisle asked then, what are your limitations for 60 at this point instead of 100, are there reasons you are not
just saying 80% of the mares or whatever?

Mr. Warr responded that one of the biggest challenges is that there is a mob, the large group of horses. Those are
approachable, however there are sub-populations on the Onaqui Mountains that are not as approachable. The BLM
recently held a training this summer where there were half a dozen individuals taking the training. The identification of
the individual animal is key. Making sure you have the database and making sure you can identify each individual mare so
you know which animal you are darting. We don't want to haphazardly dart any mare. We want to be precise in what we
do. There are limitations on the horses in the Onaquis. Another example, Mr. Warr stated, is Muddy Creek. There are a
subset of the Muddy Creek that are approachable, however there are a lot of those in Muddy Creek you can't get within a
mile. Mr. Warr explained that their approach is to take what they can get; any suppression will support the program in the
long run.

Ms. Kathrens pointed out that in some cases, like in McCullough Peaks HMA, the transition from a herd not being
approachable to being approachable happened over only two or three years, once the public begin to engage the herd.

Mr. Warr concluded that the BLM direction is to look at each HMA and determine what is the applicability of darting. At
every level, we need to do what we can and use all of the tools we have.

10:00 a.m.: 15-minute break

Mr. Woehl introduced the BLM Acting Division Chief, Wild Horse and Burro Program, Mr. Bruce Rittenhouse and
turned the time over to him.

Bureau of Land Management, National Wild Horse & Burro Program
Bruce Rittenhouse, Acting Division Chief, Wild Horse & Burro Program

Mr. Rittenhouse first acknowledged the Board and thanked them for being here. He also thanked the BLM wild horse and
burro staff that are dedicated to this program. Mr. Rittenhouse pointed out that the people in this program care very much
about the animals and that it is their main motivation for being in the program. He pointed out that the division chief
position may be one of the most challenging positions in the bureau and that he is honored to be in this position.

Mr. Rittenhouse pointed out that the Wild and Free-Roaming Horses and Burros Act of 1971 was meant to protect wild
horses and burros as a component of public lands managed in a manner designed to achieve a thriving ecological balance.
We’ve heard those words several times already, “thriving ecological balance,” which falls in line with the mission to
sustain diversity and productivity for the use and enjoyment of current and future generations. Unhealthy horses is not a
thriving ecological balance. Mr. Rittenhouse pointed out that HMAs are not the exclusive use of land, rather the land
consists of multiple uses, including other wildlife habitat, rangeland, and many other opportunities. Another component is
determining minimum feasible level. That term, along with “thriving ecological balance”, have never been defined.

Mr. Rittenhouse continued, as of March 2018, there are about 82,000 animals. From the facilities holding report, 48,000
animals. This past year we adopted or sold 4,647 animals, an increase of 600 from last year. We are 7,000 short of
meeting the goal of putting animals into homes that have been removed off of the range. As a nation, we are three times
over the appropriate management level (AML) on the range.

Mr. Rittenhouse stated that we are at a crossroads. He emphasized that no action at this moment is not an option. There
are consequences of inaction. He shared an example of the Antelope Valley HMA where they are over seven times AML,
and over six years have seen dramatic losses of soil near water sources, primarily from horses.

Mr. Rittenhouse pointed out that there has been a decline in private care adoptions and sales of wild mustangs and there


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are several factors. We are better at moving animals into long-term care simply to reduce current costs. Estimates vary
year by year, but roughly, we use the numbers of cost, $5 a day per animal in a corral and $2 per day in a long-term
pasture. However, there is an escalation of costs. One day to feed 36,500 horses in our pastures is $73,000. One year is
$26 million. For the lifetime of the animals, assuming 15 to 20 years, approximately $500 million. If we add the corrals,
you add another $500 million, for a total of $1 billion. Mr. Rittenhouse stated that we are at a fork in the road, and then
asked, what fork are we going to take?

Mr. Rittenhouse stated that the Advisory Board has a key role in what fork to take. The information has been presented,
we know that nearly every HMA is overpopulated. We are starting to see a lot more degradation of the public lands in the
HMAs, with soil loss, vegetation changes, and that emergency gathers are increasing. Mr. Rittenhouse reiterated a
response to Dr. Perryman regarding the drought monitor, stating that there are processes in place to consider drought
conditions when requesting emergency gathers due to resource conditions. We are dealing with emergency gather requests
because of resource conditions, but also because of cases where the animals are damaging private property. There are
multiple tools, including expanding temporary fertility control and exploring permanent fertility control. There are cases,
as has been mentioned, where darting is not feasible. The BLM is always looking for ways to increase adoptions and sales
by expanding the markets and reaching new audiences for adoptions. One way to do this is to strengthen and expand
partnerships, we know we can't do this alone, and the BLM needs people's help and assistance. BLM has great partners at
the national and local level and are trying to work on expanding the use of volunteers. There are partnerships with other
agencies, for example, the BLM has adopted 400 animals to the U.S. Border Patrol. There is interest from other law
enforcement agencies, state and local. Mr. Rittenhouse opened it up for questions.

Mr. French pointed out that, based on the numbers for long-term and short-term holdings, and the budget presented, that
we will exceed the program budget within six years. He pointed out that it's unsustainable and unsustainable in a short
period of time. He then asked, is congress fully aware of where this is headed right now?

Mr. Rittenhouse referred to Mr. Steed’s presentation and earlier response. Mr. Rittenhouse thinks there are some that are
aware, but believes they really become aware when their constituents write them letters. He pointed out that the public
needs to really be engaged and that we can help really look at a long-term vision rather than just snapshots in time. It does
begin with curbing population growth first. In response, Mr. Rittenhouse continued that to get congress engaged is to
really have the public engage them and to have networks of advocacy groups that provide information to Congress is
helpful.

Mr. French followed up with a question regarding the management side of Mr. Rittenhouse’s presentation, and asked, by
concentrating horses in a location based on artificially providing water, are we even thinking about what the ramifications
are to those other obligate species that have been impacted by the shortage of water as well? Are we exacerbating the
problem by artificially watering the horses that remain in that location and enabling the behavior that they become
dependent on it? Are there impacts to the ecosystem by doing so?

Mr. Rittenhouse agreed and stated that it removes the free-roaming aspect of their livelihood. The BLM has debated about
whether to haul water or not haul water and considers how and when management practices would potentially exacerbate
the impact to the ecosystem.

Mr. Woehl asked whether there is any part of the 1971 law that says you have to haul water?

Mr. Rittenhouse stated that he is not aware of any part of the law that requires the BLM to haul water. The BLM considers
how their actions impact ecosystems, in the example of degradation around artificially water provided by the BLM.

Ms. Kathrens asked how the 27,000 number (for AML) of wild horses and burros that could live in the west was arrived
at?

Mr. Rittenhouse explained that AML is based on range capability, water, the habitat of horses in conjunction with
permanent grazing and wildlife use. There was reference in the Academy of Sciences report that perhaps AML was not
determined in a scientific way. In summary, if we have horses in HMAs that we have to haul water to every year, that
would not meet a minimum feasible level of management standard and removes the free-roaming aspect of the animals.


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AML was determined based on range condition, forage, site potential, the availability of water and cover, as well as
permanent uses.

Ms. Kathrens referred to the BLM’s presentation on healthy range land and genetic variability contend that a healthy herd
is variable. She acknowledged that it is a balancing act, but stated that she thinks the 27,000 number seems incredibly low.
We should consider whether AML was determined scientifically and that perhaps there needs to be a reevaluation of
AML.

Mr. Rittenhouse stated that AML was determined using the best information available at the time. AML will always be
adjustable based on the data and information.

Mr. French offered some insight into the determination of AML: AML was established by a group of people sitting
around the table with a set of maps and overlays and considered everything from watershed management to big-game
management to species management to permitted livestock as well as other users on the ground. The process was
deliberative. We considered genetic viability. The process was a deliberative process, it wasn't a flipping of the coin. It
was understood at the time that AML could be adjusted, both up or down, based on data at the time. Mr. French was not
involved with setting a nationwide number, rather he worked on the management areas for which he had some
responsibility.

Ms. Kathrens pointed out that it seems the intent was to involve the best people on the ground in the area where they
work, have knowledge, and have responsibility.

Mr. Yardley referred to Mr. Rittenhouse’s comments about a major event happening if something isn’t done. He asked,
what a major event would look like if we continue the status quo from both an ecological standpoint, from the range the
animals run on and for the animals themselves?

Mr. Rittenhouse stated that we are seeing a decline in health in some areas and that as the problem gets worse so does the
decline in health. As for the range, Mr. Rittenhouse agrees that we’ll see further degradation of lands like invasive species
encroachment or spreading, resource degradation, vegetation changes, soil loss, soil changes, displacement of animals and
other wildlife

Mr. Yardley asked, which of those happens first? The ecological crash or the population crash?

Mr. Rittenhouse responded that he thinks we are seeing an ecological crash in several areas and that we have crossed the
threshold in many areas making it hard and difficult to reverse. With wildfire, we can manage the reclamation, in some
cases, fairly easily, through reseeding and moving livestock off the land. But, with the horses, we remove horses, we dart,
we do things and even if we got to AML, there is no chance for restoration or reclamation, the horses are still there.

Ms. Carlisle pointed out that we hear a lot of doom and gloom projections. She asked, if we maintain the status quo, does
the BLM have good predictions what can occur with layered management approaches? She pointed out that the problem is
the population growth rate and asked, what management areas address population growth and has the BLM modeled,
using economies of scale, these outcomes?

Mr. Rittenhouse responded that we get to AML based on certain actions. Mr. Alan Shepherd will talk about that more this
afternoon and will present options that have been presented, from full implementation of the act to current management
practices. Mr. Rittenhouse deferred to Mr. Shepherd later this afternoon.

Dr. Perryman pointed out that we have been talking about management paradigm changes over most of his career. He
pointed out that some HMAs are in good shape where things are doing well, and perhaps those just need a management
tweak every now and then to maintain things. However, there are other HMAs where we have already lost ecological
potential, we have lost three feet of soil, and the AMLs associated with those sites have now been automatically
decreased, the carrying capacity is no longer what it was. Dr. Perryman explained that there is going to have to be critical
assessments of the AMLs, up and down, based on the data. There are cases where we have limiting seasonal habitat for
sage grass that overlaps the preferred habitat for horses and burros. Dr. Perryman explained that more horses and better


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brood habitat are mutually exclusive. He then asked, does your gather authority include threats to other wildlife habitat?
Has the BLM had discussion on that?

Mr. Rittenhouse responded that yes, and in identifying priorities for gathers. In the past year, BLM has considered habitats
for other species as one of those priorities. $4 million of sage-grouse funds in FY2018 was used for gathers that have been
planned (these are not emergency gathers) and BLM hopes to do that again this year, combining resources. BLM has
encouraged states to identify projects on the ground that are for restoration and enhancement of sage-grouse habitat and
work together where our needs overlap.

Dr. Perryman asked whether it is in the BLM’s emergency gather authority to go out and remove horses from the priority
habitats?

Mr. Rittenhouse stated that emergency orders have mostly to do with the health of the horses and burros and that perhaps
the policy needs to be reviewed. Sage-grouse is just one example, there are desert tortoise, and many others. Other
revisions include revising the adoption manual to include the incentive program, for example.

Ms. Carlisle asked how BLM prioritizes areas selected for gathers? Is it based on AML only, or sage-grouse habitat, or
both, or others?

Mr. Rittenhouse deferred to Mr. Shepherd and mentioned that in cases where an HMA also has sage-grouse habitat, this
would likely be a priority gather. The BLM does consider other protections in place when considering gathers.

Mr. Woehl directed the group to break for 5 minutes and

Utah Department of Natural Resources
Michael Styler, Executive Director, Utah DNR

                  Mr. Michael Styler, the Executive Director of the Utah Department of Natural Resources, introduced
                  himself. The Utah DNR has a dynamic department of 1,500 employees responsible for natural
                  resources, geologic surveys, state parks and more. Mr. Styler is a fourth-generation owner of mustangs.
                  The Utah legislature is concerned about the impacts from the wild horse and burro population,
                  especially in the last year, we suffered the driest year in our history. We have been working for many
                  years to offset the effects of invasive species and drought. We have great partners with the BLM to
                  work on our watershed restoration work.

Mr. Styler walked through how DNR has partnered with the Natural Resources Conservation Service (NRCS) of USDA,
the Fish and Wildlife Service, the Forest Service, and private landowners to lessen the impact of wild horses, including
the removal of brush and then reseeding. This is a great solution for sage-grouse habitat in the state. There are areas, for
example, that are used for livestock, horses and elk, as well. DNR partners for funding and was able to use nearly $9
million to do some of the projects he was showing on his slides. DNR looks at the carrying capacity of the land and
considers the cattle, sheep, elk, deer and horses it can support. We can manage livestock, but there is no way to manage
the number of horses.

Mr. Styler went on to discuss how things are changing. DNR held a Wild Horse and Burro Summit last year that mirrored
some of the information and presentations you are hearing at these meetings. Ultimately, the science was very clear about
what is happening with wild horses and burros. The Utah Legislature, for example, gave DNR more budget after that
summit. Mr. Styler continued, explaining that there are opportunities to partner and work together. A good example of this
was a soft gather that DNR was willing to pay for on private property. The horses were baited into a corral and they shut
the gate behind them, without the use of helicopters and with no stress to the horses. There were 93 or 94 horses gathered
in that case. DNR does not care whether it is on private land or public land, we want to reduce the problem, we have a
wonderful relationship with BLM, and we are working together to identify other ways to reduce the problem.

Mr. Styler talked about the drought in Utah, that the impact of last winter’s and summer’s drought means there is no grass
on the ground. Now, since October 1, we have had rain, and the ponds might be full, but there is no grass. This has DNR


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especially concerned. DNR has wildlife resources to deal with. There have been more fires this year. DNR reseeds after
the fires, and on a positive note, met with the Utah State Governor's staff, gave them the proposed budget of $6.2 million,
and they didn't bat an eye. The Governor’s office understands that our reclamation effort (reseeding after a fire) is simply
something we have to do and is an important part of what the department of natural resources does.

Mr. Styler pointed out that we have to have a balance because we believe in multiple use. That is the foundation of the
DNR, multiple use. If, together, we are providing for the users of the land, we will have a healthy landscape. If we have
healthy landscape, the water will be taken up by a root system and will recharge the aquifers in the spring. Mr. Styler went
on to state that in responding to the drought, Utah has increased the elk tag numbers by 700 to reduce elk populations,
increased the bison permit numbers to 220, and increased the pronghorn tags above 50. Cattlemen in Utah have
voluntarily removed livestock because there is no feed. There is a need for a similar effort with wild horses and burros
and management is key. Mr. Styler feels that BLM is trying to do their part, but that their hands are tied. He doesn't know
if the political will in the country exists to do what needs to be done, but that DNR is committed along with its partners
and the BLM to do whatever it takes to have healthy watersheds and maintain the balance that needs to be there so
wildlife and livestock can live together in a healthy ecosystem. He asked the Board for questions.

Mr. Woehl stated that the the majority of the Board agrees with Mr. Styler that we need to have a cooperative effort made
with all stakeholders, and for all of the best use of the range.

Mr. Yardley thanks Mr. Styler for partnering to have a positive impact on the land by replacing viable feed and wildlife.
This is a step in the right direction in fire prevention, getting these areas to have a higher carrying capacity.

Mr. Styler pointed out that the grazing improvement program, where they help ranchers develop new water sources, help
with fencing, help to have more scientifically managed grazing and more intensive short-term grazing, is a win-win for all
involved. Both parties present projects and the projects with the most benefit are selected and completed together. A good
example of this is a recent project with fire resistant cover that DNR planted. It has stopped fires and is a win-win for
sage-grouse habitat and the rangeland in that area.

Mr. Woehl asked about bush hogging that the DNR does, and Mr. Styler showed a video of a front-end loader with a
grinder to remove/reduce junipers that are then reseeded with the cover and grasses from that area.

Ms. Kathrens referred to the Wild Horse and Burro Summit and asked if there was going to be another one.

Mr. Styler stated that probably not, simply because there really isn’t any new information to present. However, if the
Board feels that there is a need, and there is new information that we should have brought to the table, DNR would be
happy to consider having another summit.

Adjourned until 1:15 p.m.

BLM Responses to the Wild Horse & Burro Advisory Board Recommendations 2016 - 2017
Bruce Rittenhouse, BLM Acting Division Chief, Wild Horse & Burro Program

                        Recommendations from the September 2016 Meeting in Elko, Nevada

Recommendation #1: BLM should follow stipulations of Wild Horse and Burro Act by offering all suitable animals in
long and short-term holding deemed unadoptable for sale without limitation or humane euthanasia. Those animals deemed
unsuitable for sale should then be destroyed in the most humane manner possible.—Approved

        BLM Response: Congress includes in the annual appropriations bill that “Appropriations herein made shall not
        be available for the destruction of healthy, unadopted, wild horses and burros in the care of the Bureau or its
        contractors or for the sale of wild horses and burros that results in their destruction for processing into
        commercial products.” With or without the prohibition, one of BLM’s top priorities will continue to be the
        placement of animals into private care through adoptions and sales, and transfer animals to other federal, state,
        and local agencies.


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Recommendation #2: BLM should prioritize designated sage-grouse habitat for removal of excess animals. BLM should
use degree of range degradation as a criterion for prioritization for removal of excess animals i.e., consideration should be
given to those rangelands that can be restored and maintained in a healthy status.—Approved

        BLM Response: Gather priorities are based on the following criteria: compliance with court orders, public safety
        and protection of private property, priority habitats for threatened/endangered and sensitive species (including
        greater sage-grouse), initiation of research, and to achieve appropriate management levels in HMAs. In FY 2018,
        the BLM will have removed over 10,000 animals of which approximately 5,000 are in HMA’s that overlap
        priority sage-grouse habitat. The BLM directed $4.15 million of sage-grouse habitat improvement funds
        specifically to remove excess horses in areas where they were impacting priority sage-grouse habitat.

Recommendation #3: BLM should develop partnerships with economic agencies and or departments to conduct an
analysis of socioeconomic and environmental effects on communities with reduced AUMs on HMAs due to range
degradation resulting from overpopulation of wild horses and/or burros. Further analysis should be conducted regarding
the effects of the potential removal of all domestic livestock from all HMAs.—Approved

        BLM Response: The BLM is not prepared to fund this without outside help. The BLM recognizes that other uses
        of public lands such as recreation (including public viewing of wild horses and burros), energy development,
        permitted livestock grazing and the presence of wild horse and burro herds all contribute to the economic viability
        of western communities and the national economy. The BLM also recognizes that a decline in the health and
        productivity of rangelands negatively affects the resources that the economies of many rural western communities
        depend upon.

Recommendation #4: BLM should encourage BLM Resource Advisory Councils (RACs) to develop and submit for
consideration their ideas for herd management and range rehabilitation strategies tailored to their specific areas and
HMAs based on local knowledge and expertise.—Approved

        BLM Response: Several RACs have a keen interest in wild horse and burro management. The BLM Wild Horse
        and Burro Program will prepare and transmit a letter to the RACs representing areas where wild horses and burros
        are present and ask for their insight into herd and rangeland management strategies, including suggestions for
        partnership opportunities with local, State and national organizations.

Recommendation #5: BLM should advertise and conduct more frequent adoption events at off-range corrals to enable
more horses & burros to reach sale eligible status.—Approved

        BLM Response: In calendar year 2018, the BLM will hold a total of 96 adoption events (www.blm.gov/whb) to
        be held in numerous states. Of these events, 39 will be held at BLM off-range corrals. For example, the BLM’s
        Pauls Valley (OK) off-range facility holds monthly adoption events on the second Tuesday of the month. The
        BLM has also begun to implement internet adoptions through the on-line corral system. Through this system the
        public has a wider range of animals to select from for adoption. Adoption events at other facilities and events
        across the country allows more people an opportunity to adopt animals without having to travel to BLM facilities
        which are primarily located in the west.

Recommendation #6: BLM should facilitate invitation to all Board members to attend spay trials when they might
occur, if allowed by protocols governing the trial.—Approved

        BLM Response: Spay research is currently being proposed for a gather in Oregon at the Warm Springs HMA in
        fall 2018. BLM intends to contract for veterinary services to spay approximately 100 mares using the ovariectomy
        via colpotomy technique. It is the BLM’s intention to be transparent and allow public viewing of the surgeries,
        while at the same time to be prudent and consider the nature of the research and protecting the veterinarians and
        the health of the animals. There are no special provisions in the Warm Springs HMA Environmental Assessment
        that would give preferential access to board members for viewing, but board members are certainly allowed and
        encouraged to join the public viewing.


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Recommendation #7 (Repeat from last meeting): BLM should continue to work toward full implementation of
previously accepted recommendations of the Board and prioritize according to BLM matrix of meeting AML. Note: This
is the first recommendation from the Board’s April 13-14, 2016 meeting.—Approved

        BLM Response: The BLM is working towards the implementation of accepted recommendations from previous
        meetings within the limitations of available resources (staffing and budgetary) and other influencing factors.
        Priority work includes reducing off-range holding costs, increasing the number of trained animals offered for
        adoption, increasing animal availability to adopters through new “storefronts” with more emphasis in the east,
        continuing research to develop more effective contraceptive methods, and managing HMAs to achieve and
        maintain AML.

Mr. French asked, in the case of prioritizing sage-grouse habitat for gathers, is this a routine operation to determine
whether or not there is a trigger, or is there something else the BLM is waiting for from other agencies, for example? Mr.
Rittenhouse explained that this refers to planned gathers, which considers priority habitats for greater sage-grouse when
determining where. There are also times when sage-grouse funds can be used to help with wild horse and burro gathers.

Mr. French pointed out that the decisions made by BLM have impacts to state and local governments and that it is
mandated, often court-ordered, to consider those impacts in their decision-making process. Mr. Rittenhouse agreed and
stated that the socioeconomic analysis is part of the process. Mr. French, Dr. Perryman, and Mr. Yardley went on to
explain that when the recommendations refer to effects on resources, that many rural western communities depend upon,
this is not just the tail end of a statement. There are a lot of western communities that do not have the tax base that others
have in eastern states, for example. There is not enough private land that can be taxed. In Nevada, for instance, the only
tax base, and something we rely on, is a ranch-based income. Smaller communities in the west are solely dependent on the
use of public land, it affects everything, and it is the livelihoods of the people in these communities that is at stake. If the
range isn't maintained and taken care of, and the carrying capacity is decreased, these communities are the ones that
suffer. It has everything to do with their livelihood and the traditions that they have.

Mr. French brought up having RACs attend the Advisory Board meetings. Mr. Rittenhouse agreed that this is a good idea.

The Board asked about making adoptions more available by increasing where and when they take place. They also asked
about online adoptions. Ms. Hollé Waddell, BLM’s Wild Horse and Burro Program Off-Range Branch Chief, responded
that there is a new system in which you can adopt a horse online. The BLM identifies different pick up locations so
someone can register, get approved, submit an application for purchasing or adopting an animal, etc. After some
paperwork, verification, and logistics, someone can pick up the animal at a store front, off-range event, or a corral. The
online adoptions are improving, the site was improved and is up and running. Ms. Waddell explained that this has
increased the number of events that we've had online. There are volunteers that take videos and photos to help create a
catalog for the animals. There is a search feature online as well.

Mr. Rittenhouse explained that in response to the recommendation regarding adoptions, BLM is not attempting to get
animals to reach sale-eligible status. BLM’s goal is to get animals into good homes. Ms. Waddell explained that BLM has
developed additional policy regarding animal selection requirements and to demonstrate that the BLM is making the best
effort to put the best animals forward for adoption events. Mr. Rittenhouse clarified that this is one way to have successful
adoptions and give everyone interested an opportunity to adopt a horse, by putting the best animals forward for adoption.
This is just one tool in the toolbox. Ms. Waddell explained that one of the policy changes was that animals would be
offered for adoption three times before becoming sale-eligible. If the animal is sale-eligible, it can still be adopted.

The Board asked about restrictions to public viewing of gathers. Mr. Rittenhouse explained that there was a gather that
involved Colorado State University (CSU) and it was CSU that had proposed restricting video of a particular gather that it
was involved in. Once CSU was no longer involved, BLM revised and provided for public viewing, videography and
photography.

Mr. Rittenhouse summarized that from the 2016 recommendations, the BLM is working on the recommendations to
increase the number of trained animals offered for adoption, increase animal availability to adopters through more store


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fronts with more emphasis on the eastern part of the U.S., research more effective contraceptive measures, and more.


                  Recommendations from the October 2017 Meeting in Grand Junction, Colorado

Recommendation #1: That the Wild Horse and Burro (WHB) Advisory Board have their next meeting in Washington
DC and present their most recent recommendations, including those presented in September 2016, to agency officials.
Tentatively to be scheduled early in the calendar year, but before the middle of March 2018. Motion carried 7-0.

        BLM Response: The BLM seeks Board input on identifying future meeting locations and dates. The BLM
        considers the Board’s input to ensure that future meeting dates and locations maximize the attendance of WHB
        Advisory Board members, senior BLM management and staff, stakeholders and public while still being cost
        effective. The BLM considered having a spring 2018 meeting in Washington DC but selected Salt Lake City Utah
        for reasons of cost and access to the field. This meeting was cancelled due to not meeting the 30-day meeting
        notice requirement.

Recommendation #2: Phase out long-term holding over the next 3 years and apply that budget to on-range management
and adoptions. Motion carried 6-1

        BLM Response: The BLM does not have the capacity to implement this recommendation since it would require
        the BLM sell or euthanize the approximately 35,000 animals currently in long-term holding over the next three
        years. Refer to the BLM’s response to the Board’s Recommendation #1 from the September 2016 Elko advisory
        board meeting.

Recommendation #3: Create funding mechanisms to maximize adoptions and or sales, especially through successful
programs, and to include international adoptions and or sales. Motion carried 6-1.

        BLM Response: The BLM continues seeking innovative and creative ways to increase private care placement
        through adoptions and sales. For example, the BLM has developed an Adoption Incentive Program that provides
        $500 to adopters at time of adoption and $500 to adopters at time of titling to help defray their costs for humane
        care of the animal.
        The BLM received authority from Congress to transfer animals to Federal, state, and local government agencies
        for use as work animals. The BLM has developed policy (BLM Instruction Memorandum 2018-052) and began
        communication and outreach efforts. No authority at this time exists to directly transfer wild horses and burros to
        private, non-government entities nor outside of the country.
        An international program is being considered as well to place animals into other countries for the purposes of
        humanitarian aid or economic development.

Recommendation #4: Increase WHB funding for reversible fertility control by $3M in FY 2019. Motion carried 6-1.

        BLM Response: The BLM is currently partnering with several research institutions to support new research into
        additional fertility control methods. Some of these methods show promise but have not been tested on horses on
        the range. BLM continues to use, and hopefully expand reversible fertility control methods (PZP and GonaCon
        vaccines) if it can be effectively and efficiently administered, to reduce removals and achieve and maintain AML.
        Reversible fertility control does have limited applicability such that it works best when HMA’s are within AML
        and the animals are easily approached for darting.

Recommendation #5: BLM will immediately (within the next 3 years) follow the WHB Act and remove excess animals
from the range to achieve AML. Further, BLM will use the help and assistance of all state and local agencies,
organizations and individuals in achieving AML. Motion carried 6-1.

        BLM Response: With on-range population levels at approximately 82,000 animals and having finite off-range
        holding space, removing large numbers of animals, especially over consecutive years, is currently not feasible.
        Unless, the BLM receives legislative support that increases placing animals into private/public care through


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        adoptions, sales and transfers or increases future BLM budgets to support acquiring additional holding space, this
        recommendation cannot be achieved in the recommended time-frame.

        In April 2018 the BLM, through the Secretary of the Interior submitted a report to Congress titled “Management
        Options for a Sustainable Wild Horse and Burro Program.” This report outlined four options to move the program
        towards achieving and maintaining the appropriate management levels across the program. These management
        options rely heavily on achieving AML quickly which included developing partnerships with our stakeholders
        and public.

Recommendation #6: Maintain AML by using fertility control to slow population growth at levels where removals equal
the adoption demand. Motion carried 6-1.

        BLM Response: After AML is achieved in any one particular HMA or HMA complex, temporary and/or
        permanent fertility control can be effectively and efficiently administered, to reduce future removals and help
        maintain AML. With most HMAs or HMA complexes well above their AML, though, it will take many years
        using only fertility control to reach AML. Permanent and temporary fertility control alone will also not be able to
        achieve AML at a national level.

Recommendation #7: Adjust AML where appropriate. Motion 7-0.

        BLM Response: After AML is achieved in any one particular HMA or HMA complex, BLM will assess the need
        to adjust the AML and make other multiple use decisions following in-depth analysis of rangeland monitoring and
        population inventory data collected over three to five years (in accordance with the procedures outlined in the
        BLM’s 4700-1 Wild Horses and Burros Management Handbook) as part of long-term management and land use
        planning. The goal of any adjustment of AML for an HMA is to have sufficient water and forage to manage herds
        at the minimum feasible level to maintain their free roaming behavior.

Ms. Kathrens commented that there are third-party groups working right now that could take on long-term care for a large
number of horses, or provide the support that is going to be necessary to figure out what to do with that many horses.

Dr. Perryman also pointed out that we’ve got to explore the idea of shared participation of care for a very large number of
animals. This would likely have to be done through tax credits and accelerated tax write-offs to create some kind of
economic incentive for taking on this responsibility. BLM could put whatever kind of stipulations they want on the care,
but it would transfer the ownership and care responsibility from the federal government to the private sector. This would
be an opportunity for some of the vocal horse advocacy groups to play a participatory role in the care and maintenance of
the animals.

Mr. Rittenhouse explained that there is no authority at this time to directly transfer wild horse and burros to other private
non-government entities, nor outside of the country. Mr. French commented that this policy flies in the face of just exactly
what Dr. Perryman was talking about. At one time, Mr. French explained that there were discussions about the possibility
of organizing a foundation that could take donations that would then support horses in long-term holdings. Ms. Waddell
clarified that the recent Instruction Memorandum (IM) outlines the policies and procedures concerning the sale of wild
horses and burros. That is separate from any work to develop a BLM foundation that Mr. French referred to. There is
BLM policy being developed to address the solicitation and acceptation of donations. This is separate. So, if there are
non-governmental entities that are interested in acquiring animals, they can still do that. There's no law against it. They
can adopt or purchase those animals. And in fact, we have a memorandum of understanding right now with an
organization that has been very successful, Equine Solutions. They have purchased animals and are doing great training
work and looking at doing an open house later this fall. I would encourage organizations, if you're interested in acquiring
the animals, then they can do that through adoptions and sales.

Mr. Rittenhouse agreed that there is no better way of empowering people who have that interest to follow through, other
than creating a foundation independent of the protocols on the ground right now, and allow for entities that have and are
looking, through a tax benefit incentive or through just the goodness of their heart, to donate to a foundation.



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Ms. Waddell encourages organizations to coordinate amongst themselves, contact BLM, and move through adoptions and
sales.

Mr. French stated that he believes the Board and BLM are scratching the surface of a solution. There are a lot of
foundations out there on the ground right now, corporations that would like to donate large amounts of money to support,
especially if they get a tax write-off or credits to do so. There are a lot of private sector models on the ground that I think
we should try to take a look at.

In reference to adjusting AML, Mr. French recalled that the recommendation had to do with adjusting AML following a
catastrophic event, such as a three- to five-year analysis following a major fire event or the end of a drought cycle. Any
event that has dramatically impacted the HMA habitat should then trigger a review of AML and adjustment of AML
based on conditions on the ground.

Mr. Alan Shepherd was invited to the front to address how AML is determined and measured. Alan Shepherd is the On-
Range Branch Chief, Wild Horse and Burro Program in Washington D.C. Mr. Shepherd explained that BLM collects
monitoring data over several years on forage utilization, animal distribution, animal use distribution, water availability,
impacts to private property and considers all of the factors. As for multiple use, BLM considers livestock use and
coordinates with wildlife agencies to review target elk and deer numbers. This resource monitoring data is the key to look
at what that production is on an annual basis.

Mr. Shepherd, to address Mr. French’s comment about catastrophic events, also explained that AML would not be
adjusted immediately based on any one year or event, rather the BLM may adjust the current animal population to benefit
restoration and then continue monitoring to determine the success of that action and determine over time an appropriate
adjustment to AML. Mr. Shepherd stated that in 85 to 90% of HMAs, we have never achieved AML and are therefore
uncertain whether the AML is correct. In 29 years, Mr. Shepherd has never achieved AML from gathers. It is the goal of
BLM to first achieve AML and then monitor the effects of that population on the ecosystem and on the horses.

After a short break, Mr. Woehl introduced Ms. Hope Woodward and turned the time over to her.

Forest Service Wild Horse & Burro Program
Ms. Hope Woodward, Wild Horse and Burro Program Manager
USDA Forest Service, Washington, DC

Ms. Woodward introduced herself and explained that the Forest Service (USFS) is about a tenth of the size, however, are
authorized similarly as the BLM under the Act. The issues the USFS faces, and the opportunities, are similar. There are
approximately 8,700 wild horses and 600 wild burros in 19 national forests in 8 western states. Wild horses and burros are
managed in 34 active territories of approximately 2.1 million acres (24 of which are jointly managed with the BLM).

Ms. Woodward reviewed the staffing & budget for FY2018 of the Wild Horse and Burro Program for the USFS, the
territories with Management Plans, and the territories with on-range fertility control, short-term, off-range facilities,
territories that conduct gathers, that have gentling and training contracts, and that have adoptions and sales.

The AML population of all territories for the USFS is set at approximately 2,000 for horses and 296 for burros. The USFS
has proposed management planning to review AML in 25 territories. The average over AML is at almost 400% for all
USFS territories.

Ms. Woodward talked about the gather that started today (Oct 10, 2018) via helicopter in Devil's Garden in the Modoc
National Forest, which is a planned removal of 1,000 horses. The USFS uses every method available and deemed
appropriate for the conditions for gathers, including bait trapping, etc. The USFS agrees that more public signage to
educate the public and reduce the potential for animals to become habituated and to trespass on private property. There are
many other gathers taking place, including at Jicarilla. There are partnerships in place, including with the Jicarilla
Mustang Heritage Alliance, and programs that support our efforts to provide internships and similar college programs to
provide volunteers and interns an opportunity to assist in the USFS efforts.



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Ms. Woodward referred to agreements with other agencies, including the BLM. One such agreement is a refund of BLM
services for care of the horses, which expires this calendar year. These types of agreements and partnerships are helpful.
The USFS wishes to engage and create more partnerships and having open and honest communications, respectful
communications, to keep all parties informed.

Ms. Woodward stated that the removal of horses via helicopter, which began today, falls under the authority of the Act in
terms of achieving and maintaining a thriving natural ecological balance. She mentioned that it is important to reach AML
for the health of the horses and the ecosystem moving forward. She then opened it up for questions.

Mr. Woehl asked whether the USFS is terminating their cooperative agreement with the BLM for holding facilities or if
they plan to continue sending horses to BLM facilities?

Ms. Woodward explained that USFS is not planning to manage long-term holding, and that animals that are removed
would continue to go to BLM facilities for adoption and sale under the provisions of the existing MOU and national
agreement. Ms. Woodward stated that if the horses don’t get adopted, the plan is to have them there for one year and
USFS is in the process of finalizing what would happen thereafter.

Mr. Woehl asked if the USFS would offer horses for sale in the same way that BLM does?

Ms. Woodward answered yes and recognizes that sale without limits is controversial. There is a priority, and it is
adoption, then sales with limits under the current BLM guidance criteria, and then sales without limitations, addressed by
the Act as amended as well as California State law (in the case of Modoc).

Mr. Woehl asked why the USFS can provide sale without limits and BLM cannot.

Ms. Woodward explained that for sale without limits, the Act does not say that agencies cannot offer sale without limits,
and USFS has chosen to exercise that authority to do so.

Mr. French asked for clarification on the California State law provision.

Ms. Woodward read from California State Code 598-C and -D: It's unlawful for any person to buy or accept a horse with
the intent of killing the horse if that person knows or should have known that any part of that horse will be used for human
consumption. And, it's unlawful under that law to offer for sale horse meat for human consumption. Ms. Woodward also
pointed out that there is still legal discussion about the application of California State law on federal forms and
procedures.

Ms. Woehl asked if the USFS is going to do everything they can to be sure that horses go to good homes.

Ms. Woodward responded yes. The direction from the Washington office, as well as from management of gathers
ongoing, is that the first priority is to find good homes for these animals, either through adoption or sale with limitation.

Ms. Kathrens asked about the number of horses planned for removal and if the long-term plan is to get to AML.

Ms. Woodward reiterated that they plan to remove up to 1,000 horses. That action started today and will continue until
they have gathered 1,000 horses. In this case, they are about 3,500 over AML. This is part of a four-year plan to get to
AML.

Ms. Kathrens asked if those horses have draft blood in them.

Ms. Woodward responded that yes, and they are generally recognized as being horses that are easy to train. They are
larger size horses, approaching 15 to 16 hands.

Mr. Yardley pointed out that some adoptions aren’t as successful because the wild horses were not big enough. Perhaps
there could be some additional outreach to get these bigger horses adopted.


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Ms. Woodward agreed and would pass the word along to start discussing possibilities for marketing the adoption of these
animals.

Mr. Woehl asked if USFS horses are branded the same way as BLM horses are branded.

Ms. Woodward explained that they use microchipping primarily to track the animals.

Break until 3:20 p.m.

Mr. Woehl introduced Mr. Alan Shepherd.

BLM Management Options for a Sustainable Wild Horse & Burro Program
Alan Shepherd, On-Range Branch Chief, Wild Horse & Burro Program

Mr. Shepherd introduced himself and explained that the BLM was asked to prepare a report to Congress. At the time,
there over 82,000 animals, roughly three times the AML. The overpopulation of horses and burros is threatening the
western rangelands, degrading ecosystem functions and limiting the forage and water available for domestic and wildlife
species. Mr. Shepherd also pointed out that emergency gathers are becoming more common to save impacted animals

Mr. Shepherd pointed out that the BLM cannot gather enough animals and treat enough animals to reduce the herd sizes
through fertility control alone. Fertility control is not 100% effective. It is a valuable tool and will be a valuable tool when
we're at AML, but at the current rate, it will not solve the problem. Low adoptions and sales have definitely resulted in the
volume of horses we've got in holding and BLM is spending 60% of appropriated funds for holding and care. Mr.
Shepherd reported that Congress requested a report from the BLM to prepare options for humanely achieving appropriate
management level (AML). There was no direction as to how many options or what they should look like. The program put
together a team of managers and specialists that worked toward developing that document and the options. The report was
finalized in and submitted in March of 2018. There were several management assumptions in the report, including: sales
without limitation and euthanasia; acquiring funding from external sources for gathers, adoptions and holding; availability
of long-term holding space, including through partnerships; authority to transfer animals to non-profits, other federal
agencies and state and local governments; categorical exclusions under NEPA; availability of trained veterinarians;
effective fertility control vaccines; and, additional legislative options and changes.

Option 1: Achieve AML in eight years using all the authorities within the act while substantially decreasing off-range
holding costs.
    • Remove 156,000 animals over a 10-year period
    • Treat 38,000 mares w/fertility control over 10-year period
    • 40,000 adoptions; 110,000 sales without restriction; 24,000 animals euthanized – over a 10-year period
    • Off-range population reduced to 6,000 by year 10
    • Costs would exceed current average annual appropriations by about $200 million over the 10 years
    • AML would be achieved within 8 years

Option 2: Achieve AML in 10 years using existing authorities within the Act and substantially increasing program
funding.
    • Remove 151,200 animals over 10-year period
    • Treat 52,400 mares w/fertility control over a 10-year period
    • 40,000 adoptions and 2,000 sales with current restrictions over a 10-year period
    • Off-range population increased to 110,000 by year 10
    • Costs would exceed current average annual budget by about $1.12 billion over the 10 years
    • AML would be achieved within 10 years

Option 3: Achieve AML in Six Years Using Existing Authorities and Create an Adoption Incentive Program
   • Remove 129,000 animals over a 10-year period


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    •   Treat 26,000 mares w/fertility control over a 10-year period
    •   84,000 adoptions over a 10-year period, increasing adoptions through a financial incentive program; 2,000 sales
        with current restrictions
    •   Off-range population increased to 71,000 by year 10
    •   Costs would exceed current average annual appropriations by about $1.43 billion over the 10 years
    •   Appropriate Management Levels would be achieved within 6 years

Option 4: Achieve AML in 12 Years Using Existing Authorities, Creating an Adoption Incentive Program, and Increasing
Permanent Sterilization
   • Remove 36,600 animals over a 10-year period
   • Treat 103,000 mares with fertility control methods (focusing on permanent sterilization) over a 10-year period
   • 40,000 adoptions over a 10-year period, developing a financial adoption incentive program; 2,000 sales with
       current restrictions
   • Off-range population decreased to 36,800 by year 10
   • Costs would exceed current average annual appropriations by about $320 million over the 10 years
   • Appropriate Management Levels would be achieved within 12 year

Mr. Woehls asked about the costs over 10 years in option 2. Mr. Shepherd explained that the increased budget, of
approximately $1.12 billion would be over the 10 years, and it is the intent to have spending level off and then decrease
once we achieve AML. That is the case for all the options presented, costs would stabilize and/or decrease for each option.

Ms. Carlisle asked how feasible is it to spay over 10,000 mares in a year? The BLM has parameters and logistics
challenges associated with that kind of effort. The options are difficult to compare and measure because of the lack of data
for each. Mr. Shepherd referred back to the assumptions and stated that each option assumes that the effort can be
achieved. In the case of sterilization, yes, the BLM assumes that it would have the contract crews to gather the animals,
which would require, as Ms. Carlisle mentioned, additional staff and management. The options take that into account and
assume that the logistics, additional staff, and additional funds are made available to accomplish each task associated with
each option. Each option attempts to accomplish the goal in ten years.

Dr. Perryman asked that if the BLM were to accomplish the goal and get to AML, what is the path moving forward so
we're not revisiting the same problem down the road ten years? Mr. Shepherd believes that if the BLM maintains the tools
it can use and the funding, then AML is perfectly maintainable. That means using all of the tools. It is our job to get to
AML, maintain it, and then see how the ecosystem responds.

Mr. Woehl believes there is a non-lethal way out of this situation. He appreciates the BLM’s efforts to clarify the reality
of the situation. Dr. Perryman talked about wild horse on tribal lands, tribal lands adjacent to public lands. When we get to
AML, there's going to be a vacuum that pulls horses from reservations onto public lands and we may be right back where
we are now. He then asked, what is the BLM and Forest Service doing to coordinate with tribes to address this? Mr.
Shepherd pointed out that it is BLM’s role, in his opinion, to open the lines of communication with tribes, knowing full
well that this is shared problem that requires a shared solution. Dr. Perryman suggested that the BLM have an action plan
for coordinating with the various tribal governments moving forward. There are more like 125,000 horses, not 82,000.

Dr. Lenz asked if the BLM expects a response from Congress and what expertise do they have to review the report at
hand? Mr. Shepherd said that it is unknown on a response and that Congress have staff that are looking at the report and
have asked a lot of really good questions. BLM is hoping for an opportunity to sit down with Congress to clarify the
report if needed and answer any questions they have.

Mr. Lenz pointed out that for option 4, if there are 80,000 horses out there and half of them are mares and almost all of
them are pregnant, and we know we can't spay them the first 120 to 140 days, and we haven't had a research project done
to determine how far into pregnancy we can spay them, the number of 10,000 a year may not be feasible. Mr. Shepherd
referred back to the assumptions and the goal of 10 years. That is what it is going to take to do it in 10 years, although it
may take more time than that, as the Board has pointed out.




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The Board discussed whether the problem is beyond repair. Mr. Masters expressed that people wish they had double the
budget, wish they had more tools in the tool box, but nothing has really changed in ten years. Mr. Masters asked that, if
we continue with the status quo and end up with tens of thousands of horses on 40 million acres, 50 million acres, or 60
million acres, is there anything that we can do to cap it at 31 million acres (the current status) and have our triage and
sacrifice it so that it doesn't become 40 or 50 or 60 million acres over the next few decades? Is there anything with fencing
or with priorities or discussions about containing it at 30 million acres? Is there any budget for fencing to try to help with
that expansion? If money was allocated for fencing, would it be beneficial. Mr. Shepherd answered that BLM spends very
little on that type of work and that HMAs and HAs also have to consider grazing allotments, wildlife habitat, and similar
where fencing would create problems.

Ms. Carlisle suggested that the options don’t provide the data and details to really analyze and understand them, mostly
because Congress only gave the BLM 30 days to get the report to them. She is hopeful that Congress understands that in
the presentation of these four options that these are very basic starting points, because otherwise, they are not good
options. Mr. Shepherd said that BLM made it very clear when they talked to Congress that this is the national AML and
did not consider each HMA individually.

Ms. Kathrens suggested that it is time that we look at the whole program in a very different way and said that she thinks it
is the HMA concept that is not successful. In some places, we have discussed having a wild horse common area rather
than worrying about multiple herds that is managed primarily for wildlife and where there would be no livestock grazing.
It seems that a lot of the conflicts come from the multiple use concept. This kind of thinking usually gets rejected
immediately because it would require reopening the Wild Horse and Burro Act and looking at management of wild horses
in a completely different way. This may still require killing some animals and using PZP and other methods, but it would
be good to work through how to manage horses in a different way than in HMAs. As for the tools, Ms. Kathrens asked,
what would be the method of killing the animals that you're talking about in the BLM options? Mr. Shepherd responded
that it would be any approved method, in consultation with our vet advisor and in the most humane way practical.

Mr. French commented that rewriting the Wild Horse and Burro Act and how it is administered likely require
reconsidering and would impact NEPA and is therefore not an easy task. Mr. French asked if there was any plan of action
for marketing with regard to the 40,000 adoptions, associated public awareness and public acceptance? How will the BLM
go about marketing to that degree? Mr. Shepherd responded that in the main approaches that considered adoptions, the
BLM assumed that the adoption level would remain static except for the option with adoption incentives. If we are able to
accomplish more adoptions, then we may not have to sell as many, or we may not have to do as many sterilizations. The
main point is that if we're successful with placement, that will affect a lot of the components of each option.

Ms. Hope Woodward introduced Dr. Tolani Francisco, a Wild Horse and Burro Coordinator at the U.S. Forest Service in
New Mexico, to address some of the questions regarding the U.S. Forest Service and coordination with tribes. Dr.
Francisco explained that the USFS is working hard and has relationships with tribal governments in New Mexico,
Arizona, Utah, Colorado, and California. There have been horse hunts proposed on tribal lands that received a lot of
opposition. There have been discussions with professionals, the food safety inspection service, and others to educate tribes
on the history of wild horses to answer questions about why slaughtering wild horses is frowned upon.

Ms. Waddell talked about the adoption incentive program, how it works, and where the amount of $1,000 came from. The
Board discussed several options for the adoption incentive program, such as a sliding scale that would give more money
to individuals and organizations that adopt more than one horse, an incentive amount that covered the cost of training a
wild horse, and others.

Dr. Perryman pointed out that with the passage of the Wild Horse and Burro Act, under the original authorization, we had
the ability and the potential to show the world how to manage horses and burros with a thriving ecological balance and in
a multiple use environment. Unfortunately, Dr. Perryman said that this is a national disgrace. He encouraged the board to
really think about the public trust, the public interest, and that interest has to include the resource base. Without the
resource base, there is no future.

Mr. Woehl introduced the next presenter, Dr. Paul Griffin.



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BLM Wild Horse & Burro Program Research Update
Dr. Paul Griffin, Research Coordinator, BLM Wild Horse and Burro Program

Dr. Griffin mentioned the working sessions the previous day and expressed that there are a lot of topics to cover,
including population growth suppression, genetics, survey methods, and population modeling and demography. Dr.
Griffin went on to discuss what we know regarding population growth suppression. We know that PZP works well in both
horses and burros. PZP pellets work for about a year, and they may lead to two or three more years of marginally more
improved effects after a PZP booster dose, but it doesn't cause great effects for the first year or two. There may be some
variation in batch quality for the pellets. We know that the vaccine doesn't have great effects after the first dose, but after
a booster dose, the second overall dose, it can lead to four years of overall, at least 80% contraception. We know that
spaying mares via colpotomy leads to permanent and immediate sterilization and reduced growth rates. Of note, Dr.
Griffin pointed out that spayed mares continued to be in bands with other horses.

Mr. Yardley asked, regarding the Oregon study, what all has been done and how far out are they? Dr. Griffin responded
that it is ongoing and that the research aspect to that project is under litigation, but our schedule would be, as I understand,
to begin in late October with radio collaring and then spaying to follow.

Dr. Perryman asked about SpayVac and its effectiveness. Dr. Griffin responded that SpayVac was promising as a vaccine.
It's a PZP vaccine, instead of being oil based or in capsules or in pellets, the PZP is surrounded by liposomes, and would
lead to a long lasting immune response. In the initial trial, there were a couple of years of good response after one year of
SpayVac, however in a follow-up study, on the second dose, the results were not as good. There are several variables we
are dealing with and we don’t which variable it was that caused the positive result. BLM could be open to looking at
further studies of SpayVac if the company demonstrates that it works again. A representative with SpayVac commented,
at the request of the Board, that preliminary results from one of the studies that indicated that a comparison of PZP
produced in 2016 was had a lower effectiveness than PZP produced in 2018 at the university of Toledo.

Ms. Kathrens pointed out that the National Academy of Sciences (NAS) report recommended certain types of infertility
treatments, and they did not recommend an ovariectomy. They said it may be followed by prolonged bleeding or
infection, and makes it inadvisable for field application. Ms. Kathrens asked, has something changed that we would
amend that decision with the NAS, do you think? Dr. Griffin responded that he didn’t think there were recommendations
in the report, rather they were listed as the three most promising methods, but the report did not say that other methods
were not promising. He went on to say that yes, additional information has been shared since 2013, and it was made
public in the first Oregon environmental assessment in 2016, that was the 2015 panel convened to assess a number of
different spaying methods, their risks, their costs, other concerns or things that BLM should be aware of when choosing a
method. That 2015 report concluded that colpotomy was one of the most promising of the spay methods available for a
use by BLM. I also think that it's an important misnomer that I need to point out here is that the proposed work at Warm
Springs for horses that would be coming from Warm Springs, as clarified in the EA, would not be conducted in the field.
No one at BLM has considered using gelding or spaying in an HMA. These animals would be removed from the HMA,
transported to the corral, which you have visited, and the facility there is set up with padded squeeze chutes for
appropriate restraint of an animal, of animals, that is suitable for this type of surgery. So, it shouldn't be interpreted as a
method that's being considered for use in the field.

Dr. Lenz clarified that the corral is in the field. When they say the surgery can be done in the field, it doesn't mean it's
done out where they caught the horses. It's not done in a clinic. A corral is considered in the field. Dr. Griffin pointed out
that one reason that the ovariectomy is preferred is because there is a smaller incision for healing.

Dr. Lenz explained the review of surgical procedures. One was ablation of the oviduct papulation in the uterus, with a
laser, you would scar that, so the fertilized egg couldn't pass to the uterus, and so they would be sterile. The other was a
forward-looking scope, putting a ligature around the oviduct to cut off the blood supply to the ovary. The reality was that
some of the ovaries caused adhesions in the abdomen or dropped to the floor, and maintained the production of hormones,
so the mares continued to cycle. The other was a laser and cutting the oviduct and tube. That one could not be done in the
field because of equipment. You would have to have a laser guided endoscope, so that is tens of thousands of dollars that
would not work well in the field. Dr. Lenz said that SpayVac is most promising for this type of procedure for these types
of horses in this type of environment.


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Dr. Griffin referred again to the report by the National Academy of Sciences and recommended that the Board also
consider additional information that came in afterwards and that NAS concluded that spaying via colpotomy was suitable
for use in management and that it is a well established procedure. The research has more to do with the stage of the
pregnancy and how the horses interact.

Dr. Griffin described how PZP is formulated, through the use of pig ovaries. He also explained that there are other
research looking into the development of recombinant protein through the harvesting of microbes. In any case, it would
have to be demonstrated that it is biologically active, that is works and at what concentrations under what protocols.

Mr. French asked about the cost of a dose of PZP. Dr. Griffin answered that a dose of liquid PZP is about $28, that is to
say the cost of purchasing that dose is $28. The cost of PZP22 pellet vaccine is $580, and the other is about $50. That
doesn't mean it's $30 to give a mare a dose of PZP, because you have to have that mare in hand. To get the mare in hand,
you have to capture her, and to capture a mare, you typically have to capture at least a stallion and .4 or .5 foals on
average. So, if you're talking about $1,000 to capture each animal, it's a $30PZP dose, and then $3,000 to catch the
animals. There has been discussions about which HMAs are suitable for darting. And you have to know what that mare is
and what her history is. You use a different regimen if it's a primer or booster dose. If you give two primer doses, it leads
to horrible abscessing

The Board asked if PZP22 is now dartable. Dr. Griffin stated that BLM has been told that it is dartable, however we are
not confident and are hesitant until we see a further demonstration about how often all of those pellets get injected and to
the right musculature and so on. So, we're hesitant to rely on darting for PZP22.

Dr. Griffin talked about other research, including an ongoing cooperation with Texas A&M University. Our handbook
calls for roughly every ten years, we try to sample a number of animals from herds when they're gathered. We send off
the samples, and we get information about heterozygosity. The population right now is four times what it was in 1971.
Genetic viability is not really a big concern for most populations, and moreover, each herd really shouldn't be considered
an isolated population, as Mr. French pointed out that there's a lot of movement between herds, and we can facilitate
movement as management agency to make sure that each herd is viable. Mr. Woehl asked if there is there a minimum
number in a herd to be genetically viable? Dr. Griffin explained that if you had an endangered species like a toad living in
one pond, then yes. Different people will give you different numbers whether it's 50 or 500 or 5,000. But horses are not an
endangered species. They number in the millions around the planet. They come from breeds that are pretty well known.
Most come from breeds that have recently come about, and they're not isolated. Geographically, there's nothing in the act
that says that they need to be maintained by themselves. BLM has a purview to move animals between herds.

The meeting was adjourned at 5:00 p.m.




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 U.S. Department of the Interior
 Bureau of Land Management                    Day 2 Meeting Minutes
 NATIONAL WILD
 HORSE & BURRO                                 U. S. Department of the Interior
                                                Bureau of Land Management
ADVISORY BOARD




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Thursday, October 11, 2018
Welcome
Mr. Fred T. Woehl, Jr., Chair, Wild Horse and Burro Advisory Board
Mr. Woehl called the meeting to order at 8:00 a.m. and turned the time over to Mr. Bruce Rittenhouse, the BLM Acting
Division Chief of the Wild Horse & Burro Program to introduce the panel to discuss healthy horses and burros, healthy
rangelands, and continue to discuss the context of the complex management of public lands in a multiple use environment.
Mr. Rittenhouse introduced the panelists and turned the time over to them.

ASPCA: Wild Horse & Burro Opportunities and Obligations
Nancy Perry, Senior Vice President of Government Relations, American Society for the Prevention of Cruelty to
Animals (ASPCA)

Ms. Perry introduced herself and talked about the ASPCA, the first animal welfare organization to be formed on this
continent. The focus of the APSCA has not been on wild horses until fairly recently, primarily because we felt that there
are now opportunities for making a genuine difference. We are here to discuss the ways we see forward and opportunities
to address some of the potential obstacles to moving forward. The ASPCA initially got involved in Nevada, meeting with
stakeholders and discussing with people who have dramatically different views on this topic. We were able to focus on
where we agreed, we found we had a lot more common ground than we even knew walking in the door, which led to
fruitful conversations. The ASPCA cares about ecosystem health, humane treatment, fiscal responsibility, and a long-term
vision. We all want this to be something that can be resolved quickly, and we all know if we are looking hard at this
problem, that it requires a long-term commitment, and working in Washington, D.C., I know that that is not always a
given, and it's a big challenge that we all face together. Getting any administration to commit to something that lives
beyond them is difficult.

Ms. Perry went on to explain how the ASPCA has been working on a proposal and has met with the Secretary of the
Interior, leaders at the BLM, budget folks, and more to provide a proposal that genuinely focuses on how to move
forward, what the logistics should look like, and a non-lethal approach to managing wild horses. The ASPCA is willing to
argue for robust roundups and gathers and to prioritize where the rangeland has been degraded, where wildlife is
impacted, and where there is T&E species. We want to focus on a regional approach rather than an HMA-based approach.
We couple those efforts in the proposal with the need to be very committed to fertility control, treating at least 80% of the
horses on the range to realize the benefits of prevention in this plan. We believe that we have an effective tool with PZP, if
it's properly applied. I think we should start with the tools that we have at our disposal now and bring new things online as
they are appropriate. Ms. Perry stated that we have a real interest in making sure all of the tools that are brought online are
humane and effective, but we are very interested in being pragmatic too about whatever fertility control methods are
applied.

Ms. Perry talked about the steps following a gather and stated that there are potential streamlining benefits in the long
term holding part of any proposal. There have been a lot of interested parties in helping with this problem, and we believe
that if we can commit to a non-lethal, synergistic, multi-pronged approach, we can see long-term, cost effective pasturing.
Ms. Perry talked about adoptions and stated that she has been really encouraged to hear about some of the innovative
ideas that are really taking hold now around the adoption program. The ASPCA is a huge proponent of adoption, in many
different ways. The ASPCA is really great at marketing and has offered the administration opportunities to lean in. Edge
Research did a study with us a year and a half ago and found that 2.3 million people have the resources now to take in the
horses and desire to. It is about finding them and marketing.

In summary, Ms. Perry stated that first, prevention, getting out on the range and having a commitment to the rangeland
work, finding success in adoptions, and prevention on the range is going to be critical. Some of the challenges are building
trust and making sure we can bring the right partners along in the plan. We can prevent horses going to slaughter by
including provisions with time limits, having the ability to report concerns, and having a database to track buyers. We
should revisit roundup protocols to ensure comprehensive animal welfare protocols are in place and training for
contractors to avoid problems and build trust. We cannot do nothing, but we cannot kill as a management option. We can
euthanize, but killing healthy horses to control the population will not be supported in Washington or among Americans.
I think working together and collectively, and really emphasizing where we agree is going to be the way to get done what

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we need to get done in the long-term.

Mr. Woehl asked for questions from the Board.

Mr. Masters asked about where the money would come from in a private partnership approach to taking care of the horses
that would be gathered, estimating 100 to $150 million annually to feed and house those animals? Ms. Perry responded
that we won't have certainty about anything that we do, but we have to have a strong enough plan that we can look at
where that money should be spent. We have been working with a biologist and an economist to model out options for
gathering, but there is cost savings if we know how many we need in long-term holding to prevent moving animals
multiple times in the process, all while maintaining stable contracts. This also requires building up adoptions and
employing preventative measures on the range

Mr. Masters asked if there are entities that could commit $20 million annually for the next 15 years? Ms. Perry responded
that they have not gotten far enough to identify specific corporate entities that would be in that position. I know there are
some entities, like the American Mustang Foundation, as a potential long-term holder with some facilities already online.
I think we are a little premature to have examples of those corporate entities, however, I think there is an appetite for this.

Mr. Yardley asked, how do you propose to accomplish all of this work (gathers) and treat 80% of horses on the range
while at the same time minimizing helicopter gathers? Ms. Perry responded, I think the helicopter gathers are always
going to be necessary in certain geographies and we appreciate that. I think finding the areas where they are not necessary
will help avoid some of the incidents that erode trust in the agency's management. I'm not suggesting that we don't do
helicopter gathers. Mr. Yardley asked, what is the opposition or concern with helicopter gathers? Mr. Perry responded that
she thinks most of the incidents that happened in recent days, months, and years, that gain a lot of attention have to do
with the stress of helicopter gathers, and frankly, some inappropriate behavior on the part of contractors. Mr. Yardley
pointed out that the things the ASPCA is recommending are going to require a greatly increased amount of helicopter
gathers versus the current amount. Ms. Perry agreed.

Mr. French asked if the ASPCA would have an interest in brokering international adoptions to make sure that the
receiving end of the adoptions is appropriate? Ms. Perry responded that the ASPCA is a domestically focused
organization, with few external connections. Ms. Perry said that she would feel more comfortable keeping them in this
country, because we have laws in place that would help us if we did see problems. That doesn't mean there wouldn't be
potential for someone good taking horses and giving them good jobs in another country.

Mr. Woehl asked about ASPCA’s support of euthanasia for cats and dogs, but not horses. Ms. Perry explained that the
ASPCA has been actively engaging with the shelter community and encouraged them to move towards a higher live
release rate and get to the point where euthanasia is not employed for space purposes. Ms. Perry explained that it is the
goal to not use it as a population control technique for dogs and cats. We have seen live release rates go up in our shelter
community. It is important for our voice to be in favor of pushing everyone away from utilizing euthanasia lightly or
conveniently. If we feel the problem is partially our responsibility, then we have an obligation to pursue non-lethal
methods of management.

Ms. Kathrens asked if the ASPCA proposal presupposes AML of 26,710 horses, which many organizations believe is
unrealistically low to sustain certain small populations? Ms. Perry responded that the ASPCA starts the conversation with
AML and recognizes this is what the agency is working toward. We recognize that AML may need to be adjusted, but
agrees that a precise number may not be the critical piece, rather more work is needed regardless and if the number was
35,000 instead of 82,000, the conversation would be very different. It would be great to have more conversation about
this.

Mr. Woehl mentioned that if we have a policy in place, that when abused or when they result in one or two isolated cases
where something terrible happens, we should not reject the policy completely. Ms. Perry agreed but suggested that we can
look at the policies together.

BLM: Grazing Administration
Alan Bass, BLM Rangeland Management Specialist, Vernal, Utah


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Mr. Bass introduced himself and stated that his presentation would focus on livestock grazing on public lands while
thinking about how horses are managed, considering with or without the same kind of regulations or direction. Mr. Bass
reviewed the history of livestock grazing in the United States. The western U.S. range livestock industry boomed after the
Civil War. This was because of minimal start-up costs, free forage and unregulated use of land. It was an attractive
investment for eastern banks and foreign venture capitalists. The post-Civil War prosperity in the east created big demand
for livestock products. “Free for all” led to overstocking and deterioration of the range, which led to tension between
cattle, sheep growers, homesteaders, and downstream communities whose watersheds were denuded. Sheepmen could
roam at will, often across federal lands that cattle ranchers were counting on for seasonal forage needs. Cattle ranchers
used deadly force to keep sheep from the public ranges. Homesteaders began to settle on the lands and “crowding” the
western stockman. As time went on, ranchers began to homestead as well.

Mr. Bass reviewed the Taylor Grazing Act of 1934: “to stop injury to the public grazing lands by preventing overgrazing
and soil deterioration; to provide for their orderly use, improvement, and development; to stabilize the livestock industry
dependent upon the public range, and for other purposes.” Of note, Section 1 authorizes the Secretary of the Interior to
create “grazing districts” from public domain lands that in his opinion are “chiefly valuable for grazing.” Section 3
authorizes bona fide settlers, residents and other stock owners to be issued grazing permits for up to 10-year terms within
districts. Section 3 also provides that “those within or near a district who are landowners engaged in the livestock
business, bona fide settlers, or owners of water or water rights… ” have first priority to receive a permit. Another term for
the “first priority” is “preference.” Section 3 also authorizes a grazing fee. Section 4 authorizes issuing permits or entering
into “cooperative arrangements” to construct range improvements. Section 15 authorizes issuing leases to graze public
lands outside grazing districts. In the 1930’s and 40’s there was adjudication of the range based on permit application and
recommendations of the Board of District Advisors on who, where, when, and how much to graze. Mr. Bass reviewed
other acts that influence livestock grazing administration, including: Wilderness Act (1964), NEPA (1969), Wild Free-
Roaming Horses and Burros Act (1971), Endangered Species Act (1973), Clean Water Act (1973), Federal Land Policy
and Management ACT (1976), Public Rangelands Improvement Act (1978), and Archeological Resources Protection Act
(1979).

Mr. Bass reviewed the 2017 grazing statistics: 17,886 permits/leases, 12.3 million AUMs active of which 8.8 million are
billed (sold) and 3.5 million in non-use. 1.96 million AUMs suspended. Mr. Bass reviewed 43 CFR 4100 Grazing
Regulations (10-1-05): 4100.0-8; 4110.3; 4110.3-1; 4110.3-2; 4120.3-1; 4130.2; 4130.3; 4130.3-1; 4130.3-2; 4130.3-3;
4140.1; 4160.1; and 4180.1. In summary, the administration of livestock grazing by the Bureau of Land Management is
to:
      promote healthy sustainable rangeland ecosystems;
      to accelerate restoration and improvement of public rangelands to properly functioning conditions;
      to promote the orderly use, improvement and development of the public lands;
      to establish efficient and effective administration of grazing of public rangelands; and
      to provide for the sustainability of the western livestock industry and communities that are dependent upon
         productive, healthy public rangelands.

These objectives shall be realized in a manner that is consistent with land use plans, multiple use, sustained yield,
environmental values, economic and other objectives as stated in the Taylor Grazing Act and the Federal Land Policy and
Management Act. Mr. Bass turned it over to the Board for questions.

Mr. Woehl asked about water rights in the west. Mr. Bass deferred to Mr. Redge Johnson, the next speaker on the panel.
Mr. Bass went on to respond that the BLM holds many water rights and that permittees hold many water rights and for a
myriad of those interactions we are able to work together for the joint purpose of improvement of public lands. They need
water on the ground to have better health of their animals. It is our goal is to distribute water across allotments as we are
able and to design systems that do that. There are cases with shared management where only a few hold the water rights
but many benefit, including wild horses and burros from the use of the private water rights, so it is our goal to maintain
those positive relationships.

Mr. Yardley asked if Mr. Bass could talk about the socioeconomic benefits to the state of Utah from public grazing. Mr.
Bass responded that many rural communities rely on public grazing. He pointed out that the grazing industry is very
flexible in helping to maintain the range, primarily because it is their livelihood. There are positive relationships to


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maintain the health of the land. The livestock operators understand what is going on and know there are management
practices that are better than others and can provide feedback to the agency. Livestock grazing has been occurring on this
landscape for many years and it our goal to continue to manage that and make a multiple use mission work.

Mr. French pointed out that water rights, specifically in Nevada, are not always competition between livestock and horses,
sometimes it is the case where springs have been beat out and quit flowing. In many cases, water projects were funded by
8100 funds (Range Improvement), having to do with pipelines and troughs. He mentioned that the nature of horses to
gather around those water locations, they damage them often to the point where they quit working. This has implications
for more than just livestock, including wildlife in that area. Mr. French went on to point out that there is a paradigm shift
going on right now with regard to the Taylor Grazing Act regarding the sustained yield model and orderly use. As for
water, we are seeing a lack of snow and snow pack, which dramatically changes how water is delivered during the season.
Mr. French asked, what is the shift in management protocol from the livestock industry regarding these changes? Mr. Bass
stated that BLM is having discussions with permittees about hauling water and the implications of doing so. In Utah, there
have been proposals to consolidate allotments and have bigger herds that run through rotations quicker, which would
require significant water negotiations and management. There are conversations about the resource objectives and
determining where we want to be in 10 or 15 years.

Mr. French pointed out that with wildfires and water concerns, the competition between users on the ground is becoming
much more critical. Livestock operators have been able to provide voluntary actions to help the situation.

Mr. Woehl turned the time over to Mr. Redge Johnson.

Utah Governor’s Office: Healthy Rangelands, Ecosystems, Herds and Economies
Redge Johnson, County Liaison for the Governor’s Public Lands Coordinating Office

Mr. Johnson introduced himself and thanked the Board for the opportunity to present on behalf of Governor Gary Herbert
and welcomed the Board to Utah. Mr. Johnson reviewed the history and origins of wild horses in the west. 57% of the
State of Utah is public lands. Every decision that is made at the federal level impacts our economy, and our ecosystem,
and local communities. Mr. Johnson went on to discuss how his family is fully aware of the management challenges,
having owned horses and having responsibility growing up to train nearly 80 foals every year. All 80 mares their family
owned ran on open range year round. His family was very specific regarding when they put their herd into a pasture, how
much they let them utilize a pasture, and the number of horses that they put in a pasture. Those three elements determine
the grasses you see under the horses, and they had to manage that in order to maintain a healthy range and a healthy herd.
Mr. Johnson explained the multiple use mandate that the BLM operates, including the BLM Mission and Multiple Use
and Sustained Yield Mission: The Bureau of Land Management's mission is to sustain the health, diversity, and
productivity of public lands for the use and enjoyment of present and future generations; Congress tasked the BLM with a
mandate of managing public lands for a variety of uses such as energy development, livestock grazing, recreation, and
timber harvesting while ensuring natural, cultural, and historic resources are maintained for present and future use. The
economy in Utah is based 67% on public lands and requires support of the multiple use and sustained yield mission. Mr.
Johnson also pointed out that unhealthy rangelands impact more than just horses, burros, and livestock, there are T&E
species, and other wildlife that depend on the same rangeland.

Mr. Johnson talked about recreation in Utah and mentioned the mighty five, or five National Parks in the state. Of note,
grazing is a critical impact for local communities, for their economies as well as for the cultural and historic aspects of
that lifestyle that we strive to protect.

Mr. Johnson showed how the landscape has changed in the last three decades. This is a dry state, and water is key in these
desert communities and what we are seeing is some significant impacts to the water sources. As for defoliation, over time,
and at high levels of grazing, root growth is severely limited because plants are allocating resources to leaf growth to
increase photosynthesis. There is a loss of root mass that then limits the ability of a plant to survive disturbance moving
forward. If we don’t leave half of a plant to regrow, then the percent of root growth is decreased. It is important to note as
well that horses compact the earth more than cloven hooved animals. Cloven hoof animals almost till the earth when they
walk, but the solid hoof compacts it.



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Mr. Johsnon presented five recommendations:
    1. Achieve Appropriate Management Level within 3 years
    2. Use all available fertility control options; HMA’s will require site specific solutions
    3. Remove young adoptable animals
    4. Retain an adequate number of high quality, young animals for herd viability and genetic diversity
    5. Implement proven grazing principles

Mr, Johnson reiterated that we have a lot to do to get to where we need to be. Seeding is unsuccessful in areas where we
are over AML. The Governor’s office is in support of using available fertility control options. Of course, different HMAs
will require different solutions. Some may require permanent sterilization and some we can do the darting but we have to
look at each HMA and see what works in those areas. We also propose removing young adoptable animals. Mr. Johnson,
based on his experience and background, stated that it is easier to train younger animals, and we should concentrate on
bringing off those animals that are trainable and adoptable. Mr. Johnson discussed ways to maintain genetic viability. As
for management of where, if we don't think about how to move the animals and ways to get them to new pastures, we will
always end up with localized impacts. We need to work as partners, and this includes finding ways for both grazing and
free-roaming horses to coexist, rather than being in conflict with each other. Mr. Johnson then turned it over to the Board
for questions.

Mr. French asked if there is appetite on the part of the state and local governments to partner with the federal government
to achieve the recommendations? Mr. Johnson responded that yes, two years ago the legislature put $500,000 to doing
rangeland projects and $250,000 went in this year for managing rangelands, including some water projects and some
gathers. The State has not done anything on the adoption side or fertility side. Mr. French commented that the subject
matter experts and the ability to provide specific management direction is crucial. He also stated that he thinks that part of
the solution is going to be not only public and private partnerships but also state and local partnerships.

Mr. Johnson stated that State and county Resource Management Plans provide local ecological knowledge. There are
management practices that are working and we have seen marked improvement in many areas.

Mr. Masters asked, based on estimates of 800 to 1,000 horses outside of HMAs, and a doubling effect every 4 years, does
the state of Utah have a plan on what to do with potentially exponential growth of horse herds outside of HMAs? Mr.
Johnson responded that it is the intent of the State to work together with partners, wildlife divisions, BLM, and local land
use authorities to manage the problem of horses outside of HMAs. Mr. Masters asked a clarifying question, does a horse,
an unclaimed horse that's on state land, that's not inside an HMA or HA, belong to the BLM? Mr. Gus Warr answered the
question by stating that when there are horses reported outside of HAs, the BLM tries to determine if it is a feral horse that
would fall under the Wild Horse and Burro Act, or whether it is a horse that has simply been turned loose. A horse that's
unbranded, unclaimed, on public lands falls under the Wild Horse and Burro Act.

The Board commented on Mr. Johnson’s comments about returning healthy horses to the herd and that it would be
beneficial to provide more training to contractors that complete gathers and to encourage people in the industry to
participate in adoptions.

Mr. Woehl turned the time over to the next panelist, Dr. Steven Petersen.

BYU: Ecological Interactions of Free-roaming Horses and Rangeland Resources
Dr. Steven Petersen, Plant and Wildlife Sciences, Brigham Young University, Provo, Utah

Dr. Petersen introduced himself and talked about his background in rangeland ecology and management. He talked about
rangeland management principles to conserve rangeland resources, including the following:
     Sustain rangelands as renewable resources;
     Maintain green plants to capture solar energy and sustain grazing animals;
     Provide protection to soil, water, vegetation, and climate; and
     Sustain multiple uses of rangelands (food, water, wildlife habitat, ecosystem dynamics)

Dr. Petersen went on to explain the things that keep the rangelands sustainable: precipitation is the single most important


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factor in determining the type and productivity of vegetation; and soil texture, structure, depth, and organic matter
influences forage production. Dr. Petersen stressed the relationship between where the horses are on the range and the
annual average precipitation in those areas. He pointed out that it is really important to think about the influence of the
environment and the ecological responses to these conditions. When thinking about rangeland, consider the potential
disturbances. One of the disturbances is animal density and is the most important of all grazing management decisions. It
has to deal with frequency, intensity, and duration of grazing. Ecosystem sustainability also depends on carrying capacity.
These ecosystems are tolerant of disturbance and over time we can see the level an ecosystem can support and maintain.
The goal is to avoid damage to vegetation in order to maintain the ecological processes and maintain the plant community.
The plants stabilize the soils, allows for infiltration rates and nutrient cycling and other processes that result in overall
rangeland health. Dr. Petersen pointed out that it is important to understand individual plant species responses.

Dr. Petersen referred to the BLM management direction to maintain a thriving natural ecological balance. This is
accomplished by setting AML (stocking rates) and managing lands to prevent rangeland deterioration.

Dr. Petersen referred to studies on the rangelands: upland plant community response to free-roaming horses.
     Compared vegetation and soil surface characteristics in grazed areas and ungrazed
     Horse grazed areas had lower sagebrush density and plant diversity, greater soil penetration resistance, and lower
        soil aggregate stability
     Herbaceous cover and density generally did not differ between grazed and ungrazed treatments
     Horses may have an affect on the ecological function of semi-arid rangelands (risk of soil erosion and lower water
        availability)

Another study considered the impact on other wildlife at water sources where horses were included and at water sources
where horses were excluded. In the case of pronghorns and based on observations, when horsed were present at water
sources, pronghorns would vacate the water source 50% of the time. We think this is mostly due to size.

In summary, Dr. Petersen made the following points:
     Increasingly dependent on manager’s knowledge of range management, agronomy, animal husbandry, and
       wildlife management
     Integrated (coordinated) resource planning
     Need skilled personnel who can evaluate rangeland condition and assess risks
     Implement technological advancements to improve management strategies

He then turned the time back to the Board for questions.

Mr. Yardley commented that this may be the most important information that has been presented at this meeting,
understanding the significant impact that the rangeland resource has on many different animals. He asked, what are the
ramifications on arid and semi-arid communities of crossing an “ecological threshold” and how long does it potentially
take to reclaim or return to its natural state? Dr. Petersen responded that it depends on the soil, decomposition rates, and
water infiltration. All of these processes are nitrogen cycling. When a site is degraded, no matter the cause, it can disrupt
those processes. We first have to determine at what point, a threshold, where there is a decoupling. For example, in cases
where you start to lose soils and the ability to infiltrate water, going from biotic to abiotic, these are much more difficult
to recover. If the degradation goes on long enough, it could be hundreds or even thousands of years to recover.

Mr. Yardley asked, what is the cost involved and the success rate in arid communities through recovery efforts, such as
reseeding. Dr. Stevensen responded that simply, it costs a lot. In areas with 10 inches or less of annual average
precipitation, the ability to seed and have the seed germinate and be established, 1 to 5% success rate is pretty good.

Ms. Carlisle pointed out that in the studies presented by Dr. Petersen, the degradation does not preclude other large hoof
ungulates, the goal is to figure out how to better manage. She agreed that we need better information to help us do the
right thing and supports that. She thanked Dr. Petersen.

Dr. Perryman asked Dr. Petersen to clarify statements that there is no such thing as grazed or ungrazed, that it is always in
some context of timing, duration and intensity. Dr. Petersen explained that the rangeland, and the plants on the rangeland,

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are sensitive to the way they are grazed. The timing of grazing is really important. Also, grazing during a critical growing
period when they are producing their inflorescences, will impact plant health, especially if grazed multiple times in a
single growing season. Dr. Perryman added that the study in Sheldon, although there were no major differences between
the two treatments, it was only true under that specific grazing scenario of timing, duration and intensity. If you change
that timing, duration and intensity, you can expect different results, depending on whether it was more intense or less
intense.

Advisory Board Discussion Part 1

Mr. Woehl asked the Board members to report on the subcommittee work sessions held on Wednesday, October 9 and to
discuss any of the topics from presentations made in the last two days.

Ms. Kathrens brought up the use of reflective posts and lighting (Strieter-lites) on major roads near HAs and HMAs to
reduce vehicle-horse incidents. She also brought up signage to provide HMA identification, visitor information, which
includes signs relating to regulations, interpretation, resource protection, general information, safety, and wayfinding.

Mr. Yardley commented that the Board should consider the options presented to Congress, presented to the Board by Mr.
Alan Shepherd, and find one, or a combination of several, to support and recommend. Ms. Carlisle suggested that the
Board should support much more detailed solutions, not just the options presented, a solution that outline the resources
and time to complete.

Ms. Carlisle referred to the marketing survey that recommended that the BLM do some branding to provide consistency
between and among their adoption events. Ms. Carlisle and other members of the Board agreed that implementing the
marketing plan could be a good recommendation by the Board.

The Board discussed increasing adoptions. The Board discussed the wording regarding horse sales. Perhaps it should be
reworded to prevent undesirable sales, or sales that result in the slaughter or mistreatment of animals.

Dr. Lenz reported on the population growth suppression working group. We believe the consensus was once at AML, a
combination of current contraceptives sterilization, sex ratio adjustments and removals should be able to maintain herds at
an acceptable level. Other members of the Board commented that fertility controls could be utilized more so now.

The Board discussed on-range euthanasia in cases of suffering. There was some disagreement and alternatives to this
proposal, including that even before AML is achieved that we increase use of fertility control in all situations. Members of
the Board pointed out that euthanasia is sometimes the humane option in cases of suffering.

Ms. Carlisle suggested that it would be bold and empowering to unify as a Board to make recommendations that don’t
include euthanasia.

Mr. French pointed out that the Board should be talking about the land being able to ever support animals again. There are
cases where we are beyond the point of return and any additional inaction is going to be disastrous. He suggested that this
is about habitat and that the Board should be making recommendations to improve that habitat. Other members of the
board emphasized the carrying capacity of the land and how that impacts wildlife, grazing, and horses and burros. If we
don’t maintain the habitat, we lose options for the future.

The Board discussed private partnerships that could be leveraged to increase long-term holding. The Board agreed that
partnerships should be a part of any solution moving forward and that the energy in the room could be the catalyst for
these groups and the BLM together to take action and move forward.

Advisory Board Discussion Part 2

Mr. Woehl asked the Board members to continue discussions and to move toward proposing specific recommendations or
topics to consider in the recommendations.



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Mr. Yardley proposed the Board consider supporting option one of the options presented to Congress and advise the BLM
to support that option moving forward. Ms. Carlisle suggested that there were elements of each option that are good,
however they lack details. The Board discussed how the options were developed and to whom they were presented. The
options were presented from BLM leadership, through the Department of the Interior and then to OMB, PMB, and then to
the consolidated appropriations committee (Congress). The Board asked if the Interior Secretary’s office acknowledged
the development of the report and if they, and members of Congress, have received the information and asked about it.
BLM staff responded that there have been follow-up questions from staff and others and that there has been some
attention to it from both the Secretary of the Interior and Congress. BLM reported that they are looking forward to a
response from Congress, the report was requested by and prepared for them and the agency is interested in their response.
It is unknown if and when they will receive a response.

The Board discussed a proposed recommendation, that is to encourage BLM to gather horses on HMAs that are over
AML that are reliant upon supplemental water. The Board discussed the impacts involved with providing supplemental
water, both positive and negative, acknowledging there are circumstances where it is deemed necessary. Mr. French
pointed out, in light of earlier discussions of ecosystems and preservation of those ecosystems, that there are BLM
districts that have programmed water hauling on an annual basis. In those HMAs, that is a clear indication that they are
well above carrying capacity.

Mr. French proposed that the BLM provide specific policies that address the triggers for emergency gathers that consider
wildlife habitat and threatened and endangered species. There may be cases where HMAs have greater sage-grouse spring
brood habitat that are potentially competing for the same lush riparian habitat. The Board agreed that more information on
this topic would be helpful when considering management of wild horses.

Mr. Masters proposed that the BLM: notify all western states governor's offices, western counties, RACs and state
wildlife agencies where wild horses exist that the Bureau of Land Management's wild horse and burro program is
unsustainable, underfunded and has no plan to stop the exponential growth of wild horse and burros which are currently
three times over the appropriate management level; notify these parties that thousands of horses have already left the
defined herd management areas, and that large breeding herds are expanding in number and range, far outside where they
are legally designated; notify these parties to expect the increased potential for ecological impacts, economic
ramifications, highway safety concerns, litigation from multiple parties, and needed press; and to recognize that if it's
beyond the Bureau of Land Management’s current ability to stop either the population growth or the expansion of these
wild horse herds, to encourage states and local stakeholders to develop management plans for thousands of breeding
horses outside of herd management areas. Ms. Carlisle stated that this sounded like trying to blame the BLM for all of the
problems, but that preparing state agencies for participation in what is going to take many stakeholders, including
counties, states, and cities is a way forward. She agreed that there is a need to involve different levels of administration.
Other Board members commented that the BLM is 100% committed but agree that tackling the issue is going to take
cooperation from federal, state, and local agencies as well as support from private and non-government organizations.

Public Comments
A public comment period was conducted from 2:30 p.m. to 4:15 p.m. allowing individuals and individual representatives
of groups the opportunity to address the Board. Speakers were encouraged to submit their comments in a written format.
A summary of the individual comments and written comments have been provided as subsequent volumes 3 and 4,
respectively.

Advisory Board Discussion Part 3
The Board proposed draft recommendations and discussed the wording of those recommendations together. Topics
included the following:

       Cooperation between interested third-parties and BLM
       The role of BLM in managing partnerships with interested parties
       Maximizing adoptions and marketing opportunities
       Considerations for sales without limitations
       The BLM report to Congress and the options proposed to reach AML in 10 years


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      Emergency gathers in priority habitat and habitat for threatened, endangered, and sensitive species
      Horses that rely on supplemental water
      PZP, PZP 22, other reversible options, and humane, permanent sterilization
      Tracking of mares and database management

Wild Horse & Burro Advisory Board Recommendations
Present:                       Excused:
Fred Woehl, Chair              Dr. Sue McDonnell
Dr. Tom Lenz                   Dr. Barry Perryman
Ben Masters
Ginger Kathrens
Steven Yardley
Celeste Carlisle
Jim French

   1. Encourage BLM to gather horses in HMA’s that are over AML that are reliant upon supplemental water. Once
      HMA is at AML, stop hauling supplemental water except under extreme circumstances.

       Approved. Vote was unanimous.


   2. Continue to support and increase funding and the use of programs like the Mustang Heritage Foundation Trainer
      Incentive Program to place horses and burros in good homes.

       Approved. Vote was unanimous.


   3. Encourage volunteer and partnership opportunities for fertility control and adoptions including inmate training
      programs or 4-H and youth programs, local fertility control advocacy groups, public off-range pastures, and
      organizations like The Mustang Heritage Foundation.

       Approved. Vote was unanimous.


   4. Support the existing Great Lakes Marketing Research Report submitted to BLM. Support and implement the list
      of feasible recommendations from the marketing report.

       Approved. Vote was unanimous.


   5. Reach out to military and veteran organizations for help with adoption and volunteer fertility control application.

       Approved. Vote was unanimous.


   6. Board accepts Option 1 and the required changes to the regulation and the Act (Wild Free-Roaming Horse and
      Burro Act) from the report to Congress as the preferred path forward to reach AML.

       Approved. Split vote of five in favor and two opposed, Ms. Carlisle and Ms. Kathrens.




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   7. The advisory board recognizes the value of and supports ongoing research and funding of humane permanent
      sterilization as one of many viable tools in our quest to achieve a thriving ecological balance by achieving and
      maintaining AML.

       Approved. Split vote of five in favor and two opposed, Ms. Carlisle and Ms. Kathrens.


   8. The board encourages the BLM to collaborate with interested equine advocacy groups to decrease current
      unadoptable horse and burro inventories.

       Approved. Vote was unanimous.


   9. We recommend that the BLM first focus resources on reaching AML in 3-5 years by utilizing removals as can be
      accomplished and accommodated by off-range holding.

       Approved. Split vote of four in favor, two opposed, Ms. Carlisle and Ms. Kathrens, and one abstain, Mr. Masters.


   10. On the HMA and HA that exceed AML, initiate emergency gathers where these boundaries overlap primary
       habitat of sensitive, threatened and endangered species and initiate the evaluations to establish carrying capacity.

       Approved. Vote was unanimous.


   11. Implement safe, reversible fertility control vaccines as part of the management control to mares captured and
       returned to the range.

       Approved. Vote was unanimous.


   12. Update and make available to all BLM field offices the existing national database to track all treated mares.

       Approved. Split vote of six in favor and one opposed, Mr. Yardley.


   13. We as the Board, prefer non-lethal management options for population control purposes when possible.

       Approved. Split vote of four in favor and three opposed, Mr. Yardley, Dr. Lenz, and Ms. Kathrens.



The Board unanimously voted to approve the executive summary and minutes from the Advisory Board Meeting dated
October 18-19, 2017 in Grand Junction, Colorado.




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                                                                                                      BLM_002170
                                                                                        From:           Waddell, Holle
                                                                                        To:             Michael Reiland; Alan Shepherd; Dean O Bolstad
                                                                                        Subject:        Adoption Incentive Briefing Paper
                                                                                                                                                                                                        BLM_002171




                                                                                        Date:           Wednesday, December 6, 2017 10:50:00 AM
                                                                                        Attachments:    Adoption Incentive Pilot Program BP for the Director 2016.09.07.docx
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                                                                                    Thank you,
                                                                                    Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |
                                                                                        Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
                                                                                    ​
                                                                                    "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by shifting
                                                                                    your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift your
                                                                                    thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
                                                                                    ■
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                                    Internal Working Document

      INFORMATION MEMORANDUM FOR THE DIRECTOR – September 7, 2016

      FROM:          Dean Bolstad, Wild Horse and Burro Division Chief

      CC:            Kristin Bail, Acting Assistant Director, Resources and Planning;
                     Nancy Haug, Acting Deputy Assistant Director, Resources & Planning

      SUBJECT:       Wild Horse and Burro Adoption Assistance Incentive Program

      I.      INTRODUCTION
      The adoption incentive pilot program is proposed to increase the number of adopted wild
      horses and burros (WH&B) that are difficult to adopt because of their age. The pilot
      would offer financial assistance through an Assistance Agreement to an individual or
      organization that would oversee the program and distribute funding to adopters of
      WH&Bs of older specified ages, who train them to specified standards, and apply for title
      (ownership) of the animal(s) after providing at least one year of humane care. The
      financial assistance would help defray expenses for the care and training of adopted
      animals and be paid out at the time title is granted. The program has completed the
      required documentation to initiate the solicitation however the adoption incentive pilot
      program has been placed on hold due to the unavailability of a grants management officer
      to issue a solicitation, make an award and execute an agreement. The program hopes to
      move forward next fiscal year.

      The attached graphs display the ages of horses and burros adopted during the past 5
      years. Three percent of adopted horses were 7 years and older and 5% of burros were 9
      years and older.

      Gentling and training mustangs and burros adds monetary value to the animals and
      reduces the risk that they would be sold for slaughter. In addition, a bond develops
      between the adopter and animal during the training process that increases the likelihood
      the animal would be retained by the adopter.

      II.    BACKGROUND
      The BLM has been adopting WH&Bs since 1971 and has placed more than 235,000
      animals into private care. Over the last 10 years, adoptions have steadily declined to a
      low of 2,135 animals in 2014. Adoptions increased to 2,631 animals in FY 2015
      compared to 6,644 in FY 2004.

      Placing wild horses and burros into private care is a vital component of the WH&B
      program. An increase in adoptions would reduce corral holding costs. Cost savings
      would be diverted other aspects of managing our wild horses and burros such as fertility
      control and or increased removals.

      Adoption Incentive Pilot Program
          Issue a RFA solicitation offering financial assistance to an organization/individual
            to administer the Incentive Program
          Incentive offered for 100 animals currently located in corrals.

                                                   1


                                                                                        BLM_002172
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                                    Internal Working Document

            $1,500 incentive paid to individuals who:
                 o Adopt a 7 year or older and halter/saddle train
            $800 incentive paid to adopters who:
                 o 9 years and older burro and halter train
            Halter trained is defined as an animal that may be approached, caught and
             haltered in an open restricted area, led safely from one area to another, stand tied,
             allow its feet to be picked up, and load into a trailer.
            Saddle trained is defined as an animal that has successfully mastered all the
             components of the halter trained animal and have the ability to be ridden at a walk
             and trot.
            Adopter must apply for and receive title at the same time incentive is paid out.

      III.    POSITION of INTERESTED PARTIES
      Some wild horse and burro advocate organizations may oppose the program due to fears
      that the older aged animals would be more susceptible to sale for slaughter.

      IV.    BUDGET IMPACT
      In August 18, 2016, over 32,000 horses are located in off-range pastures (ORPs) and
      Eco-Sanctuaries and over 13,500 animals in off-range corrals (ORCs). Nearly $49
      million was expended in FY 2015 for off-range animal care. Costs for animals in ORCs
      average $1,927 annually and over a lifetime (estimated 25 years) average $48,000.

      Attachments:
      1 – Average annual cost to care for and train a horse (Infographic)
      2 – Ages of Adopted Horses and Burros 2011 to 2015 (Charts)




                                                   2


                                                                                        BLM_002173
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    From:               Bolstad, Dean
    To:                 Reiland, Michael
    Cc:                 Holle Hooks; Alan Shepard; Anna-Maria Easley
    Subject:            Re: Adoption Incentive Paper
    Date:               Friday, December 8, 2017 12:29:03 PM
    Attachments:        Adoption Assistance Program BP for the Director 2016.May.05 DRAFT.docx
                        Projected Costs_Payments Chart 20150520.xlsx
                        AdoptAgesFY2011toFY2015 Ages in Corrals 2016.xlsx
                        BLM vs Boarding Average Annual Boarding Costs 2016.05.06.pdf


    Michael,
    Thanks for initiating the draft. Perhaps we need a conference call to decide what to present in this BP. I have the
    following thoughts.

    Rather than present the questions (all are relevant but perhaps more appropriate as an attachment with answers) as
    the main part of the briefing paper maybe we need to present the process that the solicitors advised was doable. I
    think we should do the following but would like a group think/discussion:

        •   Present the process for an incentive program
        •   Provide a financial analysis in a spreadsheet like you did before. Can you find your previous spreadsheets or
            the ones that Molly developed? For the new BP, maybe the spreadsheet would present a couple of examples
            of how much it would cost and how many additional adoptions it would take to break even for the incentive
            to be cost effective. Maybe present two alternatives, a $1,000 incentive and a $2,500 incentive

    I've attached our previous BP and its attachments that we presented to Neil. Perhaps we could start with this, but
    revise it to be an incentive for all aged horses excluding trained animals.

    What do you all think?

    Dean Bolstad
    Division Chief, Wild Horse and Burro Program
    Washington Office (WO-260)
    (202) 912-7648 Office
    (775) 750-6362 Cell

    On Fri, Dec 8, 2017 at 11:40 AM, Reiland, Michael <mreiland@blm.gov> wrote:
     To All:

      Here's the draft of the Adoption Incentive Paper. Please comment and return to me ASAP.

      Thanks,

      --
      Michael Reiland
      WO-260 Budget-Analyst
      202-912-7261
      202-794-2479




                                                                                                           BLM_002174
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                                                         FY 2016 as
         FY 2011   FY 2012   FY 2013   FY 2014   FY 2015 of 06/30/16
HORSES      2387      2176      2218      1753      2305       1749
BURROS       362       350       299       344       297        297
TOTAL:      2749      2526      2517      2097      2602       2046                        WILD HORSE & BURRO ADOPTIONS
                                                                                                  FY 2011 - FY 2015

                                                                        3000


                                                                        2500


                                                                        2000


                                                                        1500


                                                                        1000


                                                                         500


                                                                           0
                                                                                FY 2011   FY 2012   FY 2013   FY 2014     FY 2015      FY 2016 as of
                                                                                                                                         06/30/16
                                                                       HORSES    2387      2176      2218      1753        2305            1749
                                                                       BURROS    362        350      299       344         297              297
                                                                       TOTAL:    2749      2526      2517      2097        2602            2046




                                                                                                                                    BLM_002175
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                                                     (Inter nal working document: attachment 1)




Average annual cost
to care for a horse
                                                                                                          UNIQUELY AMERICAN.
                                                                                                             UNIQUELY YOURS.


                                                           BLM
                                                Off-Range Corral
                                                                                                          $1,927
                                                                       Untrained
                                                                         Feed & Care




                                                                   At Home
                                                          Annual Estimated
                                                              Feed & Care Expenses
                                                                                                      $1,962

                                                               Halter-Trained *
                                                         Feed,Care & Halter training
                                                                                                          $2,499
                                                              Saddle-Trained **
                                                       Feed, Care & Saddle Training
                                                                                                            $3,436




                                               Boarding Facility

                                                          Annual Estimated
                                                              Feed & Care Expenses
                                                                                                                       $10,375
                                                               Halter-Trained *
                                                         Feed,Care & Halter training
                                                                                                                         $10,913
                                                              Saddle-Trained **
                                                       Feed, Care & Saddle Training
                                                                                                                            $11,850



 * Halter-Trained is deﬁned as an animal that may be approached, caught and haltered in an open unrestricted area, safely led from one area to
   another, stand tied for farrier and pick up feet, and load into a trailer.

   Saddle-Trained is deﬁned as an animal that may be approached, caught and haltered in an open unrestricted area, safely led from one area to
** another, stand tied for farrier and pick up feet, load into a trailer and ridden at a walk and trot.
                                                                                                                       BLM_002176            Rev 5/03/16
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                                                  (Inter nal working document: attachment 1)




                             Average Annual Cost                     Low                    High                        Average
                        to Care and Feed a Horse

                        BLM Off-Range Corral                                                                            $1,927
                                                                                                                        12 months
                                                         Corral                                                         Actual 2015
            includes feed, supplements, salt, mineral, water and
          housing facitity, hoof trimming, routine veterinary care
        including vaccines, de-worming and health inspections.


                                                 At Home
                                                          Home       $913                   $1,460                      n/a
            includes feed, supplements, salt, mineral, water and
                                   housing facility for the horse

                                             Farrier Services        $700                   $850                        n/a
        including trimming and/or shoeing every 6-8 weeks and
                                  Routine Veterinary Care
         including vaccines, de-worming, dental and service call

                                     Annual Estimated                $1,613                 $2,310                      $1,962
                                      Feed & Care Expenses

                          Training Fees – Halter-Trained             $300                   $775                        n/a
                                                   (Professional)    60 days of training    60 days of training

           Annual Estimated – Halter-Trained                         $1,913                 $3,085                      $2,499
                       Feed & Care and Training Expenses

                       Training Fees – Saddle-Trained*               $1,000                 $1,950                      n/a
                                                   (Professional)    120 days of training   120 days of training

        Annual Estimated – Saddle-Trained*                           $2,613                 $4,260                      $3,436
                       Feed & Care and Training Expenses


                                Boarding Facility
                                                      Boarding       $1200                  $18,000                     n/a
            includes feed, supplements, salt, mineral, water and
                                   housing facility for the horse

                                             Farrier Services        $700                   $850                        n/a
        including trimming and/or shoeing every 6-8 weeks and
                                  Routine Veterinary Care
         including vaccines, de-worming, dental and service call

                                     Annual Estimated                $1,900                 $18,850                     $10,375
                                      Feed & Care Expenses

                          Training Fees – Halter-Trained             $300                   $775                        n/a
                                                   (Professional)    60 days of training    60 days of training

           Annual Estimated – Halter-Trained                         $2,200                 $19,625                     $10,913
                       Feed & Care and Training Expenses

                       Training Fees – Saddle-Trained*               $1,000                 $1,950                      n/a
                                                   (Professional)    120 days of training   120 days of training

        Annual Estimated – Saddle-Trained*                           $2,900                 $20,800                     $11,850
                       Feed & Care and Training Expenses

NOTE: Cost estimate sources: AAEP 2012, American Horse Council,
BLM existing contracts as well as subject matter experts in the
WHB program. Data compiled 4/2016


                                                                                                                   BLM_002177
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                      BLM Lifetime
                      Cost Saving if   BLM Lifetime
        BLM           maintained in    Cost Saving if
        Incentive     Off‐Range        maintained in Off‐
        Payment       Corral           Range Pasture
Horse          $1,500        $33,186             $13,074
Burro            $750        $30,082          N/A


                                                                                  Adoption Incentive Pilot Program
                                                                                         (Projected Costs per Animal)
                                                    $35,000

                                                    $30,000

                                                    $25,000

                                                    $20,000

                                                    $15,000

                                                    $10,000

                                                     $5,000

                                                            $0
                                                                                            BLM Lifetime Cost Saving if maintained   BLM Lifetime Cost Saving if maintained
                                                                 BLM Incentive Payment
                                                                                                      in Off‐Range Corral                     in Off‐Range Pasture

                                                      •Burro
                                                       Horse            $1,500                             $33,186                                  $13,074

                                                      •                  $750                              $30,082                                    $0




                                                                                                                                                              BLM_002178
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    From:              Bail, Kristin
    To:                Reiland, Michael
    Subject:           Fwd: Wild Horses Meeting
    Date:              Thursday, December 21, 2017 4:48:27 PM
    Attachments:       InfoMemo_LegOptions_Director_09.06.16 FINAL (1).doc


    Another incentive paper.

    ---------- Forwarded message ----------
    From: Velasco, Janine <jvelasco@blm.gov>
    Date: Tue, Sep 6, 2016 at 3:51 PM
    Subject: Re: Wild Horses Meeting
    To: "Gordon, Bill" <bill_gordon@ios.doi.gov>
    Cc: Ann DeBlasi <amdeblas@blm.gov>, Tonya Jackson <tmjackson@blm.gov>, Lance
    Porter <l50porte@blm.gov>, Kristin Bail <kbail@blm.gov>, Linda Smith
    <lhsmith@blm.gov>


    Hi Bill -- here is the briefing paper that 200 did for Neil, but I dont' think it works for OMB. I
    believe that they are still working on the incentives materials that they reference in this.



    On Tue, Sep 6, 2016 at 2:38 PM, Gordon, Bill <bill_gordon@ios.doi.gov> wrote:
     Janine/Ann - I know Linda is out today, so I am reaching out to you. As you probably
     know, on Thursday BLM is briefing OMB on the WH&B program. As noted in the
     message/invitation below, a primary focus of the meeting, as far as OMB senior
     management is concerned, is Neil/BLM briefing OMB on the DETAILS of some of the
     novel reform ideas that Neil previously pitched to OMB and that he has also mentioned in
     public since then (e.g. in hearings). These include tax credits, among other things. Mike
     Hagan just called me to stress this again. He really wants to see these details/substantive
     proposals BEFORE the meeting. Can you let me know if BLM will be able to send the
     details to him by tomorrow. I am afraid it will reflect poorly on BLM if this meeting is not
     productive - - - i.e. a substantive discussion of very detailed proposals.

      Please let me know if you will be able to send the proposals to Mike by tomorrow so I can
      let him know.

      Thanks,

      Bill

      ---------- Forwarded message ----------
      From: Hagan, Michael B. EOP/OMB <Michael_B._Hagan@omb.eop.gov>
      Date: Wed, Aug 31, 2016 at 5:54 PM
      Subject: Wild Horses Meeting
      To: "Gordon, Bill" <bill_gordon@ios.doi.gov>, "Smith, Linda" <lhsmith@blm.gov>
      Cc: "kbail@blm.gov" <kbail@blm.gov>


                      (202)


                                                                                          BLM_002179
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      Bridge
               395-
      Number
               6392
      Conferee 982
      Passcode 5991


     This meeting follows up on two items: (1) information OMB requested via Passback (due on March
     4, 2016) on BLM’s near-term actions and a long-term plan to effectively address the many long-
     standing (and increasingly costly) problems with this program, and (2) an OMB agreement earlier
     this summer during testimony review to work with BLM on alternative approaches to meeting this
     objective, and notably a novel ‘payment incentives’ or tax-related idea that was not sufficiently
     developed for inclusion in the 2017 Budget.

     In addition to the passback report, we are expecting to see as much detail as possible on
     proposals in advance of the meeting, particularly on the tax incentive idea. Please aim to get
     something to us by Tuesday or Weds morning.

     Please forward to Neil, Dean, and Kristin. Look forward to seeing you all on Thursday.




                                                                                              BLM_002180
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      INFORMATION MEMORANDUM FOR THE DIRECTOR

      DATE:          August 24, 2016

      FROM:          Dean Bolstad, Division Chief, Wild Horse and Burro Program

      CC:            Kristin Bail, Assistant Director, Resources and Planning
                     Lance Porter, Acting Deputy Assistant Director, Resources and Planning

      SUBJECT:       Legislative and Management Options to Improve Wild Horse and Burro
                     Management

      I.      INTRODUCTION

      This memorandum identifies legislative proposals to support long-term solutions for the
      management of wild horses and burros, as well as eleven potential unfunded management
      scenarios to achieve Appropriate Management Levels (AML) in 4 to 31 years utilizing
      gathers and fertility-control options.

      It is important to note that OMB may be expecting a big ask from the BLM during 2018
      budget development in terms of both funding and legislative options. It is also worth
      noting that recent discussions with appropriations staff disclosed some frustration with
      the challenges of the program being presented to Congress but no substantive budget
      request being submitted to address those challenges.

      OMB has also requested information regarding incentive options in advance of the
      meeting with Janet Irwin that is scheduled for September 8th at 1pm. The program is
      aware of the request and is working to pull information together in response to that
      request.

      The Wild Horse and Burro Program is on an unsustainable path. The BLM was
      successful in getting the attention of the Congress with the legislative proposal for
      transfer authority in the 2016 budget, perhaps it is time to “go big” and propose a moon
      shot approach that will allow the BLM to achieve AML quickly and sustain AML over
      time. If the status quo is maintained the number of horses and the associated challenges
      will more than double during the new President’s first term.

      Many of the following proposals have been shared with OMB as a component of the
      report transmitted on August 31, 2016 in response to their 2017 budget passback
      directive.

      II.     LEGISLATIVE and REGULATORY OPTIONS

      A variety of possible legislative and regulatory changes have been identified that could
      assist with wild horse and burro management. These are briefly examined below.



                                                  1


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            Amend the Wild Free-Roaming Horses and Burros Act of 1971 (the Act) to
             clarify and establish that the BLM may manage for minimally reproducing or
             non-reproducing herds.

      These changes would allow for tailored management at a regional or state level and
      limitation of population growth. Some herds would consist of spayed and/or neutered
      animals (minimal or non-reproducing herds) while others would remain breeding herds.
      Excess, unadoptable animals would be spayed and neutered and managed in non-
      reproducing herds or as a component of breeding herds, while overall population viability
      would be maintained via breeding herds. In time, after achievement of Appropriate
      Management Levels (AML), rather than moving excess animals to costly off-range
      pastures and corrals, they could remain on the range in non-reproducing herds.

            Amend the Act to allow spayed or neutered horses and burros to be placed on
             public lands where they were not found in 1971 when the Act was passed. The
             Act expressly prohibits the relocation of wild horses and burros to areas where
             they did not exist in 1971.

      This change would provide opportunities to maintain wild horses and burros on public
      lands where animals did not exist in 1971 and allow BLM to enter into agreements with
      willing partners to establish eco-sanctuaries comprised of a mix of public and private
      lands, rather than private lands only. Some stakeholders have shown interest in
      cooperating with BLM to set up eco-sanctuaries of this type. Further, ranchers could
      request conversion of their public land grazing preference from livestock use to wild
      horses and burro use, if they wished to do so. A provision to allow wild horses and
      burros on lands not previously occupied would allow the maintenance of unadopted
      animals on public lands at lower cost than off-range corrals and contracted private land
      pastures.

            Amend the Act to create new terms for adoption and incentives for private
             individuals to adopt, buy or otherwise financially support animals such as:
             introducing a tax credit for adoptions; shortening the time period to six months
             from adoption to transfer of title of ownership (currently one year); and increasing
             the number of animals that can be titled to one individual (currently four animals
             per year); offering tax credits for a donation of funds to care for horses in BLM
             facilities; and offering tax credits to off-range pasture contractors to encourage
             provision of pasture space.

      Providing tax incentives to individuals or organizations that adopt animals through the
      BLM’s adoption process could help expand the adoption program and increase adoptions.
      Additionally, offering tax credits to contractors who provide pasture space for wild
      horses could help decrease costs to care for excess animals. A shorter time period to gain
      ownership of adopted animals and increasing the number that may be titled to an
      individual may increase adoptions and especially so to entrepreneurs who wish to train
      wild horses and burros and sell them for profit as manageable, trust worthy mounts and
      companions.

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                Amend the Act to enable immediate transfer of animal ownership from BLM to
                 other federal, state or local agencies that have a need for work animals (e.g.
                 Border patrol).

      By allowing for a direct transfer of animals to other government agencies, more animals
      can be put to doing productive work on behalf of the public while reducing the number of
      animals BLM supports in its off-range corrals and pastures. There is evidence for the
      potential of a public agency “market” – the U.S. Border Patrol has adopted approximately
      300 former wild horses over the past decade.

                Amend the Act to enable the BLM to directly transfer ownership of animals to
                 other countries for humanitarian or economic development purposes.

      With oversight guidelines, excess wild horses or burros could be offered for humanitarian
      and economic development purposes in other countries, such as Guatemala, if logistical
      challenges to transportation can be solved.

                Authorize a BLM Foundation

      The President’s FY 2017 Budget includes a legislative proposal for a congressionally-
      chartered non-profit foundation to support the BLM’s work. A foundation could vastly
      expand the BLM’s ability to foster public-private partnerships aimed at finding good
      homes for and encouraging sustainable management of wild horses. Legislation
      authorizing the Bureau of Land Management Foundation passed the House on July 5,
      2016 (H.R. 3844). Language to establish the Foundation is also included in the Senate
      version of the FY 2017 Interior, Environment, and Related Agencies Appropriations bill,
      S. 3068.

                Other

      It should be noted that for many years the annual Interior Appropriations Acts have
      included language, as proposed in the President’s Budgets, prohibiting the destruction of
      healthy, unadopted wild horses and burros by BLM or unrestricted sales.

      III.       MANAGEMENT SCENARIOS

      Included in Attachments 1 and 2 are eleven management scenarios to achieve AML over
      the next 3-15 years utilizing gathers and fertility-control options. No meaningful program
      to achieve AML or curb population growth with fertility control can be implemented
      without large increases in program funding, as illustrated by the scenarios presented.
      These scenarios assume initiation of implementation in FY 2017. Implementation at a
      later date will increase the cost.

      These scenarios were provided in two letters (May 11, 2016 and June 21, 2016) in
      response to a congressional correspondence inquiry by 20 members of the House and

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      Senate. The scenarios presented are simplified and involve one or two population control
      methods. As research produces more fertility control alternatives, multiple methods of
      contraception in combination with removals will likely present a better management
      approach. No matter what combination of actions is implemented, it will be very costly.
      These scenarios include the following:

            Six “gather only” scenarios to reduce on-range population numbers to AML that
             were specifically requested by 20 Congressional members. Table 1 in Attachment
             1 summarizes the actions and costs related to these actions.

            Five gather/fertility treatment scenarios utilizing a selection of treatment methods
             combined with varying numbers of removals. Table 2 in Attachment 2
             summarizes the actions and costs related to these actions.




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                                                                   Attachment 1

          Table 1: Gather only Scenarios
                                                                            Range of Annual Costs to                 Total Cost Over a 40-year
                                                         Year AML          Implement During the First                 Time Period for Actions
Management Scenario                                       Achieved           15 Years (in millions)2                  Taken in First 15 Years3
Scenario 1: Achieve High AML in 3 yrs                      Year 4                  $81 - $193                               $3.1 billion
Remove 3,500 in year 1 (2016); 26,760 in each of
years 2-4; and 4,650 annually thereafter through year
15 to maintain AML. 2,500 animals adopted
annually results in 97,430 total unadopted animals
maintained off-range.

Scenario 2: Achieve High AML in 5 yrs                       Year 6                     $62 - $211                               $3.4 billion
Remove 3,500 in year 1 (2016); 19,965 in years 2-6;
and 4,650 annually thereafter to maintain AML.
2,500 animals adopted annually results in 107,675
total unadopted animals maintained off-range.

Scenario 3: Achieve High AML in 10 yrs                     Year 11                     $49 - $265                               $4.0 billion
Remove 3,500 in year 1 (2016); 15,230 in each of
years 2-11; and 4,650 annually thereafter through
year 15 to maintain AML. 2,500 animals adopted
annually results in 136,000 total unadopted animals
maintained off-range.

Scenario 4: Achieve Low AML in 3 yrs                        Year 4                     $89 - $188                               $2.9 billion
Remove 3,500 in year 1 (2016); 29,700 in each of
years 2-4; and 2,835 annually thereafter through year
15 to maintain AML. 2,500 animals adopted
annually results in 86,285 total unadopted animals
maintained off-range.

Scenario 5: Achieve Low AML in 5 yrs                        Year 6                     $66 - $204                               $3.2 billion
Remove 3,500 in year 1; 21,440 in each of years 2-6;
and 2,835 annually thereafter through year 15 to
maintain AML. 2,500 animals adopted annually
results in 98,715 total unadopted animals maintained
off-range.

Scenario 6: Achieve Low AML in 10 yrs                      Year 11                     $51 - $267                               $4.0 billion
Remove 3,500 in year 1; 15,685 in each of years 2-
11; and 2,835 annually thereafter through year 15 to
maintain AML. 2,500 animals adopted annually
results in 134,190 total unadopted animals maintained
off-range.


          Note 1: These costs assume that all unadopted animals will be maintained in corrals. This assumption is made because of the
          difficulty the BLM has had in obtaining cost-effective off-range pastures.

          Note 2: The annual cost to implement each management scenario includes the cost of gathers and adoptions in addition to the cost
          providing of off-range care for animals removed from the range but not adopted. Because additional animals would be removed
          each year, the numbers of unadopted animals maintained off-range increases over time. This, in turn, increases the annual cost of
          the management scenario over time. Therefore, the table displays the range of expected annual costs over the 15-year period. This is
          the additional cost beyond the current program annual budget of $80.6 million (i.e. FY2016 enacted)

          Note 3: The lifetime cost of care for unadopted animals is substantial and will be incurred for another 25 years past the 15-year mark.
          For this reason, the total actual cost of each management scenario is accrued over a 40-year time period. These estimates are derived
          from the present value of costs incurred due to actions taken in the first 15 years, assuming a 3 percent annual discount rate. These
          estimates depend on a number of factors, e.g. the actual cost of off-range care, cost for gathers, and the number of animals adopted.
          This is the additional total cost beyond the current program annual budget of $80.6 million (i.e. FY2016 enacted).



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      Note 4: “Low AML nationwide is 16,292. “High” AML nationwide is 26,725. Low AML and high AML constitutes the AML Range
      which is the number of adult animals within which herd size will be allowed to fluctuate and that is in balance with land capacity and
      other land uses.

      Note 5: The number of unadopted animals maintained off-range that are described in these Management Scenarios are the additional
      animals added to the holding facilities under these scenarios; i.e. above the number of animals presently in holding facilities.




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                                                                   Attachment 2

          Table 2: Gather and Fertility Control Scenarios
                                                                             Range of Annual Costs to                 Total Cost Over a 40-year
                                                          Year AML          Implement During the First                 Time Period for Actions
Management Scenario                                        Achieved           15 Years (in millions)2                  Taken in First 15 Years3
Scenario 7: Present Situation With $80.6                    Never                   $20 - $44                                $602 million
Million Budget.
Remove 3,500 per year. PZP 1,000 annually. 2,500
animals adopted annually results in 15,000 total
unadopted animals maintained off-range.

Scenario 8: Remove 14,000 Per Year                          Year 16                     $46 - $319                              $4.6 billion
Until High AML is Achieved.
Remove 3,500 in year 1 (2016), 14,000 in each of
years 2-15; 10,700 in year 16; and 4,650 annually
thereafter to maintain high AML. 2,500 animals
adopted annually results in 162,000 total unadopted
animals maintained off-range.

Scenario 9: Removal Combined With                           Year 31                     $30 - $177                              $2.4 billion
Spay/Neuter
Remove 3,500 in year 1 (2016); 8,000 in each of
years 2-16; and 2,835 annually thereafter to maintain
AML. Spay/neuter 300 in year 2; 2,000 in year 3,
6,000 in year 4; 10,000 in each of years 5-17; and
1,500 in year 15. 2,500 animals adopted annually
results in 78,000 total unadopted animals maintained
off-range.

Scenario 10: 7,500 PZP-22 Applications                       Never                       $37 - $61                             $793 million
Per Year
Remove 3,500 per year. PZP 7,500 annually, years 2-
16. 2,500 animals adopted annually results in 15,000
unadopted animals maintained off-range.

Scenario 11: 3,500 Removals and                             Year 15                      $66 - $98                             $1.04 billion
varying PZP-22 Applications Per Year
Remove 3,500 in years 1-14 year. PZP up to 70% of
mares annually (27,000 in 2017 year 2, decreasing to
9,700 in year 15). 2,500 animals adopted annually
results in 15,000 unadopted animals maintained off-
range.


          Note 1: These costs were developed with the assumption that all unadopted animals will be maintained in corrals. This assumption
          was made because of the increasing difficulty that the BLM has had in obtaining cost-effective off-range pastures. The additional
          number of unadopted animals in the table is in addition to the current number of animals maintained in off-range corrals.

          Note 2: In addition to the cost of gathers, adoptions, PZP treatments, and/or spaying and neutering, the annual costs include the cost
          of off-range care for animals that are removed from the range during years 1 through 15 but not adopted. These costs generally
          increase over time as additional animals are removed each year. Therefore, the table displays the range of expected annual costs
          over the 15-year period. This is the additional cost beyond the current program annual budget of $80.6 million (ie. FY 2016
          enacted).

          Note 3: The lifetime cost of care for unadopted animals is substantial, and some animals will require support for another 25 years past
          the 15-year mark. For this reason, the total actual cost of each management scenario is accrued over a 40-year time period. These
          estimates are derived from the present value of costs incurred due to actions taken in the first 15 years, assuming a 3 percent annual
          discount rate. These estimates depend on a number of factors, e.g. the actual cost of off-range care, cost for gathers, and the number
          of animals adopted. This is the additional total cost beyond the current program annual budget of $80.6 million (ie. FY 2016 enacted).




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      Note 4: “Low AML nationwide is 16,292. “High” AML nationwide is 26,725. Low AML and high AML constitutes the AML Range
      which is the number of adult animals within which herd size will be allowed to fluctuate and that is in balance with land capacity and
      other land uses.

      Note 5: The number of unadopted animals maintained off-range that are described in these Management Scenarios are the additional
      animals added to the holding facilities under these scenarios; i.e. above the number of animals presently in holding facilities.




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    From:             Shepherd, Alan
    To:               Reiland, Michael
    Cc:               Holle Hooks
    Subject:          Re: Updated Options Paper
    Date:             Thursday, January 4, 2018 7:53:11 PM
    Attachments:      2017 Congressional Report 20171227 (Clean)_ABS.docx


    Here's some edits to this version.

    Do we fit in Brian Steed's "Incentive Program" into this somehow?


    Thanks,
    Alan

    Alan Shepherd
    Branch Chief, On-Range (WO261)
    National WH&B Program
    1340 Financial Blvd
    Reno, NV 89502

    Office #: (775) 861-6611
    Cell #: (775) 530-2784
    Fax #: (775) 861-6618

    email: ashepher@blm.gov
    http://www.blm.gov/programs/wild-horse-and-burro

    On Thu, Jan 4, 2018 at 12:05 PM, Reiland, Michael <mreiland@blm.gov> wrote:
     Holle/Alan,

      Please review and comment/make suggestions. Please be ready to discuss in detail by
      tomorrow morning for our scheduled discussion.

      Thanks,

      --
      Michael Reiland
      WO-260 Budget-Analyst
      202-912-7261
      202-794-2479




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    From:              Bail, Kristin
    To:                Reiland, Michael
    Cc:                Steve Tryon
    Subject:           Re: Updated Options Paper
    Date:              Tuesday, January 9, 2018 5:49:47 PM
    Attachments:       KBInput.docx


    Thanks, Michael, for your work on this. My comments are shown in track changes. Please let me know if you want
    to discuss (or don't understand) any of my comments. -K

    On Fri, Jan 5, 2018 at 4:31 PM, Reiland, Michael <mreiland@blm.gov> wrote:
      Kristin/Steve,

      Please find attached our updated draft of the Options Paper. I am available whenever you
      want to discuss anything within the document. Please let me know if there's anything we
      can do to complete the work and get it to the Director's office by Wednesday.

      Thanks,

      --
      Michael Reiland
      WO-260 Budget-Analyst
      Office: 202-912-7261
      Cell: 202-794-2479




                                                                                                    BLM_002190
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    From:               Strickland, Deborah
    To:                 Bolstad, Dean O
    Cc:                 Waddell, Holle
    Subject:            Re: Adoption Incentives Follow up
    Date:               Monday, February 1, 2016 10:31:39 AM
    Importance:         High


    Hi Dean,

    OK. I updated the invite with call in number.
    Thanks

    On Mon, Feb 1, 2016 at 11:17 AM, Bolstad, Dean <dbolstad@blm.gov> wrote:
      Hi Deborah,
      I'd like to include my Off-range Branch Chief, Holle' Hooks, in this meeting. I'll add her to the invite but she will
      need to call in from Oklahoma. Can you provide a conference call number please? Others might also need to call
      in.

      Looking forward to your review of this matter and answers to the list of questions we submitted.

      Thanks,
      Dean

      Dean Bolstad
      Acting Division Chief, Wild Horse and Burro Program
      Washington Office (WO-260)
      (202) 912-7297 Office
      (775) 750-6362 Cell

      On Mon, Feb 1, 2016 at 9:57 AM, Strickland, Deborah <dstrick@blm.gov> wrote:
         Majority are available on Thursday at 2:30. I will send out the invite shortly. Thanks all!

         On Mon, Feb 1, 2016 at 9:47 AM, Bolstad, Dean <dbolstad@blm.gov> wrote:
           ​Wed at 2:30 is best for me but I can do Thursday also. The sooner we have this discussion the better given
            Neil's interest in advancing adoption incentives.​

           Dean Bolstad
           Acting Division Chief, Wild Horse and Burro Program
           Washington Office (WO-260)
           (202) 912-7297 Office
           (775) 750-6362 Cell

           On Mon, Feb 1, 2016 at 9:15 AM, Strickland, Deborah <dstrick@blm.gov> wrote:
               Good morning,

               Please let me know which dates works best for you.

               Wed, Feb 3 at 2:30
               Thurs, Feb 4 at 2:30

               Thanks




                                                                                                             BLM_002191
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          On Fri, Jan 29, 2016 at 11:11 AM, Strickland, Deborah <dstrick@blm.gov> wrote:
           ​Unfortunately this meeting will have to be rescheduled for next week due to schedule conflicts. Thank
            you for your patience and I apologize for any confusion. Please let me know your availability for next
            week.

           Thanks again!

           On Fri, Jan 29, 2016 at 10:37 AM, Russell, Gregory <gregory.russell@sol.doi.gov>
           wrote:
             Yes, I am available at 3 pm today.

             On Fri, Jan 29, 2016 at 10:35 AM, Strickland, Deborah <dstrick@blm.gov>
             wrote:
                Good morning,

                Kevin Oliver is not available at 1:00 today and asked if we can move to 3:00. Are you all available
                at 3:00 today?




                On Thu, Jan 21, 2016 at 1:03 PM, Smith, Linda <lhsmith@blm.gov> wrote:
                 Thanks so much, Greg. We are hoping to resolve these issues by the time the
                 budget is released on February 9th so that we can adequately respond to
                 inquiries that come our way during discussions on the budget, hearings, etc.

                  Happy to meet next week to discuss. Will ask Deborah Strickland (cc:d here)
                  to coordinate timing and send an invitation.

                  On Thu, Jan 21, 2016 at 11:41 AM, Russell, Gregory
                  <gregory.russell@sol.doi.gov> wrote:
                                               **Privileged Attorney–Client Communication**



                     Thanks, Linda. I was tied up in meetings yesterday afternoon so didn’t get a chance to
                     review until this morning. What I’ve done is taken your write-up, added some
                     comments/annotations that might help to inform our thinking
                     and other issues, and added Maria Lurie to the email. If folks are available, I suggest
                     that we try to schedule a call for later today or tomorrow—or next week, if that’s
                     consistent with your schedule. Speaking of which, last week, you and Dean indicated
                     that you needed to resolve these issues quickly so that BLM and the Department
                     could draft budget-related documents and engage with members of Congress on
                     these issues. What’s your current timeframe? Do you have dates/times that you
                     would like to recommend for a discussion?

                                                                  ***




                                                                                                     BLM_002192
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                  -Greg


                  Greg Russell
                  Office of the Solicitor
                  Division of Land and Water Resources
                  Department of the Interior
                  202.208-4327
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                                                                         ffl'l'l:~~~=ment




                  On Wed, Jan 20, 2016 at 2:25 PM, Smith, Linda <lhsmith@blm gov>
                  wrote:
                   Resending ... .. .

                    ---------- Fmwarded message----------
                    From: Smith, Linda <lhsmith@blm gov>
                    Date: Wed, Jan 20, 2016 at 2:23 PM
                    Subject: Adoption Incentives Follow up
                    To: Greg Russell <gn:g rnssell@sol doi gov>
                    Cc: Dean Bolstad <dbolstad@blm gov>, Kevin Oliver
                    <kohver@blm gov>, Tonya Jackson <trnjackson@blm gov>


                    Good afternoon, Greg. Please find attached a document that lays out some
                    potential ado tion incentive scenarios as we discussed last week. We are
                    interested ·


                    Many thanks for your assistance.



                                                                                 BLM_002193
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                   ------------------------------------------------------------------
                   Linda H. Smith
                   Acting Deputy Assistant Director for Business, Fiscal, and Information
                   Resources
                   Bureau of Land Management
                   20 M Street SE
                   Washington, DC 20003
                   Office: 202-912-7060
                   Cell/Alternative Telework Number: 202-760-0379
                   lhsmith@blm.gov



                   --
                   Linda H. Smith
                   Acting Deputy Assistant Director for Business, Fiscal, and Information
                   Resources
                   Bureau of Land Management
                   20 M Street SE
                   Washington, DC 20003
                   Office: 202-912-7060
                   Cell/Alternative Telework Number: 202-760-0379
                   lhsmith@blm.gov




                --
                Linda H. Smith
                Acting Deputy Assistant Director for Business, Fiscal, and Information
                Resources
                Bureau of Land Management
                20 M Street SE
                Washington, DC 20003
                Office: 202-912-7060
                Cell/Alternative Telework Number: 202-760-0379
                lhsmith@blm.gov




                                                                                 BLM_002194
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    From:             Reiland, Michael
    To:               Alan Shepard; Steve Tryon
    Subject:          Updated Paper
    Date:             Friday, February 2, 2018 1:56:46 PM
    Attachments:      2017 Congressional Report 20180202.docx


    Alan/Steve,

    Here's the newest update

    --
    Michael Reiland
    WO-260 Budget-Analyst
    202-912-7261
    202-794-2479




                                                                   BLM_002195
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    From:               Tryon, Steve
    To:                 Reiland, Michael
    Cc:                 Alan Shepard
    Subject:            Re: Updated Paper
    Date:               Friday, February 2, 2018 3:30:06 PM
    Attachments:        2017 Congressional Report ST Edits 20180202.docx


    Please review my edits. Will catch KB on break between our meetings, to review changes with
    her. Ready to share with leadership later this afternoon. Let me know if I messed up anything.

    Thank you!!

    st

    Steve Tryon
    Deputy Assistant Director, Resources and Planning
    Bureau of Land Management
    1849 C Street, NW
    Room 5654
    Washington, DC 20240
    202-208-4896

    On Fri, Feb 2, 2018 at 1:56 PM, Reiland, Michael <mreiland@blm.gov> wrote:
     Alan/Steve,

         Here's the newest update

         --
         Michael Reiland
         WO-260 Budget-Analyst
         202-912-7261
         202-794-2479




                                                                                      BLM_002196
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    From:             Tryon, Steve
    To:               Alan Shepherd; Michael Reiland
    Subject:          Fwd: whb report
    Date:             Monday, February 12, 2018 6:16:39 PM
    Attachments:      2017 Congressional Report 20180202 CH.docx


    Alan/Michael, per my discussion with Alan a little while ago, please work off this copy of the
    report, retaining all previous drafts separately. I am sending it to you in track changes, so you
    can follow.

    In this:

        •   Option 3 is deleted.
        •   Option 4 (now 3) needs some attention on the table. It is _likely_ that the numbers do
            not work precisely, because they are not input in your master spreadsheet. But you will
            see that the reviewers are wanting to be more aggressive/optimistic about creating
            market demand for adoptions with the $1,000 incentive, and that our ability to ramp up
            sterilization would be accelerated by focusing on studs, not mares. You may want to
            discuss this latter assumption in the AM, before re-working the report. You can call my
            cell at 202-527-2651, if so.
        •   Some previous changes made by yourselves or me have already been accepted. Other
            changes, especially involving sterilization of mares, have been rejected

    Please run the numbers using these assumptions for adoption demand and fertility control, and
    see what you get for a bottom line, and make adjustments accordingly. I think it might be
    useful to first accept all changes that are unrelated to the increased adoption demand/incentive
    and then highlight those tracked changes specifically.

    Feel free to call me in the AM if you want to discuss.

    Could I get a revised paper by 0900 hrs?

    Thank you!

    Steve Tryon
    Deputy Assistant Director, Resources and Planning
    Bureau of Land Management
    1849 C Street, NW
    Room 5654
    Washington, DC 20240
    202-208-4896




                                                                                          BLM_002197
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    From:             Tryon, Steve
    To:               Alan Shepherd; Michael Reiland
    Subject:          Fwd: Latest Draft of WH&B Report
    Date:             Monday, February 26, 2018 11:06:06 AM
    Attachments:      DRAFT BLM Wild Horse and Burro Report_2-24-18_CLEAN.docx


    Gentlemen,

    Attached is the latest draft of the report to Congress. Could you please take another pass
    through with an eye to keeping the distinctions among the options clean, where:

        •   Option 1 = sale & euthanasia & use of contraceptives where needed
        •   Option 2 = add money for storage, possibly for third parties, and use of contraceptives
            where needed
        •   Option 3 = de-emphasis on contraception, emphasis on sterilization, and presumption that
            adoption incentives will increase adoption demand.

    Please use track changes so we can see what's been updated. I'm mostly interested in changes
    to our underlying cost assumptions, and not formatting or word choices.

    We are in the home stretch, at least within DOI. This is now headed to the Secretary.

    Cheers,

    Steve Tryon
    Deputy Assistant Director, Resources and Planning
    Bureau of Land Management
    1849 C Street, NW
    Room 5654
    Washington, DC 20240
    202-208-4896




                                                                                               BLM_002198
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    From:              Reiland, Michael
    To:                Steve Tryon
    Cc:                Alan Shepard
    Subject:           Re: DRAFT Wild Horse and Burro Report
    Date:              Wednesday, March 7, 2018 10:46:14 AM
    Attachments:       DRAFT BLM Wild Horse and Burro Report 20180307.docx


    Steve/Alan,

    Here's the updated draft. Please also see my comments where there are issues with the
    existing text.

    Thanks,

    Michael

    On Tue, Mar 6, 2018 at 2:30 PM, Steve Tryon <stryon@blm.gov> wrote:


     Sent from my iPhone

     Begin forwarded message:


              From: "Brune, Jeff" <jbrune@blm.gov>
              Date: February 26, 2018 at 5:55:54 PM EST
              To: Brian Steed <bsteed@blm.gov>, Casey Hammond
              <casey_hammond@ios.doi.gov>
              Subject: DRAFT Wild Horse and Burro Report


              Attached is the draft of the WH&B Report to Congress.


              --
              Jeff Brune
              Advisor, Office of the Director
              Bureau of Land Management
              U. S. Department of the Interior
              1849 C Street, N.W., Rm. 5649
              Washington, D.C. 20240

              (202) 208-3774
              Email: jbrune@blm.gov




    --
    Michael Reiland



                                                                                     BLM_002199
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    WO-260 Budget-Analyst
    202-912-7261
    202-794-2479




                                                                   BLM_002200
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    From:            Steve Tryon
    To:              mreiland@blm.gov; ashepher@blm.gov
    Cc:              kbail@blm.gov
    Subject:         WHB Strategic Plan, with ST Edits
    Date:            Wednesday, March 28, 2018 8:59:02 AM
    Attachments:     ATT00001.htm
                     DRAFT BLM Wild Horse and Burro Report 03.28.2018.docx


    Morning, guys.

    I reworked the first couple of paragraphs pretty extensively. Not sure when this happened - I
    think during 100 edits - but the introduction to this report had become bland and not really
    getting to the point: We need more legal authorities and more money.

    I also re-labeled some of the options towards the back of the paper, to make them more
    descriptive of what it was that we are actually proposing.

    Michael could you try to blend this with any new edits. I notice you sent another version of
    this document about an hour ago. Could you try to put those together please and re-send?

    st

    Sent from my iPhone

    Begin forwarded message:


          From: Steve Tryon <stryon@mac.com>
          To: Steve Tryon <stryon@blm.gov>
          Subject: [EXTERNAL] WHB Strategic Plan, with ST Edits




                                                                                        BLM_002201
Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 133 of 289



    From:             Tryon, Steve
    To:               Alan Shepherd; Michael Reiland
    Subject:          Fwd: WHB Report, for 100 Review
    Date:             Wednesday, March 28, 2018 5:49:30 PM
    Attachments:      DRAFT BLM Wild Horse and Burro Report 20180328 (Final with Edits).docx


    Please down-load into your folder of drafts. I think I punched out a couple more sentences
    since Michael returned his latest copy this morning.

    Steve Tryon
    Deputy Assistant Director, Resources and Planning
    Bureau of Land Management
    1849 C Street, NW
    Room 5654
    Washington, DC 20240
    202-208-4896

    ---------- Forwarded message ----------
    From: Steve Tryon <stryon@blm.gov>
    Date: Wed, Mar 28, 2018 at 12:18 PM
    Subject: WHB Report, for 100 Review
    To: bsteed@blm.gov, jbrune@blm.gov
    Cc: mnedd@blm.gov, kbail@blm.gov


    Brian/Jeff,

    Attached please find a review copy of the wild horse and Burro strategic report to Congress. I
    know that several of us on this email chain are on leave this week, but as you know we are
    now on a 30-day clock and I would like to have this out of BLM‘s hands and into the hands of
    the other reviewers (Dep Sec., PMB, and OMB), so that BLM is not the cause of missing
    another deadline.

    This version:
    • uses more direct language in the exec summary and in the options about the need for legal
    authorities and increased funding.
    • addresses the outline of requirements from the 2018 omnibus, without specifically spelling
    out that report language.
    • Shows changes since the last version

    I assume the next step on this is for Jeff to take a pass through on behalf of 100. Let us know
    what more you need from 200. We will make time for this project!

    st

    ps. At some point, I assume you’ll have us upload this to DTS, for formal routing. I can do
    that from home this week when you think we are ready to go.

    Sent from my iPhone

    Begin forwarded message:



                                                                                               BLM_002202
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                                                                   BLM_002203
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                       Report to Congress

     Management Options for a Sustainable
       Wild Horse and Burro Program




                                                                 U.S. Oepanment of the Interior
                                                                 Bureau of Land M anagecmecnt




                                                                      BLM_002204
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Executive Summary
The Bureau of Land Management (BLM) is providing this report, in accordance with the Consolidated
Appropriations Act of 2017 (Public Law 115-31), to improve the management of wild horses and
burros on the Western public rangelands. Since receiving Federal protection in 1971, wild horse and
burro populations on public lands have dramatically increased, far exceeding what is healthy for the
land and the animals. The BLM is committed to finding solutions to achieve long-term sustainable
populations on the range in a humane manner.

Today the BLM manages and protects our Nation’s wild horses and burros on 26.9 million acres of
public lands in the West. The goal of the Wild Horse and Burro Program is to ensure healthy wild
horses and burros on thriving public rangelands. The 1971 Wild Free-Roaming Horses and Burros
Act, as amended, contains a variety of tools for managing herd numbers. However, current
congressional appropriation riders prohibit the BLM from using all the authorities available in the Act.
Specifically, Congress blocks the sale of wild horses and burros without limitation and has limited the
use of euthanasia.

The BLM retains the ability to gather the animals from the range, but then must care for them until
they are adopted or sold. If the animals are not adopted or sold, the BLM is required to care for them
for the remainder of their lives. The cost of holding and caring for these animals off-range has
increased substantially in recent years and remains the largest component of the program’s budget. In
Fiscal Year 2017, for example, the BLM spent nearly 60 percent of its $81.0 million budget on the care
of animals removed from the range. That’s nearly $48,000 for one unadopted horse that remains in
BLM’s care over its lifetime. The cost of caring for the 46,000 unadopted and unsold animals
currently in holding will top $1.0 billion over their lifetimes.

In establishing the “Appropriate Management Level” (AML) for wild horses and burros on the public
lands, the BLM uses scientific principles of rangeland management to determine the population of wild
horses and burros that the habitat can sustain. The BLM seeks to protect the rangeland, soil, water, and
vegetation resources in balance with other uses, including ranching, hunting, recreation, and wildlife
habitat. The national AML for wild horses and burros is a total of 26,715 animals across 10 western
states. At the end of 2017, the BLM determined these public lands were home to nearly 83,000 wild
horses and burros, more than three times the national AML.

Wild horses and burros have no natural predators and herds can double in size every 4 years. As herd
sizes increase, the forage and water resources from the land become depleted, resulting in starvation,
dehydration, and death. In their search for food and water, the animals often move onto private land or
along highways resulting in safety issues and habitat destruction for horses and humans alike. Public-
land ranchers have cut back on grazing to accommodate increasing numbers of wild horses and burros.

The current overpopulation of wild horses and burros threatens the overall health of the western
rangelands, degrading ecosystem functions and limiting the forage and water available for domestic
and wildlife species, including game and nongame species. For example, overgrazing by wild horses
and burros has reduced sagebrush and grass cover vital to Greater Sage-Grouse and has resulted in
lower survival rates in those areas. Overpopulated herds have displaced native species including
pronghorn, deer, elk, and bighorn sheep. Across the Great Basin, areas with wild horses have less
plant cover, fewer native plants, and more unpalatable and invasive plant species, including cheatgrass,
compared to areas without wild horses.


1

                                                                                        BLM_002205
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If wild horse and burro populations continue to expand, the impacts to animal and plant species will
grow more severe across even larger swaths of the western public rangelands. The damaging
environmental effects may soon become irreversible and large die-offs of wild horses/burros and
multiple species of plants and other animals could begin. The groundwork for this unacceptable
outcome has been developing for some time, and certain areas have already experienced damaging
effects of overpopulation. As rangeland health has decreased, animals have died due to a lack of water
and forage. The most inhumane and costly solution is to continue to take no decisive action.

This report details four options for addressing the reality of the situation and improving the
management of wild horses and burros over the long term.

Option I: This option focuses on achieving national AML in 8 years, while reducing off-range
holding costs dramatically over the first 4 years. In addition, during the first 4 years, the BLM would
achieve AML in Herd Management Areas (HMAs) that overlap priority habitat for multiple species.
This would require making use of all legal authorities contained in the Act (especially sale without
limitation and euthanasia of unadopted or unsold animals), including use of contraceptives and limited
sterilization techniques.

Under this option, the national AML of 26,715 wild horses and burros would be achieved in 2026.

Option II: This option focuses on achieving national AML in 10 years using contraceptive fertility
control treatments such as Porcine Zona Pellucida (PZP) and minimal permanent sterilization of mares
or stallions. Current operations to dart mares with a contraceptive in HMAs would continue, where
this option is effective. Under this option, the off-range costs of caring for animals would significantly
increase over current levels, because of increased reliance on off-range care. Due to the large numbers
of animals being held in off-range facilities, the cost of this option could be greatly affected by changes
in the cost of contracting for off-range pastures, as the BLM would need more facility space than is
currently available. The costs reflected in this option depend upon identifying partners who are willing
and able to provide low-cost, off-range housing for excess animals. In addition, as in Option III, the
BLM or its partners would attempt to secure lower cost, pasture-based holding facilities in lieu of
short-term corrals that resemble livestock feedlots and cost twice as much as pasture facilities.

Under this option, the national AML of 26,715 wild horses and burros would be achieved in 2028.

Option III: This option focuses on achieving national AML in 6 years using an aggressive removal
operation in conjunction with sterilization of 3,000 mares and stallions gathered annually, and later
returned to the range. Current operations to dart mares with a contraceptive in some HMAs would
continue. Under this option, far fewer animals would be gathered and returned to the range than
Option II, and all of those animals would be sterile upon reintroduction. Animals that are gathered and
not sterilized would be moved to off-range facilities. As the off-range population increases, keeping
control of holding costs will require continually acquiring additional low-cost contracted pasture space
to alleviate the need to keep animals in expensive short-term corrals. The BLM would strive to keep
corral populations to minimum levels necessary to supply the adoption pipeline.

Current research on long-term contraceptives would continue, with the possibility of greater use of
contraceptives in the future should a longer-acting agent prove to be effective. It should be noted that
the additional demand for long-term pastures could significantly increase program costs over current
levels until AML is achieved, at which point costs would begin to decline.


2

                                                                                          BLM_002206
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Finally, under this option the BLM would institute a program to increase adoptions by providing a
monetary incentive to the adopter of up to $1,000. While this would increase costs in the initial years,
it will quickly pay for itself by lowering off-range holding expenditures.

Under this option, the national AML of 26,715 wild horses and burros would be achieved in 2024.

Option IV: This option would achieve national AML in 2030 by using an aggressive effort to gather,
sterilize, and return wild horses and burros to the range, while also developing the same adoption
incentives described in Option III. The BLM would hire veterinarians to sterilize and return
approximately 18,000 animals per year in each of the first 5 years and 8,000 in year 6. Under this
option, off-range populations would begin to decrease almost immediately through natural mortality
and continued efforts for private care placement. In addition, the total number of animals removed
each year would be less than the annual adoption/sale levels, keeping down costs in the out years. In
fact, program costs would be reduced to less than current levels in the seventh year. By the tenth year,
off-range populations would begin to decline even faster through natural mortality in BLM’s
contracted off-range pastures, as almost all animals held in those pastures would reach normal lifespan
limits.

Fertility control treatments would focus on permanent sterilization through FY24 when more than 80
percent of the animals on the range would be permanently sterilized. Sterilizing this number of
animals for 6 years would take high levels of coordination in all areas of the BLM, including updating
our environmental analysis, contracting for services, and training personnel. There is a distinct risk
that the BLM might need to hold and care for the animals gathered in the initial year for longer than
planned to achieve these totals, which would increase costs in the first year above stated levels. At the
same time, if this were to occur, the BLM would continue all efforts to increase adoptions to not only
reduce holding costs, but also reduce the need to sterilize animals and return them to the range.
However, once the environmental analysis is complete and the service contracts are in place, the BLM
could effectively implement the plan. Current research on long-term contraceptives would continue,
with the possibility of reducing the need for permanent sterilization and increasing the use of
contraceptives in the future should a longer-acting agent prove to be effective.

Finally, under this option, the BLM would institute a program to increase adoptions by providing a
monetary incentive to the adopter of up to $1,000. If the incentive proves to increase adoptions
beyond the planned 5,000, the BLM could decrease the use of permanent sterilization and increase
removals to match adoption/sale totals. While this incentive would increase costs in the initial years, it
will quickly pay for itself by lowering off-range holding expenditures.

Under this option, the national AML of 26,715 wild horses and burros would be achieved in 2030.

Regardless of which option is chosen, the BLM will need the help of all stakeholders – Congress,
livestock operators, state and local governments, and public interest organizations – to solve the wild
horse and burro overpopulation challenge. The BLM is open to working with partners on common
sense solutions and will continue to pursue collaboration where possible.




3

                                                                                          BLM_002207
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Background

The BLM’s mission is to sustain the health, diversity, and productivity of America’s public lands for
the multiple use and enjoyment of present and future generations. To implement this mission, the
BLM must ensure the health of America’s public lands for the species and multiple uses depending on
them, including the Nation’s wild horses and burros. As directed by Congress under the Wild Free-
Roaming Horses and Burros Act of 1971, as amended (Act), the BLM protects and manages the wild
horses and burros that roam 26.9 million acres of Western public rangelands. For more information
about the history of the BLM’s wild horse and burro program and a full, amended text of the Act, refer
to: https://www.blm.gov/programs/wild-horse-and-burro/about-the-program/program-history.

The Act requires the BLM to “manage wild free-roaming horses and burros in a manner that is
designed to achieve and maintain a thriving natural ecological balance on the public lands,” and if the
BLM determines that an overpopulation exists and action is necessary to remove excess animals, to
“immediately remove [them] from the range so as to achieve appropriate management levels.” The
Act defines excess animals as “wild free-roaming horses or burros (1) which have been removed
from an area by the Secretary pursuant to law or, (2) which must be removed from an area in order to
preserve and maintain a thriving natural ecological balance and multiple-use relationship in that
area.” After excess animals are removed from the range, the Act authorizes disposal through
adoption, sale, and euthanasia. For more than a decade, Congress has used appropriation riders to
block both the unrestricted sale and euthanasia of wild horses and burros.

When Congress first passed the Act in 1971, it found that wild horses and burros warranted legal
protection. Now, 46 years after that law was enacted, wild horses and burros are experiencing
population levels that are unsustainable for the animals and the range.




    A wild horse mare and foal in very poor condition   An enclosure shows the negative impacts of wild
    because of lack of forage just outside Las Vegas,     horse over-grazing of rangeland resources.
        Nevada in August 2015. Photo by BLM.                            Photo by BLM.


America’s Wild Horse and Burro Challenge
Herd Management Areas (HMAs) are areas where wild horse and burro herds were known to exist at
time of enactment of the Act and that have been designated for wild horse and burro management
through BLM’s land use planning process. For each HMA, the BLM has determined the appropriate
management level (AML) by applying principles of rangeland management and wildlife biology
through a National Environmental Policy Act (NEPA) review process. These reviews are the process
by which the BLM establishes the number of horses and burros that can exist in an HMA, while also
protecting rangeland, soil, water, and vegetation resources in balance with other multiple uses.

4

                                                                                                  BLM_002208
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  Current populations of wild horses and burros far exceed the established AML in most HMAs. The
  national AML for wild horses and burros is 26,715 animals in 10 western states. As of the end of
  2017, however, public lands were home to approximately 73,000 adult wild horses and burros, plus
  an estimated 13,000 foals, for a total of 86,000 animals.




                   Wild horses crossing the road in Antelope Valley HMA in NV. Photo by BLM.

  Based on existing research, wild horse herds increase 15 to 20 percent annually and can double in
  size in just 4 or 5 years. The herds have no natural predators. Current methods of fertility control
  have shown limited success, and even then only in smaller herds that are already at or near AML.
  Further compounding the challenge, the number of adoptions have not kept pace with the number of
  horses that the BLM has needed to remove from the range (refer to Chart 1).

  Chart 1 - Wild Horses and Burros Removed/Adopted and Off-Range Population (FY10-FY17)


                         60,000

                         50,000

                         40,000

                         30,000

                         20,000

                         10,000

                               -
                                       2010        2011       2012     2013     2014     2015     2016     2017
      ■ Total Removed                 10,255       8,877      8,255    4,196    1,857    3,819    3,320    4,209
      ■ Total Adopted                  3,074       2,844      2,583    2,311    2,135    2,631    2,912    3,602
      ■ Off-Range Population + 34,979                40,589   46,429   49,687   48,179   47,545   45,661   43,813
      + Population as of Septebmer 30 of each fiscal year.


Off-range, the BLM is currently caring for about 46,000 unadopted and unsold animals, including about
11,000 in 27 BLM corrals (facilities with a capacity for holding and caring for nearly 23,000 animals
until adopted, sold, or transported to off-range pastures) and about 35,000 in 30 contracted private
pastures (primarily in Iowa, Kansas, Nebraska, and Oklahoma with a capacity of almost 38,000). These
are the more productive pastures of the Midwest, and animals there tend to live longer compared to wild
horses on the range.
  5

                                                                                                           BLM_002209
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  The total cost of operating off-range holding facilities is nearly $48 million annually, accounting for
  nearly 60 percent of the BLM’s Fiscal Year (FY) 2017 budget for the wild horse and burro program
  (refer to Chart 2). This cost, relative to the overall program budget, results in less funding to gather
  and remove excess horses and burros, causing the on-range population of wild horses and burros to
  continue to grow.

Chart 2 - Holding Costs Compared to BLM’s Total Expenditures for the Wild Horse and Burro
Program (FY07-FY17).

                                   90,000




                                   80,000




                                   70,000




                                   60,000




                                   50,000
                  * in Thousands




                                   40,000




                                   30,000




                                   20,000




                                   10,000




                                       -
                                            2007     2008     2009     2010     2011     2012     2013     2014     2015     2016       2017

      • Total Holding Expenditures * 20,754          27,492   27,666   31,088   36,290   43,279   47,531   43,623   52,552   49,428    47,536

      •Total Expenditures *                 37,743   46,585   44,926   56,596   65,812   70,713   74,604   67,923   75,147   78,298    81,475

      • % (Holding) of Expenditures          55%      59%      62%      55%      55%      61%      64%      64%      70%      63%       58%



  From 2013 through 2016, the on-range population nearly doubled (refer to Chart 3). This trend is

  6

                                                                                                                                      BLM_002210
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expected to continue unless removals are increased. As currently managed, by the summer of 2019
there will likely be well over 100,000 wild horses on BLM-managed land, with up to 20,000 more
the year after.

Chart 3 - Wild Horse and Burro Populations On/Off Range (FY01-FY17)

                         80,000



                         70,000



                         60,000



                         50,000
     Population Totals




                         40,000



                         30,000



                         20,000



                         10,000



                             -


                                               Off-Range Population +
                                                                        -
                                  2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017

                                                                            On-Range Population #


Overpopulated herds are already having a negative impact on the health of the range and on the
health of the wild horses and burros themselves.

Western rangelands have limited forage production capability—soils are often shallow and moisture
is limited. The current overpopulation of wild horses and burros on the arid rangelands of the West
threaten the health of the western rangelands and the quality and quantity of forage and water
available for domestic and wildlife species, including game and nongame species, as well as federal
and state threatened, endangered, and sensitive species.


7

                                                                                                           BLM_002211
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    Wild horses in poor condition at a degraded spring in   Two thin wild horses in the Goshute Herd
    Nevada’s Seaman HMA, July 2013. Photo by BLM,           Management Area, September 2016. Photo by BLM.


Impacts to a variety of species will grow more severe across even larger swaths of the western public
rangelands if populations continue to expand. America is nearing the time when the devastating
effects of wild horse and burro overpopulation become irreversible and large die-offs of wild
horses/burros and multiple species of plants and other animals could begin. The groundwork for this
unacceptable outcome has been developing for some time, and certain areas have already
experienced damaging effects of overpopulation. As rangeland health has decreased, animals have
died due to a lack of water and forage.

                                                                                           The Maverick-
                                                                                           Medicine HMA in
                                                                                           Nevada has very
                                                                                           limited water and
                                                                                           was 474 percent
                                                                                           over the AML as of
                                                                                           March 1, 2017. The
                                                                                           BLM conducted an
                                                                                           emergency gather
                                                                                           to remove 60
                                                                                           horses in 2016 to
                                                                                           rescue the horses
                                                                                           and relieve demand
                                                                                           on Cherry Spring.
                                                                                           Pictured is a group
                                                                                           of horses at Cherry
                                                                                           Spring in August
                                                                                           2017 waiting for
                                                                                           water to come to
                                                                                           the trough. Photo
                                                                                           by BLM.




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Impacts to Greater Sage-Grouse and Native Ungulates
A 2017 USDA report stated that wild horse presence can have broad effects on ecosystem function in
the sagebrush biome. 1 Another scientific study determined that wild horses and burros are a present
and widespread threat in 10 of 29 Greater Sage-Grouse populations in the western portion of the bird’s
range. 2 In the Great Basin, areas with wild horses had less shrub cover, plant cover, species richness,
native plant cover, and overall plant biomass, and more unpalatable and invasive plant species,
including cheatgrass, compared to areas without horses. 3,4 Grazing by wild horses can have severe
impacts on water source quality, aquatic ecosystems, and riparian communities that may be important
for Greater Sage-Grouse. Greater Sage-Grouse survival rates are lower in areas of reduced sagebrush,
grass, and for cover, so wild horse overgrazing can influence conservation and restoration efforts for
that species. At water sources, wild horses displace native ungulates including pronghorn antelope,
deer, and elk. 5

Public Involvement
The BLM has a long history of involving the public in the management of wild horses and burros. In
preparing this report, the BLM considered the public opinions (see Appendix 3, Public Opinion)
already expressed in the previous strategic planning efforts, NEPA documents, editorials, legal actions,
letters, and other materials and forums generated over many years of interacting with the public,
interest groups, and state and local governments. It is important to note that the public will continue to
be involved in the BLM’s management of wild horses and burros on a regular basis as site-specific
actions, such as gathers and fertility control, are planned and implemented.

The National Wild Horse and Burro Advisory Board

The BLM’s National Wild Horse and Burro Advisory Board consists of representatives from multiple
interest groups and the public. Board members represent various interests: wild horse and burro
advocacy groups, wild horse and burro research institutions, veterinarians, natural resource
organizations, humane advocacy groups, wildlife associations, and livestock organizations, plus the
general public with a special knowledge of equine behavior. The Board meets periodically to discuss
program challenges and make recommendations for the BLM to consider.

At a meeting in September 2016, the Board recommended that the BLM offer for sale without
limitation all suitable animals in long- and short-term holding which are deemed unadoptable. Those
animals that remain unsold would then be destroyed in the most humane manner possible. In addition,
at the most recent meeting in October 2017, the Board offered the following recommendations for
future wild horse and burro management. The Board recommended that the BLM:

1
  Chambers, J.C. et al. 2017. Science framework for conservation and restoration of the sagebrush biome. Part 1. Science
basis and applications. USDA General Technical Report RMRS-GTR-360.
2
  USFWS. 2013. Greater Sage-Grouse conservation objectives: final report. U.S. Fish and Wildlife Service, Denver,
Colorado. February 2013.
3
  Beever, E.A. and C.L. Aldridge. 2011. Influences of free-roaming equids on sagebrush ecosystems, with focus on Greater
Sage-Grouse. Studies in Avian Biology 38:273-290.
4
  Davies, K.W. et al. 2014. Effects of free-roaming horses on semi-arid rangeland ecosystems: an example from the
sagebrush steppe. Ecosphere 5:1-14.
5
  Hall, L.K. et al. 2016. Influence of exotic horses on the use of water by communities of native wildlife in a semi-arid
environment. Journal of Arid Environments 127:100-105.
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  1. Phase out long-term holding over the next 3 years and apply that budget to on-range management
     and adoptions.
  2. Create funding mechanisms to maximize adoptions and or sales, especially through successful
     programs, and to include international adoptions and/or sales.
  3. Increase funding for reversible fertility control by $3 million in FY 2019.
  4. Immediately (within the next 3 years) address overpopulation by removing animals from the
     range to achieve AML in accordance with the Act.
  5. Use the help and assistance of all state and local agencies, organizations, and individuals in
     achieving AML.
  6. Maintain AML by using fertility control to slow population growth at levels where removals
     equal the adoption demand.
  7. Adjust AML where appropriate.

The 2017 National Wild Horse and Burro Summit
The State of Utah, Utah State University, the Berryman Institute, and the Wild Sheep Foundation co-
hosted a summit in Salt Lake City, Utah on August 22-24, 2017. The goal of the summit was “full
implementation of the 1971 Wild Horse and Burro Management Act (Act).” Participation included
representatives of state, local, and tribal governments, academia, public land users, conservation
groups, wildlife interest groups, and Federal agencies.

The workshop included a tour to view on-the-ground management issues and sessions on wild horse
and burro policy, legal matters, science, and best management practices. Participants shared their
preferences regarding the future management of BLM’s wild horse and burro program. Options 1 and
2 within this document are generally consistent with the preferences of the majority of the participants.
Those preferences are shown in Attachment 1.

Consultation with Outside Groups
The Humane Society of the United States, the American Society for the Prevention of Cruelty to
Animals, Return to Freedom, and the American Mustang Foundation, all advocate for a management
approach founded on the following principles:

     •   Conduct removals to quickly achieve AML and initially focus on those areas of most
         immediate concern due to potential conflicts with native wildlife, rangeland degradation, and
         human-horse conflict;
     •   After AML achievement, implement aggressive fertility control and continue wherever feasible
         to prevent the need for future large scale removals;
     •   Horses removed from the range must be relocated into large cost-effective pasture holding
         facilities, and where possible, public-private partnerships with landowners and non-profits must
         be pursued; and
     •   Promote adoptions with better marketing and support from partner organizations to increase
         adoptions and reduce captive populations and costs.




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Other Considerations
Population Growth Suppression: While fertility control methods will decrease the number of new
horses and burros born each year, the only way to immediately and significantly reduce the on-range
population is to gather and remove excess horses and burros. At the same time, the BLM believes
that fertility control vaccines and sterilization are important tools to help maintain AML once it has
been achieved.

Given the scope and scale of the current overpopulation, significantly reducing the population growth
rate of wild horses and burros through application of currently available fertility control vaccines
would not be logistically feasible as there are 35,000 to 40,000 mares on the range that would need to
be gathered, mostly using helicopters, and treated every year. However, the BLM recognizes that
permanent sterilization techniques would be a more effective long-term solution to controlling
population growth than currently available vaccines. Under all options, the BLM will utilize
permanent sterilization techniques to take advantages of this fact. Darting is effective as a means to
administer fertility control vaccines, but only in limited situations in certain smaller HMAs where the
wild horse population is at or near the AML and the horses can be approached within about 40 yards
on a regular schedule.

In a breeding population, the majority of the adult males and females in the population participate in
breeding and add to herd growth. A single stallion (male) usually breeds about 6 to 8 mares (females)
a year in his own harem but has the capability of siring 50 or more foals in a year if he has access to
the mares. An adult mare can produce a foal every year if she is healthy and in good condition.
Typically, about 70 percent of the mares in a herd have a foal each year. When breeding age mares
are replaced by sterilized animals—whether they are geldings (castrated males) or spayed females—
the overall size of the herd can remain the same while the portion of the herd that is actively breeding
and contributing to population growth is reduced. Fewer breeding females in the herd means fewer
foals and slower population growth, however just replacing breeding stallions with geldings will not
have an appreciable effect on population growth. In this scenario, with a “non-reproducing
component,” the herd can still be a thriving, reproducing herd. However, the advantage is the
reproducing component of the herd is smaller and the non-reproducing animals in the herd simply live
out their lives on the range as free-roaming animals that do not participate in population growth.

No single population growth suppression tool is universally appropriate for all HMAs. As AML is
achieved in various HMAs, a variety of fertility control methods will need to be used. Research
continues into creating longer-lasting vaccines and developing new methods of contraception. The
BLM will deploy fertility control methods that are more effective if their development is successful
and application is cost-effective, which could significantly decrease the need for gathers over time.

Limits on Gather Operations: Due to the size of many HMAs, the distribution of animals on the
HMAs, the logistics of gather operations, the availability of contractors, and the operational capability
to manage animals in BLM’s off-range corrals, there is a limit to the number of animals that can be
gathered and removed in any single year. The BLM estimates the maximum number of horses and
burros that could be gathered and removed is about 20,000 animals annually. For the longer-term
(year 10), the BLM estimates that fewer than 4,000 animals would be gathered and removed annually
under any of the options outlined in this report. The BLM is looking at ways to increase capacity for
both gather operations and managing those animals in off-range facilities.



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Adoption Incentive Program: To increase the number of animals placed into private care, one of the
options presented in this report assumes that an incentive program will be developed to offer private
care providers $1,000 at the point of adoption, with proper controls. This will allow adopters to help
defray expenses for care and training of adopted animals, and will increase the chances that the
animals remain in private care for the rest of their lives. This investment would save money for the
taxpayer and the BLM program in the first year of implementation alone. For instance, if that same
adopted animal were instead held in a short-term holding facility, it would have cost the United States
$1,000 after only 200 days in captivity. Over a period of 25 years, holding that same animal in an off-
range corral would have cost the taxpayers nearly $46,000.

Intergovernmental and International Transfer of Animals: Due to the increased interest from private,
non-government organizations as well as countries outside the US, an international program will be
developed to allow the use of wild horses and burros for various purposes. These include border
patrol, humanitarian efforts, or economic development. In its 2017 appropriations, the BLM received
the authority to transfer animals to Federal, state, and local government agencies. However, other
than selling animals, no authority exists under the Wild Free-Roaming Horses and Burros Act to
transfer wild horses and burros to private, non-government entities nor outside of the country.

Legal Authorities to Implement Options Presented in this Report
Each of the four options presented in this report would require new legal authorities, or benefit from
clarified legal authorities. Included among those possible authorities are the following:

Sales without limitation and euthanasia. Given the scope of America’s wild horse and burro
challenge, the BLM has previously requested authority to implement the Act as amended (i.e., the
ability to sell without limitation all excess wild horses and burros and euthanize horses for which an
adoption demand does not exist). Returning authority to the BLM to sell wild horses and burros
without limitation would help considerably, but this authority alone would not be sufficient.

Amendments to the Act. The following amendments to the Act would facilitate a more sustainable
approach to the long-term management of wild horses and burros and help control costs over the long
term. Amendments could consider one or more of the following, though not all of them are required to
support the four options presented in this report.

       1. Provide that animals that are sale-eligible, pursuant to the Wild Free-Roaming Horses and
          Burros Act, are no longer subject to the protections of the Act, and should be offered for
          sale as soon as is practicable.
       2. Stipulate that areas identified for long-term management may be managed as non-
          reproducing herds, in whole or part, through the use of surgical and/or chemical
          sterilization methods.
       3. Lower the sale-eligibility age from older than 10 years to older than 5 years.
       4. Eliminate the provision that limits an adopter to acquire title to only 4 animals per year.
       5. Reduce the time to title an adopted wild horse and burro from 1 year to 6 months.
       6. Provide a) for transfer of wild horses and burros to nonprofit organizations or other
          countries for humanitarian purposes or to promote economic development outside the
          United States, and b) that such transfer causes animals to lose their status as wild horses and
          burros under the Act.
       7. Enable the BLM to redirect receipts from sales towards gathering and removing excess wild
          horses and burros from the range instead of using those funds for the adoption program.

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        8. Provide permanent authority to transfer excess wild horses or burros that have been
           removed from the public lands to other Federal, state, and local government agencies for
           use as work animals.

Categorical Exclusions from Detailed Review Under NEPA. Currently when planning for gather and
removal operations and other management activities, such as administering fertility control, the BLM
must conduct a lengthy environmental analysis process to comply with NEPA, typically through an
environmental assessment (EA). These analyses are completed for either individual HMA or groups of
HMAs (Complex). Development of the individual analysis documents can take hundreds of hours of
staff time as well as periods of public involvement. The BLM has been writing these EA documents
for over 40 years and BLM’s decision-makers routinely conclude that the proposed actions would not
have a significant effect on the quality of the human environment (individually or cumulatively).
NEPA regulations provide that categories of actions that individually or cumulatively do not have a
significant effect on the human environment may be excluded from further environmental review
through a “categorical exclusion.” Thus, the BLM recommends that certain wild horse and burro
management actions be categorically excluded from detailed NEPA analysis, specifically:

        1. Removal of excess wild horses and burros utilizing helicopter, bait/water, and other
           trapping techniques for the achievement and maintenance of AML, to promote the health
           and safety of human populations, or to respond to emergencies and declining resource
           conditions (e.g., water and forage) caused by disease, drought, wildfire, and extreme
           weather events.
        2. Application of population growth suppression techniques, including fertility control such as
           sterilization, vaccines and contraception, in wild horses and burros for the achievement and
           maintenance of AML.
        3. Unrestricted sale of excess wild horses and burros for which an adoption demand does not
           exist.
        4. Euthanasia of healthy excess wild horses and burros for which an adoption or sale demand
           does not exist.
        5. Sterilization of wild horses and burros for the purpose of managing HMAs as non-
           reproducing in whole or part.


Options for Management of Wild Horses and Burros

Option I: Achieve AML in 8 Years, Using All the Authorities within the Act, while
Substantially Decreasing Off-Range Holding Costs

     Under this option, the BLM would achieve AML within priority HMAs (about 115 of the 177
     HMAs, or about two-thirds of the total, including HMAs that overlap priority Greater Sage-
     Grouse habitat) by 2021, and within all HMAs by 2026, through an intensive gather and removal
     program for excess wild horses and burros to dramatically decrease on-range populations. In
     addition, any animals returned to the range during gather operations would be treated/boostered
     with some form of population growth suppression, focusing mainly on temporary fertility control
     vaccines or where appropriate, minimal amounts of permanent sterilization to help maintain AML.
     Off-range actions would focus on placing excess horses and burros into private care through
     adoptions and sales, including international sales to countries for agricultural, law enforcement,
     park management, and other uses. Animals not placed in private care would be sold without
     limitation or euthanized.
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     Factors for Success

     1. Congress would remove prohibitions that preclude the BLM from fully implementing the Act
        as amended. This would allow the BLM to sell without limitation all excess wild horses and
        burros, and in the event an adoption or sale demand by qualified individuals does not exist,
        destroy excess wild horses and burros in the most humane and cost-efficient manner possible.
     2. The BLM would acquire funding, including through private/public partnerships, to address the
        higher cost of gathering, removing, selling, and euthanizing substantially higher numbers of
        excess horses than currently planned.
     3. The BLM would complete needed resource management planning and NEPA reviews to
        implement this option. Completion of NEPA reviews would be much more efficient and
        timely if Congress authorized the categorical exclusions recommended by the BLM.
     4. The BLM would find enough trained veterinarians to perform the necessary number of
        permanent sterilization procedures.

     Total Funding Requirements: Within FY 2019 the BLM could begin implementing this option
     to achieve AML in priority HMAs by FY 2021 and non-priority HMAs by FY 2026 Full
     implementation of this option will require both appropriated funds and public/private partnerships
     and resources.

     From FY 2019 through FY 2021, the number of excess horses removed and the number of
     animals adopted, sold and euthanized would increase from FY 2018 levels. The BLM estimates a
     total funding need, including public/private partnerships and other sources, equivalent to about
     $115 million per year for that time period. Total program costs would be reduced each year after
     that. In FY 2022, off-range pastures would be closed and costs would continue to decrease
     through FY 2026 when AML would be achieved. Once again, the BLM would look to reduce the
     need for appropriated funding through private-public partnerships and working with the BLM
     Foundation to create these opportunities.

     Once AML is achieved, the annual budget for the wild horse and burro program would be about
     $65 million per year (adjusted for inflation) due to the significant reductions in holding and
     removal costs. At that time, funding and public/private partnerships and resources would be used
     to manage the populations through fertility control and other appropriate means. In the event
     more efficient population control methods are developed and deployed, and less excess animals
     have to be removed, costs for managing the program in the out-years may be reduced further.

     See Attachment 2, “Cost Estimates,” for more information on the FY 2017 data used to estimate
     these budget projections. These cost estimates are based on actual FY17 costs. For the purposes
     of this option, the costs for out-years are increased over time based on anticipated inflation.

     Results of Implementing this Option: This option would allow the BLM to reach AML in 8
     years with increasingly less annual appropriations. Range conditions would continue to improve
     over this time and animals will be less likely to move outside of the HMAs. This option would
     also allow the BLM to effectively monitor HMA condition as population decreases to help
     determine if AML adjustments are necessary.




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Option II: Achieve AML in 10 Years Using Existing Authorities, By Substantially Increasing
Program Funding

     Under this option, the BLM would achieve AML within priority HMAs (about 115 of the 177
     HMAs, or about two-thirds of the total, including HMAs that overlap priority Greater Sage-
     Grouse habitat) by 2021, and within all HMAs by 2028, through a gather and removal program
     for excess wild horses and burros to dramatically decrease on-range populations, while treating
     large numbers of animals with currently available fertility control vaccines starting in 2021.
     Aggressive (i.e. permanent sterilization) fertility control treatments would be used to maintain
     AML once achieved. Off-range actions would focus on placing excess horses and burros into
     private care through adoptions and sales, including international sales to countries for agricultural,
     law enforcement, park management, and other uses. However, even in best-case scenarios, off-
     range populations would increase significantly over 10 years, as adoption and sale would not be
     able to match removals. Animals not placed in private care would remain in BLM care until
     natural mortality. The BLM would focus on finding partners who are willing and able to provide
     low- to no-cost housing for excess animals.

     Factors for Success

     1. The BLM and its partners would acquire funding to address the increased cost of gathering,
        removing, and adopting substantially higher numbers of excess horses than currently planned.
     2. The BLM and its partners would acquire funding and authority to transport animals that have
        already been sold to nonprofit organizations or other countries for humanitarian purposes or to
        promote economic development, and therefore are no longer considered to be wild horses and
        burros under the Act.
     3. The BLM would be able to complete needed resource management planning and NEPA
        reviews to implement this option. Completion of NEPA reviews would be much more
        efficient and timely if Congress authorized the categorical exclusions recommended by the
        BLM.
     4. The BLM would be able to find partner(s) who are willing and able to provide low-cost off-
        range housing and care for excess animals.

     Total Funding Requirements: The BLM estimates a total funding need, including public/private
     partnerships and other sources equivalent to about $116 million in FY 2019 and increasing to
     $246 million in FY 2027. Total program costs slowly decrease from FY 2028 and beyond as the
     number of animals in off-range facilities would decrease over time due to natural mortality. Once
     again, the BLM would look to reduce the need for appropriated funding through private-public
     partnerships and working with the BLM Foundation to create these opportunities. In the event
     more efficient population control methods are developed and deployed, and less excess animals
     have to be removed, costs for managing the program in the out-years may be reduced.

     See Attachment 2, “Cost Estimates,” for more information on the FY 2017 data used to estimate
     these budget projections. These estimates are based on actual FY17 costs. For the purposes of
     this option, the costs for out-years are increased over time based on anticipated inflation.

     Results of Implementing this Option: This option allows the BLM to reach AML in 10 years
     while focusing off-range operations on private care placement and finding low-cost options for
     animal care through private pastures and local partnerships. The actual cost of implementing this
     option could vary widely. If organizations throughout the United States come forward with lower

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     than current or no-cost options for caring for thousands of animals, the overall cost could be
     drastically lower. However, if only a few or no organizations provide services in this way, the
     BLM could see increases for off-range holding facilities above those estimated in this analysis.
     This option does provide the opportunity for the BLM to find care for all animals removed from
     the range without the need to pursue the removal of Congressional prohibitions on the use of
     specific authorities available under the Act, as amended.

Option III: Achieve AML in 6 Years Using Existing Authorities and Creating an Adoption
Incentive Program

     Under this option, the BLM would achieve national AML within priority HMAs (about 115 of the
     177 HMAs, or about two-thirds of the total, including HMAs that overlap priority Greater Sage-
     Grouse habitat) by 2021, and within all HMAs by 2024, through an intensive gather and removal
     program for excess wild horses and burros to dramatically decrease on-range populations. The
     BLM would use permanent sterilization throughout the 6 years to help control population growth
     and maintain AML once achieved.

     Off-range actions would focus on placing excess horses and burros into private care through
     adoptions and sales, including international transfers to countries for agricultural, law
     enforcement, park management, and other uses. Animals not placed in private care would remain
     in BLM care until natural mortality. This option focuses on large removals and permanent
     sterilization over the first few years to get to AML in key areas while allowing time for fertility
     control treatment research to produce reliable options for long-lasting, easily administered
     vaccines. Ultimately, if the research is successful, this would reduce the need for removals and
     significantly reduce future funding needs.

     In addition, an adoption incentive program would be established to increase adoptions to good
     homes, thereby reducing future funding needs. An incentive program of $1,000 per animal, given
     at the point of adoption with appropriate controls, would allow adopters to defray part of the
     expenses for care and training of these animals. This investment would help ensure these animals
     remain in private care for the rest of their lives and would also result in considerable savings for
     the taxpayer. If that same adopted animal were held in a short-term facility, for example, it would
     cost the United States $1,000 after only 200 days in captivity. Over a period of 25 years, holding
     that same animal in an off-range corral would cost the taxpayers nearly $46,000.


     Factors for Success

     1. The BLM and its partners would acquire funding to address the cost of gathering, treating, and
        removing substantially higher numbers of excess horses and burros than currently planned.
     2. The BLM would be able to complete needed resource management planning and NEPA
        reviews to implement this option. Completion of NEPA reviews would be much more
        efficient and timely if Congress authorized the categorical exclusions recommended by the
        BLM.
     3. The BLM would be able to find enough trained veterinarians to perform the necessary number
        of permanent sterilization procedures.
     4. The BLM could acquire significant acres of additional off-range pasture space through
        partners and contractors without inflationary pressures causing large increases above current
        cost levels.

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     Total Funding Requirements: Under this option, for the next 10 years, the number of excess
     horses removed and the number of animals adopted/sold would increase from FY 2018 levels.
     The BLM estimates a total funding need, including public/private partnerships and other sources
     equivalent to about $133 million in FY 2019 and increasing to $147 million in FY 2023, at which
     time costs would reduce to about $72 million in FY 2028. Total program costs continue to
     decrease from FY 2029 and beyond, as the number of animals in off-range facilities would
     decrease over time due to natural mortality and removal operations would be minimized. Once
     again, the BLM would look to reduce the need for appropriated funding through private-public
     partnerships and working with the BLM Foundation to create these opportunities. In the event
     more efficient population control methods are developed/deployed and less excess animals have
     to be removed, costs for managing the program in the out-years may be reduced further.

     See Attachment 2, “Cost Estimates,” for more information on the FY 2017 cost data used to
     estimate these budget projections. These cost estimates are based on actual FY17 costs. For the
     purposes of this option, the cost for out-years are increased over time based on anticipated
     inflation.

     Results of Implementing this Option: This option allows the BLM to reach national AML in 6
     years while focusing off-range operations on private care placement and finding low-cost options
     for animal care through private pastures and local partnerships. The actual costs of implementing
     this option could vary widely. If organizations throughout the United States come forward with
     lower than current or no-cost options for caring for thousands of animals, the overall costs could be
     drastically lower. However, if only a few or no organizations provide services in this way, the
     BLM could see increases for off-range holding facilities above those estimated in this analysis.
     This option provides the opportunity for the BLM to find care for all animals removed from the
     range with the current Congressional prohibitions on the use of specific authorities available under
     the Act, as amended.

Option IV: Achieve AML in 12 Years Using Existing Authorities, Creating an Adoption
Incentive Program, and Increasing Permanent Sterilization

     Under this option, the BLM would achieve national AML within all HMAs by 2030, through a
     program of intensive gathering, permanent sterilization, and return of sterilized animals to the
     range to decrease on-range populations through natural mortality over 12 years. The BLM would
     use permanent sterilization through the first 6 years to help control population growth, at which
     time over 80percent percent of the on-range population would be permanently sterilized.

     Off-range actions would focus on placing excess horses and burros into private care through
     adoptions and sales, including international transfers to countries for agricultural, law
     enforcement, park management, and other uses. Annual removals would stay within the annual
     adoption/sale totals to allow for steady decreases in off-range populations. This option focuses on
     permanent sterilization over the first 6 years, although during this time fertility control treatment
     research would continue in hopes of producing reliable options for long-lasting, easily
     administered vaccines. Ultimately, if the contraceptive research is successful, this would reduce
     the need for permanent sterilization.

     In addition, an incentive program would be established to increase adoptions to good homes,
     thereby reducing future funding needs. An incentive program of $1,000 per animal, given at the

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     point of adoption with appropriate controls, would allow adopters to defray part of the expenses
     for care and training of these animals. This investment would help ensure these animals remain in
     private care for the rest of their lives and would also result in considerable savings for the
     taxpayer. If that same adopted animal were held in a short-term facility, for example, it would
     cost the United States $1,000 after only 200 days in captivity. Over a period of 25 years, holding
     that same animal in an off-range corral would cost the taxpayers nearly $46,000.

     Factors for Success

     1. The BLM would need to complete resource management planning and NEPA reviews to
        implement this option. Completion of NEPA reviews would be much more efficient and
        timely if Congress authorized the categorical exclusions recommended by the BLM.
     2. The BLM would be able to find enough trained veterinarians and/or facilities to perform the
        necessary number of permanent sterilization procedures.

     Total Funding Requirements: Under this option, for the next 10 years, the number of excess
     horses removed and the number of animals adopted/sold would increase from FY 2018 levels.
     The BLM estimates a total funding need, including public/private partnerships and other sources,
     of about $135 million in FY 2019 and increasing to $143 million in FY 2023, at which time costs
     would reduce to about $104 million in FY 2024. Total program costs would then decrease to
     about $80 million from FY 2025 to FY 2030, at which time, costs could significantly decrease as
     animals in pasture facilities reach natural lifespan limits and natural mortality levels begin to
     increase. In the event more efficient population control methods are developed and deployed, and
     less animals have to be permanently sterilized, costs for managing the program in the out-years
     may be reduced further.

     See Attachment 2, “Cost Estimates,” for more information on the FY 2017 cost data used to
     estimate these budget projections. These cost estimates are based on actual FY17 costs. For the
     purposes of this option, the costs for out-years are increased over time based on anticipated
     inflation.

Results of Implementing this Option: This option allows the BLM to reach national AML in 12
years while focusing off-range operations on private care placement and finding low-cost options for
animal care through private pastures and local partnerships. The actual costs of implementing this
option could vary widely. This option provides the opportunity for the BLM to find care for all
animals removed from the range with the current Congressional prohibitions on the use of specific
authorities available under the Act. While on-range populations would not decrease as quickly as in
other options, option IV focuses on population control through permanent sterilization and lets natural
mortality on the range decrease population levels over time.

Conclusion
In each of the four options addressed above, the BLM will need the help of all stakeholders –
Congress, livestock operators, state and local governments, and public interest organizations – to solve
the wild horse and burro overpopulation challenge. The BLM looks forward to working with Congress
and other interested parties on common sense solutions and will continue to pursue collaboration
where possible. We request that Congress examine each of the options and advise on which of the
tools it deems most suitable for addressing this urgent challenge.

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Attachment 1 - National Wild Horse and Burro Summit - Preferences of
Participants

The State of Utah, Utah State University, the Berryman Institute, and the Wild Sheep Foundation co-
hosted a summit in Salt Lake City Utah on August 22-24, 2017. The goal of the summit was “full
implementation of the 1971 Wild Horse and Burro Management Act (Act).” Participation was by
invitation and included representatives of state, local and tribal governments, academia, public land
users, conservation groups, wildlife interest groups, and federal agencies.

The workshop included a tour to view on-the-ground management issues and sessions on wild horse
and burro policy, legal matters, science, and best management practices. Participants shared their
preferences regarding the future management of BLM’s wild horse and burro program. Summit
participants who voted in the session indicated their level of support for various suggestions to address
horse and burro issues.

  Highly-supported options:

  •   99 percent Commercial use of horses of protein for pet food
  •   96 percent Commercial use of horses of protein for zoo animals
  •   96 percent of respondents favor changing the current status quo situation
  •   96 percent Euthanizing unadoptable horses for population control
  •   92 percent Allowing sale without restrictions
  •   93 percent Reducing the age of “sale without restrictions” from 10+ years old to 5+ years old
  •   92 percent Commercial use of horses of protein for human consumption

  Well-supported options:

  •   89 percent Permanent sterilization of mares by spaying
  •   88 percent Allowing private organizations to acquire/adopt large numbers of horses
  •   88 percent Adding additional contraceptives as management tools
  •   87 percent Developing additional adoption opportunities outside the U.S.
  •   85 percent Developing additional adoption opportunities within the U.S.
  •   80 percent Creating coordination committees or working groups at appropriate local scales
  •   76 percent Allowing individual states to manage horses within their boundaries without Federal
      restrictions

  Options with mixed levels of support:

  •   Gathering excess horses off the range and moving them to private leased pastures (43 percent
      supported, 43 percent opposed)
  •   Increased use of the contraceptive PZP (63 percent supported, 31 percent opposed)
  •   Maintaining non-reproducing herds in areas where population could be supplemented by outside
      sterile horses (60 percent supported, 40 percent uncertain or opposed)
  •   Attempting rest-rotation grazing systems for horses on the range (40 percent supported, 60 percent
      uncertain or opposed)
  •   Reducing horse forage allocation limits for horses in HMAs, effectively reducing AML (68 percent
      supported, 28 percent unsure or opposed)
  •   Adding mules to horse herds to control herd growth via harem gathering (21 percent supported, 31
      percent uncertain, 48 percent opposed)
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  Options with comparatively low support:

  •   98 percent were “completely opposed” to allowing horses to self-regulate on the range; no actions
      taken
  •   94 percent opposed to increasing the number (thus, total acreage) of HMAs
  •   92 percent opposed to expanding the size of current HMAs
  •   75 percent opposed to BLM hauling water to horses in the same location each year
  •   82 percent opposed to reducing cattle AUMs in HMAs

As noted, this information reflects only the opinions of the National Wild Horse and Burro Summit
participants who participated in the voting exercise conducted on August 24, 2017. Although those
voting represented a diverse cross-section of stakeholders, this information cannot be extrapolated
beyond this context.




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     Attachment 2 - FY 2017 Cost Estimates

     Action       Cost per    Comment
                  Unit

     Removals     $1,000      Based on average cost of animal removed from the range and into
                  per head    a BLM-managed or contracted facility. Includes cost of shipment
                              to the facility for processing (vaccines, Coggins test, gelding.)

     Fertility    $3,000      Average cost to treat one animal, includes costs to gather enough
     Control      per         animals to treat a single mare with a fertility control vaccine.
                  treated
                  mare

     Sale         $1,931      Average cost for all private care placements, including BLM
                  per head    adoptions and those facilitated by partners, like the Mustang
                              Heritage Foundation, Trainer Incentive Program (TIP), sales etc.

     Euthanasia $1,000        Cost of gather not included here. Includes humanely dispatching
                              the excess animal and disposing of the carcass. Cost estimates for
                              carcass disposal based on USDA’s Animal and Plant Health
                              Inspection Service Programmatic EIS.

     BLM          $1,931      Average cost for all private care placements, including BLM
     Adoption     per head    adoptions and those facilitated by partners, like the Mustang
                              Heritage Foundation, TIP, sales etc.

     Holding in   $5.05 per   Includes cost of caring for the animal while in a BLM managed or
     BLM          head per    contracted corral.
     corrals      day

     Off-range    $1.98 per   Includes cost of caring for the animal until natural death in a
     Pastures     head per    contracted pasture.
                  day

     * These cost estimates are based on actual FY17 costs and actions taken. For the purposes
     of this options paper, the costs for out-years are increased over time based on anticipated
     inflation.




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Attachment 3 – Public Opinion




          A public wild horse and burro advisory board meeting.
                            Photo by the BLM.
  There are strong, determined advocacy groups and many thousands of interested members of the
  public throughout the United States, and internationally, that participate in the “conversation”
  regarding management of wild horses and burros. Those who speak out regarding the BLM’s wild
  horse and burro program are generally interested in the well-being of the horses and/or the health of
  the public lands. Conflict levels are often high and the program is controversial and politically
  sensitive.

  Many of the management approaches suggested by the public would result in the type of changes
  that would require the BLM to amend existing Resource Management Plans, and complete
  appropriate NEPA analysis before they could be implemented. Changes to existing Federal laws
  may also be needed. The other management approaches, which are not fully included in any of the
  options, but were proposed by the public, include:

     ·    Expand public lands for use by wild horses and burros. Another suggested management
         approach was to return unadopted wild horses to Herd Areas (HAs), or to expand the areas of
         the public lands designated for their use. Herd Areas are geographic areas of the public lands
         identified as habitat used by wild horses and burros in 1971, when they were first protected by
         the Wild Free-Roaming Horses and Burros Act. These areas were not designated, through the
         BLM’s land use planning process, for long-term management of wild horses and burros.
         Decisions to return unadopted horses to HAs would require the BLM to amend existing land
         use plans and complete appropriate NEPA analysis on a case-by-case basis, or on a national
         level. Designating lands for wild horse and burro use that are outside the 1971 HA
         boundaries would require changes to the Act.

     ·    Make wild horses and burros a principal land use. Some suggested a management approach
         in which wild horses and burros, and wildlife, would be the principal use of the public lands,
         and other uses would be reduced or eliminated. These types of actions would require the
         BLM to amend existing land use plans in accordance with NEPA and applicable Federal
         regulations and could also require changes to Federal law. .

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     ·    Use only fertility control. Others suggested a management approach that would rely on the
         sole use of fertility control to manage wild horse and burro population size (i.e., no further
         gathers to remove excess animals). The current PZP-22 fertility control vaccine is not 100
         percent effective and annual retreatments are necessary. In order to maintain zero growth in
         the existing population it would be necessary to capture most wild horses every year for the
         administration of fertility control to target mares. This is not operationally feasible. Under
         any option, the BLM will conduct research into the development of longer acting fertility
         control agents and other population growth suppression methods, and use a combination of
         methods to reduce annual population growth. The goal for this research will be to develop
         safe, humane, longer-lasting, and more effective methods for managing population size. At
         the same time, the BLM recognizes that fertility control vaccines, even with their limited
         effectiveness, are a crucial component of maintaining AML, especially in those HMAs
         where it can be applied through ground darting.

     ·    Let nature takes its course. Allowing populations to regulate themselves through starvation,
         disease, or predators to control wild horse and burro population size was also suggested. The
         BLM requested that the National Research Council (NRC) review the Wild Horse and Burro
         Program to determine if there is credible scientific evidence that population “self-regulation,”
         and/or predation would be effective in controlling wild horse and burro population size before
         land and herd health is compromised. The NRC concluded that at the 2013 population levels,
         contraception or self-limitation strategies may not reduce horse and burro populations to
         target levels and that horses may first have to be removed. The NRC also stated that it is
         evident that the consequences of simply letting horse populations expand to the level of “self-
         limitation”—bringing suffering and death due to disease, dehydration, and starvation
         accompanied by degradation of the land—are unacceptable. The NRC cited previous
         research stating that wild horses and burros can kill plants through uprooting and trampling,
         create areas of low vegetation cover, and change plant species composition to favor less
         desirable or exotic species. At some point, reduced vegetation cover can lead to accelerated
         soil erosion and decreased vegetation productivity and rangeland health.

     ·    Stop using helicopters. Another suggested management approach would suspend the use of
         helicopters to assist in the gather and removal of excess wild horses and burros. The Office of
         the Inspector General (Report No.: C-IS-BLM-0018-2010, December 2010) found that gathers
         to remove excess wild horses and burros were necessary and humane. Several reviews of data
         from gather operations indicate that gather-related mortality is typically limited to about one
         half of one percent (0.5 percent) or less, which is very low compared to most capture methods
         and capture operations for wild animals. A 2008 General Accounting Office Report (GAO-
         09-77, October 2008) found that .47 percent of 24,855 horses gathered and removed from
         2005 to 2007 in six states accidently died as a result of capture. Based on the results of these
         reviews, the BLM will continue to use helicopters to assist in the removal of excess wild
         horses and burros when it is determined through gather planning that it is the safest, most
         effective, and most humane manner of doing so.

     ·   Allocate more public lands for wild horses and burros. Some commenters suggested the BLM
         manage wild horses and burros in the future by implementing a reserve design. Under this
         approach, wild horses and burros would be allocated large areas of the Western landscape.

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       Population size would be regulated through natural processes. This approach would require
       changes in existing Federal law.

     · Base management on herd social dynamics. Some suggested that future management of wild
       horses and burros be based on family band structure and herd social dynamics. However, the
       makeup of individual bands is a dynamic and ever-changing aspect of herd social behavior.
       Research indicates that 9 to 30 percent of mares change bands (Rutberg, 1990; Singer et.al.,
       from the 2002 United States Geological Survey Expert Panel Report). Band structure can be
       made up of a lead stallion and secondary stallion, as well as bachelor bands that contribute to
       breeding. Research further suggests that one-third of foals are sired by non-harem stallions
       (National Research Council, 1991, and Bowling and Touchberry from the 2002 USGS Expert
       Panel Report). Eagle et.al, 1993, discusses the instability of breeding males in a band. Based
       on the current literature, the usefulness of managing to maintain family bands is in question
       given the extent of changes that take place on a continual basis.




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    From:            Lutterman, Jason
    To:              Jeff Krauss
    Cc:              Michael Reiland
    Subject:         Fwd: Urgent and close hold
    Date:            Tuesday, April 24, 2018 2:33:32 PM
    Attachments:     Director Presentation to Advocacy Groups_JL.pptx


    Jeff -- here's what I sent up to Michael.

    Michael, please let us know if you had made any changes to the version I sent you.

    Thanks
    Jason

    --
    Jason Lutterman
    Public Affairs Specialist (On Range)
    National Wild Horse and Burro Program
    Bureau of Land Management
    Office: (775) 861-6614
    Mobile: (202) 304-0967

    Visit us online:
    www.BLM.gov/WHB

    ---------- Forwarded message ----------
    From: Lutterman, Jason <jlutterman@blm.gov>
    Date: Wed, Apr 18, 2018 at 1:23 PM
    Subject: Re: Urgent and close hold
    To: "Reiland, Michael" <mreiland@blm.gov>


    Michael, see attached.

    Also in \Public Affairs\Presentations\FY18

    --
    Jason Lutterman
    Public Affairs Specialist (On Range)
    National Wild Horse and Burro Program
    Bureau of Land Management
    Office: (775) 861-6614
    Mobile: (202) 304-0967

    Visit us online:
    www.BLM.gov/WHB

    On Wed, Apr 18, 2018 at 11:53 AM, Reiland, Michael <mreiland@blm.gov> wrote:
     Jason,

      Ok, great. Thanks!!


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     Michael

     On Wed, Apr 18, 2018 at 2:53 PM, Jason Lutterman <jlutterman@blm.gov> wrote:
      Headed back now, will try to get it to you quickly.

       Sent from my iPhone. Please excuse any typos.

       On Apr 18, 2018, at 10:11 AM, Reiland, Michael <mreiland@blm.gov> wrote:


               Jason,

               I was hoping to get it back earlier, but if you're out there, not much you can
               do about that. So, please do get it back to me as soon as you can.

               Thanks,

               Michael

               On Wed, Apr 18, 2018 at 12:40 PM, Jason Lutterman <jlutterman@blm.gov>
               wrote:
                Hi Michael, will do. I’m at pvc now for the Sinclair interview but will look
                at this ASAP when I get back...probably around 1 my time. Will that work?

                    Sent from my iPhone. Please excuse any typos.

                    On Apr 18, 2018, at 8:59 AM, Reiland, Michael <mreiland@blm.gov>
                    wrote:


                         Jason,

                         Can you take a look at this and add comments/suggestions? It's
                         for the Director to meet with advocacy groups and the
                         Secretary next week. Please do not share with anyone.

                         Thanks,

                         --
                         Michael Reiland
                         WO-260 Budget-Analyst
                         202-912-7261
                         202-794-2479

                         <Director Presentation to Advocacy Groups.pptx>




               --



                                                                                          BLM_002230
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              Michael Reiland
              WO-260 Budget-Analyst
              202-912-7261
              202-794-2479




     --
     Michael Reiland
     WO-260 Budget-Analyst
     202-912-7261
     202-794-2479




                                                                   BLM_002231
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BLM Wild Horse and Burro Program
• Wild horses and burros are federally protected and have
  virtually no natural predators. Herds can double in size
  every four years
• More than 82,000 animals currently on the range, 55,300 of
  which are excess (Appropriate Management Level (AML) is
  26,700)
• The current overpopulation threatens the health of the
  western rangelands, degrading ecosystem functions and
  limiting the forage and water available for domestic and           Wild horses in the Antelope Herd Management Area of Eastern
  wildlife species, including game and non‐game species              Nevada, which is nearly 500% of appropriate management level

• Emergency gathers required to save endangered animals
• The BLM cannot gather and treat enough animals to reduce
  herd sizes through fertility control vaccines alone
• Low adoptions and sales have resulted an additional 46,000
  excess, unadopted and unsold animals in off‐range facilities
• The BLM spends almost 60% of its appropriated funding on
  holding/care of animals removed from the range –
  increased removals to achieve AML would increase these
  funding needs
                                                                   Wild horses often must leave their designated ranges when food and
                                                                                       water becomes depleted




                                                                                                          BLM_002232
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 Achieve AML in Eight Years, Using All the Authorities within the
  Act, while Substantially Decreasing Off‐Range Holding Costs
• Removal of 156,000 animals from the range over
  a 10‐year period
• Treat 38,000 mares with fertility control methods
  (i.e. PZP) over a 10‐year period
• 40,000 adoptions; 110,000 sales without
  restriction; 24,000 animals euthanized – over a
  10‐year period
• Off‐range population reduced to 6,000 by year 10                       Wild horses standing in a field of invasive cheat grass

• Costs would exceed current average annual
  appropriations by about $200 million over the 10
  years
• Appropriate Management Levels would be
  achieved within 8 years


                                                                               Excess wild horses in an off‐range corral




                                                                                                        BLM_002233
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      Achieve AML in 10 Years Using Existing Authorities, By
            Substantially Increasing Program Funding
• Removal of 151,200 animals from the range over
  a 10‐year period
• Treat 52,400 mares with fertility control methods
  (i.e. PZP) over a 10‐year period
• 40,000 adoptions and 2,000 sales with current
  restrictions over a 10‐year period                                   Wild horses and burros on western rangelands roam over
                                                                                          26.9 million acres
• Off‐range population increased to 110,000 by
  year 10
• Costs would exceed current average annual
  budget by about $1.12 billion over the 10 years
• Appropriate Management Levels would be
  achieved within 10 years
                                                                          Wild horses prepared for an adoption event. BLM
                                                                             adopted/sold almost 4,200 animals in FY17




                                                                                                     BLM_002234
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         Achieve AML in Six Years Using Existing Authorities
           and Creating an Adoption Incentive Program
• Removal of 129,000 animals from the range
  over a 10‐year period
• Treat 26,000 mares with fertility control
  methods (i.e. PZP) over a 10‐year period
• 84,000 adoptions over a 10‐year period,
  increasing adoptions through a financial
  incentive program; 2,000 sales with current
  restrictions                                                            A helicopter carefully herds animals into traps.

• Off‐range population increased to 71,000 by
  year 10
• Costs would exceed current average annual
  appropriations by about $1.43 billion over the
  10 years
• Appropriate Management Levels would be
  achieved within 6 years
                                                                      Prada horses are specially trained horses that help lead
                                                                                     wild horses into the trap




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       Achieve AML in 12 Years Using Existing Authorities,
     Creating an Adoption Incentive Program, and Increasing
                    Permanent Sterilization
• Removal of 36,600 animals from the range over a
  10‐year period
• Treat 103,000 mares with fertility control methods
  (focusing on permanent sterilization) over a 10‐
  year period
• 40,000 adoptions over a 10‐year period,
  developing a financial adoption incentive program;                      Overpopulated herds put animals at risk of
  2,000 sales with current restrictions                                            starvation and thirst.

• Off‐range population decreased to 36,800 by year
  10
• Costs would exceed current average annual
  appropriations by about $320 million over the 10
  years
• Appropriate Management Levels would be
  achieved within 12 years
                                                                          Once gathered and adopted out, wild horses
                                                                                  make great show animals.




                                                                                                    BLM_002236
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    From:             Shepherd, Alan B
    To:               Rittenhouse, Bruce H; Waddell, Holle
    Subject:          Fwd: WHB Program Update for the Director
    Date:             Friday, May 4, 2018 5:02:56 PM
    Attachments:      mime-attachment.html
                      ATT00001.htm
                      Revised 2018 Gather Schedule.docx
                      ATT00002.htm
    Importance:       High


    Keeping you in the loop on the info provided to Director

    Thanks,
    Alan

    Alan Shepherd
    On-Range Branch Chief, WO261

    Sent from my iPhone, please excuse any grammar or spelling errors!

    Begin forwarded message:


          From: Steve Tryon <stryon@blm.gov>
          Date: May 4, 2018 at 5:54:50 PM EDT
          To: bsteed@blm.gov, mnedd@blm.gov
          Cc: jbrune@blm.gov, kbail@blm.gov, jkrauss@blm.gov, mschneider@blm.gov,
          ashepher@blm.gov, cmcalear@blm.gov
          Subject: WHB Program Update for the Director




                   Happy weekend, Brian and Mike,


                   There are a number of things going on in the Wild Horse and Burro
                   program to share with you, including the guidance on gathers in the
                   soon-to-be-released Annual Work Plan. With many of us out this
                   coming week for Field Committee, RMC, or Pathways, I thought I
                   would reach out to you by email, and then see if we need to get
                   together on Friday May 11 - when we will all be back at MIB - to
                   discuss any of this face-to-face.

                   Program Briefings for OMB and Approps Staff
                   On Wednesday, May 2, Alan Shepherd and I joined Linda Smith,
                   Denise Flanagan, and Bill Gordon of the BLM and DOI budget teams
                   to brief OMB examiner Mike Hagan, and Approps staff Betsy
                   Bynum, Rita Culp, Dave Listra(?), and Mac Loyes(?), in two separate
                   briefings. The briefings and the report were well received. We spent a
                   lot of time covering the logistics of sale, euthanasia, sterilization,
                   adoption incentives, and the presumed positions of interested parties



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             such as advocacy groups and PLC. We covered the four options in
             detail, and the backup numbers.

             In both briefings we discussed the changes in legal authorities that
             are requested at the end of the report. We did not characterize any of
             the measures as being “the Secretary’s preferred option,” but noted
             that he had been briefed on the report in its entirety and was
             comfortable with the section requesting new legal authorities, as
             written. We are expecting to brief the Senate Approps staff on Friday,
             May 11.

                •   OMB requested follow up information on deteriorating
                    rangelands, including evidence, if any, that horse populations
                    were impeding energy development.
                •   OMB also asked for any proposals that might affect taxes/tax
                    incentives


             Legislative Request from DOI Budget
             The day after we briefed House Approps., DOI budget requested
             legislative language from us on:

                •   Management of horse areas as non-reproducing herds through
                    sterilization methods
                •   Reducing time to title from 12 months to 6 months
                •   Transferring WHB to nonprofit groups or other countries
                •   Allowing sales receipts to support on-range activities and not
                    just adoptions

             We provided the legislative language to WO 880/Budget. I believe
             the audience for this request is House Approps., and will confirm that
             for you this week.

             On-Range Population Estimates
             Every March, after winter mortality has taken its natural toll, and
             after a few winter gathers have reduced numbers, and before the new
             crop of foals starts to show up, we estimate the current on-range
             WHB population. “The number” this year is 81,951. This is the same
             number that varied between 83,000 and 86,000 in draft versions of
             the report to Congress, net of winter gathers, which makes it a
             smaller number. We will be publishing this figure through a press
             release, so we just want to make sure there are no surprises to any of
             you when the PR comes out. It is a good number until foaling season,
             which is upon us now. We are estimating this year’s foal crop at
             14,500 animals, btw.

             Sterilization/Spay & Neuter

                •   We are pushing forward this year with the behavior study at
                    Burns, OR.
                •   We are not expecting to sterilize any animals in 2018 gathers,


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                    as it is not addressed in the relevant NEPA documents for the
                    planned gathers.
                •   We will begin incorporating sterilization into NEPA and gather
                    design - where sterilization will be conducted at BLM facilities
                    by contract veterinarians - and the subsequent return of
                    sterilized animals to the range as part of our 2019 gather
                    schedule. We will do this through site-specific NEPA, even
                    though the USGS study at Burns will only just be getting
                    started.


             Gather Schedule/2018 Annual Work Plan/Implement Program
             Changes ASAP
             Brian we really appreciated our conversation with you last Friday,
             following the report’s release and your conversations with the
             Secretary. Here is what we are doing to be more aggressive with the
             program in the short term:

                •   We have identified six more NEPA-ready gather opportunities
                    in GRSG habitat, using $4.1 million of Wildlife funding that
                    can be accomplished this year. The Wildlife subactivity will
                    also pay the 2018 increment of holding costs, at $350,000.
                •   We have set aside $500,000 for $1,000 adoption incentives on
                    an estimated 500 horses by year end. This should give us a
                    good opportunity to evaluate the sensitivity to price that this
                    represents to adopters, before we scale up for an entire fiscal
                    year without good cost data. This is a good thing.
                •   We are beginning to re-write adoption policy to: 1) reduce up-
                    front payment to $25, from $125, 2) receive a check for $1,000
                    from the NOC shortly after the animal is adopted and not at the
                    time of titling, and 3) lower the cost of adoption compliance by
                    relying on veterinarians and travel by BLM employees only
                    when nearby the adopted animal’s location.
                •   We are starting up the behavior study on sterilized horses, in
                    Burns, OR.
                •   Big thing you need to know is that these additional gathers will
                    commit us to another $10 million in holding expenses in 2019,
                    and if we ramp up 2019 gathers, we will incur additional
                    holding costs still. This deviates significantly from the
                    President’s Budget, and really should be addressed as a base
                    funding increase for 2019 and beyond, rather than as a
                    reprogramming.
                •   Please see the attached, modified gather schedule, which
                    normally requires approval by DD-Ops because of the
                    substantial future year funding commitments that gather
                    decisions today represent.


             Alan will be over at MIB on Monday, covering for the AD, if you
             want to discuss then. I will be back from the Field Committee
             meeting on Friday May 11.


                                                                                       BLM_002239
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             Thanks for working with us on these hard decisions!

             Steve Tryon
             Deputy Assistant Director, Resources and Planning
             Bureau of Land Management
             o) 202-208-4896
             c) 202-527-2651




                                                                   BLM_002240
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    From:              Lesieutre, Jeannine (Jenny) M
    To:                Waddell, Holle
    Subject:           Fwd: Ideas on how to implement incentive if we get funding
    Date:              Wednesday, May 9, 2018 11:21:52 AM
    Importance:        High


    I'm sorry, I probably should have copied you on the below.... FYI....

    Jenny Lesieutre, Wild Horse and Burro Public Affairs Specialist
    Bureau of Land Management, Nevada State Office
    1340 Financial Boulevard, Reno, NV 89502
    Office: 775-861-6594
    Cell: 202-412-5784
    Email: jlesieut@blm.gov
    ________________________________________________________________________

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    ---------- Forwarded message ----------
    From: Lesieutre, Jeannine (Jenny) <jlesieut@blm.gov>
    Date: Wed, May 9, 2018 at 9:10 AM
    Subject: Ideas on how to implement incentive if we get funding
    To: Alan Shepherd <ashepher@blm.gov>
    Cc: Stephen Clutter <sclutter@blm.gov>, Ruth Thompson <rthompso@blm.gov>


    Hi Alan,

    I have some out of the box ideas based on lessons learned when we tried this back when I was in DC if
    you want to discuss? As we know from the NM program and then of course with the Director back then
    that how we implemented it caused questions on fraud so my ideas are more in the mechanism(s) to use
    to provide a dollar incentive. Let me know!

    Jenny Lesieutre, Wild Horse and Burro Public Affairs Specialist
    Bureau of Land Management, Nevada State Office
    1340 Financial Boulevard, Reno, NV 89502
    Office: 775-861-6594
    Cell: 202-412-5784
    Email: jlesieut@blm.gov
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    From:               Lesieutre, Jeannine (Jenny) M
    To:                 Shepherd, Alan B; Waddell, Holle
    Cc:                 Stephen Clutter; Thompson, Ruth A
    Subject:            Re: Ideas on how to implement incentive if we get funding
    Date:               Wednesday, May 9, 2018 12:49:48 PM
    Importance:         High


    Thanks Alan! Will do and yes, based on what we dealt with in the past, it can be challenging and could
    cost much more then the proposed $1,000 if we implement the same way as we did in the past! I will try
    and get it pulled together within the next few weeks!

    Thanks for your quick response!!

    Jenny Lesieutre, Wild Horse and Burro Public Affairs Specialist
    Bureau of Land Management, Nevada State Office
    1340 Financial Boulevard, Reno, NV 89502
    Office: 775-861-6594
    Cell: 202-412-5784
    Email: jlesieut@blm.gov
    ________________________________________________________________________

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    On Wed, May 9, 2018 at 10:44 AM, Shepherd, Alan <ashepher@blm.gov> wrote:
     Hey Jenny
     I would suggest writing them down and sharing with Holle and I. This will be an interesting
     process and likely confusing for a while to who gets incentive vs not.

      Thx


      Thanks,
      Alan

      Alan Shepherd
      Acting Division Chief (WO260)
      National WH&B Program
      20 M St SE
      Washington, DC 20003

      Office #: (202) 912-7648
      Cell #: (775) 530-2784


      email: ashepher@blm.gov
      http://www.blm.gov/programs/wild-horse-and-burro

      On Wed, May 9, 2018 at 12:10 PM, Lesieutre, Jeannine (Jenny) <jlesieut@blm.gov> wrote:
        Hi Alan,

        I have some out of the box ideas based on lessons learned when we tried this back when I was in
        DC if you want to discuss? As we know from the NM program and then of course with the Director
        back then that how we implemented it caused questions on fraud so my ideas are more in the



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       mechanism(s) to use to provide a dollar incentive. Let me know!

       Jenny Lesieutre, Wild Horse and Burro Public Affairs Specialist
       Bureau of Land Management, Nevada State Office
       1340 Financial Boulevard, Reno, NV 89502
       Office: 775-861-6594
       Cell: 202-412-5784
       Email: jlesieut@blm.gov
       ________________________________________________________________________

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                                                                             BLM_002243
                                                                                    From:             Todd, Marci L
                                                                                    To:               Waddell, Holle
                                                                                    Subject:          Re: Private Care Placement Team: Adoption Incentive Program
                                                                                                                                                                                                   BLM_002244




                                                                                    Date:             Tuesday, May 15, 2018 2:53:15 PM
                                                                                    Importance:       High
                                                                                    Hi Holle,
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                                                                                    I’m sorry but I have a conflict that week - our State Leadership Team is meeting. M
                                                                                    Sent from my iPhone
                                                                                    On May 15, 2018, at 10:57, Waddell, Holle <hwaddell@blm.gov> wrote:
                                                                                          Hello Marci and I hope you are well. I wanted to follow-up with you
                                                                                          regarding re-engaging the team to begin development of the adoption
                                                                                          incentive program per leadership direction based on the WH&B Options
                                                                                          paper submitted to Congress.
                                                                                          I know you are busy however would appreciate you being a part of a pre-
                                                                                          meeting/discussion with me as well as the initial meeting with the team.
                                                                                          Please let me know your availability the week of June 4, 2018.
                                                                                          I look forward to hearing from you.
                                                                                          Thank you,
                                                                                          Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |
                                                                                          Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
                                                                                          ​
                                                                                          "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day,
                                                                                          start by shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you
                                                                                          have. When you shift your thoughts, your actions will follow suit and you will begin to create the
                                                                                          reality you desire." - Cheryl Wood
                                                                                          I]
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    From:             Todd, Marci L
    To:               Waddell, Holle
    Subject:          Re: Private Care Placement Team: Adoption Incentive Program
    Date:             Wednesday, May 16, 2018 8:41:37 AM
    Importance:       High


    Sure. Give me a call. M

    Sent from my iPhone

    On May 15, 2018, at 21:43, Waddell, Holle <hwaddell@blm.gov> wrote:


          Thank you for your response. There is an urgency to begin work on the
          adoption incentive program. Perhaps you and I could chat next
          Wednesday and I will still plan to have the meeting with the team the week
          of June 4.

          Thank you,

          Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

          Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

          ​
          "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day,
          start by shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you
          have. When you shift your thoughts, your actions will follow suit and you will begin to create the
          reality you desire." - Cheryl Wood



          On Tue, May 15, 2018 at 2:53 PM, Marci Todd <m1todd@blm.gov> wrote:
           Hi Holle,

              I’m sorry but I have a conflict that week - our State Leadership Team is
              meeting. M

              Sent from my iPhone

              On May 15, 2018, at 10:57, Waddell, Holle <hwaddell@blm.gov> wrote:


                    Hello Marci and I hope you are well. I wanted to follow-up
                    with you regarding re-engaging the team to begin
                    development of the adoption incentive program per
                    leadership direction based on the WH&B Options paper
                    submitted to Congress.

                    I know you are busy however would appreciate you being a
                    part of a pre-meeting/discussion with me as well as the initial



                                                                                                          BLM_002245
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               meeting with the team. Please let me know your availability
               the week of June 4, 2018.

               I look forward to hearing from you.
               Thank you,

               Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

               Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) |
               hwaddell@blm.gov

               ​
               "A positive outlook, regardless of how bleak the circumstances may look, is a
               CHOICE. Each day, start by shifting your thoughts to develop and demonstrate an
               internal gratitude for all blessings you have. When you shift your thoughts, your
               actions will follow suit and you will begin to create the reality you desire." - Cheryl
               Wood
                   [I]




                                                                                                         BLM_002246
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    From:               Lesieutre, Jeannine (Jenny) M
    To:                 Waddell, Holle
    Subject:            Re: Ideas on how to implement incentive if we get funding
    Date:               Wednesday, May 9, 2018 1:16:37 PM
    Importance:         High


    ​Sounds good - I think you'll like the direction I'm thinking - give me a few days and I'll shoot off my ideas!​

    Jenny Lesieutre, Wild Horse and Burro Public Affairs Specialist
    Bureau of Land Management, Nevada State Office
    1340 Financial Boulevard, Reno, NV 89502
    Office: 775-861-6594
    Cell: 202-412-5784
    Email: jlesieut@blm.gov
    ________________________________________________________________________

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    On Wed, May 9, 2018 at 11:02 AM, Waddell, Holle <hwaddell@blm.gov> wrote:
     Thanks. I plan to re-engage the private care placement team to jump start SOPs as
     this was a topic addressed in the the past.

      Thank you,

      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
      I]
      On Wed, May 9, 2018 at 11:21 AM, Lesieutre, Jeannine (Jenny) <jlesieut@blm.gov> wrote:
          I'm sorry, I probably should have copied you on the below.... FYI....

          Jenny Lesieutre, Wild Horse and Burro Public Affairs Specialist
          Bureau of Land Management, Nevada State Office
          1340 Financial Boulevard, Reno, NV 89502
          Office: 775-861-6594
          Cell: 202-412-5784
          Email: jlesieut@blm.gov
          ________________________________________________________________________

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          ---------- Forwarded message ----------
          From: Lesieutre, Jeannine (Jenny) <jlesieut@blm.gov>


                                                                                                          BLM_002247
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       Date: Wed, May 9, 2018 at 9:10 AM
       Subject: Ideas on how to implement incentive if we get funding
       To: Alan Shepherd <ashepher@blm.gov>
       Cc: Stephen Clutter <sclutter@blm.gov>, Ruth Thompson <rthompso@blm.gov>


       Hi Alan,

       I have some out of the box ideas based on lessons learned when we tried this back when I was in
       DC if you want to discuss? As we know from the NM program and then of course with the Director
       back then that how we implemented it caused questions on fraud so my ideas are more in the
       mechanism(s) to use to provide a dollar incentive. Let me know!

       Jenny Lesieutre, Wild Horse and Burro Public Affairs Specialist
       Bureau of Land Management, Nevada State Office
       1340 Financial Boulevard, Reno, NV 89502
       Office: 775-861-6594
       Cell: 202-412-5784
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                                                                                            BLM_002248
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    From:              Leonard, Stephen P
    To:                Waddell, Holle
    Cc:                Deborah Collins; Lockie, Grant E; Tiel-Nelson, Heather J; Neill, John J; Fontaine, Kristen A; Johnson, Krystal F;
                       Reid, Lisa; Kueck, Meredith A; Roberson, Peter (PJ) L; Spencer, Sally J; Frost, Scarlett H; Fluer, Scott L; Easley,
                       Anna-Maria
    Subject:           Re: Adoption Incentive Program
    Date:              Thursday, May 24, 2018 8:57:37 AM
    Importance:        High


    The week of June 4th is pretty open for me.

    Steve Leonard
    Canon City Facility Manager/Colorado Program Lead
    (719)269-8511

    On Wed, May 23, 2018 at 11:01 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
     Hello all - As you know, the "Options" paper submitted to Congress identified an
     adoption incentive program as a component to increasing the placement animals
     into private care. I'd like to re-engage the PCPT to develop the adoption incentive
     program and have a draft to Bruce for his review at the end of the month (tentatively
     06/29/18). I would like to meet sometime during the week of June 4, 2018. Please
     send me your availabilities as soon as possible for the week of June 4, 2018 and I
     will send a calendar invite.

          I look forward to hearing from you.
      Thank you,

      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
     I]




                                                                                                                           BLM_002249
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    From:            Rittenhouse, Bruce H
    To:              Waddell, Holle
    Subject:         Briefing paper
    Date:            Wednesday, May 30, 2018 3:05:32 PM
    Attachments:     Info briefing for ASLM 30May2018 final draft.docx


    Holle

    Here is the briefing paper to the ASLM on adoptive incentive program, off-range pastures and CXs.

    --
    Bruce Rittenhouse
    Acting Wild Horse and Burro Division Chief (WO-260)
    20 M Street, Southeast
    Washington DC 20003
    202-912-7648 (office)
    720-454-5747 (mobile)
    brittenh@blm.gov




                                                                                               BLM_002250
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      INFORMATION/ BRIEFING MEMORANDUM FOR THE BLM DIRECTOR AND
             ASSISTANT SECRETARY FOR LANDS AND MINERALS


   DATE:          May 30, 2018

   FROM:          Kristin Bail, Assistant Director, Resources and Planning (WO-200)

   SUBJECT:       Update on Status of Wild Horse and Burro Adoption Incentive Program,
                  Off-Range Pastures, and Schedule of Categorical Exclusions

   This information briefing is an update on the status of the BLM’s proposed Adoption Incentive
   Program, increasing the capacity of utilizing Off-Range Pastures, and streamlining NEPA to use
   Categorical Exclusions (CXs) for wild horse and burro activities.

   BACKGROUND

   On April 26, 2018 the BLM released a report to Congress titled “Management Options for a
   Sustainable Wild Horse and Burro Program” (Options Paper). The Options Paper outlined four
   options with objectives to reach Appropriate Management Level (AML) for horses on the range
   along with increasing adoptions and reducing costs of feeding and caring for wild horses and
   burros. The key components are listed below.

      •    Establish a $1,000/animal adoption incentive program to increase adoptions, thereby
           reducing future holding costs.
      •    Use CXs to streamline NEPA for certain wild horse and burro actions (e.g. removal of
           excess animals, population growth suppressants, among other actions).
      •    Increase use of long-term off-range pastures to reduce holding costs for wild horses and
           burros.

   DISCUSSION

   Below are the updates of accomplishments since the release of the Options Paper.

   Adoption Incentive Program – Currently WO-262 (Off-Range) is developing the necessary
   Adoption Incentive processes and procedures. Processes such as how the $1,000 will be
   dispersed to the adopter, return of funds to BLM if the animal is returned within the timeframe
   prior to the transfer of title, and streamlining adoption compliances. New templates have to be
   created during this development phase. It is anticipated that a preliminary draft of the Adoption
   Incentive Program will be completed by the end of June 2018. In addition, $500,000 has been
   set aside in fiscal year (FY) 2018 budget for implementation.

   Long-Term Off-Range Pastures – It is expected that a competitive solicitation contract will be
   released in early June for three wild horse Public Off-range Pastures with an expected award in
   early September with an estimated budget of $900,000. Also in late June, additional Off-Range
   Pasture solicitations are expected. These should provide increased capacity to accommodate the




                                                                                        BLM_002251
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   additional removals planned for in FY 2018. The timeframe for each solicitation usually takes
   up to 12-15 months from the beginning of solicitation to placing the horses on the pastures. This
   has been the typical timeframe to solicit, review proposals, inspect the proposed pasture,
   complete the NEPA, and finally award contract. To streamline this process WO-260 plans to use
   a national Indefinite Delivery Indefinite Quantity (IDIQ) contract that reduces the NEPA
   workload for the individual state and the timeframe to complete the analysis.

   Schedule for Categorical Exclusions – Currently, the request for use of CXs in the wild horse
   and burro program are in the second tier of CXs. It is expected that the second tier of CXs will
   be submitted in fall 2018 with a public comment period occurring sometime in early 2019. Until
   the use of CXs are approved, the full NEPA analysis will continue for most wild horse and burro
   activities.

   NEXT STEPS

   1. Develop processes, protocols, and templates to develop policy to implement the Adoption
      Incentive Program.
   2. Streamline process to award Off-Range Pastures.
   3. Support WO-210 (Planning) to allow use of CXs for wild horse and burro activities.

   1 ATTACHMENT
       1 - Wild Horse and Burro Off Range Pasture (ORP) Request for Proposals (15 pp)




                                                                                       BLM_002252
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   Attachment 1: Example of Off-Range Pasture Contract


    WILD HORSE AND BURRO OFF RANGE PASTURE (ORP) FACILITIES LOCATED
                         IN THE UNITED STATES




                              REQUEST FOR PROPOSAL (RFP)

                                          L16PS00305

                                            ISSUED

                                        (Amendment 1)




                               DEPARTMENT OF INTERIOR
                             BUREAU OF LAND MANAGEMENT
                                 WASHINGTON OFFICE




                                                                   BLM_002253
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               SECTION B - SUPPLIES OR SERVICES AND PRICES/COSTS

   BASE PERIOD OF PERFORMANCE – JANUARY 1, 2017 THROUGH DECEMBER 31,
   2017
      Item                                                                  Est.      Unit
                                       Services                                  Unit          Total
     Number                                                                 Qty       Price
      0001  Provide all necessary facilities, personnel and supplies for an **   Feed
            Off Range Wild Horse Maintenance Facility for                        Day
            _______horses* (Contractor shall propose number), from               ***
            date of award through twelve (12) months after award, with
            animals arriving at the facility after contract award, in
            accordance with the specifications, terms and conditions
            contained herein.



        OPTION PERIOD 1 – JANUARY 1, 2018 THROUGH DECEMBER 31, 2018
     Item                                                                Est.      Unit
                                     Services                                 Unit            Total
    Number                                                               Qty       Price
     0002   Provide all necessary facilities, personnel and supplies for **   Feed
            an Off Range Wild Horse Maintenance Facility for                  Day
            _______horses* (Contractor shall propose number), from            ***
            date of award through twelve (12) months after award.



        OPTION PERIOD 2 – JANUARY 1, 2019 THROUGH DECEMBER 31, 2019
     Item                                                                Est.      Unit
                                     Services                                 Unit            Total
    Number                                                               Qty       Price
     0003   Provide all necessary facilities, personnel and supplies for **   Feed
            an Off Range Wild Horse Maintenance Facility for                  Day
            _______horses* (Contractor shall propose number), from            ***
            date of award through twelve (12) months after award.



        OPTION PERIOD 3 – JANUARY 1, 2020 THROUGH DECEMBER 31, 2020
     Item                                                                Est.      Unit
                                     Services                                 Unit            Total
    Number                                                               Qty       Price
     0004   Provide all necessary facilities, personnel and supplies for **   Feed
            an Off Range Wild Horse Maintenance Facility for                  Day
            _______horses* (Contractor shall propose number), from            ***
            date of award through twelve (12) months after award.




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        OPTION PERIOD 4 – JANUARY 1, 2021 THROUGH DECEMBER 31, 2021
     Item                                                                Est.      Unit
                                     Services                                 Unit         Total
    Number                                                               Qty       Price
     0005   Provide all necessary facilities, personnel and supplies for **   Feed
            an Off Range Wild Horse Maintenance Facility for                  Day
            _______horses* (Contractor shall propose number), from            ***
            date of award through twelve (12) months after award.

        OPTION PERIOD 5 – JANUARY 1, 2022 THROUGH DECEMBER 31, 2022
     Item                                                                Est.      Unit
                                     Services                                 Unit         Total
    Number                                                               Qty       Price
     0006   Provide all necessary facilities, personnel and supplies for **   Feed
            an Off Range Wild Horse Maintenance Facility for                  Day
            _______horses* (Contractor shall propose number), from            ***
            date of award through twelve (12) months after award.



        OPTION PERIOD 6 – JANUARY 1, 2023 THROUGH DECEMBER 31, 2023
     Item                                                                Est.      Unit
                                     Services                                 Unit         Total
    Number                                                               Qty       Price
     0007   Provide all necessary facilities, personnel and supplies for **   Feed
            an Off Range Wild Horse Maintenance Facility for                  Day
            _______horses* (Contractor shall propose number), from            ***
            date of award through twelve (12) months after award.



        OPTION PERIOD 7 – JANUARY 1, 2024 THROUGH DECEMBER 31, 2024
     Item                                                                Est.      Unit
                                     Services                                 Unit         Total
    Number                                                               Qty       Price
     0008   Provide all necessary facilities, personnel and supplies for **   Feed
            an Off Range Wild Horse Maintenance Facility for                  Day
            _______horses* (Contractor shall propose number), from            ***
            date of award through twelve (12) months after award.




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        OPTION PERIOD 8 – JANUARY 1, 2025 THROUGH DECEMBER 31, 2025
     Item                                                                Est.      Unit
                                     Services                                 Unit                   Total
    Number                                                               Qty       Price
     0009   Provide all necessary facilities, personnel and supplies for **   Feed
            an Off Range Wild Horse Maintenance Facility for                  Day
            _______horses* (Contractor shall propose number), from            ***
            date of award through twelve (12) months after award.

        OPTION PERIOD 9 – JANUARY 1, 2026 THROUGH DECEMBER 31, 2026
     Item                                                                Est.      Unit
                                     Services                                 Unit                   Total
    Number                                                               Qty       Price
     0010   Provide all necessary facilities, personnel and supplies for **   Feed
            an Off Range Wild Horse Maintenance Facility for                  Day
            _______horses* (Contractor shall propose number), from            ***
            date of award through twelve (12) months after award.

   * Once the contract is awarded the proposed amount for the contractor will be set as the
   maximum capacity for the ranch. During the period of performance this total amount can only
   fluctuate 10% over or under the contract total amount. In the event of unforeseen circumstances
   and/or emergencies an adjustment other than the 10% may need to be done after consultation
   with the COTR/PI and approved by the CO.
   ** A feed day is defined as: "The price to feed one animal for one full day, except mare pairs,
   which count as one animal feed day." Contractor shall complete by multiplying the number
   of animals they propose to care for by 365 (for evaluation purposes only)
   *** The unit price must estimate one year of feed per animal.

   NOTE: The Contractor will be reimbursed based on the actual number of feed days per month,
   using the unit price per feed day, as offered by the Contractor.




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            SECTION C - DESCRIPTION/SPECIFICATIONS/WORK STATEMENT

   1       BACKGROUND

       a. Wild horse and burros on public lands administered by the Bureau of Land Management
          (BLM) and U.S. Forest Service are protected, managed and controlled under the
          provisions of the Wild and Free-Roaming Horses and Burro Act of December 15, 1971, as
          amended (16 U.S.C. 1331-1340). As resource conditions and other factors warrant, excess
          wild horses are removed from the public lands and placed in private maintenance through
          the Adopt-A-Horse Program. Horses that have not been adopted because of age or other
          factors are being cared for on private land.

       b. The purpose of this solicitation is to obtain one or more off range pasture (ORP) facilities
          located in the states of Arkansas Arkansas Colorado, Idaho, Iowa, Kansas, Missouri,
          Montana, Nebraska, New Mexico, North Dakota, Oklahoma, South Dakota,
          Utah200,Texas Texas, Wyoming, Oregon and Washington excluding the area west of the
          Cascade Mountain Range. The objective for each ORP facility is to pasture a minimum of
          200 up to a maximum of 5000 wild horses. The intent is to provide a pasture (grassland)
          setting for these animals while they are cared for on private land. During the first years of
          this contract the majority of the horses will be older unadoptable animals that will be
          shipped and received on a year-round basis. .

       c. On December 8, 2004 Public Law 108-341; Section 142 amended the 1971 Wild and
          Free-roaming Horses and Burros Act (Public Law 92-195) and requires the BLM to sell
          excess wild horses and burros which meet the following criteria:

            Animals that are 11 years of age and older; or
            Animals that have been offered unsuccessfully at three or more adoptions.

           This may require BLM to remove animals that meet the above criteria from the
           contracted facility during the course of the contract. All animals that are in too poor of
           health to be prepared or transported will be evaluated consistent with BLM policy for
           euthanasia due to acts of mercy, health and safety. All wild horses that do not meet the
           above criteria will remain in a free-roaming environment.

       d. Each facility considered for contract award must have the capacity to maintain a minimum
          of 200 to a maximum of 5000 wild horses throughout each year of a 1 year contract with
          either a 4-year or 9-year option period.

       e. The BLM will award the contract and then complete an Environmental Assessment (EA).
          The purpose of the EA is to determine the property’s carrying capacity (an appropriate
          stocking level) and to analyze the potential environmental impacts associated with the
          operation and maintenance of an ORP facility on the offered private and/or leased lands.
          The BLM can terminate the contract for convenience if: (a) resource issues are identified
          during the environmental analysis process which cannot be effectively mitigated; (b) an
          agreement cannot be reached as to an appropriate stocking level for the offered property




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           (based on in-depth analysis of the best available data); or (c) the contractor is unable or
           unwilling to comply with any mitigation or additional management or monitoring
           requirements identified in the EA.



            Facilities formerly used by the BLM for which the requirements of the National
            Environmental Policy Act have been met will be awarded upon the completion of
            a Documentation of NEPA Adequacy (DNA).

        f. BLM will also inspect the offered property to assure it complies with the minimum
           requirements identified in the contract specifications. If the contractor is unable or
           unwilling to comply with the contract specifications, the BLM will terminate for default.

        g. The BLM will begin shipping animals to the facility only after the offered property meets
           the minimum requirements outlined in the contract specifications together with any
           mitigation or additional requirements identified in the BLM’s EA. Shipment of animals to
           the facility is anticipated to occur following a completed EA, signed Decision Record
           (DR) and award of the contract. No payments shall be made until after animals are
           received at the facilities and have resided at the facility for one month. The Contractor
           will be reimbursed on a per animal feed day basis for the previous month of service. No
           advance payments are authorized.

   2.       OBJECTIVE

        a. Protecting animal welfare by ensuring appropriate care handling and humane treatment of
           all wild horses and burros (WH&B) under BLM management is a primary consideration
           for all Wild Horse and Burro Program activities.

   The objectives of this contract are:

        b. To maintain the excess wild horses in pastures large enough to allow free-roaming
           behavior and that can provide the food, water and shelter necessary to sustain the animals
           in good condition;

        c. To gather and prepare all horses in a humane manner that falls under the criterion of
           saleable or adoptable animals.

        d. To minimize the handling of wild horses by humans;

        e. To provide regular, on-the-ground monitoring and inventory of the wild horses to
           ascertain their well-being and safety;

        f. Provide management by individuals who are knowledgeable and experienced about the
           behavior and nutritional requirements of equines and the management of land for the
           sustained production of grass and other desirable forage plants.




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   3      GENERAL SERVICES

   The contractor shall provide all necessary land, facilities, personnel and supplies to perform the
   following general tasks. Specific requirements for each are set forth in the subsequent
   paragraphs of the Description/Specifications/Work Statement.

       a. Provide land, forage, salt, minerals, water and fences necessary to properly care for and
          maintain a minimum of 200 up to a maximum of 5000 wild horses (based on the offeror’s
          proposal). The contractor must also provide supplemental feed as necessary to maintain
          the horses in good condition (i.e. during periods of drought, deep snow, ice storms, fire,
          during times when the forage is depleted of protein content or when other circumstances
          warrant). The animals should be grazed on grassland pastures that are capable of
          producing sufficient standing forage for a period of at least 8 months or
          longer. Supplemental feeding may need to occur for a period of up to 4 months. The
          pastures should have sufficient rock and soil type to maintain proper hoof size and shape
          without trimming.

       b. Maintain fences and to keep horses on offered lands and prevent animals from escaping
          onto neighboring lands. Should escape of animals occur costs to catch, gather, remove
          and/or return any escaped horses to said facility shall be incurred by the contractor. In
          the event the contractor fails to return escaped horses within 30 days, BLM will retrieve
          said animals and charge the contractor accordingly.

       c. Provide corrals and adequate facilities to load and unload wild horses on an as-needed
          basis.

       d. Unload, sort and segregate animals upon their arrival, when additional horses are
          transported to the facility.

       e. Gather and move horses from pasture to pasture as needed, supervise their health and
          welfare, and maintain the facilities in a safe hazard free condition.

       f. Gather and hold in isolation horses that fall under the criterion of adoptable or saleable
          wild horses for a minimum of 30 days, until time for shipment.

       g. Provide weekly monitoring of the animals to assess their health and determine death loss.
          Prior to submission of the monthly invoice the contractor will conduct a complete
          inventory of all wild horses. The results of the each inventory will be included in the
          monthly invoice. Maintain a record keeping system that documents the frequency and
          results of these observations. ( see attachment 4)

       h. Provide a record keeping system that identifies each horse at the facility and its overall
          condition. Each death will be recorded by the freeze mark and/or description of the
          animal, date the animal was noted as dead and then submitted on each months invoice.
          The records shall be made available for duplication within 5 days after a request is made
          by the COR and/or PI. The monthly invoice; death records and receiving information will




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          be due to the COR by the first week of the month for the last months payment.

       i. Dispose of the remains of dead horses according to their state and or local requirements
          for disposal of dead animals. The contractor may be required to euthanize horses for
          reasons of acts of mercy, health and safety consistent with BLM policy.


   4      SPECIFIC SERVICES

       A. Handling and Gathering

          1. When animals are transported to the facility, they will normally arrive at the site in
             trailer loads of approximately 32-36 head per load. The contractor will provide a
             telephone number where they can be reached 24 hours per day for scheduling
             shipments. BLM will attempt to schedule shipments for daytime arrival. Horses
             shall be unloaded as reasonable as possible.                                    The
             contractor will unload, sort by age, and condition, if determined to be appropriate by
             the Contracting Officer’s Representative (COR) and/or the Project Inspector (PI), into
             various groups.

          2. Animal handling will be done with the goal of minimizing fear, stress and the risk of
             injury to the greatest degree possible using pressure and release methods to use move,
             sort and load animals. Horses in corrals and        chutes shall be worked to minimize
             excitement of the horses to prevent injuries from crowding or trampling.

          3. Gathering or movement of horses between pastures may be done by the contractor,
             except in emergency situations, when the contractor determines an immediate gather
             or movement is necessary for the safety and welfare of the horses. The contractor
             shall notify the COR and/or PI within 24 hours after such movement. Handling of the
             horses will be kept to a minimum. However, it may be necessary to move the horses
             from one pasture to another because of range management practices.

          4. Gathering for the purpose of removing animals will be conducted when it is deemed
             necessary by the COR/PI. The gather time will be determined by the COR and/or PI.
             A BLM designated representative will be on site during the gather. The gather will
             be conducted in a humane manner. Horses will be maintained in a corral area or
             small holding pasture with sufficient feed and water to maintain proper body
             condition, until notified by the COR and/or PI for shipment. Contractor will provide
             sufficient labor and facilities to move and sort horses during holding prior to
             shipment.

          5. The contractor will be notified by the COR and/or PI a minimum of two weeks prior
             to gathering of the animals. The COR and/or PI will notify the contractor of the
             number of animals that need to be gathered, prepared and shipped.

          6. When necessary, euthanasia for reasons related to acts of mercy, health and safety




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            will be performed in a timely and humane manner in accordance with BLM policy.

      B. Corral/Alleyways/Holding Facility

         1. Corrals and alleys may be permanent or temporary (portable panels). It is anticipated
            that the corrals will be used to receive, hold, gather, ship and prepare horses. The
            corrals must be at least 72" high and made of stoutly constructed material i.e. pipe,
            steel, lumber, etc. No barbed wire will be allowed in the construction of corrals and
            any corral constructed of mesh wire (openings no larger than 2 by 4 inches) must be
            equipped with at least 3 wood sight boards (2 by 8 inches) . The three sight boards
            shall be spaced no more than 12 inches apart. Corrals constructed of pipe or wood
            must have openings of not more than 12 inches between horizontal members.
            Corrals, alleys and holding areas need to be free of protrusions, and hazards. Corral
            gates shall be constructed of wood or pipe the same height as the fences. Gates shall
            be visible to the horses either from the materials used in construction or by using
            materials such as plywood or plastic mesh placed on the gates. The contractor will
            furnish a stable area (concrete or gravel) to place a hydraulic “Tip Chute” provided by
            the Bureau. Electricity (120 volts) must be available to run the hydraulic squeeze
            chute.

         2. A minimum of three sorting corrals, each with a minimum of 2,500 square feet,
            which would be used for holding horses for short term (up to five days prior to
            shipment). Additional pasture/trap/drylot space shall be available for close up holding
            of 20% of the animals under contract.

         3. Soil types in corrals/pens must be well drained and non-alkaline in nature. Slopes
            within the pens shall provide for adequate drainage.

         4. At least two or more small pastures to maintain approximately 100 wild horses prior
            to shipment (30 days or more) will be necessary. These pastures need to be
            accessible to the working corral, and constructed to have fencing to hold foals if
            needed during the weaning process. Fencing must be constructed of small wire mesh,
            low to the ground to prevent a foal from going under the fencing.

         5. For small pastures/traps/drylots, described under (4) above, water will be available at
            all times for animals being maintained therein.

         6. All newly received animals should be held and fed for a minimum of two weeks
            before being turned out into larger pastures to acclimate the horses to the feed truck
            and the fences. If any newly arrived horse(s) are still wearing a neck rope, animals
            will need to be sorted off and neck ropes removed prior to turnout into larger
            pastures. COR/PI shall be notified if any horses have neck ropes upon arrival.

         7. All foals born at the facility must be gathered from the pastures and made available
            upon BLM request. Shipment of foals would occur within 12 months, but not before
            4 months of age.




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         8. Adequate chutes and crowding alleys are required to facilitate gathering, preparing,
            and shipping animals.

         9. The runway must have solid sides, have at least three sliding gates, be solidly
            constructed of steel or lumber, be at least 36' in length, 28-32" wide, and at least
            72"tall.

      C. Unloading and Working Facility -The facility shall have a loading and unloading chute,
         sufficient to safely unload and load semi-trailer trucks and small stock trailers. Chutes
         shall have solid sides which restrict the animal’s vision and will minimize the risk that
         animals may attempt to jump out of the chute. Width of the chute must be at least 32
         inches. If chute has brace bar(s) between the two sides, across the top, there must be a
         72” minimum head clearance. Fences, in the working area shall be at a minimum of 72
         inches high, stoutly constructed and made of lumber, pipe, or steel.

      D. Fences - Perimeter fences shall be at least four strands and a minimum of 48" in height
         and completely enclose the facility and shall be of barbed wire. All division fences shall
         consist of four strands of barbed wire or other acceptable fencing materials. If determined
         by the COR and/or PI, it may be necessary for the contractor to flag certain fences with
         eight (8) inches of flagging attached to the top horizontal member of the fence every 20
         feet to make the fences more visible to the horses (or native wildlife). In some areas,
         wildlife-friendly fences will need to be constructed (these may include raising the bottom
         wire from 16-18” off the ground; use of a white resin coated top wire, use of smooth (as
         compared to barbed wire) at key wildlife crossings; the use of extensive flagging or
         attaching a piece of white PVC pipe to the top wire to increase visibility; or the
         construction of gates or sections of let-down fence at key wildlife crossings and opening
         or letting down these sections when horses are not grazing in the pasture. The need for
         modification of any existing fences or the construction of any new fences to meet
         wildlife-friendly guidelines will be identified as mitigation during the BLM’s EA
         process. The one constant is that the height of the perimeter fencing will not be any
         lower than 48”. Gates, rather than cattle guards, should be used at all road crossings or
         fence openings to keep horses in pastures.

      E. Pastures

          1. The facility shall have sufficient land and forage to sustain a minimum of 200 up to a
             maximum of 5000 depending on the offeror’s proposal) wild horses year round. The
             pastures must have sufficient rock and soil types to maintain proper hoof size and
             shape to maintain horse’s hooves in good shape without the need for trimming.

             a. The offered private lands must be either: (1) privately owned by the offeror; or (2)
                controlled by the offeror for a period of no less than the contract period applied
                for under this solicitation.




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                The offered lands cannot include unfenced public lands (e.g., no National Forest
                or BLM lands may be included). If any unfenced public lands are located within
                the privately owned or controlled land, the public lands must be fenced out using
                the fence specifications outlined in item d above, and will not be used in the
                BLM’s calculation of the carrying capacity.

                The offered private lands must be located at least 10 miles away from any BLM
                wild horse and burro herd area, herd management area or Forest Service Wild
                Horse and Burro Territory. It is the responsibility of the offeror to verify that
                offered lands meet this requirement. Information on the location of BLM Wild
                Horse and Burro Herd Management Areas, Herd Areas and/or Forest Service
                Wild Horse and Burro Territory can be obtained by the Forest Service office or,
                for BLM land, by the BLM local office or the Wild Horse and Burro web site
                (www.wildhorseandburro.blm.gov.)

             b. Pastures or combination of pastures shall be of sufficient size to allow horse’s
                freedom of movement and the ability to exercise for good health, natural hoof
                trimming and to continue their free-roaming behavior. Pastures shall be
                contiguous. Pastures shall be free of hazards such as unfenced graveled or paved
                public highways, junk, old spools of wire or other stored fencing materials, old
                cars, etc.

         2. Sufficient land and forage shall be made available for the number of horses
            maintained. However, as the herd is reduced by mortality or removal, pastures may
            be converted to domestic livestock use by the contractor, provided the use does not
            interfere with the wild horses. Stocking domestic horses adjacent to or with the wild
            horses is not allowed or acceptable.

         3. The available standing vegetation in pastures must be of sufficient nutritive quality
            and quantity to maintain the horses in good condition yearlong, with supplemental
            feeding as described in paragraph g, below. Good condition is described as follows:
            ribs cannot be visually distinguished, but can be easily felt; backbone is not visible;
            hip bones do not show; withers are distinguishable but do not protrude; shoulders and
            neck blend smoothly into the body. Animal body condition should be consistent with
            animal’s age and health.

         4. The stocking rate for the site shall be adjusted as necessary to assure horses are
            maintained in good condition, as described above.

         5. Shelter from the natural elements shall be provided in each pasture by the topography
            (e.g., canyons, hills, etc.), other natural features such as trees, or manmade structures.
            The offered lands cannot have a tree canopy cover that prevents desirable forage
            species from growing or a canopy cover which prevents the Contractor and the BLM
            from obtaining an accurate monthly inventory of horses at the facility.

      F. Vegetation monitoring will be done by qualified BLM personnel. If vegetation




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         utilization exceeds the moderate level(41-60% use), changes may need to be made so
         land health standards are maintained.

      G. Supplemental Feed

         Supplemental feed shall be available at the site to feed horses when natural forage
         quantity or nutritional value is low. When hay is used, animals shall be fed long
         stemmed alfalfa, grass, grass-alfalfa mix or other supplements, with energy and protein
         sufficient to meet the nutritional needs of the animals. Hay used shall be leafy, green,
         well cured, and free of dust, mold, weeds and foreign material. The amount of hay fed
         may need to be 2-3% of their body weight depending on the amount of forage available
         and other supplemental feeds used as needed to maintain the animals in good
         condition. If animals begin to show poor body condition, specific feeding practices will
         be developed in consultation with the COR/PI. Inclement weather will stress animals,
         requiring that the volume of feed be increased to maintain good body condition. Feed
         shall be provided to the animals in a clean, well-drained area free of mud or standing
         water.

         For animals maintained in corrals or small pastures access to water will be continuous,
         and checked or topped off twice each day, feed will be provided continuously or twice
         daily.

         During times that natural forage will not maintain animals in good condition, typically
         during the dormant period (November 15 through March 15), the Contractor will
         supplement animals depending on location and weather. The contractor shall coordinate
         with the COR/PI as to when supplementation during the dormant period occurs as well as
         during adverse acts of mother nature.

         Funding for additional supplemental feed beyond 120 day period, will only be provided
         to the contractor after consultation (i.e. site visit) with the COR/PI and approval of the
         CO, and it is deemed necessary due to extenuating circumstances such as a recognized
         emergency or disaster (ie. Flood, fire, blizzard or drought).

      H. Water, Minerals, and Salt

         1. Each pasture shall have reliable water sources capable of supplying a continuous
            supply of clean water to horses daily. The maximum distance to water in any pasture
            shall be 4 miles.

         2. Granulated, rock, or block salt shall be accessible to all horses in each pasture.

         3. Minerals necessary to maintain the horses in good condition and that are deficient in
            the available forage in the pasture shall be provided to all horses in each pasture,
            either as a supplement or added to the salt.

      I. Deaths and Disposal of Remains- Dead horses shall be identified by freeze number and




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         physical description to the extent possible, and disposed of in accordance with State
         and/or local sanitation laws. Rendering plants may be used for carcass disposal provided
         no compensation is received by any agency or individual disposing of the remains.
         The contractor shall notify the COR and/or PI, or designated representative immediately
         if the death of a horse is suspicious and it appears that a postmortem examination should
         be performed by a veterinarian. The COR and/or PI shall hire a veterinarian and make
         the arrangements for this procedure.

      J. Observation of Horses- Wild horses shall be observed by the contractor at a minimum of
         one (1) time per week, to determine the overall condition of the animals, and any deaths.
         Observation will be conducted more frequently when conditions warrant; such as extreme
         weather (i.e., flooding, tornados, following blizzards) during fire season or escaped
         animals, to ascertain their safety and wellbeing and assure that fences are properly
         maintained. Except in emergency situations, observations shall be carried out on foot,
         from a vehicle, or horseback. In unusual situations, such as deep snow, etc., which make
         ground transportation impractical, aircraft may be used, with the prior approval of the
         COR and/or PI. Prior to submission of the monthly invoice the contractor will conduct a
         complete inventory of all wild horses. Records that document, as a minimum, the date of
         the observation, number and condition of the horses, problems and concerns of the
         observer, and the name(s) of individual(s) making the observation shall be maintained
         and sent to the COR every month along with the monthly invoice and death record. Any
         problems or concerns shall be reported to the COR and/or PI within 24 hours of
         discovery.

      K. Access to the Facility- Access to the unloading and loading chute shall accommodate
         both trucks with stock trailers and semi-trucks. Access shall be available during
         inclement weather.

      L. Observation for the Public - The site is not intended to be a public viewing area.
         Therefore, the contractor will restrict or prohibit access onto the site by the general
         public. The BLM may require access for the public and/or media tours hosted by BLM
         staff and the Contractor during the life of the contract.

         1. The contractor shall notify the COR and/or PI within 24 hours of any request from
             humane organizations, general public, media or wild horse interest groups, to observe
             the horses.

         2. All request from organizations and groups may be allowed to tour the site only under
             the approval and guidance of the COR and/or PI.

         3. All requests to view the animals shall be directed to the COR and/or PI.

      M. Records - An inventory that identifies all horses delivered to the site shall be kept at the
         facility. A record shall be kept on the location (pasture) each horse occupies. Each horse
         will be identified with a 4-digit freeze number on the hip, along with an angle freeze
         mark on the left side of the neck. Horses that die shall be identified as soon as possible




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          and noted on the monthly inventory. Probable cause of death shall also be noted. All
          records will be e-mailed to the COR the first week of every month, detailing the previous
          months information.

   5      RESPONSIBILITES OF BLM

       A. Veterinary Care - The BLM will provide and pay for a veterinarian to treat sick or injured
          horses, as deemed necessary by the COR and/or PI. The veterinarian may be used to
          perform euthanasia on horses and conduct postmortem examinations as requested by the
          COR and/or PI consistent with BLM policy for reasons related to acts of mercy, health
          and safety. The contractor shall gather and hold such animals and assist the veterinarian
          if necessary.

       B. All pre-conditioning (vaccinations, de-worming, blood testing) and preparation for
          shipment of horses will be conducted by the BLM with assistance from the contractor.

       C. BLM will conduct periodic inspections throughout the year including an annual count to
          assess current inventory and overall horse health.

       D. Working of Horses - The BLM will provide the hydraulic “tip” chute, to work horses to
          be shipped from the facility. This may also be used to work horses in case of an outbreak
          of disease. The panels and chute will be in the working corral area of the facility, and be
          able to tie into the loading chute area.




                                                                                        BLM_002268
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                                                                   BLM_002269
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    From:              McElroy, Sarah
    To:                Stevenson, Brent A
    Cc:                Richey, Christopher W; Waddell, Holle
    Subject:           Re: Payment Discussion
    Date:              Friday, June 1, 2018 3:28:04 PM
    Importance:        High


    Brent,
    ​Thank you for you email. The ​inter-Agency Agreement ​ can be part of the discussion
     on Friday.I will extend a calendar invite to Christopher.


    Sarah A McElroy
    Program Management Analyst
    BLM - Division of Wild Horses and Burros WO262
    (405) 579-1864




    On Fri, Jun 1, 2018 at 3:09 PM, Stevenson, Brent <brent_stevenson@ibc.doi.gov> wrote:
     Hi Chris - I have been working with Holle and Sarah on some questions they have with their
     program. These programs are managed by BLM, but the 'Save the Mustangs' program was
     recorded in DO's instance of FBMS in the following LOA ( XXXD8369DT, DS69200000
      ,DDTSM0000.000000). Here are the questions:

      1) In the Save the Mustangs account which is in DO's instance of FBMS, they would like to use the money in
      there to fund the new incentive program for adopting wild horses. However, that new incentive program may be
      in BLM's instance of FBMS as Holle indicated it may need to go into fund center LLWO260000. Question is how
      would this work if they are spending the money in BLM's instance of FBMS and the money to fund the program
      is in DO's instance of FBMS? Is it an option to set up the disbursements for the incentive program in DO's
      instance of FBMS as well? I am not sure how the relationship works between DO-BLM with the initial decision
      on Save the Mustangs, so thought I would ask what the possibilities are...

      2) How operationally will this work for payments to be made to individuals who are in the adoption incentive
      program? This is more of a question for accounting ops in either BLM or DO depending on where this activity
      ends up getting disbursed (based on question #1 above). Just didn't want to lose sight of this issue.

      Any thoughts on this? Determining how we deal with question #1 will help us overcome question #2....

      Sarah - If you did want IBC to perform this work and it ended up being in the BLM instance of FBMS, we would
      have to talk about getting our folks access to FBMS and doing an Inter-Agency Agreement to perform the work.
      Can cross that bridge depending on what guidance Chris can provide to us.

      Thank you!


      Brent Stevenson, CPA
      Chief, Accounting Operations Services Division
      Financial Management Directorate
      Interior Business Center
      303-969-5416 (Office)



                                                                                                       BLM_002270
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     720-602-5722 (Cell)
     brent_stevenson@ibc.doi.gov
     U.S. Department of the Interior
     Office of the Secretary
     www.ibc.doi.gov

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     Our Focus: You

     ---------- Forwarded message ----------
     From: McElroy, Sarah <smcelroy@blm.gov>
     Date: Fri, Jun 1, 2018 at 12:23 PM
     Subject: Re: Payment Discussion
     To: "Stevenson, Brent" <brent_stevenson@ibc.doi.gov>
     Cc: Holle Hooks <hwaddell@blm.gov>



     Brent,

     One of the projects I have been working on is how can we spend/have access to the money
     from the Save the Mustang account. I am not sure if the program is thinking of using that
     money for the incentive program or not but any information or guidance you have on how we
     can gain access would be helpful.
     I will reach out to BLM folks that process vendor/commercial payments. However, I would
     like to continue the conversation as it might be useful for us to set up an account with IBC for
     the sole purpose of the intensive program. I am a little unsure myself to what might be the
     best approach.

     Thank you,


     Sarah A McElroy
     Program Management Analyst
     BLM - Division of Wild Horses and Burros WO262
     (405) 579-1864




     On Fri, Jun 1, 2018 at 10:49 AM, Stevenson, Brent <brent_stevenson@ibc.doi.gov> wrote:
      I believe with that fund center (beginning with 'LL') indicates that it is a BLM fund center
      and that would fall under the BLM instance of FBMS (and IBC does not have any access
      to that). I believe it is a different program, but the save the mustangs program is under DO
      (Departmental Offices) where we do input the collections and it has a fund center of
       DS69200000 where we post those collections. The 'DS' fund center indicates it is within DO's instance of
       FBMS.




                                                                                                      BLM_002271
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       Based on that, I think you may need to get with the BLM folks that process vendor/commercial payments to
       go through the process...let me know what you think or if I may have missed anything.

       Thank you,


       Brent Stevenson, CPA
       Chief, Accounting Operations Services Division
       Financial Management Directorate
       Interior Business Center
       303-969-5416 (Office)
       720-602-5722 (Cell)
       brent_stevenson@ibc.doi.gov
       U.S. Department of the Interior
       Office of the Secretary
       www.ibc.doi.gov

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       On Fri, Jun 1, 2018 at 8:44 AM, Holle Waddell <hwaddell@blm.gov> wrote:
        LLWO260000

         Sent from my iPhone

         On Jun 1, 2018, at 9:37 AM, Stevenson, Brent <brent_stevenson@ibc.doi.gov> wrote:


                Do either of you happen to have the cost center/fund center that you operate
                out of in Departmental Offices' instance of FBMS?

                Thanks!

                Brent Stevenson, CPA
                Chief, Accounting Operations Services Division
                Financial Management Directorate
                Interior Business Center
                303-969-5416 (Office)
                720-602-5722 (Cell)
                brent_stevenson@ibc.doi.gov
                U.S. Department of the Interior
                Office of the Secretary
                www.ibc.doi.gov

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                On Fri, Jun 1, 2018 at 6:54 AM, Stevenson, Brent
                <brent_stevenson@ibc.doi.gov> wrote:
                 Thanks, Sarah...let's try Wednesday at 4:30PM EST to touch base.

                    Thank you!


                                                                                                   BLM_002272
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               Brent Stevenson, CPA
               Chief, Accounting Operations Services Division
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               303-969-5416 (Office)
               720-602-5722 (Cell)
               brent_stevenson@ibc.doi.gov
               U.S. Department of the Interior
               Office of the Secretary
               www.ibc.doi.gov

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               On Fri, Jun 1, 2018 at 6:51 AM, McElroy, Sarah <smcelroy@blm.gov>
               wrote:
                Good Morning,

                Looking at everyone's schedule it looks like Wednesday after
                4:00 pm eastern time will work or Friday after 1:00 pm. Brent do
                you have a preference? Let me know.

                Thank you,


                Sarah A McElroy
                Program Management Analyst
                BLM - Division of Wild Horses and Burros WO262
                (405) 579-1864




                On Fri, Jun 1, 2018 at 6:54 AM, Stevenson, Brent
                <brent_stevenson@ibc.doi.gov> wrote:
                 Good morning Sarah - I will be TDY next to DC so only have the
                 availability that I noted below to Holle Monday-Thursday. Outside of
                 that, I could meet on Friday. I am planning on talking to our Vendor
                 Payments Branch Chief today to get some more information on
                 options.

                  Thank you,

                  Brent Stevenson, CPA
                  Chief, Accounting Operations Services Division
                  Financial Management Directorate
                  Interior Business Center



                                                                                BLM_002273
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                  303-969-5416 (Office)
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                  brent_stevenson@ibc.doi.gov
                  U.S. Department of the Interior
                  Office of the Secretary
                  www.ibc.doi.gov

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                  On Fri, Jun 1, 2018 at 1:40 AM, Waddell, Holle
                  <hwaddell@blm.gov> wrote:
                   Thank you Brent for returning my call as well as your
                   willingness to assist in the implementation of the adoption
                   incentive program. I am unsure of availability next week as
                   there are a few things up in the air however please work with
                   Sarah, cc'd here, on finding a time to meet sometime next
                   week with the Division Chief and myself.

                    Thank you,

                    Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

                    Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) |
                    hwaddell@blm.gov

                    ​
                    "A positive outlook, regardless of how bleak the circumstances may look, is a
                    CHOICE. Each day, start by shifting your thoughts to develop and demonstrate an
                    internal gratitude for all blessings you have. When you shift your thoughts, your
                    actions will follow suit and you will begin to create the reality you desire." - Cheryl
                    Wood



                    On Thu, May 31, 2018 at 3:33 PM, Stevenson, Brent
                    <brent_stevenson@ibc.doi.gov> wrote:
                     Hi Holle - Good talking with you this afternoon. Per our
                     conversation, I will talk with our Vendor Payments Branch Chief
                     on some possibilities with the incentive program you described.

                        Also, I will be TDY next week and will be in the MIB on 6/5 for
                        IBC's DOI Customer Day. It is scheduled to run from 2PM-5PM.
                        I have noon-1PM available before I need to set up (and have
                        meetings prior to that). I will also be back at the MIB around
                        4PM on 6/6 after some meetings in Reston earlier that day. If it
                        works out to talk while I'm in town, we can certainly try and get
                        together.

                        Thank you!




                                                                                                    BLM_002274
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                     Brent Stevenson, CPA
                     Chief, Accounting Operations Services Division
                     Financial Management Directorate
                     Interior Business Center
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                     brent_stevenson@ibc.doi.gov
                     U.S. Department of the Interior
                     Office of the Secretary
                     www.ibc.doi.gov

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                                                                      BLM_002275
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    From:                Google Calendar on behalf of Waddell, Holle
    To:                  Leonard, Stephen P; Johnson, Krystal F; Frost, Scarlett H; Kueck, Meredith A; Roberson, Peter (PJ) L; Fontaine,
                         Kristen A; Reid, Lisa; Rittenhouse, Bruce H; Tiel-Nelson, Heather J; Neill, John J; Fluer, Scott L; Spencer, Sally J;
                         Todd, Marci L; Lockie, Grant E; Waddell, Holle; dacollin@blm.gov
    Subject:             PCPT: Adoption Incentive Program
    Date:                Tuesday, June 5, 2018 9:34:52 AM
    Importance:          High




    Hello all - Below is the language from the Options Paper submitted to Congress in April:
    Adoption Incentive Program: To increase the number of animals placed into private care, one
    of the options presented in this report assumes that an incentive program will be developed to
    offer private care providers $1,000 at the point of adoption, with proper controls. This will
    allow adopters to help defray expenses for care and training of adopted animals, and will
    increase the chances that the animals remain in private care for the rest of their lives. This
    investment would save money for the taxpayer and the BLM program in the first year of
    implementation alone. For instance, if that same adopted animal were instead held in a short-
    term holding facility, it would have cost the United States $1,000 after only 200 days in
    captivity. Over a period of 25 years, holding that same animal in an off-range corral would
    have cost the taxpayers nearly $46,000.

     PCPT: Adoption Incentive Program



            •   Initial Overview of Task
            •   Timeline
            •   Availability/Calendar for month of June
            •   Review Previous Work



     When            Tue Jun 5, 2018 10am – 11am Central Time

     Where           Conference Line: 877.973.6205 Passcode: 9821164# (map)

     Video call      https://hangouts.google.com/hangouts/_/doi.gov/hwaddell

     Who             •   hwaddell@blm.gov - organizer
                     •   sspencer@blm.gov
                     •   dacollin@blm.gov
                     •   sleonard@blm.gov
                     •   glockie@blm.gov
                     •   hnelson@blm.gov
                     •   kfjohnso@blm.gov
                     •   mkueck@blm.gov
                     •   lreid@blm.gov
                     •   proberson@blm.gov
                     •   jneill@blm.gov
                     •   kfontaine@blm.gov
                     •   sfluer@blm.gov
                     •   sfrost@blm.gov
                     •   m1todd@blm.gov - optional




                                                                                                                              BLM_002276
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             • brittenh@blm.gov - optional




                                                                   BLM_002277
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    From:                Johnson, Krystal F
    To:                  Waddell, Holle; Kueck, Meredith A
    Subject:             Re: PCPT: Adoption Incentive Program
    Date:                Tuesday, June 5, 2018 11:07:12 AM
    Importance:          High


    Hey ladies,

    What about a WHBPS enhancement to include a drop down when entering the PMACA to
    select if the adopter will recieve or has received the incentive? Then in theory you could pull a
    report in OBIEE that identifies those PMACAs and also tie it into any compliance status and
    any returned or relinquished actions.



    On Tue, Jun 5, 2018 at 10:34 AM, <hwaddell@blm.gov> wrote:

      Hello all - Below is the language from the Options Paper submitted to Congress in April:
      Adoption Incentive Program: To increase the number of animals placed into private care,
      one of the options presented in this report assumes that an incentive program will be
      developed to offer private care providers $1,000 at the point of adoption, with proper
      controls. This will allow adopters to help defray expenses for care and training of adopted
      animals, and will increase the chances that the animals remain in private care for the rest of
      their lives. This investment would save money for the taxpayer and the BLM program in the
      first year of implementation alone. For instance, if that same adopted animal were instead
      held in a short-term holding facility, it would have cost the United States $1,000 after only
      200 days in captivity. Over a period of 25 years, holding that same animal in an off-range
      corral would have cost the taxpayers nearly $46,000.

       PCPT: Adoption Incentive Program



            •   Initial Overview of Task
            •   Timeline
            •   Availability/Calendar for month of June
            •   Review Previous Work


       When          Tue Jun 5, 2018 10am – 11am Central Time

       Where         Conference Line: 877.973.6205 Passcode: 9821164# (map)
       Video call    https://hangouts.google.com/hangouts/_/doi.gov/hwaddell

       Who           •    hwaddell@blm.gov - organizer
                     •    sspencer@blm.gov
                     •    dacollin@blm.gov
                     •    sleonard@blm.gov
                     •    glockie@blm.gov
                     •    hnelson@blm.gov
                     •    kfjohnso@blm.gov
                     •    mkueck@blm.gov



                                                                                         BLM_002278
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                      •   lreid@blm.gov
                      •   proberson@blm.gov
                      •   jneill@blm.gov
                      •   kfontaine@blm.gov
                      •   sfluer@blm.gov
                      •   sfrost@blm.gov
                      •   m1todd@blm.gov - optional
                      •   brittenh@blm.gov - optional




    --

    ~Krystal
    Krystal Johnson

    Wild Horse and Burro Specialist/State Program Lead
    Eastern States Office
    20 M Street, SE
    Washington DC 20003

    Office (202) 912-7741
    Cell (202) 329-4728




                                                                   BLM_002279
      BLM_002280
    From:              Lutterman, Jason W
    To:                Waddell, Holle
    Subject:           Re: Summary of Adoption Incentive Program
    Date:              Tuesday, June 5, 2018 6:11:35 PM
    Importance:        High
    My suggested edits. Call me if you want to discuss. I'm not a fan of the name of the program
    (especially since the incentive is available when purchasing animals too, right?)
    The purpose of the Adoption Incentive Program (AIP) is to encourage more adoptions and sales of
    excess animals by providing a financial incentive to help defray initial ownership costs, such as veterinary
    care, feed and training. Increasing the placement of animals into private care is a critical priority of the
    program and of upmost interest to BLM due to the costs associated with caring for unadopted/unsold
    animals in BLM corrals and pastures. Costs savings may be utilized for other management operations,
    such as gathers.
    --
    Jason Lutterman
    Public Affairs Specialist (On Range)
    National Wild Horse and Burro Program
    Bureau of Land Management
    Office: (775) 861-6614
    Mobile: (202) 304-0967
    Visit us online:
    www.BLM.gov/WHB
    On Tue, Jun 5, 2018 at 4:02 PM Waddell, Holle <hwaddell@blm.gov> wrote:
     Purpose
     The purpose of the Adoption Incentive Program (AIP) is to encourage, motivate and
     invest in the animals and adopters while increasing the number of animals placed
     into private care. Placing animals into private care is a vital component of the
     program as well as BLM due to the costs savings from caring for animals in corrals
     and pastures. These costs savings may be diverted to other critical operations and
     aspects of managing our wild horses and burros. The BLM is offering an incentive
     fee to assist with the care, feed and, training skills of the adopted animals.
      Thank you,
      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |
      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
      I]
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    From:          Prendergast (Kim). Kimberly N
    To:            Waddell. Holle
    Subject:       Re: Follow-up: Adopt ion Incent ive Program Payment Discussion
    Date:          Thursday, June 7, 2018 8:48:09 AM
    Importance:    High


    Good morning Holle, thanks for the summa1y. Can you confmn who your Solicitor POCs
    were from General Law, etc? Also, have you been in contact with the BLM Budget Office
    regarding this initiative/pilot?
    I will be in touch on next steps ...



    On Wed, Jun 6, 2018 at 6:54 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
     First, I'd like to than k you all for joining the call and your willingness to assist the
     program in finding a solution and a path forward to offer adoption incentive fee
     payments to the public (adopters) in an effort to increase the private care placement
     of wild horses and burros. Increasing the placement of animals into private care is a
     critical priority of the program and of utmost interest to SLM due to the costs
     associated with caring for unadopted/unsold animals in SLM corrals and pastures.
     Costs savings may be utilized for other management operations, such as gathers.
     As discussed, I've compi led thoughts and opinions from our solicitors regard ing
     adoption incentive for untrained and trained animals:

      The adoption/training incentive question, is really subsidiary to the general adoption
      incentive question. I.e., provided that BLM has authority to incentivize adoption laa
      the New Mexico ilot then it follows that BLM has authorit to incentivize ado tion
      with trainin .


    Scenario 1
      BLM and its Wild Horse Advisory Board have discussed a potential pilot program
      whereby a wild horse adopter would be eligible for a cash incentive if it takes an
      ungentled wild animal, trains that animal to enhance its value then allows BLM to
      subse uentl ado t or sell that animal to a third art .




                                                                                    BLM_002281
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      I look fo1ward to hearing from for next steps.

      Thank you,

                      I                I
      Holle' Waddell Branch Chief Division of Wild Horses and Burros            I
                                       I                     I
      Bureau of Land Management 405.579.1860 (0) 405.579.7102 (F) hwaddeU@b!m gov   I
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, sta1t by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Che1yl Wood
      [I]


    R, Kim Prendergast
    U.S. Department of the Interior
    Division of Budget Administration and Departmental Management
    1849 C Street, NW, Room 4127
    Washington, DC 20240
    Phone: 202-208-6443
    Email: Kim Prendergast@ios doj gov
    We appreciate your feedback. Tell us what you think here, and respond to our survey. If you have trouble
    accessing the survey, please paste the following link into your browser:

    https:/ldocs.9009/e.com/a/ios.doi.9ov/forms/d/12k5bgm01hs7a H5rGqoMfhFWGc8XV2GoP OLA lf9i J 4
    lviewform.




                                                                                                          BLM_002282
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    From:              Roberson, Peter (PJ) L
    To:                Waddell, Holle
    Subject:           Re: Adoption Incentive Program DRAFT
    Date:              Friday, June 8, 2018 10:15:58 AM
    Attachments:       Adoption Incentive Agreement.docx
    Importance:        High


    Good Morning Holle,

    Attached is the revised document

    Thank You

    On Fri, Jun 8, 2018 at 2:28 AM, Waddell, Holle <hwaddell@blm.gov> wrote:
     PJ - As discussed yesterday, attached is the incentive program draft for the team to
     review and edit during Tuesday's meeting. Give me a call in the am. I am hoping
     you have had time to pull things together and prior to getting on the road.
      Thank you,

      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
      I]


    --
    Best Regards,
    PJ Roberson
    Program Administrator
    Bureau of Land Management - Wild Horse & Burro Program
    Office: (405) 579-1863
    201 Stephenson Parkway Suite 1200 Norman, OK 73109
    proberson@blm.gov

    "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
    Gawande




                                                                                                          BLM_002283
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                               Adoption Incentive Agreement
Adopter Information
First Name:                                    Middle Name:                          Last Name:




Address:                                          City                                        State:



Zip Code:                                     Email Address:



Financial Institution Name:                                    Primary Account Holder Name:



                                            Select account for Incentive deposit:

     Account Type                       Routing Number                                            Account Number



    □ Checking

     □ Savings
                                          Terms and Conditions:
 Initial: ________ I _____________________ (Print Name) hearby……….

                  I hereby authorize the Department of Interior- Bureau of Land Management to initiate automatic deposits/
Initial: ________ and debits to my account at the financial institution listed above.

                  This agreement will remain in effect until DOI-BLM receives written notice of cancellation from me or my
Initial: ________ financial institution, or until I submit a new direct deposit form.

                  Under penalty of prosecution for violating 18 U.S.C. 1001, which makes it a Federal crime to make false
                  statements to any agency of the United States, I hereby certify that I will provide humane care for any
                  animals that I adopt and will not sell or transfer ownership of them to any person or organization that
Initial: ________ intends to resell, trade, or give away such animals for slaughter or processing into commercial products.

                  The BLM will use this information to process your agreement for private maintenance and care of wild
                  horses or burros. BLM will use your driver’s license and social security numbers for debt collection
Initial: ________ purposes under the authority of the Debt Collection Improvement Act, 31 U.S.C. 7701.


 Full Name (Print): ____________________________________________

 Signature: __________________________________________________

 Date: ______________________________




                                                                                                         BLM_002284
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    From:            Roberson, Peter (PJ) L
    To:              Waddell, Holle; Tiel-Nelson, Heather J; Johnson, Krystal F; Reid, Lisa; Lockie, Grant E; Kueck, Meredith A; Fluer,
                     Scott L; Deborah Collins; Neill, John J; Frost, Scarlett H; Fontaine, Kristen A; Spencer, Sally J; Todd, Marci L;
                     Rittenhouse, Bruce H; Leonard, Stephen P
    Subject:         PCPT- Draft Adoption Incentive Agreement
    Date:            Monday, June 11, 2018 9:41:18 AM
    Attachments:     Adoption Incentive Agreement.docx


    Good Morning Team,

    Attached is the draft "Adoption Incentive Agreement" for your review. Please make
    revisions/comments and be prepared to discuss on tomorrow's PCPT call.

    Best Regards,
    PJ Roberson
    Program Administrator
    Bureau of Land Management - Wild Horse & Burro Program
    Office: (405) 579-1863
    201 Stephenson Parkway Suite 1200 Norman, OK 73109
    proberson@blm.gov

    "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
    Gawande




                                                                                                                       BLM_002285
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                                 Adoption Incentive Agreement
Adopter Information
First Name:                                    Middle Name:                          Last Name:




Address:                                          City                                        State:



Zip Code:                                     Email Address:



Financial Institution Name:                                    Primary Account Holder Name:



                                            Select account for Incentive deposit:

     Account Type                        Routing Number                                           Account Number



    □ Checking

    □ Savings

                                          Terms and Conditions:
                      I _____________________ (Print Name) hearby……….

                  I hereby authorize the Department of Interior- Bureau of Land Management to initiate automatic deposits/
Initial: ________ and debits to my account at the financial institution listed above.

                  This agreement will remain in effect until DOI-BLM receives written notice of cancellation from me or my
Initial: ________ financial institution, or until I submit a new direct deposit form.

                  Under penalty of prosecution for violating 18 U.S.C. 1001, which makes it a Federal crime to make false
                  statements to any agency of the United States, I hereby certify that I will provide humane care for any
                  animals that I adopt and will not sell or transfer ownership of them to any person or organization that
Initial: ________ intends to resell, trade, or give away such animals for slaughter or processing into commercial products.

                  The BLM will use this information to process your agreement for private maintenance and care of wild
                  horses or burros. BLM will use your driver’s license and social security numbers for debt collection
Initial: ________ purposes under the authority of the Debt Collection Improvement Act, 31 U.S.C. 7701.




 Full Name (Print): ____________________________________________

 Signature: __________________________________________________

 Date: ______________________________




                                                                                                         BLM_002286
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    From:            Roberson, Peter (PJ) L
    To:              Waddell, Holle; Tiel-Nelson, Heather J; Johnson, Krystal F; Reid, Lisa; Lockie, Grant E; Kueck, Meredith A; Fluer,
                     Scott L; Deborah Collins; Neill, John J; Frost, Scarlett H; Fontaine, Kristen A; Spencer, Sally J; Todd, Marci L;
                     Rittenhouse, Bruce H; Leonard, Stephen P
    Subject:         Re: PCPT- Draft Adoption Incentive Agreement
    Date:            Monday, June 11, 2018 10:05:54 AM
    Attachments:     Adoption Incentive Program_DRAFT.docx


    Good Morning Team,

    My apologies- In addition please review the attached Adoption Incentive Program draft
    document as well and be prepared to discuss. Both files will be available on the calendar
    invite.

    Thank You

    On Mon, Jun 11, 2018 at 9:41 AM, Roberson, Peter <proberson@blm.gov> wrote:
     Good Morning Team,

      Attached is the draft "Adoption Incentive Agreement" for your review. Please make
      revisions/comments and be prepared to discuss on tomorrow's PCPT call.

      Best Regards,
      PJ Roberson
      Program Administrator
      Bureau of Land Management - Wild Horse & Burro Program
      Office: (405) 579-1863
      201 Stephenson Parkway Suite 1200 Norman, OK 73109
      proberson@blm.gov

      "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
      Gawande




    --
    Best Regards,
    PJ Roberson
    Program Administrator
    Bureau of Land Management - Wild Horse & Burro Program
    Office: (405) 579-1863
    201 Stephenson Parkway Suite 1200 Norman, OK 73109
    proberson@blm.gov

    "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
    Gawande




                                                                                                                       BLM_002287
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    From:             Rittenhouse, Bruce H
    To:               Waddell, Holle; Shepherd, Alan B
    Subject:          Fwd: End of the Week Horse Round-up
    Date:             Tuesday, June 12, 2018 10:55:39 AM
    Attachments:      Advisory Board Nominations Summary.docx
                      Sale Barn Notice_2018.04.27.pdf


    Here is the list of topics that Steve has for a briefing scheduled for next Tuesday. Some of these should
    be really quick while others such as MHF and the emergency/water hauling possibly be stand alone
    briefings but getting on Rich's calendar may tough. Because of that I think we can devote enough time to
    discuss MHF and possibly the emergency/water hauling issue. Additional items I have besides what Steve
    includes is Gather Approval Process; Transfer Program updates. Hopefully I can get regular briefings with
    Rich similar to what Dean/Alan had with Mike Nedd.
    ---------- Forwarded message ----------
    From: Tryon, Steve <stryon@blm.gov>
    Date: Fri, Jun 8, 2018 at 6:15 PM
    Subject: End of the Week Horse Round-up
    To: Richard Cardinale <richard_cardinale@ios.doi.gov>, Brian Steed <bsteed@blm.gov>,
    Michael Nedd <mnedd@blm.gov>
    Cc: Kristin Bail <kbail@blm.gov>, Bruce Rittenhouse <brittenh@blm.gov>, Jeff Brune
    <jbrune@blm.gov>, Jeff Krauss <jkrauss@blm.gov>


    Greetings, all.

    We have not had an opportunity for a face-to-face briefing on the WHB program since May
    15, and there are any number of issues pending that we would like to discuss. Rich, I suggest
    we get on your calendar for some time next week. Several of the items below are being
    reported in the press, and can and will make their way to the Director's office. Also, changes
    to the approved gather schedule are sometimes approved by the DD-Ops, and sometimes made
    at a lower level. We are recommending a change that affects a gather now scheduled to start in
    Wendon, AZ tomorrow morning.

    Pending Items That Merit Discussion at the Director/DD-Ops Level

        •   We should brief Rich on the approved 2018 gather schedule, which at approximately
            10,500 animals, is the most aggressive gather schedule we have run in a decade, with
            attendant outyear costs.
        •   The House Appropriations Committee has opened an investigation of the WHB
            program. Linda Smith and I are listed as the points of contact. This is basically a
            program audit.
        •   We have been working closely with the AZSO on the need to gather burros that have
            wandered first onto private land, and then onto highway 60 and its adjacent right-of-way
            near Wendon, AZ. So far this week, six animals have been hit by a vehicle and died. In
            addition, other animals were herded into a BOR drainage ditch, with the opening then
            sealed with chain link fence. They need to be moved. We have authorized re-allocating
            funding from within amounts previously approved for AZ, and work is going to start on
            gathering up to 60 head beginning tomorrow morning. This is the sort of operational
            detail we would normally run by DD-O first, but 200 has authorized it in this case
            because it is not at all budget affecting and it is desired by the AZSO management team.
            And we haven't been able to get on your schedules this week.
        •   The preliminary list of new WHB Advisory Board members is attached. Normally we



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            would not brief 100 on this until the review team had narrowed the list to three
            recommended, and one or two alternates. But if any of you would like an opportunity to
            weigh in early, we can give you a preliminary briefing any time.
        •   The Huffington Post is getting ready to run a piece on foreign countries' interest in BLM
            mustangs, including Guyana and Russia. Kristin will remember that an entrepreneur
            named Lon Ball told the Adv. Board in Grand Junction last fall that Russia was
            interested in adopting all 45,000 animals then in holding, if only we would cover
            shipping costs. HuffPo may also mention the upcoming adoption incentive.
        •   The USFS-led Cold Creek, NV gather concluded on May 22, with 19 animals either
            euthanized or dead of natural causes. 127 animals were shipped to Ridgecrest, CA. One
            has since been euthanized. This gather is worth an after-action review with 100 as to
            why USFS didn't ask BLM to euthanize more animals. They were leading the charge
            and wanted to bring the animals back to health in a BLM facility, but by BLM policy we
            could have euthanized more animals prior to shipping the remaining condition class 3 or
            greater animals.
        •   The number of burros shot and killed near Beatty, NV topped out at 22, with one of the
            jennies carrying a foal, also deceased. I spoke to Special Agent Chris Allen tonight, and
            the investigation is still open. He told me another two burros were found shot and killed
            in Clark County, NV in the last two weeks. All neck shots. Similar caliber.
        •   We will soon be ready to update Brian on feedback from the states on discontinuing the
            practice of hauling water for horses. All states water, so this would be a change in
            practice that would need to be socialized with the State Directors.
        •   We should probably have a discussion on the meaning of "emergency" in our gather
            priority-setting guidance. Some states interpret a crash in WHB herd health as an
            "emergency." If we are going to discontinue hauling water, we probably ought to couple
            that change with a clarification that declines in horse and burro health do not constitute
            an emergency and should not be the basis of a gather. They could be the basis for
            euthanasia, just not for gathers. These subjects run in tandem because discontinuing
            hauling water will result in more states appealing to the WO for funding for emergency
            gathers, under their current interpretation.
        •   Would like to update you on efforts to place checks and balances on the Mustang
            Heritage Foundation, per discussions with Brian. No issues of public interest, here, just
            making sure we have appropriate fiduciary and program sideboards in place in this
            important partnership.
        •   We can provide an update on changes to the adoption program at any time. Basically we
            are looking to get an IM pulled together by the end of June that: 1) lowers the adoption
            fee from $125 to $25, 2) pays an adoption incentive of $1,000 immediately after
            adoption, 3) pays a second financial incentive of $500 at the time of titling, and 4)
            minimizes compliance costs by placing more of the burden on the adopter working with
            his/her veterinarian and less on a traveling BLM inspector.
        •   We recently OKd the placement of the attached notice in horse sale barns. These are
            sale barns for private horses, but there have been occasions when an animal with a
            freezebrand showed up at a sale barn. If properly titled, this is not a problem. The notice
            tells the barn managers what to do if a U.S. freeze branded horse shows up in their
            facility.

    Steve Tryon
    Deputy Assistant Director, Resources and Planning
    Bureau of Land Management
    1849 C Street, NW
    Room 5654




                                                                                           BLM_002289
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    Washington, DC 20240
    202-208-4896




    --
    Bruce Rittenhouse
    Acting Wild Horse and Burro Division Chief (WO-260)
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    Washington DC 20003
    202-912-7648 (office)
    720-454-5747 (mobile)
    brittenh@blm.gov




                                                                   BLM_002290
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    From:               Lund, Kenneth E (Moved)
    To:                 Carter, David D
    Cc:                 Sarah McElroy; Waddell, Holle; Pagal, Eric V
    Subject:            Re: Convenience Check Writing for WHB Adoption Incentive Payments
    Date:               Thursday, June 14, 2018 3:49:00 PM
    Importance:         High


    Good afternoon David

    Please see Holle's email. There is an initiative to pay incentives to people to adopt horses up to
    $1,500 total. The main question is; could we use convenience checks as a method of payment?

    v/r
    Ken


    Kenneth E. Lund

    Senior Procurement Analyst

    BLM-WO

    20 M St SE

    Washington, DC 20003

    Office:202-912-7034

    Cell: 202-744-1847

    Fax: 202-912-7186

    Monday-Regular day off

    Thursday-Telework


    On Thu, Jun 14, 2018 at 2:09 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
      Hi Ken - As discussed this morning, the Wild Horse and Burro program submitted an Options Paper to
      Congress in April 2018. One of the components mentioned was an Adoption Incentive Program. The purpose of
      the Adoption Incentive Program (AIP) is to increase the numbers of excess animals placed into private care
      through adoptions. This program will encourage new individuals to adopt a wild horse or burro, motivate
      previous adopters to re-engage with the program and invest in animals by providing a financial incentive, $1,000
      at the time of adoption and an additional $500 at time of title, to help defray initial ownership costs, such as
      veterinary care, feed and training. Increasing the placement of animals into private care is a critical priority of the
      program and of utmost interest to BLM due to the costs associated with caring for unadopted/unsold animals in
      BLM corrals and pastures. Costs savings may be utilized for other management operations, such as gathers.

      The program has identified a line item for FY 2018 to potentially fund 500 incentives using appropriated funds
      however I need assistance with the logistics of providing the incentive payments. I have begun working with
      solicitors, IBC and others regarding the authority, process and overall logistics of administering and executing
      the incentive fee payments.

      I have been asked to provide a draft program by the end of June so any assistance you can provide will be




                                                                                                              BLM_002291
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     great.

     Thank you,

     Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

     Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

     ​
     "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
     shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
     your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
     11]




                                                                                                         BLM_002292
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    From:              Carter, David D
    To:                Lund, Kenneth E (Moved)
    Cc:                Sarah McElroy; Waddell, Holle; Pagal, Eric V
    Subject:           Re: Convenience Check Writing for WHB Adoption Incentive Payments
    Date:              Friday, June 15, 2018 9:47:45 AM
    Importance:        High


    Hi Ken

    I have a few questions.

       1. Use of Convenience Checks requires the check writer to collect Tax IDs for individuals
          and 1099 Reporting to IRS. How will this process work? Will checks be written to
          individuals that do not have a Tax ID?
       2. Do we have a process to prevent spliting a transaction?
       3. The bank charges a fee for each Convenience Check issuance and in SmartPay3 the check fees are
            much higher.
       4. Can you provide additional details on this new program?
             1. Program Duration
             2. How many Wild Horse and Burro will be adopted?

    Have you considered using Grants/Financial Assistance for this requirement?
    Thanks
    David

    On Thu, Jun 14, 2018 at 4:49 PM, Lund, Kenneth <klund@blm.gov> wrote:
     Good afternoon David

      Please see Holle's email. There is an initiative to pay incentives to people to adopt horses up
      to $1,500 total. The main question is; could we use convenience checks as a method of
      payment?

      v/r
      Ken


      Kenneth E. Lund

      Senior Procurement Analyst

      BLM-WO

      20 M St SE

      Washington, DC 20003

      Office:202-912-7034

      Cell: 202-744-1847

      Fax: 202-912-7186




                                                                                            BLM_002293
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         Monday-Regular day off

         Thursday-Telework


         On Thu, Jun 14, 2018 at 2:09 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
          Hi Ken - As discussed this morning, the Wild Horse and Burro program submitted an Options Paper to
          Congress in April 2018. One of the components mentioned was an Adoption Incentive Program. The purpose
          of the Adoption Incentive Program (AIP) is to increase the numbers of excess animals placed into private
          care through adoptions. This program will encourage new individuals to adopt a wild horse or burro, motivate
          previous adopters to re-engage with the program and invest in animals by providing a financial incentive,
          $1,000 at the time of adoption and an additional $500 at time of title, to help defray initial ownership costs,
          such as veterinary care, feed and training. Increasing the placement of animals into private care is a critical
          priority of the program and of utmost interest to BLM due to the costs associated with caring for
          unadopted/unsold animals in BLM corrals and pastures. Costs savings may be utilized for other management
          operations, such as gathers.

          The program has identified a line item for FY 2018 to potentially fund 500 incentives using appropriated funds
          however I need assistance with the logistics of providing the incentive payments. I have begun working with
          solicitors, IBC and others regarding the authority, process and overall logistics of administering and executing
          the incentive fee payments.

          I have been asked to provide a draft program by the end of June so any assistance you can provide will be
          great.

          Thank you,

          Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

          Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

          ​
          "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
          shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you
          shift your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl
          Wood
          [ll]



    --

    _______________________________________________________

    David D. Carter | Integrated Charge Card Program Manager

    U.S. Department of the Interior | Office of Acquisition and Property Management

    1849 C Street., N.W.., Mail Stop 4262, Room 4249 | Washington, DC 20240

    202-513-7544 (o) | 202- 513-7645 (f) | david_carter@ios.doi.gov




                                                                                                               BLM_002294
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    From:              Roberson, Peter (PJ) L
    To:                Waddell, Holle
    Subject:           Re: Adoption Incentive Agreement Changes
    Date:              Friday, June 15, 2018 12:09:19 PM
    Attachments:       Adoption Incentive Agreement_PCPT_6.15.2018.docx
    Importance:        High


    I just fixed a couple of formatting things I saw other than that it looks great

    File is attached

    On Thu, Jun 14, 2018 at 5:45 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
     PJ - Please review the attached adoption incentive agreement. I think I may have
     captured the changes/edits well but want to double-check formatting. Please update
     and resend so that I can add it to the calendar invite for Tuesday's meeting.
      Thank you,

      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
      ii]


    --
    Best Regards,
    PJ Roberson
    Program Administrator
    Bureau of Land Management - Wild Horse & Burro Program
    Office: (405) 579-1863
    201 Stephenson Parkway Suite 1200 Norman, OK 73109
    proberson@blm.gov

    "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
    Gawande




                                                                                                          BLM_002295
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    From:                Kali Sublet
    To:                  Waddell, Holle
    Subject:             [EXTERNAL] Board Interest in Adoption Incentive Program
    Date:                Friday, June 15, 2018 12:23:53 PM


    I have spoken with our Board President, Paula Carr, and she is interested in continuing the
    conversation with BLM regarding the administration of an adoption incentive program with
    the BLM WH&B Program.


    Thank you,

    Kali Sublett
    Executive Director




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    Mustang Makeover! Interested in adopting a gentled Mustang? Attend one of our events or call us about
    contacting a Trainer Incentive Program participant in your area. For more information, tickets and event
    schedules, go to www.extrememustangmakeover.com.
    Follow us:
                 □□□




                                                                                               BLM_002296
                                                                                    From:              Smith, Linda H
                                                                                    To:                Waddell, Holle; Barker, Jammal L
                                                                                    Cc:                Tryon, Steve; Jackson, Tonya M; Allen, Wayne S; Rittenhouse, Bruce H
                                                                                                                                                                                                   BLM_002297




                                                                                    Subject:           Re: Wild Horse and Burro Adoption Incentive Program
                                                                                    Date:              Friday, June 15, 2018 4:38:03 PM
                                                                                    Importance:        High
                                                                                    Looping in my assistant for scheduling on Tuesday.
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                                                                                    Jammal - Please include Michael, Wayne, and Sudani. Thanks.
                                                                                    Sent from my iPad
                                                                                    On Jun 15, 2018, at 5:27 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
                                                                                              Hello all - The program has made continuous efforts regarding the
                                                                                              logistics of the adoption incentive payments however need additional
                                                                                              assistance from the budget office. Please let me know your availability for
                                                                                              a meeting Monday or Tuesday of next week to discuss.
                                                                                          Thank you,
                                                                                          Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |
                                                                                          Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
                                                                                          ​
                                                                                          "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day,
                                                                                          start by shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you
                                                                                          have. When you shift your thoughts, your actions will follow suit and you will begin to create the
                                                                                          reality you desire." - Cheryl Wood
                                                                                          I]




                                                                                          On Fri, Jun 8, 2018 at 2:23 AM, Waddell, Holle <hwaddell@blm.gov> wrote:
                                                                                           Hi Linda, Tonya and Wayne - As you all are aware, the Wild Horse and
                                                                                           Burro program submitted an Options Paper to Congress in April 2018.
                                                                                           One of the components mentioned was an Adoption Incentive Program.
                                                                                           The purpose of the Adoption Incentive Program (AIP) is to increase the
                                                                                           numbers of excess animals placed into private care through adoptions.
                                                                                           This program will encourage new individuals to adopt a wild horse or
                                                                                           burro, motivate previous adopters to re-engage with the program and
                                                                                           invest in animals by providing a financial incentive, $1,000 at the time of
                                                                                           adoption and an additional $500 at time of title, to help defray initial
                                                                                           ownership costs, such as veterinary care, feed and training. Increasing
                                                                                           the placement of animals into private care is a critical priority of the
                                                                                           program and of utmost interest to BLM due to the costs associated with
                                                                                           caring for unadopted/unsold animals in BLM corrals and pastures. Costs
                                                                                           savings may be utilized for other management operations, such as
                                                                                           gathers.
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          The program has identified a line item for FY 2018 to potentially fund
          500 incentives using appropriated funds. I have begun working with IBC
          and others regarding the authority, process and overall logistics of
          administering and executing the incentive fee payments.

          The program will provide updates as there may be a need to engage you
          and your staff at some point. We have been asked to provide a draft
          program by the end of June so any assistance you can provide will be
          great.

          Thank you,

          Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

          Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@
          blm.gov

          ​
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          day, start by shifting your thoughts to develop and demonstrate an internal gratitude for all
          blessings you have. When you shift your thoughts, your actions will follow suit and you will begin
          to create the reality you desire." - Cheryl Wood
          [I




                                                                                                     BLM_002298
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    From:                 Rittenhouse, Bruce H
    To:                   Waddell, Holle
    Cc:                   Kali Sublett
    Subject:              Re: [EXTERNAL] Board Interest in Adoption Incentive Program
    Date:                 Friday, June 15, 2018 5:04:12 PM


    I can go home now happy! Thanks for the good news Kali.

    On Fri, Jun 15, 2018 at 3:29 PM Waddell, Holle <hwaddell@blm.gov> wrote:
     Thanks for the update Kali. We will be in touch.

      Thank you,

      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
     [I]
      On Fri, Jun 15, 2018 at 12:23 PM, Kali Sublet <kali@mustangheritagefoundation.org>
      wrote:
       I have spoken with our Board President, Paula Carr, and she is interested in continuing the
       conversation with BLM regarding the administration of an adoption incentive program
       with the BLM WH&B Program.


          Thank you,

          Kali Sublett
          Executive Director




                                                    Iii



          Creators and exclusive producers of the most talked about equine competition in America, the
          Extreme Mustang Makeover! Interested in adopting a gentled Mustang? Attend one of our events or
          call us about contacting a Trainer Incentive Program participant in your area. For more information,
          tickets and event schedules, go to www.extrememustangmakeover.com.
          Follow us:
                       □□□


                                                                                                          BLM_002299
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    --
    Bruce Rittenhouse
    Acting Wild Horse and Burro Division Chief (WO-260)
    20 M Street, Southeast
    Washington DC 20003
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    720-454-5747 (mobile)
    brittenh@blm.gov




                                                                   BLM_002300
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    From:             Tryon, Steve
    To:               Ursula Massey; Yolando Mack-Thompson; Jeff Brune
    Cc:               Angela Falwell; Kristin Bail; Thomas Bartholomew; Hathaway, Ryan; Bruce Rittenhouse
    Subject:          Materials for 06/19/2018 Briefing for DD-Ops on Wild Horse and Burro Management
    Date:             Monday, June 18, 2018 11:12:46 AM
    Attachments:      Briefing for Director WHB Program Status June 2018.pdf


    For our discussion with Rich (and Brian?) tomorrow morning.

    Cheers,

    Steve Tryon
    Deputy Assistant Director, Resources and Planning
    Bureau of Land Management
    1849 C Street, NW
    Room 5654
    Washington, DC 20240
    202-208-4896




                                                                                                            BLM_002301
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                    INFORMATION BRIEFING FOR THE BLM DIRECTOR


   DATE:          June 19, 2018

   FROM:          Kristin Bail,
                  Assistant Director – Renewable Resources and Planning

   SUBJECT:       Update on Program Direction for the Wild Horse and Burro Management
   Program

   This memorandum provides an update on the annual work planning guidance for the wild horse
   and burro (WHB) management program, and program changes underway since delivery of a
   report to Congress in April 2018. Specific briefing topics include:
      • 2018 Gather Schedule
      • House Appropriations Committee program investigation and request for additional
           reporting
      • Recent emergency gathers at Cold Creek, NV and Wendon, AZ
      • Beatty, NV Burro Deaths
      • Progress in implementing changes to the BLM adoption program
      • Progress on selecting new members of the WHB Advisory Board).

   KEY FACTS

   In fiscal year 2018, the BLM is planning to remove over 10,000 wild horses and burros from the
   range (Attachment #2). This is the highest number of animals removed in the last decade and
   represents one of the highest removal years since passage of the Wild Free-Roaming Horses and
   Burros Act. With this increase in removals the WHB program will need additional capacity to
   place animals into private care. Increased holding capacity is being acquired through new long-
   term holding solicitations. Partnerships with the Mustang Heritage Foundation and other groups
   can also provide relief by increasing the number of adopted animals in 2019.

   BACKGROUND

   WHBs occur across 10 western states in 177 Herd Management Areas (HMA) that cover 26.9
   million acres. Additional public and private lands surrounding HMAs may also be affected as
   WHB potentially move onto these lands.

   Currently, there are approximately 82,000 animals on public lands. The national Appropriate
   Management Level (AML) is 26,715. In addition, 45,295 animals (May 2018) are in holding
   facilities with 8,955 in 26 corrals (with an average cost of about $5.05 per animal per day) and
   36,340 in 35 pastures (with an average cost of about $2.05 per animal per day). Total holding
   costs for these animals were almost $50 million in FY17 (58% of the total wild horse and burro
   budget).



                                                                                                      1


                                                                                        BLM_002302
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   DISCUSSION: PENDING ISSUES OF NATIONAL IMPORTANCE

   Supplemental Water/Emergency Situations: The WHB Program is currently evaluating both its
   supplemental water hauling procedures and what constitutes a need for an emergency gather.
   State Office WHB Program Leads indicated they have provided supplemental water in the past.
   Two states are currently hauling water and others are considering doing so in the next month.
   All states responded that if BLM stops hauling water, it would eventually result in the death of
   horses and burros in those areas of extreme drought. Currently much of the four corner states,
   southern Wyoming, southern Nevada and southeast Oregon are in either severe or extreme
   drought conditions. The drought outlook through August indicates that drought will persist in
   most of these areas.

   WO-260 was asked by the Deputy Director – Policy and Programs to develop guidance on how
   to proceed with these issues and how this should be communicated to state leadership and WHB
   program staff. In addition, an expired Instruction Memorandum that defines the term
   “emergency” in the context of the WHB program needs to be updated. Drought conditions in the
   west may lead to state’s submitting “emergency” gather requests. Clear guidance is needed to
   determine what is meant by the term emergency.

   2018 Approved Gather Schedule: In May the Deputy Director for Operations approved the FY
   2018 gather/removal plan and gather schedule (Attachment #1a and #1b). This plan will remove
   approximately 10,500 horses and burros from the range which is the most since 2010. The
   priorities for these gathers include; sage-grouse priority habitat, public safety, private lands, and
   reducing resource conflicts.

   Adoption Incentive Program: The purpose of the Adoption Incentive Program is to increase the
   numbers of excess animals into private care through adoptions. This program will encourage new
   individuals to adopt a wild horse or burro (WHB), motivate previous adopters to re-engage with
   the program and invest in animals by providing a financial incentive; $1,000 at the time of
   adoption with an additional $500 at time of title. This incentive will help defray adopter costs,
   such as veterinary care, feed and training. Increasing the placement of animals into private care
   is a critical priority of the WHB program. This new program was one of the key components
   described in the recent report submitted to Congress. The policy and implementation of this
   program are currently in development and a briefing for the Director is expected in July 2018.
   Further, the WHB program is holding $500,000 for adoption incentives this fiscal year.

   WHB Advisory Board: Nominations for three board members (Public Interest, Veterinary
   Medicine, WHB Advocacy) closed on May 29. Attachment #1c summarizes the nominations. A
   total of 19 applications were received and are being reviewed by a team of subject matter
   experts. This review is expected to be done in early July with briefings to WO-100 expected in
   late-July or August. Further, WO-260 is beginning to plan for the next advisory board meeting
   possibly held in early 2019.

   Cold Creek Emergency Gather: The Forest Service recently conducted an emergency bait-trap
   gather (due to poor animal body condition) using a BLM contractor in southern Nevada to
   remove up to 200 animals. This gather removed a total of 148 animals of which 19 were

                                                                                                        2


                                                                                           BLM_002303
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   humanely euthanized due to poor body condition (Attachment #1d). The remaining 126 animals
   were shipped to the BLM Ridgecrest facility. One animal died in transport and another died at
   the facility. Forest Service is paying BLM for holding costs through a national reimbursement
   agreement.

   Beatty NV Burro Deaths: A total of 22 burros have been shot and killed near the town of
   Beatty, NV. Most of the animals were shot only once but a few were shot multiple times. The
   case is still being investigated.

   Wendon AZ Emergency Burro Gather: WO-260 received an emergency gather request from to
   the Arizona State office to remove 60 burros near Wendon AZ for public safety concerns. This
   gather was requested by AZ State Police and AZ Dept. of Transportation. Six animals were hit
   by vehicles and were killed. No human fatalities occurred. The burros were repeatedly breaking
   the highway right-of-way fence in search for water. The initial 60 burros were removed in two
   days. After BLM assessed the situation it was determined that there were an additional 75 burros
   still in the vicinity that needed to be removed to alleviate the public safety issue. This gather is
   being completed this week.

   Great Escape Mustang Sanctuary/Sand Wash Advocate Team (GEMS/SWAT) National
   Group Volunteer Award: GEMS/SWAT recently were awarded the BLM National Volunteer
   Group Excellence award for their work with assisting in placing animals in private care through
   their “Storefront” facility in Colorado along with their volunteers conducting fertility control
   (darting PZP) at BLM Colorado’s Sand Wash HMA.

   Huffington Post Article on BLM International Programs: This past Tuesday Huffington Post
   published an article about the BLM’s international program to ship wild horses as work animals.
   Here is the link to the article: https://www.huffingtonpost.com/entry/feds-weigh-proposals-to-
   ship-wild-horses-overseas_us_5b1eb5bce4b09d7a3d75ab9c

   International/Transfer Programs: Congress authorized the transfer of excess WHB to other
   federal, state, and local government agencies for use as work animals. We are currently working
   with a number of agencies including the Caisson Unit at Arlington Cemetery, the Half Section at
   Ft. Sill, the US Border Patrol, and other mounted Law Enforcement units. We have also received
   requests from numerous foreign countries that are interested in using WHB as work animals and
   we are actively pursuing those requests.

   Sale Barn Notices: The BLM will be sending out notices to horse sale barns to the post an
   announcement (Attachment #1e) about the sale of untitled wild horses and burros. The message
   is that when an animal is brought to a sale barn it must be accompanied by ownership
   documentation.

   Mustang Heritage Foundation: The program requests approval to provide funding to MHF in
   the amount of $900K from the FY 2018 budget and $3 million from the FY 2019 budget
   (depending on final appropriations) to support the increased efforts of placing animals into
   private care.



                                                                                                       3


                                                                                          BLM_002304
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                                           Internal Working Document

            Table 1: Completed FY18 Removals to date and Proposed Removals based on
            Additional L1110 Funds and Adjustments in L1060 Funds

                                                                                               1060          1110
               Action                  Removal Reason(s)              PGS         Removals
                                                                                              Funding       Funding
                                     Court orders, public
                                     safety, priority sage-                  67
Removals as of 3/1/2018              grouse habitat, private       (includes 27       4,245
                                     land encroachment, and           geldings)
                                     emergencies.
Planned Ground Darting for PGS
                                     N/A                                    518          0
Treatments
Recommended Spring/Summer
Removals and PGS by Location
- Red Desert Complex, WY             GRSG, big game habitat               TBD         2,670                  $1.7 M
                                     GRSG, big game habitat,                                                $800,000
-    Warm Springs, OR                                                        0         685
                                     spay research
-    Onaqui Mountain, UT             GRSG                                    0          50                  $50,000
                                     GRSG, public safety,                                                   $800,000
-    Silver King, NV                                                                   800
                                     private lands
                                     Bi-State SG, public                                                    $600,000
-    Pine Nut, NV                                                                      575
                                     safety, private lands
                                     GRSG, public safety,                                                   $200,000
-    Bible Springs Complex, UT                                                         200
                                     private lands
-                                                                       Totals        4,980                 $4.15 M
                                     T/E habitat, public safety,                              $300,000
-    Bullfrog, NV                                                                      300
                                     private lands
-    Muddy Creek, UT                 State of UT agreement                    0         50    $50,000
-    Pryor Mountain, MT              AML progress                  61 - darting         20    $25,000
                                     public safety, private                                   $150,000
-    Goshute (Ferguson Spring), NV                                                     125
                                     lands
                                     AML, successful public                                   $75,000
-    Little Bookcliffs, CO                                                              75
                                     working group
-    Chemehuevi, CA                  Public safety, T/E habitat                        200    $250,000
                                     Public safety, T/E habitat,                              $25,000
-    Chocolate Mule, CA                                                                 25
                                     military installation
-    Range Creek, UT                 Private lands, wildlife                            100   $100,000
-    Unallocated                     Emergency                            TBD           600   $600,000
                                                                                      1,495   $1.575 M      $4.15 M
              TOTAL                                                                   6,475

            L1060 funded removals = $1,575,000 + 125,000 for holding = $1,700,000 (available
            from $1.7 M moved from L1060 to L1110 for WY Red Desert Complex Gather)

            L1110 funded removals = $4,150,000 + 350,000 for holding = $4.5 million




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                                                                                               BLM_002305
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                                        Internal Working Document

      Table 2: Current Planned FY19 Removals and Planned Population Growth Suppression
      (PGS) Treatments

               Action                        Removal Reason(s)              PGS          Removals        Funding
 Planned Ground Darting for PGS
                                          N/A                                     518              0
 Treatments
 Recommended Fall Removals and
 PGS by Location
 - Owyhee Complex, NV                     GRSG                                   250            800      $800,000
 - Unallocated*                                                                 TBD            3700
              TOTAL                                                              768           4500
      *Note – Unallocated removals cannot be estimated until FY2019 budget is determine. Current estimated
      800 is based on President’s 2019 Budget.




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                                                                                                  BLM_002306
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                                                                           TENTATIVE
                                                FY 2018 Wild Horse and Burro Removal by Date
                                                        as of May 21, 2018
                                                                                                                 Proposed # of
                                                                                                                 Mares/Jennies   Actual # of
         Herd Management                                        Animals        Animals     Animals    Animals     Treated with Mares/Jennies
         Area (HMA) or Herd                                  Proposed to be Proposed to be Actually   Actually      Fertility   Treated with         Gather
State         Area (HA)            Start Date   End Date        Gathered       Removed     Gathered   Removed       Control    Fertility Control     Method        Species       Rationale            Notes
WY        Salt Wells Creek         10/3/2017    10/17/2017        296           296          779        779            0               0            Helicopter      Horse    Court order         Gather crossed
                                                                                                                                                                                                 FY's 17 & 18
WY          Adobe Town             10/10/2017   10/17/2017        656           616          567        567            0               0            Helicopter      Horse    Court order         Gather crossed
                                                                                                                                                                                                 FY's 17 & 18
WY        Great Divide Basin       10/1/2017    10/4/2017         386           386          265        265            0               0            Helicopter      Horse    Court order         Gather crossed
                                                                                                                                                                                                 FY's 17 & 18
 AZ           Black Mtn            10/1/2017    9/30/2018         125           125          127        127            0               0           Bait or Water    Burro                        Gather crossed
                                                                                                                                                                             Pvt Land/Safety     FY's 17 & 18
 AZ         Lake Pleasant          10/1/2017    9/30/2018         65             65          20          20            0               0           Bait or Water    Burro                        Gather crossed
                                                                                                                                                                             Pvt Land/Safety     FY's 17 & 18
 AZ          Cibola-Trigo          10/1/2017    9/30/2018         60             60           1          1             0               0           Bait or Water    Burro                        Gather crossed
                                                                                                                                                                             Pvt Land/Safety     FY's 17 & 18
 AZ            Havasu              10/1/2017    11/5/2017                                    81          81            0               0           Bait or Water    Burro                        Gather crossed
                                                                                                                                                                             Pvt Land/Safety     FY's 17 & 18
 NV        Antelope (Water         10/2/2017    10/12/2017        65             40          53          53            15              12          Bait or Water    Horse    GonaCon pilot       Gather crossed
              Canyon)                                                                                                                                                                            FY's 17 & 18

              Nuisance             10/10/2017   9/30/2018                                                5
 NV      Fox and Lake Range        11/13/2017   11/19/2017        200           200          189        189             0               0           Helicopter      Horse    Fire rehab
 OR           Hog Creek            10/26/2017    2/15/2018         50            30           50         18            15              14           Helicopter      Horse    Achieve/Maintain
                                                                                                                                                                             AML
 UT           Conger               11/27/2017   12/3/2017         100            0           111         1             0               27           Helicopter      Horse    Research            27 geldings
 CA          Twin Peaks            12/20/2017    3/3/2018         125           125           32         32            0                0          Bait or Water    Burro    Pvt Land/Safety
 NV            Johnnie             12/20/2017   1/31/2018         75             75          117        117            0               0           Bait or Water    Burro    Pvt Land/Safety
 OR         South Steens            1/3/2018    2/28/2018         150           150          102         95            15              9           Bait or Water    Horse    Selective Removal
                                                                                                                                                    (in house)
 OR         Cold Springs           1/23/2018    1/26/2018         120            80          134         72            35              30           Helicopter      Horse    Achieve/Maintain
                                                                                                                                                                             AML
 NV     Triple B Complex (2 HMAs)                               (1,368)        (1,368)                                                              Helicopter      Horse    Pvt Land/Safety
                        Triple B   1/30/2018    2/28/2018         800           800          993        924            28              28
            Maverick-Medicine      2/11/2018    2/19/2018         500           500          435        443            0               0
 UT     Bible Springs Complex                                    (425)          (425)                                                               Helicopter      Horse    BLM/UT State
        (4 HMAs/1 HA)                                                                                                                                                        Agreement

                  Blawn Wash       1/29/2018     2/5/2018         100           100          103        103            0               0
                     Four Mile      2/5/2018     2/8/2018         150           150          144        144            0               0
                   Tilly Creek     2/10/2018    2/11/2018         105           105          113        113            0               0




                                                                                                                                                                                     BLM_002307
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                  Bible Springs   2/12/2018   2/14/2018     70       70      71      71      0     0
 NV       Spring Mtn/Wheeler      5/10/2018   6/11/2018     200                              0     0     Bait or Water   Horse   USFS Emergency;
           Pass (Cold Creek)                                                                                                     lack of forage

 AZ        Outside Black                                    60                                           Bait or Water   Burro   BLM/AZ State
         Mountain (Bullhead)                                                                                                     Agreement
 AZ        Lake Pleasant                                                                                 Bait or Water   Burro   BLM/AZ State          collaring research;
                                                                                                                                 Agreement             no removal

UT          Range Creek           6/11/2018   7/30/2018     100     100                                  Bait or Water   Horse   Private
                                                                                                                                                              CX
                                                                                                                                 lands/wildlife
NV       Goshute (Ferguson        6/18/2018   6/30/2018     125     125                                  Bait or Water   Horse   Public safety;
              Spring)                                                                                                            private lands
 UT        Muddy Creek            7/1/2018    7/30/2018     100     100                                  Bait or Water   Horse   BLM/UT State
                                                                                                                                 Agreement
MT            Pryor Mtn           7/1/2018    8/30/2018     75       20                                  Bait or Water   Horse
 NV            Bullfrog           7/10/2018   8/10/2018     300     300                                  Bait or Water   Burro   T/E habitat; public
                                                                                                                                 safety; private
                                                                                                                                 lands
 CA         Chemehuevi            7/15/2018   8/30/2018     200     200                                 Bait or Water    Burro   Public safety; T/E
                                                                                                         (in house)              habitat
 CA       Chocolate Mules         7/15/2018   7/31/2018     25       25                                 Bait or Water    Burro   Public safety; T/E
                                                                                                         (in house)              habitat
 UT        Bible Springs          8/1/2018    8/15/2018     200     200                                  Helicopter      Horse   GrSG; public
          Complex/Sulphur                                                                                                        safety; private
                                                                                                                                 lands
WY      Red Desert Complex (5 HMAs)                        2,670    2,670                                 Helicopter     Horse   GrSG; big game
                                                                                                                                 habitat
             Crooks Mountain      8/6/2018    9/30/2018
              Green Mountain      8/6/2018    9/30/2018
                 Stewart Creek    8/6/2018    9/30/2018
                    Lost Creek    8/6/2018    9/30/2018
                 Antelope Hills   8/6/2018    9/30/2018
CO         Little Book Cliffs     8/15/2018   8/30/2018     75       75                                 Bait or Water    Horse   Public safety;
                                                                                                         (in house)              private lands
 UT          Onaqui Mtn           9/1/2018    9/15/2018     50       50                                 Bait or Water    Horse   BLM/UT State
                                                                                                                                 Agreement
 NV          Silver King          9/1/2018    9/21/2018     800     800                                   Helicopter     Horse   GrSG; public
                                                                                                                                 safety; private
                                                                                                                                 lands
 NV           Pine Nuts           9/10/2018   9/24/2018     575     575                                   Helicopter     Horse   Bi-State SG; public
                                                                                                                                 safety; private
                                                                                                                                 lands
OR          Warm Springs          10/1/2018   10/15/2018    685     685                                   Helicopter     Horse   GrSG; big game
                                                                                                                                 habitat; spay
                                                                                                                                 research
Total                                                      10,438   9,898   4,487   4,220   108   120




                                                                                                                                          BLM_002308
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                         Darting Fertility Control and Research Schedule by Date
                                  as of January 10, 2018
                                                                   Proposed # of       Actual # of
              Herd Management                                      Mares/Jennies Mares/Jennies
              Area (HMA) or Herd                                    Treated with      Treated with
   State          Area (HA)            Start Date    End Date      Fertility Control Fertility Control   Species   Rationale

    AZ             Black Mtn             10/1/2017                                                        Burro
    CO        Spring Creek Basin         2/1/2017    5/30/2017           20                              Horse
    CO         Sand Wash Basin           2/1/2017    5/30/2017           175                             Horse
             Little Book Cliffs Wild
    CO            Horse Range            3/1/2017    7/30/2017           25                              Horse
    ID                 Challis           2/1/2017    9/30/2017            5                              Horse
    MT             Pryor Mtn             2/1/2017    8/31/2017           61                              Horse
    UT                 Onaqui            3/1/2017    5/31/2017           53                              Horse
    WY         McCullough Peaks          1/1/2017    9/30/2017           60                              Horse
                                                                                                                   released
                                                                                                                    from a
                                                                                                                   previous
                                                                                                                     year's
    ID            Sand Wash              5/1/2018                        15                              Horse     removal
                                                                                                                   released
                                                                                                                    from a
                                                                                                                   previous
                                                                                                                     year's
    ID            Hard Trigger           5/1/2018                        40                              Horse     removal

  TOTAL                                                                  454                 0
GRAND
TOTAL


Completed Helicopter Removals                          3,689
Completed Bait Trap Gathers                             251
Completed Fertility Control Treatments                   40
Completed PZP darting                                    0
Gathers in Progress                                     275


Completed Removals and PZP treatments to Date
                                                       Fertility
                      Helicopter         Bait Trap     Control
                                                     Treatments
    AZ                    0                 81           0
    CA                    0                 0            0
    CO                    0                 0            0




                                                                                                                                 BLM_002309
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 ID      0      0       0
 MT      0      0       0
 NV     1,556   170     40
 NM      0      0       0
 OR      90      0      0
 UT     432      0      0
 WY     1,611    0      0
TOTAL   3,689   251     40




                                                                                                     BLM_002310
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       Federal Law Warning
             Notice to all sale barns and customers
                 Selling untitled wild
                horses (mustangs) and
                   burros is illegal.
Horses and burros that are adopted from or sold by the Bureau of Land Management (BLM) have a freeze mark on the left side of the neck.
Federal regulation (43 CFR 4770.1(d)) prohibits the sale of such animals unless they are accompanied by paperwork showing that title
(ownership) has passed from the BLM to a private individual. Sale barns and sellers must not sell freeze marked horses or burros unless
they are accompanied by a signed Certificate of Title or letter from the BLM certifying that title has been granted by the United States
Department of the Interior, Bureau of Land Management. The animal must match the freeze mark and other identifying features listed on
the Certificate of Title or letter certifying title.

Below is an example of the information shown on the back of a Certificate of Title that is used to decipher the identifying freeze mark and
signalment key. The freeze mark number and signalment key are shown on the front of the Certificate of Title or will be noted in the letter
that certifies title has been granted. Any questions about this notice should be directed to the Bureau of Land Management at 1-866-
4MUSTANGS (1-866-468-7826).
                                                           A3                               Indicates U.S. Govt. Registration
            ALPHA ANGLE CODE                          r
                                                      2
                                                                =1
                                                                     7
                                                                     4
                                                                                         i i- .--=_A___.__I_I
                                                                                                      c
                                                                                                       Year of Birth (Top to bottom)
                                                                                                                     Registration Number
            FOR FREEZE MARK
            INTERPRETATION
                                                 (9        II   =0       5)              l[      ~1         (_L_V__,                      1


                                                      L8    7
                                                                      6
                                                                     _J                                7   0     3     1   9   8     7
                                                                                                                                                   FACE WHORLS
                                                                                                                                                                                  HEIGHT OF WHITE
                                                           V                                           7                                                                          LEG MARKINGS
                                                                                                                                                                             Stocking
                                                                                                                                                                             (knee / hock)

                                                                                                                                                                   This           Sock
                                   SIGNALMENT KEY CODES USED FOR DESCRIBING ANIMALS
                                                                                                                                                                   area
        SPECIES       SEX         FACE                      LEG MARKINGS                                     FACE                  COLOR
                                 WHORLS                                                                    MARKINGS
                                                                                                                                                                   only
                                                                                                                                                                               Full Pastern
         (Col. 1)   (Col. 2)     (Col. 3)                        (Col. 4) (Col. 5) (Col. 6) (Col. 7)        (Col. 8)           (Col. 9)                                     Half Pastern
        Horse H     Gelding G    One 1      WHITE MARKINGS Rt. Fore Rt. Hind L. Fore L. Hind HORSES AND LIGHT              White              A
                                                                                                                                                                              Coronet
        Burro B     Male    M    Two 2       No White          A       A        A       A    MUZZLED BURROS                Bay                B
                                                                                              No Marking      A
        Mule M      Female F     Three 3     Coronet           B       B        B       B                                  Black              C
                                                                                              Star            B
                                 Four 4      Half Pastern      C       C        C       C                                  Brown              D
                                                                                              Strip           C
                                             Full Pastern      D       D        D       D     Snip            D            Sorrel             E
                                             Sock              E       E        E       E     Star-Strip      E            Chestnut           F   WHITE FACE MARKINGS STAR, STRIP, and SNIP
                                             Stocking          F       F        F       F     Star-Snip       F            Gray               G
                                             Over Knee / Hock  G       G        G       G     Strip-Snip      G            Grulla             H                             is a merging of these
                                                                                              Star-Strip-Snip H            Roan-Strawberry    I                             three marks;
                                                                                              Blaze            I           Roan-Red           J
                                            OTHER MARKINGS                                    Bald            J            Roan-Blue          K                     Star    BLAZE is a broad, white
                                            Striped Below Knee H       H        H       H     Frosted         K            Buckskin           L                             marking covering almost
                                                                                              DARK MUZZLED
                                            Striped Above Knee I        I       I       I                                  Dun                M                             all of the forehead but not
                                                                                              BURROS
                                            Not Examined       Y       Y        Y       Y                                  Pinto              N                             including the eyes and
                                                                                              No Markings M
                                            Other              Z       Z        Z       Z     Star            N            Palomino           O                     Strip   nostrils;
                                                                                              Strip           O            Appaloosa          P
                                                                                              Snip            P            Pink Burro         Q
                                                                                                                                                                            BALD is a white face
                                                                                              Star-Strip      Q            Blue Burro         R
                                                                                              Star-Snip       R            Red Burro          S                     Snip    including the eyes and
                                                                                              Strip-Snip      S            Other              Z                             nostrils.
                                                                                              Star-Strip-Snip T
                                                                                              Blaze           U
                                                                                              Bald            V
                                                                                              Frosted         W



    Violations of the prohibition on the sale of wild horses and burros may result in criminal penalties and fines
                           up to $2,000 and imprisonment up to one year, or both. (43 CFR 4770.5)
                                                                                                  U.S. Department of the Interior
                                                                                                  Bureau of Land Management
                                                                                                  Wild Horse and Burro Program

                                                                                                                                                                                           BLM_002311
                               This notice is to be posted in a conspicuous location where animals are unloaded at your sale barn.
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             DAILY GATHER OVERVIEW
                 Current as of 7 p.m. on May 22, 2018

                                FINAL REPORT

State: Nevada
Forest/District: Humboldt-Toiyabe National Forest’s Spring Mountains National Recreation Area
Gather Name: Cold Creek Emergency Wild Horse Gather
Contractor: Warner Livestock
Gather Method: Bait Trap
Planned Gathered (#): 200
Planned Removed (#): 200
Facility Destination: Ridgecrest Regional WH&B Corral, 3210 Randsburg Wash Rd, Ridgecrest, CA 93555
                                                                                                                              -
                             Gathered/Removed                                  Deaths
                                                                                                   -
                                                                                                                         Foals
                         I                        I                        I             I

                 Studs        Mares       Foals       Totals       Acute       Chronic       Totals        Shipped
     Date                             I                                                                                Fostered
                                                                                                                               -
  05/10/18        0            0           0      I   0 I           0            0            0              0             0
                                                                                                                                -
L
  05/11/18        9            12          4      I 25 I            0            0            0              0             0
  05/12/18 I      15           11     I    2      l 28 I            1      I     1       I    2             23       I 0
  05/13/18        10           11          1         22             0            0            0              0             1
  05/14/18        7            3           0         10             0            2            2             35             0
  05/15/18        10           5           0         15             0            1            1              0             0
  05/16/18        7            8           0         15             0            4            4              0             0
                                                                                                                                -
I 05/17/18 I      4            4      I
                                           0       I  8 I           0      I     0       I
                                                                                              0             33       I     1          I

I 05/18/18 I      5            2      I    1      I 8 I             0      I     4       I    4              0       I 0
I 05/19/18        3            7      I    1         11             0            0            0              0             0
  05/20/18         1            2          0          3             0            4            4              0            0
  05/21/18         1            2          0       I
                                                      3             0            0            0             30            1           1
                                                                                                                                  -
  05/22/18        0            0           0          0             0            2            2              5       I    0
'                                                                                                                                 -
I     Total: I    72           67     I    9       I 148 I          1      I     18      I    19       I    126      I    3       J

List animal’s age, color, gender and cause(s) of death:
 • 05/22/18: 10-year-old bay mare with a BCS 1, very emaciated, was humanely euthanized in accordance
     with IM 2015-070 due to a hopeless prognosis for improvement.
 • 05/22/18: 11-year-old black stud with a BCS 2, was humanely euthanized in accordance with IM 2015-
     070 due a hopeless prognosis for recover due to preexisting condition (blindness).
 • 05/20/18: 28-year-old sorrel stud with a BCS 1, very emaciated, was humanely euthanized in accordance
     with IM 2015-070 due to a hopeless prognosis for improvement.


                                                               1


                                                                                                               BLM_002312
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      ~SDA             Humboldt-Toiyabe National Forest
      iiiiiiilllllll   United States Department of Agriculture




•   05/20/18: 2-year-old black stud with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/20/18: 3-year-old bay stud with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/20/18: 6-year-old brown stud with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/18/18: 9-year-old brown mare with a BCS 1, very emaciated, was humanely euthanized in
    accordance with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/18/18: 13-year-old bay mare with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/18/18: 11-year-old bay mare with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/18/18: 15-year-old bay mare with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/16/18: 4-year-old grey mare with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/16/18: 18-year-old bay mare with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/16/18: 16-year-old bay mare with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/16/18: 12-year-old brown mare with a BCS 1, very emaciated, was humanely euthanized in
    accordance with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/15/18: 4-year-old paint stud with a BCS 1, very emaciated, with a pre-existing injury to the right hind
    leg, was humanely euthanized in accordance with IM 2015-070 due to a hopeless prognosis for
    improvement.
•   05/14/18: 10-year-old black mare with a BCS 1, very emaciated, was humanely euthanized in
    accordance with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/14/18: 12-year-old bay mare with a BCS 1, very emaciated, was humanely euthanized in accordance
    with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/12/18: 14-year-old black mare with a BCS 1, very emaciated, was humanely euthanized in
    accordance with IM 2015-070 due to a hopeless prognosis for improvement.
•   05/12/18: Bay foal with an acute injury (broken leg) was humanely euthanized in accordance with IM
    2015-070.
    For more information on IM 2015-0707, visit https://www.blm.gov/policy/im-2015-070

    A death labeled as "acute" is when an animal dies or is euthanized due to acute injuries or medical conditions brought about by the gather
    and removal process including those that occur during capture, sorting and holding at the gather site. This term will include animals that
    die for known or unknown reasons thought to be related to gather activities.

    A death labeled as "chronic/pre-existing" is when an animal dies or is euthanized for reasons related to chronic or pre-existing conditions
    such as body condition, lameness, serious physical defects, etc. This term will include animals that are euthanized for conditions not
    brought about by the gather activity.



                                                                    2


                                                                                                                     BLM_002313
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    From:                  Rittenhouse. Bruce H
    To:                    Waddell. Holle
    Subject:               Fwd: Authority
    Date:                  Tuesday, June 19, 2018 9:02:42 AM


    Including you on this discussion.

    Sent from my iPhone

    Begin fo1warded message:


            From: 11 T1yon, Steve" <stiyon@blm.gov>
            Date: June 19, 2018 at 9:36:29 AM EDT
            To: "Smith, Linda" <lhsmith@blm.gov>
            Cc: "Bail, KTistin" <kbail@blm.gov> Margaret Schneider
            <mschneider@blm.gov>, Ann DeBlasi <amdeblas@bhn.gov>, Michael Jackson
            <michaeljackson@blm.gov>, Tonya Jackson <tmjackson@blm.gov>, Bruce
            Rittenhouse <brittenh@blm.gov>
            Subject: Re: Authority


            Morning, Linda.

            We have worked with SOL on this question going back several years now. What
            we are now writing policy to implement was originally proposed by the Advisory
            Board and then a a.in b senior leadershi of the last administrntion.




            st

            Steve Tryon
            Deputy Assistant Director, Resources and Planning
            Bureau of Land Management
            1849 C Street, NW
            Room5654
            Washington, DC 20240
            202-208-4896

            On Tue, Jun 19, 2018 at 8:33 AM, Smith, Linda <lhsrnjth@blm oov> wrote:
             Good mo1 · o e           ·                   ·                      t week
                    .        .

                                                             I don't have anything in my records
                 but thought that you all might since you've been working on this. Please pass
                 along what you have as we are meeting with the NOC later this afternoon to
                 discuss the mechanics of making incentive payments.

                 Thanks.




                                                                                            BLM_002314
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          Linda H. Smith
          BLM Budget Officer
          Office: 202-912-7060
          Cell/Alternative Telework Number: 703-517-3382
          lhsmith@blm.gov

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                                                                                                                             BLM_002315
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    From:              Schneider, Margaret N
    To:                Waddell. Holle; Weiner. Jim : Keable. Edward; Smith. Linda H
    Cc:                Tryon, Steve: Rittenhouse, Bruce H; Bail, Kristin M: DeBlasi. Ann M: Jackson. Michael A: Jackson, Tonya M
    Subject:           Re: Adoption Incentive Authorities (per Solicitors)
    Date:              Tuesday, June 19, 2018 11:19:05 AM
    Importance:        High


    Because we will need to establish a separate account to move money into to pay individuals,
    we will need a bit more detail to support the establishment of the new account. Linda Smith
    and 200 folks are meeting this afternoon to detennine the mechanism to accomplish this and
    then provide you more details to suppo1t the addition to the above note (opinion) that is
    needed. We may also required a signed memo but we can follow up with you all on that.
    Thank you. Getting this incentive program rolled out is a high priority for the Department and
    we appreciate your quick attention to the issue.

    On Tue, Jun 19, 2018 at 11:49 AM, Waddell, Holle <hwaddell@blm.gov> wrote:
     Linda - The program has coordinated and received opinions and guidance from
     solicitors Greg Russell and Jim Weiner regarding adoption incentives for untrained
     and trained animals. In previous years, BLM and its Wild Horse Advisory Board
     have discussed a potential pilot program whereby an adopter would be eligible for a
     cash incentive if it adopts an ungentled wild animal, trains that animal to enhance its
     value, then allows BLM to subse uentl ado t or sell that animal to a third art .
     The solicitors stated that




      Regarding BLM's ability to incentivize ado tions or animal trainin that would assist
      to romote and increase ado tions




      Thank you,

      Holle' Waddell   I Branch Chief I Division of Wild Horses and Burros I

                                                                                                                      BLM_002316
Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 248 of 289




    I Bureau of Land Management I405.579.1860 (0) I405.579.7102 (F) Ihwaddell@blm.gov
     "A positive outlook. regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
     shifting your thoughts to develop and demonstrate an intemal gratitude for all blessings you have. When you shift
     your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Che1yl Wood
    Il1l




                                                                                                        BLM_002317
Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 249 of 289



    From:                Sklar, Ryan M
    To:                  Waddell , Holle
    Subject:             Re: Follow-up: Adoption Incentive Program Payment Discussion
    Date:                Wednesday, June 20, 2018 9:07:51 AM
    Importance:          High




    On Wed, Jun 20, 2018 at 10:05 AM Holle Waddell <hwaddell




      Sent from my iPhone

      On Jun 20, 2018, at 8:45 AM, Ryan Sklar <1yan.sklar@sol.doi.gov> wrote:


               Thanks, Holle. I remember that Jim Weiner and DGL were supposed to get you
               a deliverable on the adoption incentives issue back in January 2018. Did that
               occur? Based on the email ou sent I think the answer is es and that the
               informed you that




               Feel free to give me a call if that's easier. I just want to make sure I understand
               the lay of the land before reaching out to Jim and Brett Myrick for their
               assistance.

               Thanks,
               Ryan

               On Tue, Jun 19, 2018 at 4:27 PM Waddell, Holle <hwaddell@blm.gov> wrote:
                Ryan - Please see the solicitors notes in italics.
                  Thank you,

                  Holle' Waddell   I Branch Chief I Division of Wild Horses and Burros I
                                                     I
                  Bureau of Land Management 405.579.1860 (0) 405.579.7102 (F) I             I
                  hwaddell@blm.gov


                  "A positive outlook, regardless of how bleak the circmnstances may look, is a CHOICE. Each
                  day, strut by shifting yom thoughts to develop and demonstrate an internal gratitude for all
                  blessings you have. When you shift yom thoughts, your actions will follow suit and you will
                  begin to create the reality you desire.11 - Cheryl Wood
               ,[I]

                                                                                                         BLM_002318
Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 250 of 289



           I
               ---------- Forwarded message ----------
               From: Waddell, Holle <hwadde]l@b)m gov>
               Date: Wed, Jun 6, 2018 at 5:54 PM
               Subject: Follow-up: Adoption Incentive Program Payment Discussion
               To: "Kimberly Prendergast (Kim)" <kimberly_nrendergast@ios doj gov>,
               Sarah McElroy <smceiroy@b)m gov>, Stephen Benson
               <stephen I benson@ibc doj gov>, Christopher Richey
               <christopher richey@ios do j gov>, Bruce Rittenhouse <brittenh@blm gov>,
               "Stevenson, Brent" <brent stevensoo@ibc doj gov>


           I First, I'd like to thank you all for joining the call and your willingness to
               assist the program in finding a solution and a path forward to offer
               adoption incentive fee payments to the public (adopters) in an effort to
               increase the private care placement of wild horses and burros.
               Increasing the placement of animals into private care is a critical
               priority of the program and of utmost interest to BLM due to the costs
               associated with caring for unadopted/unsold animals in BLM corrals
               and pastures. Costs savings may be utilized for other management
               operations, such as gathers. As discussed, I've compiled thoughts and
               opinions from our solicitors regarding adoption incentive for untrained
               and trained animals:




                                                                                      BLM_002319
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                I look forward to hearing from for next steps.

               Thank you,

               Holle' Waddell   I Branch Chief I Division of Wild Horses and Burros I
                                               I                     I
               Bureau of Land Management 405.579.1860 (0) 405.579.7102 (F)                I
               hwaddell@blm.gov


               "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each
               day, start by shifting your thoughts to develop and demonstrate an internal gratitude for all
               blessings you have. When you shift your thoughts, your actions will follow suit and you will
               be in to create the reality you desire." - Cheryl Wood
                [g




             Ryan Sklar
             Attorney-Advisor
             Office of the Solicitor
             U.S. Department of the Interior
             202-208-3039


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    Ryan Sklar
    Attorney-Advisor
    Office of the Solicitor
    U.S. Department of the Interior
    202-208-3039


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                                                                                                       BLM_002320
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                                                                                                                                  Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 252 of 289




BLM_002321
Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 253 of 289



    From:              Roberson, Peter (PJ) L
    To:                Waddell, Holle
    Subject:           Re: Adoption Incentive Agreement Revision
    Date:              Wednesday, June 20, 2018 12:04:23 PM
    Attachments:       Adoption Incentive Agreement_DRAFT_2018.06.19.docx
    Importance:        High


    Ok see if you like this

    File is attached

    On Wed, Jun 20, 2018 at 11:28 AM, Waddell, Holle <hwaddell@blm.gov> wrote:
     PJ - Attached is the adoption incentive agreement we discussed this morning. The
     following changes need to be made:

          1. ADD: A bullet and initial line that states something like...I understand that I am
             no longer eligible to participate in the adoption incentive program in the future
             if I return of two or more animals within a six month time-frame. (Take a stab
             at it)
          2. CHANGE: Opt Out section so that it is not similar, it needs to stand out
             perhaps be at the top with "I _______ opt out of participating in the adoption
             incentive program and forfeit/waive any incentive payments from BLM." (Take a
             stab at it)

      Once these two changes are made let's review it. Today before 1:30pm would be great...I am
      leaving at 2:00pm today. Call me if you have any questions.
      Thank you,

      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
     [I


    --
    Best Regards,
    PJ Roberson
    Program Administrator
    Bureau of Land Management - Wild Horse & Burro Program
    Office: (405) 579-1863
    201 Stephenson Parkway Suite 1200 Norman, OK 73109
    proberson@blm.gov

    "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
    Gawande




                                                                                                          BLM_002322
           Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 254 of 289
Fonn4710-XX                                            UNITED STATES
(June 2018)                                                                                                                     NOTE: THIS IS A
                                              DEPARTMENT OF THE INTERIOR                                                       CONTRACT. RETAIN
                                        ~ ~ A U OF LAND MANAGEMENT                                                             WITH OTHER LEGAL
                                               TION INCENTIVE AGREEMENT                                                            RECORDS.

Adopter' s First Name:                                    Middle Name:                              Last Name:


Address:                                                      City                                            State:


Zip Code:                                                Email Address :


FREEZE MARK(S) :                                                           SIGNALMENT KEY(S):




Financial Institution Name:                                                Primary Accom1t Holder Name:



       Account Type                                Routing Number                                                 Account Number


□ checking

□ savings

            Please initial the following terms that apply to all wild horses and bwros adopted under this adoption incentive agreement.
 Initial: _ _ __         I _ _ _ _ _ _ _ _ _ _ chose to opt out of the adoption incentive program and forfeit/waive any incentive
      rn                 payments from the BLM.

                                                                                    OR
 Initial: _ _ __         I _ _ _ _ _ _ _ _ _ _ (Print Name) understand that failure to comply with the following tenns may result in the
                         cancellation of this adoption incentive agreement, repossession of the animals, disapproval of request for adoption of
                         additional animals as well as your eligibility to pa1ticipate in the adoption incentive program.

Initial: - - - -         I have read and understand the tenns of adoption and prohibited acts.
 Initial: - - - -        I understand that I am responsible to complete and submit both the Incentive copy of this agreement and the title
                         application 4710-18) in order to receive the $500 incentive per adopted animal. (2 nd Payment)
Initial: - - - -         In accordance with the tenns of adoptions, I authorize BLM employees and other BLM approved individuals to conduct
                         mandatory compliance inspections on adopted animals participating in the incentive program.

 Initial: - - - -        I hereby authorize electronic funds transfers to my account at the financial institution listed above.
 Initial: _ _ __         I agree to notify of any changes regarding my banking infonnation until my adopted animal(s) are titled.
 Initial: - - - -        Under penalty of prosecution for violating 18 U.S.C. 1001, which makes it a Federal crime to make false statements to
                         any agency of the United States, I hereby ce1t ify that I will provide humane care for any animals that I adopt and will
                         not sell or transfer ownership of them to any person or organization that intends to resell, trade, or give away such
                         animals for slaughter or processing into commercial products.
 Initial: _ _ __         I certify that I am not a BLM employee, immediate family member of a BLM employee, BLM contractor or cooperator.

                         The BLM will use this information to process your agreement for private maintenance and care of wild horses or
                         bmrns. BLM will use your driver's license and social security number for debt collection purposes under the authority
                         of the Debt Collection Improvement Act, 31 U .S.C. 770 1.

                         I understand I will lose my eligibility to participate in the adoption incentive program in the future if I retmn tv.•o or
                         more animals within a six month time-frame.

 Full Name (Print) : _ _ _ _ _ _ _ _ _ _ _ _ __

 Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                              Date: _ _ _ _ _ _ _ _ _ _ _ __ BLM_002323
  Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 255 of 289


Summary of Comments on 20180620.1204a.email.Re_
Adoption Incentive Agreement Revision.att.pdf
Page: 1
 Number: 1        Author: Waddell, Holle          Date: 6/19/2018 7:20:00 PM
 CHANGE “Opt Out” so that it is different from other lines

 Number: 2           Author: Waddell, Holle        Date: 6/14/2018 4:37:00 PM
 ADD: Freeze marks and Signalment Key information DONE
 ADD: Statement certifying that the adopter is not a BLM employee, etc…DONE
 ADD: Certify that they DO NOT want to participate in the incentive program DONE

 Number: 3            Author: Waddell, Holle     Date: 6/19/2018 7:00:00 PM
 ADD Ineligible if return 2 or more w/n 6 months

 Number: 4          Author: Roberson Peter L     Date: 6/14/2018 12:42:00 PM
 S

 Number: 5         Author: Waddell, Holle        Date: 6/14/2018 4:15:00 PM
 ADD: Terms are on reverse…check PMACA




                                                                                   BLM_002324
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    From:                Roberson, Peter (PJ) L
    To:                  Waddell, Holle
    Subject:             Re: Adoption Incentive Agreement Revision
    Date:                Wednesday, June 20, 2018 1:27:32 PM
    Attachments:         Adoption Incentive Agreement_DRAFT_2018.06.19.docx
    Importance:          High


    The revised file is attached

    Thanks

    On Wed, Jun 20, 2018 at 1:20 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
     Here it is...sorry!

      Thank you,

      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
     [I]
      On Wed, Jun 20, 2018 at 12:04 PM, Roberson, Peter <proberson@blm.gov> wrote:
       Ok see if you like this

          File is attached

          On Wed, Jun 20, 2018 at 11:28 AM, Waddell, Holle <hwaddell@blm.gov> wrote:
           PJ - Attached is the adoption incentive agreement we discussed this morning.
           The following changes need to be made:

               1. ADD: A bullet and initial line that states something like...I understand that I
                  am no longer eligible to participate in the adoption incentive program in the
                  future if I return of two or more animals within a six month time-frame.
                  (Take a stab at it)
               2. CHANGE: Opt Out section so that it is not similar, it needs to stand out
                  perhaps be at the top with "I _______ opt out of participating in the
                  adoption incentive program and forfeit/waive any incentive payments from
                  BLM." (Take a stab at it)

            Once these two changes are made let's review it. Today before 1:30pm would be great...I
            am leaving at 2:00pm today. Call me if you have any questions.
            Thank you,

            Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |




                                                                                                          BLM_002325
     BLM_002326
          Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
          ​
          "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
          shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you
          shift your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl
          Wood
          [I]
        --
        Best Regards,
        PJ Roberson
        Program Administrator
        Bureau of Land Management - Wild Horse & Burro Program
        Office: (405) 579-1863
        201 Stephenson Parkway Suite 1200 Norman, OK 73109
        proberson@blm.gov
        "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
        Gawande
    --
    Best Regards,
    PJ Roberson
    Program Administrator
    Bureau of Land Management - Wild Horse & Burro Program
    Office: (405) 579-1863
    201 Stephenson Parkway Suite 1200 Norman, OK 73109
    proberson@blm.gov
    "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
    Gawande
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           Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 258 of 289
Fonn4710-XX                                           UNITED STATES
(June 2018)                                                                                                                  NOTE: THIS IS A
                                             DEPARTMENT OF THE INTERIOR                                                     CONTRACT. RETAIN
                                          :ii,~ AU OF LAND MANAGEMENT                                                       WITH OTHER LEGAL
                                       ~      TION INCENTIVE AGREEMENT                                                          RECORDS.

Adopter's First Name:                                    Middle Name:                             Last Name:


Address:                                                    City                                            State:


Zip Code:                                              Email Address:


FREEZE MARK(S):                                                          SIGNALMENT KEY(S):




Financial Institution Name:                                              Primary Accom1t Holder Name:



       Account Type                              Routing Number                                                 Account Number


□ checking

□ savings

 I ____________ choose to opt out of the adoption incentive program and forfeit/waive any incentive payments from the BLM.

                                                                                     OR

                        Please initial the tenns that apply to all wild horses and burros adopted under this adoption incentive agreement.
 Initial: _ _ __        I _ _ _ _ _ _ _ _ _ _ (Print Name) understand that failure to comply with the following te1ms may result in the
                        cancellation of this adoption incentive agreement, repossession of the animals, disapproval of request for adoption of
                        additional animals as well as your eligibility to participate in the adoption incentive program.

Initial: - - - -        I have read and understand the te1ms of adoption and prohibited acts.
 Initial: _ _ __
                        I understand that I am responsible to complete and submit both the Incentive copy of this agreement and the title
                        application 4710-18) in order to receive the $500 incentive per adopted animal. (2nd Payment)
Initial: - - - -        In accordance with the te1ms of adoptions, I authorize BLM employees and other BLM approved individuals to conduct
                        mandatory compliance inspections on adopted animals pa1ticipating in the incentive program.
 Initial: - - - -       I hereby authorize electronic funds transfers to my account at the financial institution listed above.
 Initial: - - - -       I agree to notify of any changes regarding my banking info1mation until my adopted animal(s) are titled.
 Initial: _ _ __
                        Under penalty of prosecution for violating 18 U .S.C. 1001, which makes it a Federal crime to make false statements to
                        any agency of the United States, I hereby certify that I will provide humane care for any animals that I adopt and will
                        not sell or transfer ownership of them to any person or organization that intends to resell, trade, or give away such
                        animals for slaughter or processing into collllllercial products.
 Initial: _ _ __        I ce1tify that I am not a BLM employee, immediate family member of a BLM employee, BLM contractor or cooperator.
 Initial: - - - -       The BLM will use this info1mation to process your agreement for private maintenance and care of wild horses or
                        burros. BLM will use your driver' s license and social security number for debt collection purposes under the authority
                        of the Debt Collection Improvement Act, 31 U.S.C. 7701.
 Initial: _ _ __        I understand I will lose my eligibility to participate in the adoption incentive program in the future ifI retum two or
                        more animals within a six month time-frame.

~ a me (Print): _ _ _ _ _ _ _ _ _ _ _ __

Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                             Date:
                                                                                    - - - - - - - - - - - - - -BLM_002327
  Case 1:21-cv-02146-REB Document 47-8 Filed 10/14/22 USDC Colorado Page 259 of 289


Summary of Comments on 20180620.1327a.email.Re_
Adoption Incentive Agreement Revision.att.pdf
Page: 1
 Number: 1        Author: Waddell, Holle          Date: 6/19/2018 7:20:00 PM
 CHANGE “Opt Out” so that it is different from other lines

 Number: 2           Author: Waddell, Holle        Date: 6/14/2018 4:37:00 PM
 ADD: Freeze marks and Signalment Key information DONE
 ADD: Statement certifying that the adopter is not a BLM employee, etc…DONE
 ADD: Certify that they DO NOT want to participate in the incentive program DONE

 Number: 3            Author: Waddell, Holle     Date: 6/19/2018 7:00:00 PM
 ADD Ineligible if return 2 or more w/n 6 months

 Number: 4          Author: Roberson Peter L     Date: 6/14/2018 12:42:00 PM


 Number: 5         Author: Waddell, Holle        Date: 6/14/2018 4:15:00 PM
 ADD: Terms are on reverse…check PMACA




                                                                                   BLM_002328
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    From:              Myrick. Brett H
    To:                Waddell . Holle
    Cc:                Sklar. Ryan M
    Subject:           Re: Question about 1109 fund
    Date:              Thursday, June 21, 2018 8:55:44 AM
    Importance:        High


    Holle-




    Thanks,
    Brett

    On Wed, Jun 20, 2018 at 1:24 PM Waddell, Holle <hwaddell
     My apologies Ryan.


      Thank you,

      Holle' Waddell   I Branch Chief I Division of Wild Horses and Burros I
                                         I                  I                    I
      Bureau of Land Management 405.579.1860 (0) 405.579.7102 (F) hwaddell@blm.gov


      "A positive outlook, regardless of how bleak the circwnstances may look, is a CHOICE. Each day, start by
      shifting yom thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Che1yl Wood
     [I]
      On Wed, Jun 20, 2018 at 12:02 PM, Ryan Sklar <1yan.sklar@sol.doi.gov> wrote:
       Holle,




        Thanks,
        Ryan




        Ryan Sklar
        Attorney-Advisor
        Office of the Solicitor
        U.S. Department of the Interior
        202-208-3039




                                                                                                         BLM_002329
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    --
    Brett H. Myrick
    Department of the Interior - Office of the Solicitor
    Attorney-Adviser - Division of General Law
    202-208-3820
    Room 6444




                                                                                                        BLM_002330
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    From:               Roberson, Peter (PJ) L
    To:                 Waddell, Holle
    Subject:            Re: Adoption Incentive Agreement Revision
    Date:               Thursday, June 21, 2018 9:35:29 AM
    Attachments:        BLM Adoption Incentive Agreement.pdf
                        Adoption Incentive Agreement_BACK_DRAFT_2018.06.20 (1).docx
                        Adoption Incentive Agreement_FRONT_DRAFT_2018.06.21.docx
    Importance:         High


    New files are attached


    On Wed, Jun 20, 2018 at 2:34 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
     Thank you. Ok I made some final changes. Please review both files thoroughly and
     then give me a call on my cell. Instead of the privacy notice at the bottom of the
     back, perhaps we add each office of jurisdiction phone numbers.

      Thank you,

      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
     [I]
      On Wed, Jun 20, 2018 at 1:27 PM, Roberson, Peter <proberson@blm.gov> wrote:
       The revised file is attached

          Thanks

          On Wed, Jun 20, 2018 at 1:20 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
           Here it is...sorry!

           Thank you,

           Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |

           Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov

           ​
           "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
           shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you
           shift your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl
           Wood



           On Wed, Jun 20, 2018 at 12:04 PM, Roberson, Peter <proberson@blm.gov> wrote:
            Ok see if you like this


                                                                                                             BLM_002331
                                                                                       File is attached
                                                                                                                                                                                                      BLM_002332




                                                                                       On Wed, Jun 20, 2018 at 11:28 AM, Waddell, Holle <hwaddell@blm.gov> wrote:
                                                                                        PJ - Attached is the adoption incentive agreement we discussed this
                                                                                        morning. The following changes need to be made:
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                                                                                             1. ADD: A bullet and initial line that states something like...I understand
                                                                                                that I am no longer eligible to participate in the adoption incentive
                                                                                                program in the future if I return of two or more animals within a six
                                                                                                month time-frame. (Take a stab at it)
                                                                                             2. CHANGE: Opt Out section so that it is not similar, it needs to stand out
                                                                                                perhaps be at the top with "I _______ opt out of participating in the
                                                                                                adoption incentive program and forfeit/waive any incentive payments
                                                                                                from BLM." (Take a stab at it)
                                                                                         Once these two changes are made let's review it. Today before 1:30pm would be
                                                                                         great...I am leaving at 2:00pm today. Call me if you have any questions.
                                                                                         Thank you,
                                                                                         Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |
                                                                                         Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
                                                                                         ​
                                                                                         "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day,
                                                                                         start by shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you
                                                                                         have. When you shift your thoughts, your actions will follow suit and you will begin to create the reality
                                                                                         you desire." - Cheryl Wood
                                                                                         [I]




                                                                                       --
                                                                                       Best Regards,
                                                                                       PJ Roberson
                                                                                       Program Administrator
                                                                                       Bureau of Land Management - Wild Horse & Burro Program
                                                                                       Office: (405) 579-1863
                                                                                       201 Stephenson Parkway Suite 1200 Norman, OK 73109
                                                                                       proberson@blm.gov
                                                                                       "How we seek to spend our time may depend on how much time we perceive ourselves to have" -
                                                                                       Atul Gawande
                                                                                    --
                                                                                    Best Regards,
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        PJ Roberson
        Program Administrator
        Bureau of Land Management - Wild Horse & Burro Program
        Office: (405) 579-1863
        201 Stephenson Parkway Suite 1200 Norman, OK 73109
        proberson@blm.gov

        "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
        Gawande




    --
    Best Regards,
    PJ Roberson
    Program Administrator
    Bureau of Land Management - Wild Horse & Burro Program
    Office: (405) 579-1863
    201 Stephenson Parkway Suite 1200 Norman, OK 73109
    proberson@blm.gov

    "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
    Gawande




                                                                                            BLM_002333
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Form 4710-XX                                       UNITED STATES
(June 2018)                                                                                                                      NOTE: THIS IS A
                                             DEPARTMENT OF THE INTERIOR                                                         CONTRACT, RETAIN
                                            BUREAU OF LAND MANAGEMENT                                                           WITH OTHER LEGAL
                                   BLM ADOPTION INCENTIVE AGREEMENT                                                                 RECORDS.

Adopter’s First Name:                                      Middle Name:                               Last Name:


Address:
                                                       I        City
                                                                                                  I              State:


Zip Code:
                                                            I
                                                       Email Address:
                                                                                                             I

FREEZE MARK(S):                                                             SIGNALMENT KEY(S):




Financial Institution Name:                                                 Primary Account Holder Name:


       Account Type                              Routing Number                                                      Account Number


□ Checking
□ Savings
 I ________________________ choose to opt out of the BLM adoption incentive program and forfeit/waive any incentive payments from the BLM.
                                                                       OR
                        Please initial the terms that apply to all wild horses and burros adopted under this BLM adoption incentive agreement.

 Initial: ________      I _____________________ (Print Name) understand that failure to comply with the following terms may result in the
                        cancellation of this BLM adoption incentive agreement, repossession of the animals, disapproval of request for adoption
                        of additional animals as well as your eligibility to participate in the BLM adoption incentive program.
Initial: ________       I have read and understand the terms of adoption and prohibited acts.
 Initial: ________      I understand that I am responsible to complete and submit both the Incentive copy of this agreement and the title
                        application 4710-18) in order to receive the $500 incentive per adopted animal. (2nd Payment)
Initial: ________       In accordance with the terms of adoptions, I authorize BLM employees and other BLM approved individuals to conduct
                        mandatory compliance inspections on adopted animals participating in the incentive program.
 Initial: ________      I hereby authorize electronic funds transfers to my account at the financial institution listed above.
 Initial: ________      I agree to notify of any changes regarding my banking information until my adopted animal(s) are titled.
 Initial: ________      Under penalty of prosecution for violating 18 U.S.C. 1001, which makes it a Federal crime to make false statements to
                        any agency of the United States, I hereby certify that I will provide humane care for any animals that I adopt and will
                        not sell or transfer ownership of them to any person or organization that intends to resell, trade, or give away such
                        animals for slaughter or processing into commercial products.
 Initial: ________      I certify that I am not a BLM employee, immediate family member of a BLM employee, BLM contractor or cooperator.
 Initial: ________      The BLM will use this information to process your agreement for private maintenance and care of wild horses or
                        burros. BLM will use your driver’s license and social security number for debt collection purposes under the authority
                        of the Debt Collection Improvement Act, 31 U.S.C. 7701.
 Initial: ________      I understand I will lose my eligibility to participate in the BLM adoption incentive program in the future if I return two
                        or more animals within a six month time-frame.

Full Name (Print): _________________________________


Signature: ________________________________________                            Date: _____________________________
                                                                                                                            BLM_002334
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                                                                      PROHIBITED ACTS

  (a) Maliciously or negligently injuring or harassing a wild horse or burro;   (f) Branding a wild horse or burro;
  (b) Treating a wild horse or burro inhumanely;                                (g) Removing or altering a freeze mark on a wild horse or burro;
                                                                                (h) Violating an order, term, or condition established by the BLM under
  (c) Removing or attempting to remove a wild horse or burro from the
                                                                                    this part;
      public lands without authorization from the BLM;
                                                                                (i) Commercially exploiting a wild horse or burro;
  (d) Destroying a wild horse or burro without authorization from the
                                                                                    Any person who commits a prohibited act is subject to a fine of not
      BLM, except as an act of mercy
                                                                                     more than $2,000 or imprisonment for not more than one year, or both,
  (e) Selling or attempting to sell a wild horse or burro or its remains;
                                                                                     for each violation.

                                                                   TERMS OF ADOPTION


The following terms apply to all wild horses and burros adopted under           (h) Title will remain with the Federal Government for at least 1 year
the Private Maintenance and Care Agreement:                                         after the Private Maintenance and Care Agreement is executed and
                                                                                    until a Certificate of Title is issued by the BLM;
(a) Adopters are financially responsible for providing proper care;
                                                                                (i) Adoption fees are non-refundable; and
(b) Adopters are responsible, as provided by State law, for any personal
                                                                                (j) Adopters are entitled to a replacement, if, within 6 months of the
    injury, property damage, or death caused by animals in their care, for          adoption date, the animal dies or is required to be destroyed due to
    pursuing animals that escape or stray, and for costs of recapture;              a condition that existed at the time of adoption and if the adopter
(c) Adopters must not transfer animals for more than 30 days to another             provides a veterinarian statement that certifies that reasonable care
    location or to the care of another individual without the prior approval        would not have corrected the condition. All replacement animals
    of the BLM;                                                                     will be handled as a refund (completed within 2 weeks of
                                                                                    notification), or a voucher for a replacement animal will be
(d) Adopters must make animals available for physical inspection                    provided. A voucher is non-refundable; is valid for six months; can
    within 7 days of receipt of a written request by the BLM;                       be applied to more than one animal; is non-transferable; has to be
(e) Adopters must notify the BLM within 7 days of discovery of an                   redeemed at the same type of event as the original adoption; and
    animal’s death, theft or escape;                                                does not give the adopter any kind of preferential treatment.
                                                                                    Additionally, the amount of the voucher has to be redeemed all at
(f) Adopters must notify the BLM within 30 days of any change in                    once; non-used funds are forfeited; and bids above the voucher
    the adopter’s address;                                                          amount are due in full at the time of the adoption. This policy will
(g) Adopters must dispose of remains in accordance with applicable                  only apply to replacement animals, and not repossessions or
    sanitation laws;                                                                reassignments.


                                                                TITLE QUALIFICATIONS

A person may receive title to as many as four (4) wild horses or burros per         Title applicants participating in the BLM Adoption Incentive Program
12-month period provided the following qualifications are met:                      are required to retain their copy of the BLM Adoption Incentive
                                                                                    Agreement provided at the time of adoption as it must accompany the
The applicant has had the horses or burros assigned by a Private                    completed title application when submitting for the certificate of title
Maintenance and Care Agreement for a minimum of 12 months.                          to receive the 2nd incentive payment in the amount of $500.
At the end of the 12-month period, the applicant has submitted written
certification of a qualified individual attesting, to the best of his/her
knowledge, that the adopted animals are receiving proper care.
                                                                          NOTICES

The Privacy Act and the regulation at 43 CFR 2.48 (d) require that you be           (5) Provide necessary program management information to other agencies
furnished the following information in connection with information required             involved in management of wild horses and burros on public lands, i.e.,
by this application.                                                                    the U.S. Forest Service (USFS) and the Animal and Plant Health
                                                                                        Inspection Service (APHIS);
AUTHORITY: 16 U.S.C. 1333 and 31 U.S.C. 7701.                                       (6) Identify and assign level of system access required by BLM, USFS and
                                                                                        APHIS wild horse and burros program personnel; and
PRINCIPAL PURPOSE: The BLM will use this information to process                     (7) Authorize the disclosure of records to individuals involved in responding
your adoption incentive agreement for wild horses or burros. BLM will use               to a breach of Federal data.
your financial information, driver’s license and social security numbers for
debt collection purposes under the authority of the Debt Collection                 EFFECT OF NOT PROVIDING INFORMATION: Submission of the
Improvement Act, 31 U.S.C. 7701.                                                    requested information is necessary to obtain or retain a benefit. Failure to
                                                                                    submit all of the requested information or to complete this form may result
ROUTINE USES: The primary uses of the information are to:                           in the rejection and/or denial of your application.
(1) Identify individuals who have applied to obtain custody of a wild               The Paperwork Reduction Act of 1995 (44 U.S.C. 3501 et seq.) requires us
    horse or burro through adoption or sale;                                        to inform you that:
(2) Document the rejection, suspension, or granting of the request for              The BLM collects this information in accordance with the statutes and
    adoption or sale;                                                               regulations listed above, and for the purposes listed above.
(3) Monitor compliance with laws / regulations concerning maintenance of
                                                                                    Submission of the requested information is necessary to obtain or retain a
    adopted animals;
                                                                                    benefit. You do not have to respond to this or any other Federal agency-
(4) Identify contractors / employees / volunteers / service providers               sponsored information collection unless it displays a currently valid OMB
    required to perform program functions;                                          control number.

                                                                                                                                BLM_002335
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                                                                    PROHIBITED ACTS

  (a) Maliciously or negligently injuring or harassing a wild horse or              (f) Branding a wild horse or burro;
      burro;                                                                        (g) Removing or altering a freeze mark on a wild horse or burro;
  (b) Treating a wild horse or burro inhumanely;                                    (h) Violating an order, term, or condition established by the BLM under
                                                                                        this part;
  (c) Removing or attempting to remove a wild horse or burro from the
                                                                                    (i) Commercially exploiting a wild horse or burro;
      public lands without authorization from the BLM;
                                                                                        Any person who commits a prohibited act is subject to a fine of not
  (d) Destroying a wild horse or burro without authorization from the
                                                                                         more than $2,000 or imprisonment for not more than one year, or both,
      BLM, except as an act of mercy
                                                                                         for each violation.
  (e) Selling or attempting to sell a wild horse or burro or its remains;
                                                                   TERMS OF ADOPTION


The following terms apply to all wild horses and burros adopted under           (h) Title will remain with the Federal Government for at least 1 year
the Private Maintenance and Care Agreement:                                         after the Private Maintenance and Care Agreement is executed and
                                                                                    until a Certificate of Title is issued by the BLM;
(a) Adopters are financially responsible for providing proper care;
                                                                                (i) Adoption fees are non-refundable; and
(b) Adopters are responsible, as provided by State law, for any personal
                                                                                (j) Adopters are entitled to a replacement, if, within 6 months of the
    injury, property damage, or death caused by animals in their care, for          adoption date, the animal dies or is required to be destroyed due to
    pursuing animals that escape or stray, and for costs of recapture;              a condition that existed at the time of adoption and if the adopter
(c) Adopters must not transfer animals for more than 30 days to another             provides a veterinarian statement that certifies that reasonable care
    location or to the care of another individual without the prior                 would not have corrected the condition. All replacement animals
    approval of the BLM;                                                            will be handled as a refund (completed within 2 weeks of
                                                                                    notification), or a voucher for a replacement animal will be
(d) Adopters must make animals available for physical inspection                    provided. A voucher is non-refundable; is valid for six months; can
    within 7 days of receipt of a written request by the BLM;                       be applied to more than one animal; is non-transferable; has to be
(e) Adopters must notify the BLM within 7 days of discovery of an                   redeemed at the same type of event as the original adoption; and
    animal’s death, theft or escape;                                                does not give the adopter any kind of preferential treatment.
                                                                                    Additionally, the amount of the voucher has to be redeemed all at
(f) Adopters must notify the BLM within 30 days of any change in                    once; non-used funds are forfeited; and bids above the voucher
    the adopter’s address;                                                          amount are due in full at the time of the adoption. This policy will
(g) Adopters must dispose of remains in accordance with applicable                  only apply to replacement animals, and not repossessions or
    sanitation laws;                                                                reassignments.


                                                               TITLE QUALIFICATIONS

A person may receive title to as many as four (4) wild horses or burros per          Title applicants participating in the BLM Adoption Incentive Program
12-month period provided the following qualifications are met:                       are required to retain their copy of the BLM Adoption Incentive
                                                                                     Agreement provided at the time of adoption as it must accompany the
The applicant has had the horses or burros assigned by a Private                     completed title application when submitting for the certificate of title
Maintenance and Care Agreement for a minimum of 12 months.                           to receive the 2nd incentive payment in the amount of $500.
At the end of the 12-month period, the applicant has submitted written
certification of a qualified individual attesting, to the best of his/her
knowledge, that the adopted animals are receiving proper care.
                                                                          NOTICES

The Privacy Act and the regulation at 43 CFR 2.48 (d) require that you be           (5) Provide necessary program management information to other agencies
furnished the following information in connection with information required             involved in management of wild horses and burros on public lands, i.e.,
by this application.                                                                    the U.S. Forest Service (USFS) and the Animal and Plant Health
                                                                                        Inspection Service (APHIS);
AUTHORITY: 16 U.S.C. 1333 and 31 U.S.C. 7701.                                       (6) Identify and assign level of system access required by BLM, USFS and
                                                                                        APHIS wild horse and burros program personnel; and
PRINCIPAL PURPOSE: The BLM will use this information to process                     (7) Authorize the disclosure of records to individuals involved in responding
your adoption incentive agreement for wild horses or burros. BLM will use               to a breach of Federal data.
your financial information, driver’s license and social security numbers for
debt collection purposes under the authority of the Debt Collection                 EFFECT OF NOT PROVIDING INFORMATION: Submission of the
Improvement Act, 31 U.S.C. 7701.                                                    requested information is necessary to obtain or retain a benefit. Failure to
                                                                                    submit all of the requested information or to complete this form may result
ROUTINE USES: The primary uses of the information are to:                           in the rejection and/or denial of your application.
(1) Identify individuals who have applied to obtain custody of a wild               The Paperwork Reduction Act of 1995 (44 U.S.C. 3501 et seq.) requires us
    horse or burro through adoption or sale;                                        to inform you that:
(2) Document the rejection, suspension, or granting of the request for              The BLM collects this information in accordance with the statutes and
    adoption or sale;                                                               regulations listed above, and for the purposes listed above.
(3) Monitor compliance with laws / regulations concerning maintenance of
                                                                                    Submission of the requested information is necessary to obtain or retain a
    adopted animals;
                                                                                    benefit. You do not have to respond to this or any other Federal agency-
(4) Identify contractors / employees / volunteers / service providers               sponsored information collection unless it displays a currently valid OMB
    required to perform program functions;                                          control number.

                                                                                                                                 BLM_002336
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Form 4710-XX                                          UNITED STATES
(June 2018)                                                                                                                       NOTE: THIS IS A
                                             DEPARTMENT OF THE INTERIOR                                                         CONTRACT, RETAIN
                                            BUREAU OF LAND MANAGEMENT                                                           WITH OTHER LEGAL
                                   BLM ADOPTION INCENTIVE AGREEMENT                                                                 RECORDS.

Adopter’s First Name:                                      Middle Name:                               Last Name:
                                                       I                                          I
Address:                                                        City                                             State:
                                                            I                                                I
Zip Code:                                              Email Address:


FREEZE MARK(S):                                                             SIGNALMENT KEY(S):




Financial Institution Name:                                                 Primary Account Holder Name:


       Account Type                              Routing Number                                                      Account Number


□ Checking
□ Savings
 I ________________________ choose to opt out of the BLM adoption incentive program and forfeit/waive any incentive payments from the BLM.
                                                                       OR
                        Please initial the terms that apply to all wild horses and burros adopted under this BLM adoption incentive agreement.

 Initial: ________      I _____________________ (Print Name) understand that failure to comply with the following terms may result in the
                        cancellation of this BLM adoption incentive agreement, repossession of the animals, disapproval of request for adoption
                        of additional animals as well as your eligibility to participate in the BLM adoption incentive program.
Initial: ________       I have read and understand the terms of adoption and prohibited acts.
 Initial: ________      I understand that I am responsible to complete and submit both the Incentive copy of this agreement and the title
                        application 4710-18) in order to receive the $500 incentive per adopted animal. (2nd Payment)
Initial: ________       In accordance with the terms of adoptions, I authorize BLM employees and other BLM approved individuals to conduct
                        mandatory compliance inspections on adopted animals participating in the incentive program.
 Initial: ________      I hereby authorize electronic funds transfers to my account at the financial institution listed above.
 Initial: ________      I agree to notify of any changes regarding my banking information until my adopted animal(s) are titled.
 Initial: ________      Under penalty of prosecution for violating 18 U.S.C. 1001, which makes it a Federal crime to make false statements to
                        any agency of the United States, I hereby certify that I will provide humane care for any animals that I adopt and will
                        not sell or transfer ownership of them to any person or organization that intends to resell, trade, or give away such
                        animals for slaughter or processing into commercial products.
 Initial: ________      I certify that I am not a BLM employee, immediate family member of a BLM employee, BLM contractor or cooperator.
 Initial: ________      The BLM will use this information to process your agreement for private maintenance and care of wild horses or
                        burros. BLM will use your driver’s license and social security number for debt collection purposes under the authority
                        of the Debt Collection Improvement Act, 31 U.S.C. 7701.
 Initial: ________      I understand I will lose my eligibility to participate in the BLM adoption incentive program in the future if I return two
                        or more animals within a six month time-frame.

Full Name (Print): _________________________________


Signature: ________________________________________                            Date: _____________________________
                                                                                                                            BLM_002337
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    From:                 Tiel-Nelson, Heather J
    To:                   Waddell, Holle
    Subject:              edited docs
    Date:                 Thursday, June 21, 2018 12:44:32 PM
    Attachments:          Adoption Incentive Agreement_DRAFT_2018.06.15_htn edits.docx
                          Adoption Incentive Program_DRAFT_PCPT_20180616_htn editst.docx
                          IM 2018-XXX, Guidance forthe Adoption Incentive Program_DRAFT_htn edits.docx
    Importance:           High


    Hi Holle--

    Apologize for missing the calls; here are the documents with my edits -- sorry if they are redundant coming in after
    the review call!




    --
    Heather Tiel-Nelson
    Public Affairs Specialist
    Twin Falls District
    2878 Addison Ave. East
    Twin Falls, ID 83301
    (208) 736-2352 w
    (208) 308-3727 c




                                                                                                           BLM_002338
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Fonn4710-XX                                            UNITED STATES
(June 2018)                                                                                                                     NOTE: THIS IS A
                                              DEPARTMENT OF THE INTERIOR                                                       CONTRACT. RETAIN
                                             di,U REAU OF LAND MANAGEMENT                                                      WITH OTHER LEGAL
                                        AD     TION INCENTIVE AGREEMENT                                                            RECORDS.

Adopter' s First Name:                                    Middle Name:                               Last Name:



Address:                                                      City                                             State:



Zip Code:                                                Email Address:


FREEZE MARK(S) :                                                           SIGNALMENT KEY(S):




Financial Institution Name:                                                Primary Accom1t Holder Name:



       Account Type                                Routing Number                                                  Account Number


□ checking

□ savings

 Please initial, p1int and s;gn thefollow;ng terms that apply to all wild horses and bu,ros adopted under this adoption ;ncentive agreement.

 Initial: _ _ __         I _ _ _ _ _ _ _ _ _ _ (Print Name) Ullderstand that failure to comply with the following te1ms may result in the
                         cancellation of this adoption incentive agreement, repossession of the animals, disapproval of request for adoption of
                         additional animals as well as eligibility to participate in the adoption incentive program.

 Initial: - - - -        I have read and Ullderstand the te1ms of adoption and prohibited acts.

Initial: - - - -         I Ullderstand that I am responsible to complete and submit both the incentive copy of this agreement and the title
                         application 4710-18) to receive the $500 incentive per adopted animal. (second payment)

 Initial: - - - -        In accordance with the te1ms of adoption, I authorize BLM employees and other BLM approved individuals to conduct
                         mandatory compliance inspections on adopted animals pa1ticipating in the incentive program.
Initial: - - - -         I hereby authorize electronic funds transfers to my accollllt at the financial institution listed above.
 Initial: - - - -        I agree to notify BLM of any changes regarding my banking infonnation lllltil my adopted animal(s) are titled.
 Initial: - - - -        Under penalty of prosecution for violating 18 U .S.C. 1001 , which makes it a Federal crime to make false statements to
                         any agency of the United States, I hereby certify that I will provide humane care for any animals that I adopt and will
                         not sell or transfer ownership of them to any person or organization that intends to resell, trade, or give away such
                         animals for slaughter or processing into collllllercial products.
 Initial: _ _ __         I ce1tify that I am not a BLM employee, immediate family member of a BLM employee, BLM contractor or cooperator.

 Initial: _ _ __         The BLM will use this infonnation to process your agreement for private maintenance and care of wild horses or
                         bun-os. BLM will use your driver' s license and social security number for debt collection purposes under the authority
                         of the Debt Collection Improvement Act, 31 U.S.C. 7701.


 t,                      I opt out of pa1ticipating in the adoption incentive program and forfeit/waive any incentive payments from BLM.


 Full Name (P1int):
                         -----------------

 Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                          Date:
                                                                                                - - - - - - - - - -BLM_002339
                                                                                                                   -----
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Summary of Comments on 20180621.1244a.email.edited
docs.att.pdf
Page: 1
 Number: 1           Author: Waddell, Holle        Date: 6/14/2018 4:37:00 PM
 ADD: Freeze marks and Signalment Key information DONE
 ADD: Statement certifying that the adopter is not a BLM employee, etc…DONE
 ADD: Certify that they DO NOT want to participate in the incentive program DONE

 Number: 2         Author: Roberson Peter L     Date: 6/14/2018 12:42:00 PM


 Number: 3         Author: Waddell, Holle       Date: 6/14/2018 4:15:00 PM
 ADD: Terms are on reverse…check PMACA




                                                                                   BLM_002340
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    From:          Collins, Deborah
    To:            Waddell, Holle; Roberson, Peter (PJ) L
    Subject:       Draft Adoption Incentive Program - DC edit to bullet
    Date:          Thursday, June 21, 2018 1:38:46 PM
    Attachments:   Adoption Incentive Program_DRAFT_PCPT_DC_2018.06.21.docx


    Here you go. Thank you.



    Debbie Collins/WHB Outreach Specialist
    Bureau of Land Management - Washington Office/Off-Range Branch
    201 Stephenson Parkway, Suite 1200, Norman, OK 73072
    405-579-1861/918-625-5292/dacollin@blm.gov




                                                                              BLM_002341
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Internal Use ONLY

                                 Adoption Incentive Program
Purpose
The purpose of the Adoption Incentive Program (AIP) is to increase the numbers of excess animals
placed into private care through adoptions. This program will encourage new individuals to adopt a
wild horse or burro, motivate previous adopters to re-engage with the program and invest in animals by
providing a financial incentive, $1,000 at the time of adoption and an additional $500 at time of title, to
help defray initial ownership costs, such as veterinary care, feed and training. Increasing the placement
of animals into private care is a critical priority of the program and of utmost interest to BLM due to
the costs associated with caring for unadopted/unsold animals in BLM corrals and pastures. Costs
savings may be utilized for other management operations, such as gathers.

Incentive Guidelines

➢ Adopters participating in AIP must adhere to the terms of adoptions and prohibited acts provided at
  the time of adoption.

➢ The AIP applies to ONLY untrained animals that are adopted and will not apply to purchase
  animals.

➢ All untrained animals are eligible to participate in the AIP regardless of species, age, sex, color,
  herd management area or the number of times the animal has been offered for adoption.

➢ Each adopter must meet adoption requirements, complete and sign an Application for Adoption
  and/or Sale of Wild Horses and Burros (Attachment 1: BLM #4710-10) and have it approved by
  BLM.

➢ If there is evidence indicating an adopter does not meet the minimum adoption requirements or
  does not intend to provide humane care, the BLM authorized officer will deny the adoption.

➢ Adopters have an opportunity to receive a total of $1,500 for each animal adopted through the
  incentive program, $1,000 within 90 days from the adoption date and an additional $500 at time of
  title.

       o Adopters participating in the AIP must complete the Adoption Incentive Agreement
         (Attachment 2) to receive the 1st incentive payment in the amount of $1,000. The payment
         will be received within 90 days from the adoption date.

       o Adopters are required to retain their copy of the Adoption Incentive Agreement as it must
         accompany the completed title application when submitting for the certificate of title to
         receive the 2nd incentive payment in the amount of $500.

➢ The minimum adoption fee is reduced to $25 for untrained animals. This may be competitive or
  non-competitive.

➢ The BLM authorized officer must maintain the signed Private Care and Maintenance Agreement,
  completed and signed Application for Adoption and/or Sale of Wild Horses and Burros and the
  completed and signed Adoption Incentive Agreement for official Bureau records.

➢ The adoption information is required to be entered in the Wild Horse and Burro Program System

                                                                                          BLM_002342
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Internal Use ONLY

   within seven business days after the adoption is completed.

➢ All animals participating in AIP will require mandatory compliance and identified on the
  mandatory list.

➢ Any adopter that relinquishes two or more animals in a six month time-frame or does not follow
  the terms and conditions of the Adoption Incentive Agreement (Attachment 2) as agreed upon
  becomes ineligible to participate in the adoption incentive program.

➢ Adopters may be removed from the incentive program due to not following guidelines or
  misuse.

➢ Reassigned animals are not eligible for the incentive program.

➢ BLM employees, their immediate family members, BLM Program contractors and
  cooperators are NOT eligible to participate in the incentive program.
                     ---
Incentive Program Process

Step 1: At time of adoption, BLM staff should ask the adopter if they are participating in AIP.

          NO – Continue normal adoption process;

          YES – Adopter must complete the Adoption Incentive Agreement (Attachment 2) in
          addition to the normal adoption process, an approved adoption application and a
          PMACA.

Step 2: BLM staff complete the adoption process, providing two copies of the Adoption
Incentive Agreement (Attachment 2) to the adopter along with other required adoption
paperwork.

Step 3: BLM staff return to the office, complete data entry into WHBPS (indicating adopters
and animals participating in AIP, build official file and compete record.

Step 4:




                                                                                        BLM_002343
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    From:             Kueck, Meredith A
    To:               Hofstra, Kurt W; Hardesty, Amanda; Waddell, Holle; Lambert, Brent A
    Subject:          Adoption Incentive Program WHBPS Updates
    Date:             Thursday, June 21, 2018 3:07:24 PM
    Attachments:      Adoption Incentive Program_DRAFT_PCPT_2018.06.21.docx
    Importance:       High


    Kurt,

    The program is currently anticipating the need for the following updates to be made in
    WHBPS to accommodate the Adoption Incentive Program (AIP).

       •    A mandatory drop down field to indicate if an animal is an incentive or non-incentive
            when being added to a PMACA. Ideally this drop down would have "Select One" or
            something similar as the default so users are forced to take the time to select either
            incentive or non-incentive. Only untrained animals are eligible for the AIP. Reassigned
            animals are not eligible for AIP. The base adoption fee for AIP animals will be reduced
            to $25 and can be competitive or non-competitive.
                0  An alternative to adding a drop-down would be adding 2 new adoption fee codes,
                   Incentive - Competitive and Incentive - Noncompetitive. We can discuss further,
                   but I think this may be the better option.
       •    All incentive animals will have a mandatory compliance requirement. A report to track
            AIP animals and associated inspections will be needed. The report title will be
            "Required Inspections for Incentive Animals" and the layout should be modeled after
            the Required Compliance List.
       •    Adopters that relinquish two or more animals in a six month time frame or who do not
            adhere to the terms and conditions of the Adoption Incentive Agreement will no longer
            be eligible to participate in the program. There will need to be a new Adoption Incentive
            Eligibility field associated with individual and organization records to will prevent users
            from adopting incentive animals to ineligible adopters. The Adoption Incentive
            Eligibility should be recorded separately from Adoption Eligibility Status. An adopter
            can be ineligible for the incentive program, but still eligible to adopt non-incentive
            animals.
       •    Adopters will receive an additional payment when their incentive animal is titled. A
            pop-up or some type of indicator needs to be added in the titling screen to remind users
            to initiate final payment when the title is recorded.

    I've attached the draft AIP guidelines to provide additional details on the program. I am
    available any time tomorrow if you need to discuss or clarify any points.

    Thanks,

    Meredith Kueck
    Wild Horse & Burro Specialist
    Bureau of Land Management
    Desk (405) 579-7183
    Cell (405) 312-8607

    WHBPS SHARE POINT SITE




                                                                                            BLM_002344
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Internal Use ONLY

                                 Adoption Incentive Program
Purpose
The purpose of the Adoption Incentive Program (AIP) is to increase the numbers of excess animals
placed into private care through adoptions. This program will encourage new individuals to adopt a
wild horse or burro, motivate previous adopters to re-engage with the program and invest in animals by
providing a financial incentive, $1,000 at the time of adoption and an additional $500 at time of title.
This incentive money will help defray initial ownership costs, such as veterinary care, feed and
training. Increasing the placement of animals into private care is a critical priority of the program and
of utmost interest to BLM due to the costs associated with caring for unadopted/unsold animals in
BLM managed or contracted corrals and pastures. Costs savings may be utilized for other management
operations, such as gathers.

Incentive Guidelines

 Adopters participating in AIP must adhere to the terms of adoptions and prohibited acts provided at
  the time of adoption.

 The AIP applies ONLY to untrained animals that are adopted and will not apply to purchase
  animals.

 All untrained animals are eligible to participate in the AIP regardless of species, age, sex, color,
  herd management area or the number of times the animal has been offered for adoption.

 Each adopter must meet adoption requirements, complete and sign an Application for Adoption
  and/or Sale of Wild Horses and Burros (Attachment 1: BLM #4710-10) and have it approved by
  BLM.

 If there is evidence indicating an adopter does not meet the minimum adoption requirements or
  does not intend to provide humane care, the BLM authorized officer will deny the adoption.

 Adopters have an opportunity to receive a total of $1,500 for each animal adopted through the
  incentive program, $1,000 within 90 days from the adoption date and an additional $500 at time of
  title.

       o Adopters participating in the AIP must complete the Adoption Incentive Agreement
         (Attachment 2) to receive the first incentive payment in the amount of $1,000. The payment
         will be received within 90 days of the adoption date.

       o Adopters are required to retain their copy of the Adoption Incentive Agreement as it must
         accompany the completed title application when submitting for the certificate of title to
         receive the second incentive payment in the amount of $500.

 The minimum adoption fee is reduced to $25 for untrained animals. This may be competitive or
  non-competitive.

 The BLM authorized officer must maintain the signed Private Care and Maintenance Agreement,
  completed and signed Application for Adoption and/or Sale of Wild Horses and Burros and the
  completed and signed Adoption Incentive Agreement for official Bureau records.

 The adoption information is required to be entered in the Wild Horse and Burro Program System

                                                                                         BLM_002345
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Internal Use ONLY

   within seven business days after the adoption is completed.

 All animals participating in the BLM AIP will require mandatory compliance and identified on
  a newly developed report, Required Inspections for Incentive Animals.

 Any adopter that relinquishes two or more animals in a six month time-frame or does not adhere to
  the terms and conditions of the Adoption Incentive Agreement (Attachment 2) is no longer to
  participate in the adoption incentive program.

 Adopters that misuse or do not follow the adoption incentive guidelines may be prohibited
  from future participation in the program.

 Reassigned animals are not eligible for the incentive program.

 BLM employees, their immediate family members, BLM Program contractors and
  cooperators are NOT eligible to participate in the incentive program.
                     ---
Incentive Program Process

Step 1: At time of adoption, BLM staff should ask the adopter if they are participating in AIP.

          NO – Continue normal adoption process;

          YES – Adopter must complete the Adoption Incentive Agreement (Attachment 2) in
          addition to the normal adoption process, an approved adoption application and a
          PMACA.

Step 2: BLM staff will complete the adoption process and provide two copies of the Adoption
Incentive Agreement (Attachment 2) to the adopter along with other required adoption
paperwork.

Step 3: Upon BLM staff return to the office, complete data entry into WHBPS (indicating
adopters and animals participating in AIP, build official file and compete record.

Step 4:




                                                                                        BLM_002346
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    From:             Hofstra, Kurt W
    To:               Kueck, Meredith A
    Cc:               Hardesty, Amanda; Waddell, Holle; Lambert, Brent A
    Subject:          Re: Adoption Incentive Program WHBPS Updates
    Date:             Thursday, June 21, 2018 4:06:24 PM
    Importance:       High


    Hi Meredith!

    Thank you for forwarding this information. I think you mentioned the first two items are
    needed immediately to kick off the program, and the other two could be incorporated later.

    I'll review with the team, and look forward to receiving your thoughts on the screens where
    you would like the information displayed.

    The guidelines look to be a work in progress. A couple of initial questions...

       •   is there is an upper limit on the number of animals one adopter in the AIP can adopt
           under the program?
       •   when it comes to the $25 fee, what is the difference between how a competitive vs. non-
           competitive situation is handled? This implies variable fees; will the competitive
           situation result in a higher fee?
       •   if the initial and final incentive fees are subject to change over time, do we need to track
           the value of the initial and final incentives offered when the AIP is initiated to avoid
           confusion later as to what's due, or is that tacked outside the PS?
       •   do we need a new report for tracking incentive payments across the program? Or is
           there a current report where that information would fit? What would the frequency of
           the report be?

    Thanks again. Talk to you tomorrow!

    Kurt

    On Thu, Jun 21, 2018 at 2:07 PM, Meredith Kueck <mkueck@blm.gov> wrote:
     Kurt,

      The program is currently anticipating the need for the following updates to be made in
      WHBPS to accommodate the Adoption Incentive Program (AIP).

           • A mandatory drop down field to indicate if an animal is an incentive or non-incentive
               when being added to a PMACA. Ideally this drop down would have "Select One" or
               something similar as the default so users are forced to take the time to select either
               incentive or non-incentive. Only untrained animals are eligible for the AIP.
               Reassigned animals are not eligible for AIP. The base adoption fee for AIP animals
               will be reduced to $25 and can be competitive or non-competitive.
                   0 An alternative to adding a drop-down would be adding 2 new adoption fee
                     codes, Incentive - Competitive and Incentive - Noncompetitive. We can discuss
                     further, but I think this may be the better option.
           •   All incentive animals will have a mandatory compliance requirement. A report to
               track AIP animals and associated inspections will be needed. The report title will be
               "Required Inspections for Incentive Animals" and the layout should be modeled after



                                                                                           BLM_002347
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             the Required Compliance List.
         •   Adopters that relinquish two or more animals in a six month time frame or who do not
             adhere to the terms and conditions of the Adoption Incentive Agreement will no
             longer be eligible to participate in the program. There will need to be a new Adoption
             Incentive Eligibility field associated with individual and organization records to will
             prevent users from adopting incentive animals to ineligible adopters. The Adoption
             Incentive Eligibility should be recorded separately from Adoption Eligibility Status.
             An adopter can be ineligible for the incentive program, but still eligible to adopt non-
             incentive animals.
         •   Adopters will receive an additional payment when their incentive animal is titled. A
             pop-up or some type of indicator needs to be added in the titling screen to remind
             users to initiate final payment when the title is recorded.

     I've attached the draft AIP guidelines to provide additional details on the program. I am
     available any time tomorrow if you need to discuss or clarify any points.

     Thanks,

     Meredith Kueck
     Wild Horse & Burro Specialist
     Bureau of Land Management
     Desk (405) 579-7183
     Cell (405) 312-8607

     WHBPS SHARE POINT SITE



    --
    Kurt Hofstra
    Technical Manager
    Contractor, DSG Systems
    DIRM Support Services
    National Operations Center, BLM
    cell - 303-877-7110




                                                                                         BLM_002348
     BLM_002349
    From:               Roberson, Peter (PJ) L
    To:                 Waddell, Holle
    Subject:            Re: Adoption Incentive Agreement Revision
    Date:               Friday, June 22, 2018 8:40:14 AM
    Attachments:        Adoption Incentive Agreement FINAL.pdf
    Importance:         High
    Good Morning,
    File is attached
    Thank You
    On Thu, Jun 21, 2018 at 5:12 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
     Hi PJ! Please review thoroughly, giving the documents one last look and thanks for
     creating a pdf of the attached files. Please do first thing in the morning so that I may
     send out to state leads for review.
      Thank you,
      Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |
      Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
      ​
      "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
      shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you shift
      your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl Wood
      I]
      On Thu, Jun 21, 2018 at 9:35 AM, Roberson, Peter <proberson@blm.gov> wrote:
       New files are attached
          On Wed, Jun 20, 2018 at 2:34 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
           Thank you. Ok I made some final changes. Please review both files thoroughly
           and then give me a call on my cell. Instead of the privacy notice at the bottom of
           the back, perhaps we add each office of jurisdiction phone numbers.
           Thank you,
           Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |
           Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
           ​
           "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day, start by
           shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you have. When you
           shift your thoughts, your actions will follow suit and you will begin to create the reality you desire." - Cheryl
           Wood
           I]
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                                                                                    On Wed, Jun 20, 2018 at 1:27 PM, Roberson, Peter <proberson@blm.gov> wrote:
                                                                                     The revised file is attached
                                                                                                                                                                                                    BLM_002350




                                                                                     Thanks
                                                                                     On Wed, Jun 20, 2018 at 1:20 PM, Waddell, Holle <hwaddell@blm.gov> wrote:
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                                                                                      Here it is...sorry!
                                                                                       Thank you,
                                                                                       Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |
                                                                                       Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
                                                                                       ​
                                                                                       "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each day,
                                                                                       start by shifting your thoughts to develop and demonstrate an internal gratitude for all blessings you
                                                                                       have. When you shift your thoughts, your actions will follow suit and you will begin to create the reality
                                                                                       you desire." - Cheryl Wood
                                                                                       [I]




                                                                                       On Wed, Jun 20, 2018 at 12:04 PM, Roberson, Peter <proberson@blm.gov> wrote:
                                                                                        Ok see if you like this
                                                                                           File is attached
                                                                                           On Wed, Jun 20, 2018 at 11:28 AM, Waddell, Holle <hwaddell@blm.gov> wrote:
                                                                                            PJ - Attached is the adoption incentive agreement we discussed this
                                                                                            morning. The following changes need to be made:
                                                                                                 1. ADD: A bullet and initial line that states something like...I
                                                                                                    understand that I am no longer eligible to participate in the
                                                                                                    adoption incentive program in the future if I return of two or more
                                                                                                    animals within a six month time-frame. (Take a stab at it)
                                                                                                 2. CHANGE: Opt Out section so that it is not similar, it needs to stand
                                                                                                    out perhaps be at the top with "I _______ opt out of participating in
                                                                                                    the adoption incentive program and forfeit/waive any incentive
                                                                                                    payments from BLM." (Take a stab at it)
                                                                                             Once these two changes are made let's review it. Today before 1:30pm would be
                                                                                             great...I am leaving at 2:00pm today. Call me if you have any questions.
                                                                                             Thank you,
                                                                                             Holle' Waddell | Branch Chief | Division of Wild Horses and Burros |
                                                                                             Bureau of Land Management | 405.579.1860 (O) | 405.579.7102 (F) | hwaddell@blm.gov
                                                                                             ​
                                                                                             "A positive outlook, regardless of how bleak the circumstances may look, is a CHOICE. Each
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                   day, start by shifting your thoughts to develop and demonstrate an internal gratitude for all
                   blessings you have. When you shift your thoughts, your actions will follow suit and you will begin
                   to create the reality you desire." - Cheryl Wood
                   [I]

                 --
                 Best Regards,
                 PJ Roberson
                 Program Administrator
                 Bureau of Land Management - Wild Horse & Burro Program
                 Office: (405) 579-1863
                 201 Stephenson Parkway Suite 1200 Norman, OK 73109
                 proberson@blm.gov

                 "How we seek to spend our time may depend on how much time we perceive ourselves to
                 have" -Atul Gawande




             --
             Best Regards,
             PJ Roberson
             Program Administrator
             Bureau of Land Management - Wild Horse & Burro Program
             Office: (405) 579-1863
             201 Stephenson Parkway Suite 1200 Norman, OK 73109
             proberson@blm.gov

             "How we seek to spend our time may depend on how much time we perceive ourselves to have" -
             Atul Gawande




         --
         Best Regards,
         PJ Roberson
         Program Administrator
         Bureau of Land Management - Wild Horse & Burro Program
         Office: (405) 579-1863
         201 Stephenson Parkway Suite 1200 Norman, OK 73109
         proberson@blm.gov

         "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
         Gawande




    --


                                                                                                       BLM_002351
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    Best Regards,
    PJ Roberson
    Program Administrator
    Bureau of Land Management - Wild Horse & Burro Program
    Office: (405) 579-1863
    201 Stephenson Parkway Suite 1200 Norman, OK 73109
    proberson@blm.gov

    "How we seek to spend our time may depend on how much time we perceive ourselves to have" -Atul
    Gawande




                                                                                            BLM_002352
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Form 4710-XX                                       UNITED STATES
(June 2018)                                                                                                                      NOTE: THIS IS A
                                             DEPARTMENT OF THE INTERIOR                                                         CONTRACT, RETAIN
                                            BUREAU OF LAND MANAGEMENT                                                           WITH OTHER LEGAL
                                       ADOPTION INCENTIVE AGREEMENT                                                                 RECORDS.

Adopter’s First Name:                                      Middle Name:                               Last Name:


Address:
                                                       I        City
                                                                                                  I              State:


Zip Code:
                                                            I
                                                       Email Address:
                                                                                                             I

FREEZE MARK(S):                                                             SIGNALMENT KEY(S):




Financial Institution Name:                                                 Primary Account Holder Name:


       Account Type                              Routing Number                                                      Account Number


□ Checking
□ Savings
 I ________________________ choose to opt out of the BLM adoption incentive program and forfeit/waive any incentive payments from the BLM.
                                                                       OR
                        Please initial the terms that apply to all wild horses and burros adopted under this BLM adoption incentive agreement.

 Initial: ________      I _____________________ (Print Name) understand that failure to comply with the following terms may result in the
                        cancellation of this BLM adoption incentive agreement, repossession of the animals, disapproval of request for adoption
                        of additional animals as well as eligibility to participate in the BLM adoption incentive program.
Initial: ________       I have read and understand the terms of adoption and prohibited acts.
 Initial: ________      I understand that I am responsible to complete and submit both the incentive copy of this agreement and the title
                        application 4710-18) to receive the $500 incentive per adopted animal. (second payment)
Initial: ________       In accordance with the terms of adoption, I authorize BLM employees and other BLM approved individuals to conduct
                        mandatory compliance inspections on adopted animals participating in the incentive program.
 Initial: ________      I hereby authorize electronic funds transfers to my account at the financial institution listed above.
 Initial: ________      I agree to notify BLM of any changes regarding my banking information until my adopted animal(s) are titled.
 Initial: ________      Under penalty of prosecution for violating 18 U.S.C. 1001, which makes it a Federal crime to make false statements to
                        any agency of the United States, I hereby certify that I will provide humane care for any animals that I adopt and will
                        not sell or transfer ownership of them to any person or organization that intends to resell, trade, or give away such
                        animals for slaughter or processing into commercial products.
 Initial: ________      I certify that I am not a BLM employee, immediate family member of a BLM employee, BLM contractor or cooperator.
 Initial: ________      The BLM will use this information to process your agreement for private maintenance and care of wild horses or
                        burros. BLM will use your driver’s license and social security number for debt collection purposes under the authority
                        of the Debt Collection Improvement Act, 31 U.S.C. 7701.
 Initial: ________      I understand I will lose my eligibility to participate in the BLM adoption incentive program in the future if I return two
                        or more animals within a six month time-frame.

Full Name (Print): _________________________________


Signature: ________________________________________                            Date: _____________________________
                                                                                                                            BLM_002353
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                                                                     PROHIBITED ACTS

 (a) Maliciously or negligently injuring or harassing a wild horse or burro;    (f) Branding a wild horse or burro;
 (b) Treating a wild horse or burro inhumanely;                                 (g) Removing or altering a freeze mark on a wild horse or burro;
                                                                                (h) Violating an order, term, or condition established by the BLM under
 (c) Removing or attempting to remove a wild horse or burro from the
                                                                                    this part;
     public lands without authorization from the BLM;
                                                                                (i) Commercially exploiting a wild horse or burro;
 (d) Destroying a wild horse or burro without authorization from the
                                                                                    Any person who commits a prohibited act is subject to a fine of not
     BLM, except as an act of mercy
                                                                                     more than $2,000 or imprisonment for not more than one year, or both,
 (e) Selling or attempting to sell a wild horse or burro or its remains;             for each violation.
                                                                     TERMS OF ADOPTION

                                                                                  (a) Title will remain with the Federal Government for at least 1 year
 The following terms apply to all wild horses and burros adopted under
                                                                                      after the Private Maintenance and Care Agreement is executed and
 the Private Maintenance and Care Agreement:
                                                                                      until a Certificate of Title is issued by the BLM;
 (d) Adopters are financially responsible for providing proper care;              (b) Adoption fees are non-refundable; and
 (e) Adopters are responsible, as provided by State law, for any personal         (c) Adopters are entitled to a replacement, if, within 6 months of the
     injury, property damage, or death caused by animals in their care, for           adoption date, the animal dies or is required to be destroyed due to
     pursuing animals that escape or stray, and for costs of recapture;               a condition that existed at the time of adoption and if the adopter
 (f) Adopters must not transfer animals for more than 30 days to another              provides a veterinarian statement that certifies that reasonable care
     location or to the care of another individual without the prior approval         would not have corrected the condition. All replacement animals
     of the BLM;                                                                      will be handled as a refund (completed within 2 weeks of
                                                                                      notification), or a voucher for a replacement animal will be
 (g) Adopters must make animals available for physical inspection                     provided. A voucher is non-refundable; is valid for six months; can
     within 7 days of receipt of a written request by the BLM;                        be applied to more than one animal; is non-transferable; has to be
 (h) Adopters must notify the BLM within 7 days of discovery of an                    redeemed at the same type of event as the original adoption; and
                                                                                      does not give the adopter any kind of preferential treatment.
     animal’s death, theft or escape;                                                 Additionally, the amount of the voucher has to be redeemed all at
 (i) Adopters must notify the BLM within 30 days of any change in                     once; non-used funds are forfeited; and bids above the voucher
     the adopter’s address;                                                           amount are due in full at the time of the adoption. This policy will
 (j) Adopters must dispose of remains in accordance with applicable                   only apply to replacement animals, and not repossessions or
     sanitation laws;                                                                 reassignments.

                                         TITLE QUALIFICATIONS and INELIGIBILE PARTICIPANTS
A person may receive title to as many as four (4) wild horses or burros per      Title applicants participating in the BLM Adoption Incentive Program
12-month period provided the following qualifications are met:                   are required to retain their copy of the BLM Adoption Incentive
                                                                                 Agreement provided at the time of adoption as it must accompany the
The applicant has had the horses or burros assigned by a Private                 completed title application when submitting for the certificate of title
Maintenance and Care Agreement for a minimum of 12 months.                       to receive the 2nd incentive payment in the amount of $500.
At the end of the 12-month period, the applicant has submitted written           BLM employees, immediate family members of a BLM employee,
certification of a qualified individual attesting, to the best of his/her        BLM contractors, cooperators or partners are not eligible to participate
knowledge, that the adopted animals are receiving proper care.                   in the BLM adoption incentive program.


                                                                       NOTICES
The Privacy Act and the regulation at 43 CFR 2.48 (d) require that you         (5) Provide necessary program management information to other agencies
                                                                                    involved in management of wild horses and burros on public lands,
be furnished the following information in connection with information
                                                                                    i.e., the U.S. Forest Service (USFS) and the Animal and Plant Health
required by this application.                                                       Inspection Service (APHIS);
AUTHORITY: 16 U.S.C. 1333 and 31 U.S.C. 7701.                                  (6)  Identify  and assign level of system access required by BLM, USFS
                                                                                    and APHIS wild horse and burros program personnel; and
PRINCIPAL PURPOSE: The BLM will use this information to                        (7) Authorize the disclosure of records to individuals involved in
process your adoption incentive agreement for wild horses or burros.                responding to a breach of Federal data.
BLM will use your financial information, driver’s license and social
security numbers for debt collection purposes under the authority of the       EFFECT OF NOT PROVIDING INFORMATION: Submission of the
Debt Collection Improvement Act, 31 U.S.C. 7701.                               requested information is necessary to obtain or retain a benefit. Failure to
                                                                               submit all of the requested information or to complete this form may result
ROUTINE USES: The primary uses of the information are to:                      in the rejection and/or denial of your application.

(1) Identify individuals who have applied to obtain custody of a wild           The Paperwork Reduction Act of 1995 (44 U.S.C. 3501 et seq.) requires us
    horse or burro through adoption or sale;                                    to inform you that:
(2) Document the rejection, suspension, or granting of the request for
    adoption or sale;                                                           The BLM collects this information in accordance with the statutes and
(3) Monitor compliance with laws / regulations concerning                       regulations listed above, and for the purposes listed above.
    maintenance of adopted animals;
(4) Identify contractors / employees / volunteers / service providers           Submission of the requested information is necessary to obtain or retain a
    required to perform program functions;                                      benefit. You do not have to respond to this or any other Federal agency-
                                                                                sponsored information collection unless it displays a currently valid OMB
                                                                                control number.
                                                                                                                             BLM_002354
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    From:              Kueck, Meredith A
    To:                Hofstra, Kurt W
    Cc:                Hardesty, Amanda; Waddell, Holle; Lambert, Brent A
    Subject:           Re: Adoption Incentive Program WHBPS Updates
    Date:              Friday, June 22, 2018 9:37:52 AM
    Importance:        High


    Hi Kurt,

    Yes, the first two would be top priority and the other two could wait for a regular release.

    To answer your first two questions;

       •   No, there currently is not an upper limit on the number of animals one adopter can adopt
           through the AIP.
       •   The competitive base fee would still start at $25, but also could be any amount above
           that. For example, at an adoption with competitive bid, the bidding would start at $25
           but could go up to any amount. Non-competitive would always be $25.00.

    Holle' - what are your thoughts on the second two questions?

    Meredith Kueck
    Wild Horse & Burro Specialist
    Bureau of Land Management
    Desk (405) 579-7183
    Cell (405) 312-8607

    WHBPS SHARE POINT SITE


    On Thu, Jun 21, 2018 at 4:06 PM Hofstra, Kurt <khofstra@blm.gov> wrote:
     Hi Meredith!

      Thank you for forwarding this information. I think you mentioned the first two items are
      needed immediately to kick off the program, and the other two could be incorporated later.

      I'll review with the team, and look forward to receiving your thoughts on the screens where
      you would like the information displayed.

      The guidelines look to be a work in progress. A couple of initial questions...

           • is there is an upper limit on the number of animals one adopter in the AIP can adopt
               under the program?
           •   when it comes to the $25 fee, what is the difference between how a competitive vs.
               non-competitive situation is handled? This implies variable fees; will the competitive
               situation result in a higher fee?
           •   if the initial and final incentive fees are subject to change over time, do we need to
               track the value of the initial and final incentives offered when the AIP is initiated to
               avoid confusion later as to what's due, or is that tacked outside the PS?
           •   do we need a new report for tracking incentive payments across the program? Or is
               there a current report where that information would fit? What would the frequency of



                                                                                            BLM_002355
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            the report be?

     Thanks again. Talk to you tomorrow!

     Kurt

     On Thu, Jun 21, 2018 at 2:07 PM, Meredith Kueck <mkueck@blm.gov> wrote:
      Kurt,

       The program is currently anticipating the need for the following updates to be made in
       WHBPS to accommodate the Adoption Incentive Program (AIP).

            •   A mandatory drop down field to indicate if an animal is an incentive or non-
                incentive when being added to a PMACA. Ideally this drop down would have
                "Select One" or something similar as the default so users are forced to take the time
                to select either incentive or non-incentive. Only untrained animals are eligible for
                the AIP. Reassigned animals are not eligible for AIP. The base adoption fee for AIP
                animals will be reduced to $25 and can be competitive or non-competitive.
                    0  An alternative to adding a drop-down would be adding 2 new adoption fee
                       codes, Incentive - Competitive and Incentive - Noncompetitive. We can
                       discuss further, but I think this may be the better option.
            •   All incentive animals will have a mandatory compliance requirement. A report to
                track AIP animals and associated inspections will be needed. The report title will be
                "Required Inspections for Incentive Animals" and the layout should be modeled
                after the Required Compliance List.
            •   Adopters that relinquish two or more animals in a six month time frame or who do
                not adhere to the terms and conditions of the Adoption Incentive Agreement will no
                longer be eligible to participate in the program. There will need to be a new
                Adoption Incentive Eligibility field associated with individual and organization
                records to will prevent users from adopting incentive animals to ineligible adopters.
                The Adoption Incentive Eligibility should be recorded separately from Adoption
                Eligibility Status. An adopter can be ineligible for the incentive program, but still
                eligible to adopt non-incentive animals.
            •   Adopters will receive an additional payment when their incentive animal is titled. A
                pop-up or some type of indicator needs to be added in the titling screen to remind
                users to initiate final payment when the title is recorded.

       I've attached the draft AIP guidelines to provide additional details on the program. I am
       available any time tomorrow if you need to discuss or clarify any points.

       Thanks,

       Meredith Kueck
       Wild Horse & Burro Specialist
       Bureau of Land Management
       Desk (405) 579-7183
       Cell (405) 312-8607

       WHBPS SHARE POINT SITE




                                                                                         BLM_002356
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     --
     Kurt Hofstra
     Technical Manager
     Contractor, DSG Systems
     DIRM Support Services
     National Operations Center, BLM
     cell - 303-877-7110




                                                                   BLM_002357
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    From:          Sklar, Ryan M
    To:            Waddell , Holle
    Subject:       Fwd: WHB Questions
    Date:          Friday, June 22, 2018 9:45:02 AM
    Importance:    High




    Hi Holle,




    Can you please make sure that this infmmation reaches the necessaiy folks in BLM? I'm not
    really sure who it needs to go to, and I'd rather not send it to the wrong folks .

    Thanks,
    Ryan

    ---------- F01wai·ded message---------
    From: Brett Myrick <brett.myrick@sol.doi.gov>
    Date: F1i, Jun 22, 2018 at 8:05 AM
    Subject: Fwd: WHB Questions
    To: Sklar, Ryan <1yan.sklar@sol.doi.gov>


    Ryan-




    Thanks,
    Brett




                                                                                    BLM_002358
